 Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 1 of 289 PageID 1



                     UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

CLAY COUNTY, FLORIDA

                      Plaintiff,

     vs.                                  CIVIL ACTION NO.:

PURDUE PHARMA L.P., PURDUE PHARMA
INC., THE PURDUE FREDERICK COMPANY,
INC., ENDO HEALTH SOLUTIONS INC.,
ENDO PHARMACEUTICALS, INC., PAR
PHARMACEUTICAL, INC., PAR
PHARMACEUTICAL COMPANIES, INC.,
JANSSEN PHARMACEUTICALS, INC.,
JANSSEN PHARMACEUTICA, INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.,
NORAMCO, INC., ORTHO-MCNEIL-              COMPLAINT
JANSSEN PHARMACEUTICALS, INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.,            DEMAND FOR JURY TRIAL
JOHNSON & JOHNSON, TEVA
PHARMACEUTICAL INDUSTRIES LTD.,
TEVA PHARMACEUTICALS USA, INC.,
CEPHALON, INC., ALLERGAN PLC f/k/a
ACTAVIS PLC, ALLERGAN FINANCE LLC,
f/k/a ACTAVIS, INC., f/k/a WATSON
PHARMACEUTICALS, , INC., WATSON
LABORATORIES, INC., ACTAVIS, LLC,
ACTAVIS PHARMA, INC. f/k/a WATSON
PHARMA, INC., INSYS THERAPEUTICS,
INC., MALLINCKRODT PLC,
MALLINCKRODT LLC, SPECGX LLC,
CARDINAL HEALTH, INC., McKESSON
CORPORATION, AMERISOURCEBERGEN
CORPORATION, CVS HEALTH CORP.,
WALGREENS BOOTS ALLIANCE, INC.; and
WALMART INC.

                      Defendants.
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 2 of 289 PageID 2


                                                    TABLE OF CONTENTS

                                                                                                                                        Page




INTRODUCTION ......................................................................................................................... 1
JURISDICTION AND VENUE .................................................................................................... 7
PARTIES ....................................................................................................................................... 7
I.          PLAINTIFF........................................................................................................................ 7
II.         DEFENDANTS ................................................................................................................. 8
            A.         Marketing Defendants. ........................................................................................... 8
                       1.         Purdue Entities ........................................................................................... 8
                       2.         Actavis Entities ........................................................................................ 10
                       3.         Cephalon Entities ..................................................................................... 11
                       4.         Janssen Entities ........................................................................................ 12
                       5.         Endo Entities ............................................................................................ 15
                       6.         Insys Therapeutics, Inc. ........................................................................... 17
                       7.         Mallinckrodt Entities ............................................................................... 17
            B.         Distributor Defendants ......................................................................................... 20
                       1.         Cardinal Health, Inc. ................................................................................ 20
                       2.         McKesson Corporation ............................................................................ 21
                       3.         AmerisourceBergen Drug Corporation .................................................... 21
                       4.         CVS Health Corporation .......................................................................... 22
                       5.         Walgreens Boots Alliance, Inc. ............................................................... 22
                       6.         Walmart Inc. ............................................................................................ 22
            C.         Agency and Authority .......................................................................................... 23
FACTUAL ALLEGATIONS ...................................................................................................... 23
I.          Facts Common to All Claims ........................................................................................... 23
            A.         Opioids and Their Effects .................................................................................... 23
            B.         The Resurgence of Opioid Use in the United States............................................ 27
                       1.         The Sackler Family Integrated Advertising and Medicine ...................... 27
                       2.         Purdue Developed and Aggressively Promoted OxyContin .................... 29
                       3.         Other Marketing Defendants Leapt at the Opioid Opportunity ............... 34
            C.         Defendants’ Conduct Created an Abatable Public Nuisance ............................... 37


1548577.1                                                              -i-
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 3 of 289 PageID 3


                                      TABLE OF CONTENTS
                                           (continued)
                                                                                                                            Page


     D.    The Marketing Defendants’ Multi-Pronged Scheme to Change Prescriber
           Habits and Public Perception and Increase Demand for Opioids ........................ 37
           1.      The Marketing Defendants Promoted Multiple Falsehoods About
                   Opioids ..................................................................................................... 38
                              Falsehood #1: The risk of addiction from chronic opioid
                              therapy is low ............................................................................... 40
                              Falsehood #2: To the extent there is a risk of addiction, it
                              can be easily identified and managed .......................................... 53
                              Falsehood #3: Signs of addictive behavior are
                              “pseudoaddiction,” requiring more opioids ................................. 55
                              Falsehood #4: Opioid withdrawal can be avoided by
                              tapering ........................................................................................ 58
                              Falsehood #5: Opioid doses can be increased without limit
                              or greater risks.............................................................................. 59
                              Falsehood #6: Long-term opioid use improves functioning ........ 61
                              Falsehood #7: Alternative forms of pain relief pose greater
                              risks than opioids ......................................................................... 67
                              Falsehood #8: OxyContin provides twelve hours of pain
                              relief ............................................................................................. 70
                              Falsehood #9: New formulations of certain opioids
                              successfully deter abuse ............................................................... 75
           2.      The Marketing Defendants Disseminated Their Misleading
                   Messages About Opioids Through Multiple Channels ............................ 84
                              The Marketing Defendants Directed Front Groups to
                              Deceptively Promote Opioid Use ................................................ 85
                              The Marketing Defendants Paid Key Opinion Leaders to
                              Deceptively Promote Opioid Use .............................................. 100
                              The Marketing Defendants Disseminated Their
                              Misrepresentations Through Continuing Medical Education
                              Programs .................................................................................... 111
                              The Marketing Defendants Used “Branded” Advertising to
                              Promote Their Products to Doctors and Consumers .................. 114
                              The Marketing Defendants Used “Unbranded” Advertising
                              To Promote Opioid Use For Chronic Pain Without FDA
                              Review ....................................................................................... 115



                                                        -ii-
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 4 of 289 PageID 4


                                      TABLE OF CONTENTS
                                           (continued)
                                                                                                                        Page


                               The Marketing Defendants Funded, Edited And
                               Distributed Publications That Supported Their
                               Misrepresentations ..................................................................... 116
                               The Marketing Defendants Used Detailing To Directly
                               Disseminate Their Misrepresentations To Prescribers .............. 118
                               Marketing Defendants Used Speakers’ Bureaus and
                               Programs to Spread Their Deceptive Messages......................... 121
           3.       The Marketing Defendants Targeted Vulnerable Populations............... 122
           4.       Insys Employed Fraudulent, Illegal, and Misleading Marketing
                    Schemes to Promote Subsys .................................................................. 123
           5.       The Marketing Defendants’ Scheme Succeeded, Creating a Public
                    Health Epidemic..................................................................................... 128
                               Marketing Defendants dramatically expanded opioid
                               prescribing and use. ................................................................... 128
                               Marketing Defendants’ Dramatically Expanded Opioid
                               Prescribing and Use. .................................................................. 131
     E.    Defendants Throughout the Supply Chain Deliberately Disregarded Their
           Duties to Maintain Effective Controls and to Identify, Report, and Take
           Steps to Halt Suspicious Orders ......................................................................... 132
           1.       All Defendants Have a Duty to Report Suspicious Orders and Not
                    to Ship Those Orders Unless Due Diligence Disproves Their
                    Suspicions .............................................................................................. 133
           2.       Defendants Were Aware of and Have Acknowledged Their
                    Obligations to Prevent Diversion and to Report and Take Steps to
                    Halt Suspicious Orders .......................................................................... 139
           3.       Defendants Worked Together to Inflate the Quotas of Opioids
                    They Could Distribute............................................................................ 142
           4.       Defendants Kept Careful Track of Prescribing Data and Knew
                    About Suspicious Orders and Prescribers .............................................. 150
           5.       Defendants Failed to Report Suspicious Orders or Otherwise Act
                    to Prevent Diversion .............................................................................. 157
           6.       Defendants Delayed a Response to the Opioid Crisis by Pretending
                    to Cooperate with Law Enforcement ..................................................... 160
           7.       The National Retail Pharmacies Were on Notice of and
                    Contributed to Illegal Diversion of Prescription Opioids ...................... 164



                                                       -iii-
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 5 of 289 PageID 5


                                            TABLE OF CONTENTS
                                                 (continued)
                                                                                                                              Page


                                     The National Retail Pharmacies Have a Duty to Prevent
                                     Diversion .................................................................................... 165
                                     Multiple Enforcement Actions against the National Retail
                                     Pharmacies Confirms their Compliance Failures. ..................... 169
      F.        The Opioids the Defendants Sold Migrated into Other Jurisdictions ................ 177
      G.        Florida Specific Facts ........................................................................................ 181
                1.        Defendants Breached Their Duties in Florida ....................................... 181
                2.        The Devastating Effects of the Opioid Crisis in Florida........................ 184
      H.        The Defendants Conspired To Engage In The Wrongful Conduct
                Complained Of Herein and Intended To Benefit Both Independently and
                Jointly From Their Conspiracy .......................................................................... 190
                1.        Conspiracy Among Marketing Defendants ........................................... 190
                2.        Conspiracy Among All Defendants ....................................................... 193
      I.        Statutes Of Limitations Are Tolled and Defendants Are Estopped From
                Asserting Statutes Of Limitations As Defenses ................................................. 194
                1.        Continuing Conduct. .............................................................................. 194
                2.        Equitable Estoppel and Fraudulent Concealment .................................. 195
      J.        Facts Pertaining to Punitive Damages ............................................................... 198
                1.        The Marketing Defendants Persisted in Their Fraudulent Scheme
                          Despite Repeated Admonitions, Warnings, and Even Prosecutions ..... 199
                                     FDA Warnings to Janssen Failed to Deter Janssen’s
                                     Misleading Promotion of Duragesic .......................................... 199
                                     Governmental Action, Including Large Monetary Fines,
                                     Failed to Stop Cephalon from Falsely Marketing Actiq for
                                     Off-Label Uses ........................................................................... 200
                                     FDA Warnings Did Not Prevent Cephalon from Continuing
                                     False and Off-Label Marketing of Fentora ................................ 200
                                     A Guilty Plea and a Large Fine Did Not Deter Purdue from
                                     Continuing Its Fraudulent Marketing of OxyContin ................. 201
                2.        Repeated Admonishments and Fines Did Not Stop Defendants
                          from Ignoring Their Obligations to Control the Supply Chain and
                          Prevent Diversion................................................................................... 202
II.   Facts Pertaining To Claims Under Racketeer-Influenced and Corrupt
      Organizations (“RICO”) Act.......................................................................................... 209


                                                             -iv-
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 6 of 289 PageID 6


                                                 TABLE OF CONTENTS
                                                      (continued)
                                                                                                                                    Page


          A.        The Opioid Marketing Enterprise ...................................................................... 209
                    1.        The Common Purpose and Scheme of the Opioid Marketing
                              Enterprise ............................................................................................... 209
                    2.        The Conduct of the Opioid Marketing Enterprise violated Civil
                              RICO ...................................................................................................... 213
                    3.        The RICO Marketing Defendants Controlled and Paid Front
                              Groups and KOLs to Promote and Maximize Opioid Use ................... 217
                    4.        Pattern of Racketeering Activity ............................................................ 218
          B.        The Opioid Supply Chain Enterprise ................................................................. 221
CLAIMS FOR RELIEF ............................................................................................................. 232
FIRST CLAIM FOR RELIEF Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid
      Marketing Enterprise (Against Defendants Purdue, Cephalon, Janssen, Endo, and
      Mallinckrodt (the “RICO Marketing Defendants”)) ...................................................... 232
SECOND CLAIM FOR RELIEF Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid
     Supply Chain Enterprise (Against Defendants Purdue, Cephalon, Endo,
     Mallinckrodt, Actavis, McKesson, Cardinal, and AmerisourceBergen (the “RICO
     Supply Chain Defendants”) ........................................................................................... 243
THIRD CLAIM FOR RELIEF Violation Of The Florida Civil Remedies for Criminal
     Practices Act Florida Statutes § 772.101, et seq. (Against Defendants Purdue,
     Cephalon, Janssen, Endo, and Mallinckrodt) (the “Opioid Marketing Enterprise”) ..... 250
          A.        The Opioid Marketing Enterprise and Pattern of Corrupt Activity. .................. 251
          B.        Impact of the Opioid Marketing Enterprise ....................................................... 254
          C.        Injury Caused and Relief Sought ....................................................................... 255
FOURTH CLAIM FOR RELIEF Violation of The Civil Remedies for Criminal Practices
     Act Florida Statutes § 772.101, et seq. (Against Defendants Purdue, Cephalon,
     Endo, Mallinckrodt, Actavis, McKesson, Cardinal, and AmerisourceBergen –
     “RICO Supply Chain Defendants”) (The “Opioid Supply Chain Enterprise”) ............. 258
          A.        The Opioid Supply Chain Enterprise and Pattern of Corrupt Activity .............. 258
          B.        Impact of The Opioid Supply Chain Enterprise ................................................ 263
          C.        Injury Caused and Relief Sought ....................................................................... 263
FIFTH CLAIM FOR RELIEF Violation of Florida Deceptive and Unfair Trade Practices
      Act Against All Defendants ........................................................................................... 265
SIXTH CLAIM FOR RELIEF Public Nuisance Against All Defendants ................................. 267
SEVENTH CLAIM FOR RELIEF Negligence (Against Marketing Defendants) .................... 269


                                                                   -v-
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 7 of 289 PageID 7


                                               TABLE OF CONTENTS
                                                    (continued)
                                                                                                                          Page


EIGHTH CLAIM FOR RELIEF Negligence (Against All Defendants) ................................... 270
NINTH CLAIM FOR RELIEF Gross Negligence Against All Defendants.............................. 273
TENTH CLAIM FOR RELIEF Unjust Enrichment Against All Defendants ........................... 274
ELEVENTH CLAIM FOR RELIEF Fraud Against All Defendants ........................................ 275
TWELFTH CLAIM FOR RELIEF Civil Conspiracy (Against All Defendants) ...................... 279
PRAYER FOR RELIEF ............................................................................................................ 281




                                                               -vi-
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 8 of 289 PageID 8



    CLAY COUNTY, FLORIDA (“Plaintiff”) brings this action to prevent future harm and to
redress past wrongs, against Defendants: Purdue Pharma, L.P., Purdue Pharma, Inc., The Purdue
Frederick Company, Inc., Endo Health Solutions Inc., Endo Pharmaceuticals, Inc., Par
Pharmaceutical, Inc., Par Pharmaceutical Companies, Inc., Janssen Pharmaceuticals, Inc., Janssen
Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc., Noramco, Inc., Ortho-Mcneil-Janssen
Pharmaceuticals, Inc., n/k/a Janssen Pharmaceuticals, Inc., Johnson & Johnson, Teva
Pharmaceutical Industries, Ltd., Teva Pharmaceuticals USA, Inc, Cephalon, Inc., Allergan PLC
f/k/a Actavis PLC, Allergan Finance, LLC, f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.,
Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. f/k/a Watson Pharma, Inc, Insys
Therapeutics, Inc., Mallinckrodt, PLC, Mallinckrodt LLC, SpecGx LLC, Cardinal Health Inc.,
Mckesson Corporation, AmerisourceBergen Corporation, Health Mart Systems, Inc., CVS Health
Corporation, Walgreens Boots Alliance, Inc. a/k/a Walgreen Co., and Walmart Inc., f/k/a Walmart
Stores, Inc. Plaintiff asserts two categories of claims: (1) claims against the pharmaceutical
manufacturers of prescription opioid drugs that engaged in a massive false marketing campaign to
drastically expand the market for such drugs and their own market share and (2) claims against
entities in the supply chain that reaped enormous financial rewards by refusing to monitor and
restrict the improper distribution of those drugs.

                                        INTRODUCTION

       1.      This case arises from the worst man-made epidemic in modern medical history—

the misuse, abuse, diversion, and over-prescription of opioids.1

       2.      By now, most Americans have been affected, either directly or indirectly, by the

opioid disaster. But few realize that this crisis arose from the opioid manufacturers’ deliberately

deceptive marketing strategy to expand opioid use, together with the distributors’ equally

deliberate efforts to evade restrictions on opioid distribution. Manufacturers and distributors alike

acted without regard for the lives that would be trammeled in pursuit of profit.

       3.      Since the push to expand prescription opioid use began in the late 1990s, the death

toll has steadily climbed, with no sign of slowing. The number of opioid overdoses in the United




1
 Unless otherwise indicated, as used herein, the term “opioid” refers to the entire family of
opiate drugs including natural, synthetic, and semi-synthetic opiates.


                                                 1
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 9 of 289 PageID 9



States rose from 8,000 in 1999 to over 20,000 in 2009, and over 33,000 in 2015.2 In the twelve

months that ended in September 2017, opioid overdoses claimed 45,000 lives.

       4.      From 1999 through 2016, overdoses killed more than 350,000 Americans.3 Over

200,000 of them, more than were killed in the Vietnam War, died from opioids prescribed by

doctors to treat pain.4 These opioids include brand-name prescription medications such as

OxyContin, Opana ER, Vicodin, Subsys, and Duragesic, as well as generics like oxycodone,

hydrocodone, and fentanyl.

       5.      Most of the overdoses from non-prescription opioids are also directly related to

prescription pills. Many opioid users, having become addicted to but no longer able to obtain

prescription opioids, have turned to heroin. According to the American Society of Addiction

Medicine, 80% of people who initiated heroin use in the past decade started with prescription

opioids—which, at the molecular level and in their effect, closely resemble heroin. In fact, people

who are addicted to prescription opioids are 40 times more likely to become addicted to heroin,

and the Centers for Disease Control and Prevention (“CDC”) identified addiction to prescription

opioids as the strongest risk factor for heroin addiction.

       6.      As a result, in part, of the proliferation of opioid pharmaceuticals between the late

1990s and 2015, the life expectancy for Americans decreased for the first time in recorded history.

Drug overdoses are now the leading cause of death for Americans under 50.



2
  Overdose Death Rates, NIH Nat’l Inst. on Drug Abuse, https://www.drugabuse.gov/related-
topics/trends-statistics/overdose-death-rates (revised Sept. 2017).
3
 Understanding the Epidemic, Ctrs. for Disease Control and Prevention,
https://www.cdc.gov/drugoverdose/epidemic/index.html (last updated Aug. 30, 2017).
4
 Prescription Opioid Overdose Data, Ctrs. for Disease Control and Prevention,
https://www.cdc.gov/drugoverdose/data/overdose.html (last updated Aug. 1, 2017).




                                                  2
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 10 of 289 PageID 10



       7.      In the words of Robert Anderson, who oversees death statistics at the Centers for

Disease Control and Prevention, “I don’t think we’ve ever seen anything like this. Certainly not

in modern times.” On October 27, 2017, the President declared the opioid epidemic a public health

emergency.

       8.      This suit takes aim at the two primary causes of the opioid crisis: (a) a marketing

scheme involving the false and deceptive marketing of prescription opioids, which was designed

to dramatically increase the demand for and sale of opioids and opioid prescriptions; and (b) a

supply chain scheme, pursuant to which the various entities in the supply chain failed to design

and operate systems to identify suspicious orders of prescription opioids, maintain effective

controls against diversion, and halt suspicious orders when they were identified, thereby

contributing to the oversupply of such drugs and fueling an illegal secondary market.

       9.      On the demand side, the crisis was precipitated by the defendants who manufacture,

sell, and market prescription opioids (“Marketing Defendants”). Through a massive marketing

campaign premised on false and incomplete information, the Marketing Defendants engineered a

dramatic shift in how and when opioids are prescribed by the medical community and used by

patients. The Marketing Defendants relentlessly and methodically, but untruthfully, asserted that

the risk of addiction was low when opioids were used to treat chronic pain, and overstated the

benefits and trivialized the risk of the long-term use of opioids.

       10.     The Marketing Defendants’ goal was simple: to dramatically increase sales by

convincing doctors to prescribe opioids not only for the kind of severe pain associated with cancer

or short-term post-operative pain, but also for common chronic pains, such as back pain and

arthritis. They did this even though they knew that opioids were addictive and subject to abuse,




                                                  3
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 11 of 289 PageID 11



and that their other claims regarding the risks, benefits, and superiority of opioids for long-term

use were untrue and unfounded.

       11.     The Marketing Defendants’ push to increase opioid sales worked. Through their

publications and websites, endless stream of sales representatives, “education” programs, and

other means, Marketing Defendants dramatically increased their sales of prescription opioids and

reaped billions of dollars of profit as a result. Since 1999, the amount of prescription opioids sold

in the U.S. nearly quadrupled. In 2016, 289 million prescriptions for opioids were filled in the

U.S.—enough to medicate every adult in America around the clock for a month.

       12.     Meanwhile, the Defendants made blockbuster profits. In 2012 alone, opioids

generated $8 billion in revenue for drug companies.          By 2015, sales of opioids grew to

approximately $9.6 billion.

       13.     On the supply side, the crisis was fueled and sustained by those involved in the

supply chain of opioids, including manufacturers, distributors, and pharmacies (together,

“Defendants”), who failed to maintain effective controls over the distribution of prescription

opioids, and who instead have actively sought to evade such controls. Defendants have contributed

substantially to the opioid crisis by selling and distributing far greater quantities of prescription

opioids than they know could be necessary for legitimate medical uses, while failing to report, and

to take steps to halt suspicious orders when they were identified, thereby exacerbating the

oversupply of such drugs and fueling an illegal secondary market.

       14.     From the day they made the pills to the day those pills were consumed in our

community, and on to the present day, these manufacturers have had control over the information

regarding addiction they chose to spread and emphasize as part of their massive marketing

campaign. By providing misleading information to doctors about addiction being rare and opioids




                                                 4
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 12 of 289 PageID 12



being safe even in high doses, then pressuring doctors into prescribing their products by arguing,

among other things, that no one should be in pain, the Marketing Defendants created a population

of addicted patients who sought opioids at never-before-seen rates. The scheme worked, and

through it the Marketing Defendants caused their profits to soar as more and more people became

dependent on opioids. Today, as many as 1 in 4 patients who receive prescription opioids long-

term for chronic pain in a primary care setting struggles with addiction. And as of 2017, overdose

death rates involving prescription opioids were five times higher than they were in 1999.

       15.     As millions became addicted to opioids, “pill mills,” often styled as “pain clinics,”

sprouted nationwide and rogue prescribers stepped in to supply prescriptions for non-medical use.

These pill mills, typically under the auspices of licensed medical professionals, issue high volumes

of opioid prescriptions under the guise of medical treatment. Prescription opioid pill mills and

rogue prescribers cannot channel opioids for illicit use without at least the tacit support and willful

blindness of the Defendants, if not their knowing support.

       16.     As a direct and foreseeable result of Defendants’ conduct, cities and counties across

the nation, including Plaintiff, are now swept up in what the CDC has called a “public health

epidemic” and what the U.S. Surgeon General has deemed an “urgent health crisis.”5 The

increased volume of opioid prescribing correlates directly to skyrocketing addiction, overdose and

death; black markets for diverted prescription opioids; and a concomitant rise in heroin and

fentanyl abuse by individuals who could no longer legally acquire – or simply could not afford –

prescription opioids.




5
  Examining the Growing Problems of Prescription Drug and Heroin Abuse (Apr. 29, 2014),
http://www,cdc,give.washington/testimony/2014/t20140429.htm; Vivek H. Murthy, Letter from
the Surgeon General, August 2016, http://turnthetiderx.org.


                                                  5
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 13 of 289 PageID 13



          17.   Thus, rather than compassionately helping patients in pain, this explosion in opioid

use – and Defendants’ profits – has come at the expense of patients and the Plaintiff and has

caused ongoing harm and damages to the Plaintiff. As the CDC director concluded in 2014: “We

know of no other medication routinely used for a nonfatal condition that kills patients so

frequently.6

          18.   Defendants’ conduct in promoting opioid use has had severe and far-reaching

public health, social services, and criminal justice consequences, including the fueling of

addiction, overdose, and death from illicit drugs such as heroin. The costs are borne by Plaintiff

and other governmental entities. These necessary and costly responses to the opioid crisis include

the handling of emergency responses to overdoses, providing addiction treatment, handling opioid-

related investigations, arrests, adjudications, and incarcerations, treating opioid-addicted newborns

in neonatal intensive care units, and burying the dead, among others.

          19.   The burdens imposed on Plaintiff are not the normal or typical burdens of

governmental programs and services. Rather, these are extraordinary costs and losses that are

directly related to Defendants’ illegal actions. The Defendants’ conduct has created a public

nuisance and a blight. Governmental entities, and the services they provide their citizens, have

been strained to the breaking point by this public health crisis.

          20.   Defendants have not changed their ways or corrected their past misconduct but

instead are continuing to fuel the crisis.

          21.   Within the next hour, six Americans will die from opioid overdoses; two babies

will be born dependent on opioids and begin to go through withdrawal; and drug manufacturers

and distributors will earn over $2.7 million from the sale of opioids.


6
    Id.


                                                  6
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 14 of 289 PageID 14



        22.     Plaintiff brings this suit to bring the devastating march of this epidemic to a halt

and to hold Defendants responsible for the crisis they caused.

                                   JURISDICTION AND VENUE

        23.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims under the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18

U.S.C. § 1961 et seq., raise a federal question. This Court has supplemental jurisdiction over the

Plaintiff’s state-law claims under 28 U.S.C. § 1367 because those claims are so related to the RICO

claim as to form part of the same case or controversy.

        24.     This Court has personal jurisdiction over each Defendant as each purposefully

availed itself of the privilege of exploiting forum-based business opportunities and the exercise of

personal jurisdiction is consistent with Fla. Stat. § 48.193 and the U.S. Constitution.

        25.     Venue is proper under 18 U.S.C. § 1965(a) because Defendants reside, are found,

have agents, or transact their affairs in this district.

                                               PARTIES

      I.        PLAINTIFF

        26.     Plaintiff CLAY COUNTY, FLORIDA is a political subdivision organized under

the laws of the State of Florida. Clay County is responsible for the public health, safety and welfare

of its residents, and has the capacity to sue and be sued. The County has been authorized by the

Board of County Commissioners to bring this suit.

        27.     Plaintiff has its primary location at 477 Houston Street, Green Cove Springs,

Florida.

        28.     The distribution and diversion of opioids into Florida, and into Clay County and

surrounding areas (collectively, “Plaintiff’s Community”), created the foreseeable opioid crisis

and opioid public nuisance for which Plaintiff here seeks relief.


                                                     7
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 15 of 289 PageID 15



       29.     Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief. These

damages have been suffered, and continue to be suffered directly, by the Plaintiff.

       30.     Plaintiff also seeks the means to abate the epidemic created by Defendants’

wrongful and/or unlawful conduct.

       31.     Plaintiff has standing to bring an action for the opioid epidemic nuisance created

by Defendants.

       32.     Plaintiff has standing to recover damages incurred as a result of Defendants’ actions

and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia, to bring

claims under the federal RICO statute, pursuant to 18 U.S.C. § 1961(3) (“persons” include entities

which can hold legal title to property) and 18 U.S.C. § 1964 (“persons” have standing).

     II.       DEFENDANTS

       A.      Marketing Defendants.

       33.     At all relevant times, the Marketing Defendants each of whom is defined below,

have packaged, distributed, supplied, sold, placed into the stream of commerce, labeled, described,

marketed, advertised, promoted and purported to warn or purported to inform prescribers and users

regarding the benefits and risks associated with the use of the prescription opioid drugs. The

Marketing Defendants, at all times, have manufactured and sold prescription opioids without

fulfilling their legal duty to prevent diversion and report suspicious orders.

               1.      Purdue Entities

       34.     Defendant Purdue Pharma L.P. (“PPL”) is a limited partnership organized under

the laws of Delaware with its principal place of business in Stamford, Connecticut. None of the

PPL’s partners have citizenship in the State of Florida.




                                                  8
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 16 of 289 PageID 16



       35.        Defendant Purdue Pharma Inc. (“PPI”) is a New York corporation with its principal

place of business in Stamford, Connecticut.

       36.        Defendant The Purdue Frederick Company, Inc. (“PFC”) is a New York

corporation with its principal place of business in Stamford, Connecticut.

       37.        PPL, PPI, and PFC and their DEA registrant subsidiaries and affiliates,

(collectively, “Purdue”) are engaged in the manufacture, promotion, distribution, and sale of

opioids nationally, and in Plaintiff’s Community, including the following:

    Product Name       Chemical Name                                             Schedule7
    OxyContin          Oxycodone hydrochloride, extended release                 Schedule II
    MS Contin          Morphine sulfate, extended release                        Schedule II
    Dilaudid           Hydromorphone hydrochloride                               Schedule II
    Dilaudid-HP        Hydromorphone hydrochloride                               Schedule II
    Butrans            Buprenorphine                                             Schedule III
    Hysingla ER        Hydrocodone bitrate                                       Schedule II
    Targiniq ER        Oxycodone hydrochloride and naloxone hydrochloride        Schedule II
       38.        Purdue made thousands of payments to physicians nationwide, including in Florida,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.




7
  Since passage of the Comprehensive Drug Abuse Prevention and Control Act of 1970, 21
U.S.C. §801 et seq. (“CSA” or “Controlled Substances Act”) in 1970, opioids have been
regulated as controlled substances. As controlled substances, they are categorized in five
schedules, ranked in order of their potential for abuse, with Schedule I being the most dangerous.
The CSA imposes a hierarchy of restrictions on prescribing and dispensing drugs based on their
medicinal value, likelihood of addiction or abuse, and safety. Opioids generally had been
categorized as Schedule II or Schedule III drugs; hydrocodone and tapentadol were recently
reclassified from Schedule III to Schedule II. Schedule II drugs have a high potential for abuse,
and may lead to severe psychological or physical dependence. Schedule III drugs are deemed to
have a lower potential for abuse, but their abuse still may lead to moderate or low physical
dependence or high psychological dependence.


                                                      9
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 17 of 289 PageID 17



       39.     OxyContin is Purdue’s largest-selling opioid. Since 2009, Purdue’s national annual

sales of OxyContin have fluctuated between $2.47 billion and $3.1 billion, up four-fold from 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic drugs

(i.e., painkillers). Sales of OxyContin (launched in 1996) went from a mere $49 million in its first

full year on the market to $1.6 billion in 2002.

       40.     In 2007, Purdue settled criminal and civil charges against it for misbranding

OxyContin and agreed to pay the United States $635 million – at the time, one of the largest

settlements with a drug company for marketing misconduct. None of this stopped Purdue. In fact,

Purdue continued to create the false perception that opioids were safe and effective for long term

use, even after being caught, by using unbranded marketing methods to circumvent the system. In

short, Purdue paid the fine when caught and then continued business as usual, deceptively

marketing and selling billions of dollars of opioids each year.

               2.      Actavis Entities

       41.     Allergan PLC is a public limited company incorporated in Ireland with its principal

place of business in Dublin, Ireland. Actavis PLC acquired Allergan PLC in March 2015, and the

combined company changed its name to Allergan PLC in January 2013. Defendant Actavis, Inc.

was acquired by Watson Pharmaceuticals, Inc. in October 2012, and the combined company

changed its name to Actavis, Inc. as of January 2013 and then Actavis PLC in October 2013.

Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal place of business

in Corona, California, and is a wholly owned subsidiary of Allergan PLC (Allergan Finance LLC,

f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). Defendant Actavis Pharma, Inc. is

registered to do business with the Florida Secretary of State as a Delaware corporation with its

principal place of business in New Jersey and was formerly known as Watson Pharma, Inc.

Defendant Actavis LLC is a Delaware limited liability company with its principal place of business


                                                   10
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 18 of 289 PageID 18



in Parsippany, New Jersey. Each of these defendants and entities is owned by Defendant Allergan

PLC, which uses them to market and sell its drugs in the United States. Collectively, these

defendants and entities, and their DEA registrant subsidiaries and affiliates which manufacture,

promote, distribute, and sell prescription opioids, are referred to as “Actavis.”

       42.     Actavis manufactures or has manufactured the following drugs as well as generic

versions of Kadian, Duragesic, and Opana in the United States:

    Product Name     Chemical Name                                                  Schedule
    Kadian           Morphine sulfate, extended release                             Schedule II
    Norco            Hydrocodone bitartate and acetaminophen                        Schedule II
       43.     Actavis made thousands of payments to physicians nationwide, ostensibly for

activities including participating on speakers’ bureaus, providing consulting services, assisting in

post-marketing safety surveillance and other services, but in fact to deceptively promote and

maximize the use of opioids.

               3.      Cephalon Entities

       44.     Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

corporation with its principal place of business in North Wales, Pennsylvania. Teva USA was in

the business of selling generic opioids, including a generic form of OxyContin from 2005 to 2009.

Teva USA is a wholly-owned subsidiary of Defendant Teva Pharmaceutical Industries, Ltd.

(“Teva Ltd.”), an Israeli corporation (collectively “Teva”).

       45.     Defendant Cephalon, Inc. is a Delaware corporation with its principal place of

business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.

       46.     Teva USA and Cephalon, Inc. and their DEA registrant subsidiaries and affiliates

(collectively, “Cephalon”) work together to manufacture, promote, distribute and sell both brand

name and generic versions of opioids including the following:




                                                    11
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 19 of 289 PageID 19




                    Product Name           Chemical Name      Schedule
                    Actiq                  Fentanyl citrate   Schedule II
                    Fentora                Fentanyl buccal    Schedule II
       47.     From 2000 forward, Cephalon has made thousands of payments to physicians

nationwide, including in Florida, many of whom were not oncologists and did not treat cancer

pain, ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

               4.           Janssen Entities

       48.     Defendant Johnson & Johnson (“J&J”) is a New Jersey corporation with its

principal place of business in New Brunswick, New Jersey.

       49.     Defendant Janssen Pharmaceuticals, Inc. (“Janssen Pharmaceuticals”) is a

Pennsylvania corporation with its principal place of business in Titusville, New Jersey, and is a

wholly-owned subsidiary of J&J. J&J corresponds with the FDA regarding Janssen’s products.

Janssen Pharmaceuticals, Inc. was formerly known as Ortho-McNeil-Janssen Pharmaceuticals,

Inc., which in turn was formerly known as Janssen Pharmaceutica, Inc.

       50.     Defendant Noramco, Inc. (“Noramco”) is a Delaware company headquartered in

Wilmington, Delaware and was a wholly owned subsidiary of J&J and its manufacturer of active

pharmaceutical ingredients until July 2016 when J&J sold its interests to SK Capital.

       51.     Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. (“OMP”), now known as

Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey.




                                                     12
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 20 of 289 PageID 20



        52.     Defendant Janssen Pharmaceutica, Inc. (“Janssen Pharmaceutica”), now known as

Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey.

        53.     J&J, Janssen Pharmaceuticals, OMP, and Janssen Pharmaceutica and their DEA

registrant subsidiaries and affiliates (collectively, “Janssen”) are or have been engaged in the

manufacture, promotion, distribution, and sale of opioids nationally, and in Plaintiff’s Community.

Among the drugs Janssen manufactures or manufactured are the following:

         Product Name       Chemical Name                                 Schedule
         Duragesic          Fentanyl                                      Schedule II
                   8
         Nucynta            Tapentadol hydrochloride, immediate release   Schedule II
         Nucynta ER         Tapentadol hydrochloride, extended release    Schedule II
        54.     Janssen made thousands of payments to physicians nationwide, including, upon

information and belief, in Florida, ostensibly for activities including participating on speakers’

bureaus, providing consulting services, assisting in post-marketing safety surveillance and other

services, but in fact to deceptively promote and maximize the use of opioids. Together, Nucynta

and Nucynta ER accounted for $172 million in sales in 2014. Prior to 2009, Duragesic accounted

for at least $1 billion in annual sales.




8
  Since the passage of the Comprehensive Drug Abuse Prevention and Control Act of 1970, 21
U.S.C. §801 et seq. (“CSA” or “Controlled Substances Act”) in 1970, opioids have been
regulated as controlled substances. As controlled substances, they are categorized into five
schedules, ranked in order of their potential for abuse, with Schedule I being the most dangerous.
The CSA imposes a hierarchy of restrictions on prescribing and dispensing drugs based on their
medicinal value, likelihood of addiction or abuse, and safety. Opioids had generally been
categorized as Schedule II or Schedule III drugs; hydrocodone and tapentadol were recently
reclassified from Schedule III to Schedule II. Schedule II drugs have a high potential for abuse,
and may lead to severe psychological or physical dependence. Schedule III drugs are deemed to
have a lower potential for abuse, but their abuse still may lead to moderate or low physical
dependence or high psychological dependence.


                                                    13
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 21 of 289 PageID 21



       55.     Information from the U.S. Department of Justice’s Office of the Inspector General

shows that J&J made payments to prescribers, but does not indicate which drug was being

promoted when J&J made these payments.           At least one prescriber who previously served on

Janssen’s speaker’s bureau received payment for speaking fees, meals, and travel from J&J. Upon

information and belief, J&J would have similarly made payments to other participants in Janssen’s

speaker’s bureau.

       56.     Janssen, like many other companies, has a corporate code of conduct, which

clarifies the organization’s mission, values and principles. Janssen’s employees are required to

read, understand and follow its Code of Conduct for Health Care Compliance. Johnson & Johnson

imposes this code of conduct on Janssen as a pharmaceutical subsidiary of Johnson & Johnson.

Documents posted on Johnson & Johnson’s and Janssen’s websites confirm Johnson & Johnson’s

control of the development and marketing of opioids by Janssen. Janssen’s website “Ethical Code

for the Conduct of Research and Development,” names only Johnson & Johnson and does not

mention Janssen anywhere within the document. The “Ethical Code for the Conduct of Research

and Development” posted on the Janssen website is Johnson & Johnson’s company-wide Ethical

Code, which it requires all of its subsidiaries to follow.

       57.     The “Every Day Health Care Compliance Code of Conduct” posted on Janssen’s

website is a Johnson & Johnson company-wide document that describes Janssen as one of the

“Pharmaceutical Companies of Johnson & Johnson” and as one of the “Johnson & Johnson

Pharmaceutical Affiliates.”       It governs how “[a]ll employees of Johnson & Johnson

Pharmaceutical Affiliates,” including those of Janssen, “market, sell, promote, research, develop,

inform and advertise Johnson & Johnson Pharmaceutical Affiliates’ products.” All Janssen




                                                  14
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 22 of 289 PageID 22



officers, directors, employees, sales associates must certify that they have “read, understood and

will abide by” the code. The code governs all of the forms of marketing at issue in this case.

       58.     J&J made payments to thousands of physicians nationwide, including in Florida,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

       59.     Information from the U.S. Department of Justice’s Office of the Inspector General

shows that J&J made payments to prescribers, but does not indicate which drug was being

promoted when J&J made these payments.         At least one prescriber who previously served on

Janssen’s speakers’ bureau received payment for speaking fees, meals, and travel from J&J. Upon

information and belief, J&J would have similarly made payments to other participants in Janssen’s

speaker’s bureau.

               5.     Endo Entities

       60.     Defendant Endo Health Solutions Inc. (“EHS”) is a Delaware corporation with its

principal place of business in Malvern, Pennsylvania.

       61.     Defendant Endo Pharmaceuticals, Inc. (“EPI”) is a wholly-owned subsidiary of

EHS and is a Delaware corporation with its principal place of business in Malvern, Pennsylvania.

Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its principal place of business

located in Chestnut Ridge, New York.

       62.     Par Pharmaceutical, Inc. is a wholly owned subsidiary of Par Pharmaceutical

Companies, Inc. f/k/a Par Pharmaceutical Holdings, Inc.

       63.     Defendant Par Pharmaceutical Companies, Inc. is a Delaware corporation with its

principal place of business located in Chestnut Ridge, New York. (Par Pharmaceutical, Inc. and

Par Pharmaceutical Companies, Inc. collectively “Par Pharmaceutical”) Par Pharmaceutical was


                                                15
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 23 of 289 PageID 23



acquired by Endo International plc. in September 2015 and is an operating company of Endo

International plc.

         64.    EHS, EPI, AND Par Pharmaceutical, and their DEA registrant subsidiaries

(collectively, “Endo”) manufacture opioids sold nationally, and in Plaintiff’s Community. Among

the drugs Endo manufactures or manufactured are the following:

 Product Name        Chemical Name                                    Schedule
 Opana ER            Oxymorphone hydrochloride, extended release      Schedule II
 Opana               Oxymorphone hydrochloride                        Schedule II
 Percodan            Oxymorphone hydrochloride and aspirin            Schedule II
 Percocet            Oxymorphone hydrochloride and acetaminophen      Schedule II
 Generic             Oxycodone                                        Schedule II
 Generic             Oxymorphone                                      Schedule II
 Generic             Hydromorphone                                    Schedule II
 Generic             Hydrocodone                                      Schedule II
         65.    Endo made thousands of payments to physicians nationwide, including in Florida,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

         66.    Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in

2012, accounting for over 10% of Endo’s total revenue; Opana ER yielded revenue of $1.15 billion

from 2010 to 2013. Endo also manufactures and sells generic opioids, both directly and through

its subsidiaries, Par Pharmaceutical and Qualitest Pharmaceuticals, Inc., including generic

oxycodone, oxymorphone, hydromorphone, and hydrocodone products.




                                                   16
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 24 of 289 PageID 24



             67.   The Food and Drug Administration requested that Endo remove Opana ER from

the market in June 2017. The FDA relied on post-marketing data in reaching its conclusion based

on risk of abuse.9

                   6.     Insys Therapeutics, Inc.

             68.   Insys Therapeutics, Inc. is a Delaware corporation with its principal place of

business in Chandler, Arizona. Insys’s principal product and source of revenue is Subsys:

    Product Name        Chemical Name                                    Schedule
    Subsys              Fentanyl                                         Schedule II
             69.   Insys made thousands of payments to physicians nationwide, including in Florida,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

             70.   Subsys is a transmucosal immediate-release formulation (TIRF) of fentanyl,

contained in a single-dose spray device intended for oral, under-the-tongue administration. Subsys

was approved by the FDA solely for the treatment of breakthrough cancer pain.

             71.   In 2016, Insys made approximately $330 million in net revenue from Subsys. Insys

promotes, sells, and distributes Subsys throughout the United States, and in Plaintiff’s Community.

             72.   Insys’s founder and owner was recently arrested and charged, along with other

Insys executives, with multiple felonies in connection with an alleged conspiracy to bribe

practitioners to prescribe Subsys and defraud insurance companies. Other Insys executives and

managers were previously indicted.

                   7.     Mallinckrodt Entities



9
 Press Release, U.S. Food and Drug Admin., FDA Requests Removal of Opana ER for Risks
Related to Abuse, (June 8, 2017),


                                                  17
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 25 of 289 PageID 25



       73.     Defendant Mallinckrodt plc is an Irish public limited company with its headquarters

in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt plc was incorporated in January

2013 for the purpose of holding the pharmaceuticals business of Covidien plc, which was fully

transferred to Mallinckrodt plc in June of that year. Mallinckrodt plc also operates under the

registered business name Mallinckrodt Pharmaceuticals, with its U.S. headquarters in Hazelwood,

Missouri. Defendant SpecGx LLC is a Delaware limited liability company with its headquarters

in Clayton, Missouri and is a wholly owned subsidiary of Mallinckrodt plc. Mallinckrodt plc,

Mallinckrodt LLC, and SpecGx LLC and their DEA registrant subsidiaries and affiliates (together

“Mallinckrodt”) manufacture, market, sell and distribute pharmaceutical drugs throughout the

United States, and in Plaintiff’s Community. Mallinckrodt is the largest U.S. supplier of opioid

pain medications and among the top ten generic pharmaceutical manufacturers in the United

States, based on prescriptions.

       74.     Mallinckrodt manufactures and markets two branded opioids: Exalgo, which is

extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and Roxicodone,

which is oxycodone, sold in 15 and 30 mg dosage strengths. In 2009, Mallinckrodt Inc., a

subsidiary of Covidien plc, acquired the U.S. rights to Exalgo. The FDA approved Exalgo for

treatment of chronic pain in 2012. Mallinckrodt further expanded its branded opioid portfolio in

2012 by purchasing Roxicodone from Xanodyne Pharmaceuticals. In addition, Mallinckrodt

developed Xartemis XR, an extended-release combination of oxycodone and acetaminophen,

which the FDA approved in March 2014, and which Mallinckrodt has since discontinued.

Mallinckrodt promoted its branded opioid products with its own direct sales force.

       75.     While it has sought to develop its branded opioid products, Mallinckrodt has long

been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015 it received




                                               18
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 26 of 289 PageID 26



approximately 25% of the U.S. Drug Enforcement Administration’s (“DEA”) entire annual quota

for controlled substances that it manufactures. Mallinckrodt also estimated, based on IMS Health

data for the same period, that its generics claimed an approximately 23% market share of DEA

Schedules II and III opioid and oral solid dose medications.10

          76.   Mallinckrodt operates a vertically integrated business in the United States:

(1) importing raw opioid materials, (2) manufacturing generic opioid products, primarily at its

facility in Hobart, New York, and (3) marketing and selling its products to drug distributors,

specialty pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers

that have mail-order pharmacies, and hospital buying groups.

          77.   Among the drugs Mallinckrodt manufactures or has manufactured are the

following:

 Product Name        Chemical Name                                         Schedule
 Exalgo              Hydromorphone hydrochloride, extended release         Schedule II
 Roxicodone          Oxycodone hydrochloride                               Schedule II
 Xartemis XR         Oxycodone hydrochloride and acetaminophen             Schedule II
 Methadose           Methadone hydrochloride                               Schedule II
 Generic             Morphine sulfate, extended release                    Schedule II
 Generic             Morphine sulfate oral solution                        Schedule II
 Generic             Fentanyl transdermal system                           Schedule II
 Generic             Oral transmucosal fentanyl citrate                    Schedule II
 Generic             Oxycodone and acetaminophen                           Schedule II
 Generic             Hydrocodone bitartrate and acetaminophen              Schedule II
 Generic             Hydromorphone hydrochloride                           Schedule II
 Generic             Hydromorphone hydrochloride, extended release         Schedule II
 Generic             Naltrexone hydrochloride                              unscheduled
 Generic             Oxymorphone hydrochloride                             Schedule II



10
   Mallinckrodt plc, Annual Report (Form 10-K), at 5 (Nov. 29, 2016),
https://www.sec.gov/Archives/edgar/data/1567892/000156789216000098/0001567892-16-
000098-index.htm.


                                                      19
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 27 of 289 PageID 27



 Product Name        Chemical Name                                             Schedule
 Generic             Methadone hydrochloride                                   Schedule II
 Generic             Oxycodone hydrochloride                                   Schedule II
 Generic             Buprenorphine and naloxone                                Schedule III
       78.      Mallinckrodt made thousands of payments to physicians nationwide, including in

Florida, ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

       79.      Collectively, Purdue, Actavis, Cephalon, Janssen, Endo, Insys, and Mallinckrodt

are referred to as “Marketing Defendants.”11

       B.       Distributor Defendants

       80.      The Distributor Defendants are defined below. At all relevant times, the Distributor

Defendants have distributed, supplied, sold, and placed into the stream of commerce the

prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Defendants universally failed to comply with federal and/or state law. The Distributor Defendants

are engaged in “wholesale distribution,” as defined under state and federal law. Plaintiff alleges

the unlawful conduct by the Distributor Defendants is a substantial cause for the volume of

prescription opioids plaguing Plaintiff’s Community.

                1.     Cardinal Health, Inc.

       81.      Cardinal Health, Inc. (“Cardinal”) describes itself as a “global, integrated health

care services and products company,” and is the fifteenth largest company by revenue in the U.S.,

with annual revenue of $121 billion in 2016. Through its various DEA registered subsidiaries and


 Together, Purdue, Cephalon, Janssen, and Endo are also sometimes referred to as “RICO
11

Marketing Defendants.”


                                                  20
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 28 of 289 PageID 28



affiliated entities, Cardinal distributes pharmaceutical drugs, including opioids, throughout the

country, including in Plaintiff’s Community. Cardinal is an Ohio corporation and is headquartered

in Dublin, Ohio. Cardinal, including its subsidiaries and affiliated entities, has been licensed as a

wholesale distributor of dangerous drugs since 1990. Based on Defendant Cardinal’s own

estimates, one of every six pharmaceutical products dispensed to United States patients travels

through the Cardinal Health network.

               2.        McKesson Corporation

       82.     McKesson Corporation (“McKesson”) is fifth on the list of Fortune 500 companies,

ranking immediately after Apple and ExxonMobil, with annual revenue of $191 billion in 2016.

McKesson, through its various DEA registered subsidiaries and affiliated entities, is a wholesaler

of pharmaceutical drugs that distributes opioids throughout the country, including in Plaintiff’s

Community. McKesson is incorporated in Delaware, with its principal place of business in San

Francisco, California.

       83.     In January 2017, McKesson paid a record $150 million to resolve an investigation

by the U.S. Department of Justice (“DOJ”) for failing to report suspicious orders of certain drugs,

including opioids. In addition to the monetary penalty, the DOJ required McKesson to suspend

sales of controlled substances from distribution centers in Ohio, Florida, Michigan and Colorado.

The DOJ described these “staged suspensions” as “among the most severe sanctions ever agreed

to by a [Drug Enforcement Administration] registered distributor.”

               3.        AmerisourceBergen Drug Corporation

       84.     AmerisourceBergen Drug Corporation (“AmerisourceBergen”), through its various

DEA registered subsidiaries and affiliated entities, is a wholesaler of pharmaceutical drugs that

distributes   opioids    throughout    the   country,   including    in   Plaintiff’s   Community.

AmerisourceBergen is the eleventh largest company by revenue in the United States, with annual


                                                 21
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 29 of 289 PageID 29



revenue of $147 billion in 2016. AmerisourceBergen’s principal place of business is located in

Chesterbrook, Pennsylvania, and it is incorporated in Delaware. AmerisourceBergen has been

licensed as a wholesale distributor of dangerous drugs since 1988.

                4.     CVS Health Corporation

        85.     Defendant CVS Health Corporation (“CVS”) is a Delaware corporation with its

principal place of business in Rhode Island. CVS, through its various DEA registered subsidiaries

and affiliated entities, conducts business as a licensed wholesale distributor. At all times relevant

to this Complaint, CVS distributed prescription opioids throughout the United States, including in

Florida and Plaintiff’s Community specifically.

                5.     Walgreens Boots Alliance, Inc.

        86.     Defendant Walgreens Boots Alliance, Inc., (“Walgreens”) is a Delaware

corporation with its principal place of business in Illinois. Walgreens, through its various DEA

registered subsidiaries and affiliated entities, conducts business as a licensed wholesale distributor.

At all times relevant to this Complaint, Walgreens distributed prescription opioids throughout the

United States, including in Florida and Plaintiff’s Community specifically.

                6.     Walmart Inc.

        87.     Defendant Walmart Inc., (“Walmart”) formerly known as Wal-Mart Stores, Inc., is

a Delaware corporation with its principal place of business in Bentonville, Arkansas. Walmart,

through its various DEA registered subsidiaries and affiliated entities, conducts business as a

licensed wholesale distributor. At all times relevant to this Complaint, Walmart distributed

prescription opioids throughout the United States, including in Florida and Plaintiff’s Community

specifically.

        88.     Collectively, Defendants CVS, Walgreens, and Walmart are referred to as

“National Retail Pharmacies.”


                                                  22
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 30 of 289 PageID 30



       89.     Cardinal, McKesson, AmerisourceBergen, and the National Retail Pharmacies are

collectively referred to as the “Distributor Defendants.”12

       90.     Defendants include the above referenced entities as well as their predecessors,

successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution, sale and/or dispensing of opioids.

       C.      Agency and Authority

       1.      All of the actions described in this Complaint are part of, and in furtherance of,

the unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants’

officers, agents, employees, or other representatives while actively engaged in the management

of Defendants’ affairs within the course and scope of their duties and employment, and/or with

Defendants’ actual, apparent, and/or ostensible authority.

                                  FACTUAL ALLEGATIONS

      I.       FACTS COMMON TO ALL CLAIMS13

       A.      Opioids and Their Effects

       91.     Opioids are a class of drug that bind with opioid receptors in the brain and includes

natural, synthetic, and semi-synthetic opioids. Natural opioids are derived from the opium poppy.

Generally used to treat pain, opioids produce multiple effects on the human body, the most

significant of which are analgesia, euphoria, and respiratory depression.




12
 Together, Purdue, Actavis, Cephalon, Janssen, Endo, Mallinckrodt, Cardinal, McKesson, and
AmerisourceBergen are sometimes referred to as “RICO Supply Chain Defendants.”
13
   The allegations in this complaint are made upon information and belief. Plaintiff reserves the
right to seek leave to amend or correct this Complaint and/or add additional defendants based
upon analysis of the ARCOS, IMS Health, and other data and upon further investigation and
discovery.


                                                23
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 31 of 289 PageID 31



       92.     The medicinal properties of opioids have been recognized for millennia—as has

their potential for abuse and addiction. The opium poppy contains various opium alkaloids, three

of which are used in the pharmaceutical industry today: morphine, codeine, and thebaine. Early

use of opium in Western medicine was with a tincture of opium and alcohol called laudanum,

which contains all of the opium alkaloids and is still available by prescription today. Chemists first

isolated the morphine and codeine alkaloids in the early 1800s.

       93.     In 1827, the pharmaceutical company Merck began large-scale production and

commercial marketing of morphine. During the American Civil War, field medics commonly used

morphine, laudanum, and opium pills to treat the wounded, and many veterans were left with

morphine addictions. By 1900, an estimated 300,000 people were addicted to opioids in the United

States, and many doctors prescribed opioids solely to prevent their patients from suffering

withdrawal symptoms. The nation’s first Opium Commissioner, Hamilton Wright, remarked in

1911, “The habit has this nation in its grip to an astonishing extent. Our prisons and our hospitals

are full of victims of it, it has robbed ten thousand businessmen of moral sense and made them

beasts who prey upon their fellows . . . it has become one of the most fertile causes of unhappiness

and sin in the United States.”14

       94.     Pharmaceutical companies tried to develop substitutes for opium and morphine that

would provide the same analgesic effects without the addictive properties. In 1898, Bayer

Pharmaceutical Company began marketing diacetylmorphine (obtained from acetylation of

morphine) under the trade name “Heroin.” Bayer advertised heroin as a non-addictive cough and



14
   Nick Miroff, From Teddy Roosevelt to Trump: How Drug Companies Triggered an Opioid
Crisis a Century Ago, The Wash. Post (Oct. 17, 2017),
https://www.washingtonpost.com/news/retropolis/wp/2017/09/29/the-greatest-drug-fiends-in-
the-world-an-american-opioid-crisis-in-1908/?utm_term=.7832633fd7ca.


                                                 24
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 32 of 289 PageID 32



cold remedy suitable for children, but as its addictive nature became clear, heroin distribution in

the U.S. was limited to prescription only in 1914 and then banned altogether a decade later.

        95.    Although heroin and opium became classified as illicit drugs, there is little

difference between them and prescription opioids. Prescription opioids are synthesized from the

same plant as heroin, have similar molecular structures, and bind to the same receptors in the

human brain.

        96.    Due to concerns about their addictive properties, prescription opioids have usually

been regulated at the federal level as Schedule II controlled substances by the U.S. Drug

Enforcement Administration (“DEA”) since 1970.

        97.    Throughout the twentieth century, pharmaceutical companies continued to develop

prescription opioids like Percodan, Percocet, and Vicodin, but these opioids were generally

produced in combination with other drugs, with relatively low opioid content.

        98.    In contrast, OxyContin, the product whose launch in 1996 ushered in the modern

opioid epidemic, is pure oxycodone. Purdue initially made it available in the following strengths:

10 mg, 15 mg, 20 mg, 30 mg, 40 mg, 60 mg, 80 mg, and 160 mg. The weakest OxyContin delivers

as much narcotic as the strongest Percocet, and some OxyContin tablets delivered sixteen times

that.

        99.    Medical professionals describe the strength of various opioids in terms of morphine

milligram equivalents (“MME”). According to the CDC, doses at or above 50 MME/day double

the risk of overdose compared to 20 MME/day, and one study found that patients who died of

opioid overdose were prescribed an average of 98 MME/day.

        100.   Different opioids provide varying levels of MMEs. For example, just 33 mg of

oxycodone provides 50 MME. Thus, at OxyContin’s twice-daily dosing, the 50 MME/day




                                                25
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 33 of 289 PageID 33



threshold is nearly reached by a prescription of 15 mg twice daily. One 160 mg tablet of

OxyContin, which Purdue took off the market in 2001, delivered 240 MME.

       101.      The wide variation in the MME strength of prescription opioids renders misleading

any effort to capture “market share” by the number of pills or prescriptions attributed to Purdue or

other manufacturers. Purdue, in particular, focuses its business on branded, highly potent pills,

causing it to be responsible for a significant percent of the total amount of MME in circulation,

even though it currently claims to have a small percentage of the market share in terms of pills or

prescriptions.

       102.      Fentanyl is a synthetic opioid that is 100 times stronger than morphine and 50 times

stronger than heroin. First developed in 1959, fentanyl is showing up more and more often in the

market for opioids created by Marketing Defendants’ promotion, with particularly lethal

consequences.

       103.      The effects of opioids vary by duration. Long-acting opioids, such as Purdue’s

OxyContin and MS Contin, Janssen’s Nucynta ER and Duragesic, Endo’s Opana ER, and

Actavis’s Kadian, are designed to be taken once or twice daily and are purported to provide

continuous opioid therapy for, in general, 12 hours. Short-acting opioids, such as Cephalon’s

Actiq and Fentora, are designed to be taken in addition to long-acting opioids to address “episodic

pain” (also referred to as “breakthrough pain”) and provide fast-acting, supplemental opioid

therapy lasting approximately 4 to 6 hours. Still other short-term opioids, such as Insys’s Subsys,

are designed to be taken in addition to long-acting opioids to specifically address breakthrough

cancer pain, excruciating pain suffered by some patients with end-stage cancer. The Marketing

Defendants promoted the idea that pain should be treated by taking long-acting opioids




                                                  26
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 34 of 289 PageID 34



continuously and supplementing them by also taking short-acting, rapid-onset opioids for episodic

or “breakthrough” pain.

       104.    Patients develop tolerance to the analgesic effect of opioids relatively quickly. As

tolerance increases, a patient typically requires progressively higher doses in order to obtain the

same perceived level of pain reduction. The same is true of the euphoric effects of opioids—the

“high.” However, opioids depress respiration, and at very high doses can and often do arrest

respiration altogether. At higher doses, the effects of withdrawal are more severe. Long-term

opioid use can also cause hyperalgesia, a heightened sensitivity to pain.

       105.    Discontinuing opioids after more than just a few weeks of therapy will cause most

patients to experience withdrawal symptoms.           These withdrawal symptoms include: severe

anxiety, nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium, pain,

and other serious symptoms, which may persist for months after a complete withdrawal from

opioids, depending on how long the opioids were used.

       106.    As a leading pain specialist doctor put it, the widespread, long-term use of opioids

“was a de facto experiment on the population of the United States. It wasn’t randomized, it wasn’t

controlled, and no data was collected until they started gathering death statistics.”

       B.      The Resurgence of Opioid Use in the United States

               1.      The Sackler Family Integrated Advertising and Medicine

       107.    Given the history of opioid abuse in the U.S. and the medical profession’s resulting

wariness, the commercial success of the Marketing Defendants’ prescription opioids would not

have been possible without a fundamental shift in prescribers’ perception of the risks and benefits

of long-term opioid use.

       108.    As it turned out, Purdue Pharma was uniquely positioned to execute just such a

maneuver, thanks to the legacy of a man named Arthur Sackler. The Sackler family is the sole


                                                 27
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 35 of 289 PageID 35



owner of Purdue and one of the wealthiest families in America, with a net worth of $13 billion as

of 2016. All of the company’s profits go to Sackler family trusts and entities.15 Yet the Sacklers

have avoided publicly associating themselves with Purdue, letting others serve as the spokespeople

for the company.

         109.   The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small

patent-medicine company called the Purdue Frederick Company in 1952. It was Arthur Sackler

who created the pharmaceutical advertising industry as we know it, laying the groundwork for the

OxyContin promotion that would make the Sacklers billionaires.

         110.   Arthur Sackler was both a psychiatrist and a marketing executive. He pioneered

both print advertising in medical journals and promotion through physician “education” in the

form of seminars and continuing medical education courses. He also understood the persuasive

power of recommendations from fellow physicians, and did not hesitate to manipulate information

when necessary. For example, one promotional brochure produced by his firm for Pfizer showed

business cards of physicians from various cities as if they were testimonials for the drug, but when

a journalist tried to contact these doctors, he discovered that they did not exist.16

         111.   It was Arthur Sackler who, in the 1960s, made Valium into the first $100-million

drug, so popular it became known as “Mother’s Little Helper.” When Arthur’s client, Roche,

developed Valium, it already had a similar drug, Librium, another benzodiazepine, on the market

for treatment of anxiety. So Arthur invented a condition he called “psychic tension”—essentially




15
  David Armstrong, The Man at the Center of the Secret OxyContin Files, STAT News (May
12, 2016), https://www.statnews.com/2016/05/12/man-center-secret-oxycontin-files/.
16
     Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of Addiction and Death 204 (2003).


                                                  28
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 36 of 289 PageID 36



stress—and pitched Valium as the solution.17 The campaign, for which Arthur was compensated

based on volume of pills sold,18 was a remarkable success.

          112.   Arthur Sackler created not only the advertising for his clients but also the vehicle

to bring their advertisements to doctors—a biweekly newspaper called the Medical Tribune, which

was distributed for free to doctors nationwide. Arthur also conceived a company now called IMS

Health Holdings Inc., which monitors prescribing practices of every doctor in the U.S. and sells

this valuable data to pharmaceutical companies like Marketing Defendants, who utilize it to target

and tailor their sales pitches to individual physicians.

                 2.     Purdue Developed and Aggressively Promoted OxyContin

          113.   After the Sackler brothers acquired the Purdue Frederick Company in 1952, Purdue

sold products ranging from earwax remover to antiseptic, and it became a profitable business. As

an advertising executive, Arthur Sackler was not involved, on paper at least, in running Purdue,

which would have been a conflict of interest. Raymond Sackler became Purdue’s head executive,

while Mortimer Sackler ran Purdue’s UK affiliate.

          114.   In the 1980s, Purdue, through its UK affiliate, acquired a Scottish drug producer

that had developed a sustained-release technology suitable for morphine. Purdue marketed this

extended-release morphine as MS Contin, and it quickly became Purdue’s bestseller. As the patent

expiration for MS Contin loomed, Purdue searched for a drug to replace it. Around that time,

Raymond’s oldest son, Richard Sackler, who was also a trained physician, became more involved

in the management of the company. Richard had grand ambitions for the company; according to




17
  Id. at 202; see also One Family Reaped Billions From Opioids, WBUR On Point (Oct. 23,
2017), http://www.wbur.org/onpoint/2017/10/23/one-family-reaped-billions-from-opioids.
18
     Meier, supra note 18, at 201-203.


                                                  29
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 37 of 289 PageID 37



a long-time Purdue sales representative, “Richard really wanted Purdue to be big—I mean really

big.”19 Richard believed Purdue should develop another use for its “Contin” timed-release system.

           115.   In 1990, Purdue’s vice president of clinical research, Robert Kaiko, sent a memo to

Richard and other executives recommending that the company work on a pill containing

oxycodone. At the time, oxycodone was perceived as less potent than morphine, largely because

it was most commonly prescribed as Percocet, a relatively weak oxycodone-acetaminophen

combination pill. MS Contin was not only approaching patent expiration but had always been

limited by the stigma associated with morphine. Oxycodone did not have that problem, and what’s

more, it was sometimes mistakenly called “oxycodeine,” which also contributed to the perception

of relatively lower potency, because codeine is weaker than morphine. Purdue acknowledged

using this to its advantage when it later pled guilty to criminal charges of “misbranding” in 2007,

admitting that it was “well aware of the incorrect view held by many physicians that oxycodone

was weaker than morphine” and “did not want to do anything ‘to make physicians think that

oxycodone was stronger or equal to morphine’ or to ‘take any steps . . . that would affect the unique

position that OxyContin’” held among physicians.20

           116.   For Purdue and OxyContin to be “really big,” Purdue needed to both distance its

new product from the traditional view of narcotic addiction risk, and broaden the drug’s uses

beyond cancer pain and hospice care. A marketing memo sent to Purdue’s top sales executives in

March 1995 recommended that if Purdue could show that the risk of abuse was lower with

OxyContin than with traditional immediate-release narcotics, sales would increase.21 As discussed


19
  Christopher Glazek, The Secretive Family Making Billions from the Opioid Crisis, Esquire
(Oct. 16, 2017), http://www.esquire.com/news-politics/a12775932/sackler-family-oxycontin/.
20
     Id.
21
     Meier, supra note 18, at 269.


                                                  30
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 38 of 289 PageID 38



below, Purdue did not find or generate any such evidence, but this did not stop Purdue from making

that claim regardless.

          117.      Armed with this and other misrepresentations about the risks and benefits of its new

drug, Purdue was able to open an enormous untapped market: patients with non-end-of-life, non-

acute, everyday aches and pains. As Dr. David Haddox, a Senior Medical Director at Purdue,

declared on the Early Show, a CBS morning talk program, “There are 50 million patients in this

country who have chronic pain that’s not being managed appropriately every single day.

OxyContin is one of the choices that doctors have available to them to treat that.”22

          118.      In pursuit of these 50 million potential customers, Purdue poured resources into

OxyContin’s sales force and advertising, particularly to a far broader audience of primary care

physicians who treated patients with chronic pain complaints. The graph below shows how

promotional spending in the first six years following OxyContin’s launch dwarfed Purdue’s

spending on MS Contin or Defendant Janssen’s spending on Duragesic: 23




22
     Id., at 156.
23
   U.S. General Accounting, OxyContin Abuse and Diversion and Efforts to Address the
Problem, Office Report to Congressional Requesters, 22 (Dec. 2003),
http://gao.gov/new.items/d04110.pdf .


                                                     31
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 39 of 289 PageID 39




       119.    Prior to Purdue’s launch of OxyContin, no drug company had ever promoted such

a pure, high-strength Schedule II narcotic to so wide an audience of general practitioners.

       120.    In the two decades following OxyContin’s launch, Purdue continued to devote

substantial resources to its promotional efforts.

       121.    Purdue has generated estimated sales of more than $35 billion from opioids since

1996, raking in more than $3 billion in 2015 alone. Remarkably, its opioid sales continued to climb

even after a period of media attention and government inquiries regarding OxyContin abuse in the

early 2000s and a criminal investigation culminating in guilty pleas in 2007. Purdue proved itself

skilled at evading full responsibility and continuing to sell through the controversy. The company’s

annual opioid sales of $3 billion in 2015 represent a four-fold increase from its 2006 sales of $800

million.

       122.    One might imagine that Richard Sackler’s ambitions have been realized. But in the

best tradition of family patriarch Arthur Sackler, Purdue has its eyes on even greater profits. Under


                                                    32
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 40 of 289 PageID 40



the name of Mundipharma, the Sacklers are looking to new markets for their opioids—employing

the exact same playbook in South America, China, and India as they did in the United States.

       123.   In May 2017, a dozen members of Congress sent a letter to the World Health

Organization, warning it of the deceptive practices Purdue is unleashing on the rest of the world

through Mundipharma:

              We write to warn the international community of the deceptive and
              dangerous practices of Mundipharma International—an arm of
              Purdue Pharmaceuticals. The greed and recklessness of one
              company and its partners helped spark a public health crisis in the
              United States that will take generations to fully repair. We urge the
              World Health Organization (WHO) to do everything in its power to
              avoid allowing the same people to begin a worldwide opioid
              epidemic. Please learn from our experience and do not allow
              Mundipharma to carry on Purdue’s deadly legacy on a global
              stage. . . .

              Internal documents revealed in court proceedings now tell us that
              since the early development of OxyContin, Purdue was aware of the
              high risk of addiction it carried. Combined with the misleading and
              aggressive marketing of the drug by its partner, Abbott Laboratories,
              Purdue began the opioid crisis that has devastated American
              communities since the end of the 1990s. Today, Mundipharma is
              using many of the same deceptive and reckless practices to sell
              OxyContin abroad. . . .

              In response to the growing scrutiny and diminished U.S. sales, the
              Sacklers have simply moved on. On December 18, the Los Angeles
              Times published an extremely troubling report detailing how in spite
              of the scores of lawsuits against Purdue for its role in the U.S. opioid
              crisis, and tens of thousands of overdose deaths, Mundipharma now
              aggressively markets OxyContin internationally. In fact,
              Mundipharma uses many of the same tactics that caused the opioid
              epidemic to flourish in the U.S., though now in countries with far
              fewer resources to devote to the fallout.24




24
  Letter from Members of Congress to Dr. Margaret Chan, Director-General, World Health
Organization (May 3, 2017), http://katherineclark.house.gov/_cache/files/a577bd3c-29ec-4bb9-
bdba-1ca71c784113/mundipharma-letter-signatures.pdf.


                                                33
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 41 of 289 PageID 41



       124.    With the opioid epidemic in the United States now a national public health

emergency, Purdue announced on February 9, 2018, that it had reduced its sales force and would

no longer promote opioids directly to prescribers. Under this new policy, sales representatives will

no longer visit doctors’ offices to discuss opioid products. Despite its new policy, however, Purdue

continues to use the same aggressive sales tactics to push opioids in other countries. Purdue’s

recent pivot to untapped markets—after extracting substantial profits from American communities

and leaving local governments to address the devastating and still growing damage the company

caused—only serves to underscore that Purdue’s actions have been knowing, intentional, and

motivated by profits throughout this entire story.

               3.      Other Marketing Defendants Leapt at the Opioid Opportunity

       125.    Purdue created a market for the use of opioids for a range of common aches and

pains by misrepresenting the risks and benefits of its opioids, but it was not alone. The other

Marketing Defendants—already manufacturers of prescription opioids—positioned themselves to

take advantage of the opportunity Purdue created, developing both branded and generic opioids to

compete with OxyContin, while, together with Purdue and each other, misrepresenting the safety

and efficacy of their products. These misrepresentations are described in greater detail in Sections

D below.

       126.    Endo, which already sold Percocet and Percodan, was the first to submit an

application for a generic extended-release oxycodone to compete with OxyContin. At the same

time, Endo sought FDA approval for another potent opioid, immediate-release and extended-

release oxymorphone, branded as Opana and Opana ER. Oxymorphone, like OxyContin’s active

ingredient oxycodone, is not a new drug; it was first synthesized in Germany in 1914 and sold in

the U.S. by Endo beginning in 1959 under the trade name Numorphan. But Numorphan tablets

proved highly susceptible to abuse. Called “blues” after the light blue color of the 10 mg pills,


                                                34
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 42 of 289 PageID 42



Numorphan provoked, according to some users, a more euphoric high than heroin. As the National

Institute on Drug Abuse observed in its 1974 report, “Drugs and Addict Lifestyle,” Numorphan

was extremely popular among addicts for its quick and sustained effect. 25 Endo withdrew oral

Numorphan from the market in 1979.26

           127.   Two decades later, however, as communities around the U.S. were first sounding

the alarm about prescription opioids and Purdue executives were being called to testify before

Congress about the risks of OxyContin, Endo essentially reached back into its inventory, dusted

off a product it had previously shelved after widespread abuse, and pushed it into the marketplace

with a new trade name, Opana.

           128.   The clinical trials submitted with Endo’s first application for approval of Opana

were insufficient to demonstrate efficacy, and some subjects in the trials overdosed and had to be

revived with naloxone. Endo then submitted new “enriched enrollment” clinical trials, in which

trial subjects who do not respond to the drug are excluded from the trial, and obtained approval.

Endo began marketing Opana and Opana ER in 2006.

           129.   Like Numorphan, Opana ER was highly susceptible to abuse. On June 8, 2017, the

FDA sought removal of Opana ER. In its press release, the FDA indicated that this is the first time

the agency has taken steps to remove a currently marketed opioid pain medication from sale due




25
  John Fauber & Kristina Fiore, Abandoned Painkiller Makes a Comeback, MedPage Today
(May 10, 2015), https://www.medpagetoday.com/psychiatry/addictions/51448.
26
     Id.


                                                 35
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 43 of 289 PageID 43



to the public health consequences of abuse.”27 On July 6, 2017, Endo agreed to withdraw Opana

ER from the market.28

       130.    Janssen, which already marketed the Duragesic (fentanyl) patch for severe pain,

also joined Purdue in pursuit of the broader chronic pain market. It sought to expand the use of

Duragesic through, for example, advertisements proclaiming, “It’s not just for end stage cancer

anymore!” This claim earned Janssen a warning letter from the FDA, for representing that

Duragesic was “more useful in a broader range of conditions or patients than has been

demonstrated by substantial evidence.”29

       131.    Janssen also developed a new opioid compound called tapentadol in 2009,

marketed as Nucynta for the treatment of moderate to severe pain. Janssen launched the extended-

release version, Nucynta ER, for treatment of chronic pain in 2011.

       132.    By adding additional opioids or expanding the use of their existing opioid products,

the other Marketing Defendants took advantage of the market created by Purdue’s aggressive

promotion of OxyContin and reaped enormous profits. For example, Opana ER alone generated

more than $1 billion in revenue for Endo in 2010 and again in 2013. Janssen also passed the

$1 billion mark in sales of Duragesic in 2009.




27
   Press Release, U.S. Food & Drug Administration, FDA Requests Removal of Opana ER for
Risks Relatd to Abuse (June 8, 2017),
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
28
   Endo Pulls Opiod as U.S. Seeks to Tackle Abuse Epidemic, Reuters (July 6, 2017, 9:59am),
https://www.reuters.com/article/us-endo-intl-opana-idUSKBN19R2II.
29
   Letter from FDA to Janssen (March 30, 2000), http://wayback.archive-
it.org/7993/20170112070823/http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegula
toryInformation/EnforcementActivitiesbyFDA/WarningLettersandNoticeofViolationLetterstoPh
armaceuticalCompanies/UCM165395.pdf.


                                                 36
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 44 of 289 PageID 44



       C.      Defendants’ Conduct Created an Abatable Public Nuisance

       133.    As alleged throughout this Complaint, Defendants’ conduct created a public health

crisis and a public nuisance.

       134.    The public nuisance—i.e., the opioid epidemic—created, perpetuated, and

maintained by Defendants can be abated and further recurrence of such harm and inconvenience

can be abated by, inter alia, (a) educating prescribers (especially primary care physicians and the

most prolific prescribers of opioids) and patients regarding the true risks and benefits of opioids,

including the risk of addiction, in order to prevent the next cycle of addiction; (b) providing

addiction treatment to patients who are already addicted to opioids; and (c) making naloxone

widely available so that overdoses are less frequently fatal.

       135.    Defendants have the ability to act to abate the public nuisance, and the law

recognizes that they are uniquely well positioned to do so. It is the manufacturer of a drug that has

primary responsibility to assure the safety, efficacy, and appropriateness of a drug’s labeling,

marketing, and promotion. And, all companies in the supply chain of a controlled substance are

primarily responsible for ensuring that such drugs are only distributed and dispensed to appropriate

patients and not diverted. These responsibilities exist independent of any FDA or DEA regulation,

to ensure that their products and practices meet both federal and state consumer protection laws

and regulations. As registered manufacturers and distributors of controlled substances, Defendants

are placed in a position of special trust and responsibility and are uniquely positioned, based on

their knowledge of prescribers and orders, to act as a first line of defense.

       D.      The Marketing Defendants’ Multi-Pronged Scheme to Change Prescriber
               Habits and Public Perception and Increase Demand for Opioids

       136.    In order to accomplish the fundamental shift in perception that was key to

successfully marketing their opioids, the Marketing Defendants designed and implemented a



                                                 37
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 45 of 289 PageID 45



sophisticated and deceptive marketing strategy. Lacking legitimate scientific research to support

their claims, the Marketing Defendants turned to the marketing techniques first pioneered by

Arthur Sackler to create a series of misperceptions in the medical community and ultimately

reverse the long-settled understanding of the relative risks and benefits of opioids.

       137.    The Marketing Defendants promoted, and profited from, their misrepresentations

about the risks and benefits of opioids for chronic pain even though they knew that their marketing

was false and misleading. The history of opioids, as well as research and clinical experience over

the last 20 years, established that opioids were highly addictive and responsible for a long list of

very serious adverse outcomes. The FDA and other regulators warned Marketing Defendants of

these risks. The Marketing Defendants had access to scientific studies, detailed prescription data,

and reports of adverse events, including reports of addiction, hospitalization, and deaths—all of

which made clear the harms from long-term opioid use and that patients are suffering from

addiction, overdoses, and death in alarming numbers. More recently, the FDA and CDC issued

pronouncements based on existing medical evidence that conclusively expose the known falsity of

these Defendants’ misrepresentations.

       138.    The marketing scheme to increase opioid prescriptions centered around nine

categories of misrepresentations, which are discussed in detail below. The Marketing Defendants

disseminated these misrepresentations through various channels, including through advertising,

sales representatives, purportedly independent organizations these defendants funded and

controlled, “Front Groups,” so-called industry “Key Opinion Leaders,” and Continuing Medical

Education (“CME”) programs discussed subsequently below.

               1.      The Marketing Defendants Promoted Multiple Falsehoods About
                       Opioids




                                                 38
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 46 of 289 PageID 46



       139.    The Marketing Defendants’ misrepresentations fall into the following nine

categories:

               a.     The risk of addiction from chronic opioid therapy is low

               b.     To the extent there is a risk of addiction, it can be easily identified and
                      managed

               c.     Signs of addictive behavior are “pseudoaddiction,” requiring more opioids

               d.     Opioid withdrawal can be avoided by tapering

               e.     Opioid doses can be increased without limit or greater risks

               f.     Long-term opioid use improves functioning

               g.     Alternative forms of pain relief pose greater risks than opioids

               h.     OxyContin provides twelve hours of pain relief

               i.     New formulations of certain opioids successfully deter abuse

       140.    Each of these propositions was false. The Marketing Defendants knew this, but

they nonetheless set out to convince physicians, patients, and the public at large of the truth of

each of these propositions in order to expand the market for their opioids.

       141.    The categories of misrepresentations are offered to organize the numerous

statements the Marketing Defendants made and to explain their role in the overall marketing effort,

not as a checklist for assessing each Marketing Defendant’s liability. While each Marketing

Defendant deceptively promoted their opioids specifically, and, together with other Marketing

Defendants, opioids generally, not every Marketing Defendant propagated (or needed to

propagate) each misrepresentation.        Each Marketing Defendant’s conduct, and each

misrepresentation, contributed to an overall narrative that aimed to—and did—mislead doctors,

patients, and payors about the risk and benefits of opioids. While this Complaint endeavors to

document examples of each Marketing Defendant’s misrepresentations and the manner in which

they were disseminated, they are just that—examples. The Complaint is not, especially prior to


                                                39
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 47 of 289 PageID 47



discovery, an exhaustive catalog of the nature and manner of each deceptive statement by each

Marketing Defendant.

                               Falsehood #1: The risk of addiction from chronic opioid
                               therapy is low

       142.    Central    to   the   Marketing    Defendants’    promotional     scheme    was    the

misrepresentation that opioids are rarely addictive when taken for chronic pain. Through their

marketing efforts, the Marketing Defendants advanced the idea that the risk of addiction is low

when opioids are taken as prescribed by “legitimate” pain patients. That, in turn, directly led to the

expected and intended result that doctors prescribed more opioids to more patients—thereby

enriching the Marketing Defendants and substantially contributing to the opioid epidemic.

       143.    Each of the Marketing Defendants claimed that the potential for addiction from its

opioids was relatively small or non-existent, even though there was no scientific evidence to

support those claims. None of them have acknowledged, retracted, or corrected their false

statements.

       144.    In fact, studies have shown that a substantial percentage of long-term users of

opioids experience addiction. Addiction can result from the use of any opioid, “even at




                                                 40
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 48 of 289 PageID 48



       145.    recommended dose,”30 and the risk substantially increases with more than three

months of use. 31 As the CDC Guideline states, “[o]pioid pain medication use presents serious

risks, including overdose and opioid use disorder” (a diagnostic term for addiction).32

                 i.    Purdue’s misrepresentations regarding addiction risk

       146.    When it launched OxyContin, Purdue knew it would need data to overcome decades

of wariness regarding opioid use. It needed some sort of research to back up its messaging. But

Purdue had not conducted any studies about abuse potential or addiction risk as part of its

application for FDA approval for OxyContin. Purdue (and, later, the other Defendants) found this

“research” in the form of a one-paragraph letter to the editor published in the New England Journal

of Medicine (NEJM) in 1980.

       147.    This letter, by Dr. Hershel Jick and Jane Porter, declared the incidence of addiction

“rare” for patients treated with opioids.33 They had analyzed a database of hospitalized patients

who were given opioids in a controlled setting to ease suffering from acute pain. Porter and Jick

considered a patient not addicted if there was no sign of addiction noted in patients’ records.




30
   FDA Announces Safety Labeling Changes and Postmarket Study Requirements For Extended-
Release and Long-Acting Opioid Analgesics, MagMutal (Aug. 18, 2016),
https://www.magmutual.com/learning/article/fda-announces-safety-labeling-changes-and-
postmarket-study-requirements-opioids; see also Press Release, U.S. Food & Drug Admin.,
Announces Enhanced Warnings For Immediate-Release Opioid Pain Medications Related to
Risks of Misuse, Abuse, Addiction, Overdose and Death, FDA (Mar. 22, 2016),
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm491739.htm.
31
   Deborah Dowell, M.D. et al., CDC Guideline for Prescribing Opioids for Chronic Pain
– United States 2016, 65(1) Morbidity & Mortality Wkly. Rep. 1, 21 (Mar. 18, 2016) (hereinafter
“CDC Guideline”).
32
   Id. at 2.
33
   Jane Porter & Herschel Jick, MD, Addiction Rare in Patients Treated with Narcotics, 302(2)
New Eng. J. Med. 123 (Jan. 10, 1980),
http://www.nejm.org/doi/pdf/10.1056/NEJM198001103020221.


                                                41
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 49 of 289 PageID 49




          148.   As Dr. Jick explained to a journalist years later, he submitted the statistics to NEJM

as a letter because the data were not robust enough to be published as a study. 34

          149.   Purdue nonetheless began repeatedly citing this letter in promotional and

educational materials as evidence of the low risk of addiction, while failing to disclose that its

source was a letter to the editor, not a peer-reviewed paper.35 Citation of the letter, which was

largely ignored for more than a decade, significantly increased after the introduction of OxyContin.

While first Purdue and then other Marketing Defendants used it to assert that their opioids were

not addictive, “that’s not in any shape or form what we suggested in our letter,” according to Dr.

Jick.



34
     Meier, supra, at 174.
35
     J. Porter & H. Jick, Addiction Rare in Patients Treated with Narcotics, supra.


                                                  42
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 50 of 289 PageID 50



       150.    Purdue specifically used the Porter and Jick letter in its 1998 promotional video “I

got my life back,” in which Dr. Alan Spanos says “In fact, the rate of addiction amongst pain

patients who are treated by doctors is much less than 1%.”36             Purdue trained its sales

representatives to tell prescribers that fewer than 1% of patients who took OxyContin became

addicted. (In 1999, a Purdue-funded study of patients who used OxyContin for headaches found

that the addiction rate was thirteen per cent.)”37

       151.    Other Marketing Defendants relied on and disseminated the same distorted

messaging. The enormous impact of Marketing Defendants’ misleading amplification of this letter

was well documented in another letter published in the NEJM on June 1, 2017, describing the way

the one-paragraph 1980 letter had been irresponsibly cited and in some cases “grossly

misrepresented.” In particular, the authors of this letter explained:

               [W]e found that a five-sentence letter published in the Journal in
               1980 was heavily and uncritically cited as evidence that addiction
               was rare with long-term opioid therapy. We believe that this citation
               pattern contributed to the North American opioid crisis by helping
               to shape a narrative that allayed prescribers’ concerns about the risk
               of addiction associated with long-term opioid therapy . . .38




36
   Our Amazing World, Purdue Pharma OxyContin Commercial,
https://www.youtube.com/watch?v=Er78Dj5hyeI
37
  Patrick R. Keefe, The Family That Built an Empire of Pain, The New Yorker (Oct. 30, 2017)
(hereinafter, “Keefe, Empire of Pain”).
38
   Pamela T.M. Leung, B.Sc. Pharm., et al., A 1980 Letter on the Risk of Opioid Addiction, 376
New Eng. J. Med. 2194-95 (June 1, 2017),
http://www.nejm.org/doi/full/10.1056/NEJMc1700150.


                                                     43
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 51 of 289 PageID 51



       152.    “It’s difficult to overstate the role of this letter,” said Dr. David Juurlink of the

University of Toronto, who led the analysis. “It was the key bit of literature that helped the opiate

manufacturers convince front-line doctors that addiction is not a concern.”39

       153.    Alongside its use of the Porter and Jick letter, Purdue also crafted its own materials

and spread its deceptive message through numerous additional channels. In its 1996 press release

announcing the release of OxyContin, for example, Purdue declared, “The fear of addiction is

exaggerated.”40

       154.    At a hearing before the House of Representatives’ Subcommittee on Oversight and

Investigations of the Committee on Energy and Commerce in August 2001, Purdue emphasized

“legitimate” treatment, dismissing cases of overdose and death as something that would not befall

“legitimate” patients: “Virtually all of these reports involve people who are abusing the

medication, not patients with legitimate medical needs under the treatment of a healthcare

professional.”41

       155.    Purdue spun this baseless “legitimate use” distinction out even further in a patient

brochure about OxyContin, called “A Guide to Your New Pain Medicine and How to Become a

Partner Against Pain.” In response to the question “Aren’t opioid pain medications like OxyContin




39
 Marilynn Marchione, Assoc. Press, Painful Words: How a 1980 Letter Fueled the Opioid
Epidemic, STAT News (May 31, 2017), https://www.statnews.com/2017/05/31/opioid-epidemic-
nejm-letter/.
40
   Press Release, Purdue Pharma L.P., New Hope for Millions of Americans Suffering from
Persistent Pain: Long-Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996,
3:47pm), http://documents.latimes.com/oxycontin-press-release-1996/.
41
   Oxycontin: Its Use and Abuse: Hearing Before the House Subcomm. on Oversight and
Investigations of the Comm. on Energy and Commerce, 107th Cong. 1 (Aug. 28, 2001)
(Statement of Michael Friedman, Executive Vice President, Chief Operating Officer, Purdue
Pharma, L.P.), https://www.gpo.gov/fdsys/pkg/CHRG-107hhrg75754/html/CHRG-
107hhrg75754.htm.


                                                 44
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 52 of 289 PageID 52



Tablets ‘addicting’?,” Purdue claimed that there was no need to worry about addiction if taking

opioids for legitimate, “medical” purposes:

                    Drug addiction means using a drug to get “high” rather than to
                    relieve pain. You are taking opioid pain medication for medical
                    purposes. The medical purposes are clear and the effects are
                    beneficial, not harmful. 42

           156.     Sales representatives marketed OxyContin as a product “‘to start with and to stay
           43
with.’”           Sales representatives also received training in overcoming doctors’ concerns about

addiction with talking points they knew to be untrue about the drug’s abuse potential. One of

Purdue’s early training memos compared doctor visits to “firing at a target,” declaring that “[a]s

you prepare to fire your ‘message,’ you need to know where to aim and what you want to hit!” 44

According to the memo, the target is physician resistance based on concern about addiction: “The

physician wants pain relief for these patients without addicting them to an opioid.” 45

           157.     Former sales representative Steven May, who worked for Purdue from 1999 to

2005, explained to a journalist how he and his coworkers were trained to overcome doctors’

objections to prescribing opioids. The most common objection he heard about prescribing




42
  Partners Against Pain consists of both a website, styled as an “advocacy community” for
better pain care, and a set of medical education resources distributed to prescribers by sales
representatives. It has existed since at least the early 2000s and has been a vehicle for Purdue to
downplay the risks of addiction from long-term opioid use. One early pamphlet, for example,
answered concerns about OxyContin’s addictiveness by claiming: “Drug addiction means using
a drug to get ‘high’ rather than to relieve pain. You are taking opioid pain medication for
medical purposes. The medical purposes are clear and the effects are beneficial, not harmful.”
43
     Keefe, Empire of Pain, supra at fn. 40.
44
     Meier, supra note 18, at 102.
45
     Id.


                                                   45
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 53 of 289 PageID 53



OxyContin was that “it’s just too addictive.”46 May and his coworkers were trained to “refocus”

doctors on “legitimate” pain patients, and to represent that “legitimate” patients would not become

addicted. In addition, they were trained to say that the 12-hour dosing made the extended-release

opioids less “habit-forming” than painkillers that need to be taken every four hours.

       158.    Purdue has continued to distort or omit the risk of addiction while failing to correct

its earlier misrepresentations, leaving many doctors with the false impression that pain patients

will only rarely become addicted to opioids.

       159.    With regard to addiction, Purdue’s label for OxyContin has not sufficiently

disclosed the true risks to, and experience of, its patients. Until 2014, the OxyContin label stated

in a black-box warning that opioids have “abuse potential” and that the “risk of abuse is increased

in patients with a personal or family history of substance abuse.”

       160.    However, the FDA made clear to Purdue as early as 2001 that the disclosures in its

OxyContin label were insufficient.

       161.    In the end, Purdue narrowed the recommended use of OxyContin to situations when

“a continuous, around-the-clock analgesic is needed for an extended period of time” and added a

warning that “[t]aking broken, chewed, or crushed OxyContin tablets” could lead to a “potentially

fatal dose.” However, Purdue did not, until 2014, change the label to indicate that OxyContin

should not be the first therapy, or even the first opioid, used, and did not disclose the incidence or

risk of overdose and death even when OxyContin was not abused.




46
  David Remnick, How OxyContin Was Sold to the Masses (Steven May interview with Patrick
Radden Keefe), The New Yorker (Oct. 27, 2017), https://www.newyorker.com/podcast/the-new-
yorker-radio-hour/how-oxycontin-was-sold-to-the-masses.


                                                 46
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 54 of 289 PageID 54



                  ii.   Endo’s misrepresentations regarding addiction risk

         162.    Endo also falsely represented that addiction is rare in patients who are prescribed

opioids.

         163.    Until April 2012, Endo’s website for Opana, www.opana.com, stated that “[m]ost

healthcare providers who treat patients with pain agree that patients treated with prolonged opioid

medicines usually do not become addicted.”

         164.    Upon information and belief, Endo improperly instructed its sales representatives

to diminish and distort the risk of addiction associated with Opana ER.

         165.    One of the Front Groups with which Endo worked most closely was the American

Pain Foundation (“APF”), described more fully below. Endo provided substantial assistance to,

and exercised editorial control, over the deceptive and misleading messages that APF conveyed

through    its    National   Initiative   on   Pain    Control   (“NIPC”)47     and   its   website

www.painknowledge.com, which claimed that “[p]eople who take opioids as prescribed usually do

not become addicted.”

         166.    Another Endo website, www.PainAction.com, stated: “Did you know? Most

chronic pain patients do not become addicted to the opioid medications that are prescribed for

them.”

         167.    A brochure available on www.painknowledge.com titled “Pain: Opioid Facts,”

Endo-sponsored NIPC stated that “people who have no history of drug abuse, including tobacco,


47
  Endo was one of the APF’s biggest financial supporters, providing more than half of the $10
million APF received from opioid manufacturers during its lifespan. Endo was the sole funder of
NIPC and selected APF to manage NIPC. Internal Endo documents indicate that Endo was
responsible for NIPC curriculum development, web posting, and workshops, developed and
reviewed NIPC content, and took a substantial role in distributing NIPC and APF materials.
Endo projected that it would be able to reach tens of thousands of prescribers nationwide through
the distribution of NIPC materials.


                                                 47
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 55 of 289 PageID 55



and use their opioid medication as directed will probably not become addicted.” In numerous

patient education pamphlets, Endo repeated this deceptive message.

               In a patient education pamphlet titled “Understanding Your Pain:
               Taking Oral Opioid Analgesics,” Endo answers the hypothetical
               patient question—”What should I know about opioids and
               addiction?”—by focusing on explaining what addiction is (“a
               chronic brain disease”) and is not (“Taking opioids for pain relief”).
               It goes on to explain that “[a]ddicts take opioids for other reasons,
               such as unbearable emotional problems. Taking opioids as
               prescribed for pain relief is not addiction.” This publication is still
               available online.

       168.    An Endo publication, Living with Someone with Chronic Pain, stated, “Most health

care providers who treat people with pain agree that most people do not develop an addiction

problem.”

       169.    In addition, a 2009 patient education publication, Pain: Opioid Therapy, funded by

Endo and posted on www.painknowledge.com, omitted addiction from the “common risks” of

opioids, as shown below:




                iii.   Janssen’s misrepresentations regarding addiction risk.

Janssen likewise misrepresented the addiction risk of opioids on its websites and print materials.
One website, Let’s Talk Pain, states, among other things, that “the stigma of drug addiction and
abuse” associated with the use of opioids stemmed from a “lack of understanding about


                                                 48
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 56 of 289 PageID 56



addiction.” (Although Janssen described the website internally as an unbranded third-party
program, it carried Janssen’s trademark and copy approved by Janssen.)

The Let’s Talk Pain website also perpetuated the concept of pseudoaddiction, associating patient
behaviors such as “drug seeking,” “clock watching,” and “even illicit drug use or deception”
with undertreated pain which can be resolved with “effective pain management.”

A Janssen unbranded website, PrescribeResponsibly.com, states that concerns about opioid
addiction are “overestimated” and that “true addiction occurs only in a small percentage of
patients.”48

Janssen reviewed, edited, approved, and distributed a patient education guide entitled Finding
Relief: Pain Management for Older Adults, which, as seen below, described as “myth” the claim
that opioids are addictive, and asserted as fact that “[m]any studies show that opioids are rarely
addictive when used properly for the management of chronic pain.” Until recently, this guide
was still available online.




       170.    Janssen’s website for Duragesic included a section addressing “Your Right to Pain

Relief” and a hypothetical patient’s fear that “I’m afraid I’ll become a drug addict.” The website’s

response: “Addiction is relatively rare when patients take opioids appropriately.”

                iv.    Cephalon’s misrepresentations regarding addiction risk.

       171.    Cephalon sponsored and facilitated the development of a guidebook, Opioid

Medications and REMS: A Patient’s Guide, which included claims that “patients without a history




48
   Keith Candiotti, M.D., Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management.


                                                49
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 57 of 289 PageID 57



of abuse or a family history of abuse do not commonly become addicted to opioids.” Similarly,

Cephalon sponsored APF’s Treatment Options: A Guide for People Living with Pain (2007),

which taught that addiction is rare and limited to extreme cases of unauthorized dose escalations,

obtaining opioids from multiple sources, or theft.

       172.    For example, a 2003 Cephalon-sponsored CME presentation titled Pharmacologic

Management of Breakthrough or Incident Pain, posted on Medscape in February 2003, teaches:

               [C]hronic pain is often undertreated, particularly in the noncancer
               patient population. . . . The continued stigmatization of opioids and
               their prescription, coupled with often unfounded and self-imposed
               physician fear of dealing with the highly regulated distribution
               system for opioid analgesics, remains a barrier to effective pain
               management and must be addressed. Clinicians intimately involved
               with the treatment of patients with chronic pain recognize that the
               majority of suffering patients lack interest in substance abuse. In
               fact, patient fears of developing substance abuse behaviors such as
               addiction often lead to undertreatment of pain. The concern about
               patients with chronic pain becoming addicted to opioids during
               long-term opioid therapy may stem from confusion between
               physical dependence (tolerance) and psychological dependence
               (addiction) that manifests as drug abuse.49

                 v.   Actavis’s misrepresentations regarding addiction risk.

       173.    Through its “Learn More about customized pain control with Kadian,” material,

Actavis claimed that it is possible to become addicted to morphine-based drugs like Kadian, but

that it is “less likely” to happen in those who “have never had an addiction problem.”

       174.    A guide for prescribers under Actavis’s copyright deceptively represents that

Kadian is more difficult to abuse and less addictive than other opioids. The guide includes the

following statements: 1) “unique pharmaceutical formulation of KADIAN may offer some

protection from extraction of morphine sulfate for intravenous use by illicit users,” and


49
 Michael J. Brennan, et al., Pharmacologic Management of Breakthrough or Incident Pain,
Medscape, http://www.medscape.org/viewarticle/449803 (behind paywall).


                                                50
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 58 of 289 PageID 58



2) KADIAN may be less likely to be abused by health care providers and illicit users” because of

“Slow onset of action,” “Lower peak plasma morphine levels than equivalent doses of other

formulations of morphine,” “Long duration of action,” and “Minimal fluctuations in peak to trough

plasma levels of morphine at steady state.” These statements convey both that (1) Kadian does not

cause euphoria and therefore is less addictive and that (2) Kadian is less prone to tampering and

abuse, even though Kadian was not approved by the FDA as abuse deterrent, and, upon information

and belief, Actavis had no studies to suggest it was.

                vi.    Mallinckrodt’s misrepresentations regarding addiction risk

       175.    As described below, Mallinckrodt promoted its branded opioids Exalgo and

Xartemis XR, and opioids generally, in a campaign that consistently mischaracterized the risk of

addiction. Mallinckrodt did so through its website and sales force, as well as through unbranded

communications distributed through the “C.A.R.E.S. Alliance” it created and led.

       176.    Mallinckrodt in 2010 created the C.A.R.E.S. (Collaborating and Acting

Responsibly to Ensure Safety) Alliance, which it describes as “a coalition of national patient

safety, provider and drug diversion organizations that are focused on reducing opioid pain

medication abuse and increasing responsible prescribing habits.” The “C.A.R.E.S. Alliance” itself

is a service mark of Mallinckrodt LLC (and was previously a service mark of Mallinckrodt, Inc.)

copyrighted and registered as a trademark by Covidien, its former parent company. Materials

distributed by the C.A.R.E.S. Alliance, however, include unbranded publications that do not

disclose a link to Mallinckrodt.

       177.    By 2012, Mallinckrodt, through the C.A.R.E.S. Alliance, was promoting a book

titled Defeat Chronic Pain Now! This book is still available online. The false claims and

misrepresentations in this book include the following statements:




                                                51
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 59 of 289 PageID 59



                   •   “Only rarely does opioid medication cause a true addiction
                       when prescribed appropriately to a chronic pain patient who
                       does not have a prior history of addiction.”

                   •   “It is currently recommended that every chronic pain patient
                       suffering from moderate to severe pain be viewed as a
                       potential candidate for opioid therapy.”

                   •   “When chronic pain patients take opioids to treat their pain,
                       they rarely develop a true addiction and drug craving.”

                   •   “Only a minority of chronic pain patients who are taking
                       long-term opioids develop tolerance.”

                   •   “The bottom line: Only rarely does opioid medication cause
                       a true addiction when prescribed appropriately to a chronic
                       pain patient who does not have a prior history of addiction.”

                   •   “Here are the facts. It is very uncommon for a person with
                       chronic pain to become ‘addicted’ to narcotics IF (1) he
                       doesn’t have a prior history of any addiction and (2) he only
                       takes the medication to treat pain.”

                   •   “Studies have shown that many chronic pain patients can
                       experience significant pain relief with tolerable side effects
                       from opioid narcotic medication when taken daily and no
                       addiction.”

       178.    In a 2013 Mallinckrodt Pharmaceuticals Policy Statement Regarding the

Treatment of Pain and Control of Opioid Abuse, which is still available online, Mallinckrodt stated

that, “[s]adly, even today, pain frequently remains undiagnosed and either untreated or

undertreated” and cites to a report that concludes that “the majority of people with pain use their

prescription drugs properly, are not a source of misuse, and should not be stigmatized or denied

access because of the misdeeds or carelessness of others.”

       179.    Marketing Defendants’ suggestions that the opioid epidemic is the result of bad

patients who manipulate doctors to obtain opioids illicitly helped further their marketing scheme,

but is at odds with the facts. While there are certainly patients who unlawfully obtain opioids,

they are a small minority. For example, patients who “doctor-shop”—i.e., visit multiple prescribers



                                                52
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 60 of 289 PageID 60



to obtain opioid prescriptions—are responsible for roughly 2% of opioid prescriptions. The

epidemic of opioid addiction and abuse is overwhelmingly a problem of false marketing (and

unconstrained distribution) of the drugs, not problem patients.

                               Falsehood #2: To the extent there is a risk of addiction, it can
                               be easily identified and managed

        180.    While continuing to maintain that most patients can safely take opioids long-term

for chronic pain without becoming addicted, the Marketing Defendants assert that to the extent

that some patients are at risk of opioid addiction, doctors can effectively identify and manage that

risk by using screening tools or questionnaires. In materials they produced, sponsored, or

controlled, Defendants instructed patients and prescribers that screening tools can identify patients

predisposed to addiction, thus making doctors feel more comfortable prescribing opioids to their

patients and patients more comfortable starting opioid therapy for chronic pain. These tools, they

say, identify those with higher addiction risks (stemming from personal or family histories of

substance use, mental illness, trauma, or abuse) so that doctors can then more closely monitor those

patients.

        181.    Purdue shared its Partners Against Pain “Pain Management Kit,” which contains

several screening tools and catalogues of Purdue materials, which included these tools, with

prescribers. Janssen, on its website PrescribeResponsibly.com, states that the risk of opioid

addiction “can usually be managed” through tools such as opioid agreements between patients and

doctors.50     The website, which directly provides screening tools to prescribers for risk




50
   Howard A. Heit, MD, FACP, FASAM and Douglas L. Gourlay, MD, MSc, FRCPC, FASAM,
What a Prescriber Should Know Before Writing the First Prescription, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/before-prescribing-opioids# (last modified July 2,
2015).


                                                 53
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 61 of 289 PageID 61



assessments,51 includes a “[f]our question screener” to purportedly help physicians identify and

address possible opioid misuse.52

           182.   Purdue and Cephalon sponsored the APF’s Treatment Options: A Guide for People

Living with Pain (2007), which also falsely reassured patients that opioid agreements between

doctors and patients can “ensure that you take the opioid as prescribed.”

           183.   Purdue sponsored a 2011 webinar taught by Dr. Webster, entitled Managing

Patient’s Opioid Use: Balancing the Need and Risk. This publication misleadingly taught

prescribers that screening tools, urine tests, and patient agreements have the effect of preventing

“overuse of prescriptions” and “overdose deaths.”

           184.   Purdue sponsored a 2011 CME program titled Managing Patient’s Opioid Use:

Balancing the Need and Risk. This presentation deceptively instructed prescribers that screening

tools, patient agreements, and urine tests prevented “overuse of prescriptions” and “overdose

deaths.”

           185.   Purdue also funded a 2012 CME program called Chronic Pain Management and

Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes. The presentation

deceptively instructed doctors that, through the use of screening tools, more frequent refills, and

other techniques, even high-risk patients showing signs of addiction could be treated with opioids.

           186.   Endo paid for a 2007 supplement available for continuing education credit in the

Journal of Family Practice written by a doctor who became a member of Endo’s speaker’s bureau

in 2010. This publication, entitled Pain Management Dilemmas in Primary Care: Use of Opioids,




51
  Risk Assessment Resources, Prescribe Responsibly, http://www.prescriberesponsibly.com/risk-
assessment-resources (last modified July 2, 3015).
52
     Id.


                                                 54
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 62 of 289 PageID 62



(i) recommended screening patients using tools like (a) the Opioid Risk Tool created by

Dr. Webster and linked to Janssen or (b) the Screener and Opioid Assessment for Patients with

Pain, and (ii) taught that patients at high risk of addiction could safely receive chronic opioid

therapy using a “maximally structured approach” involving toxicology screens and pill counts.

The ORT was linked to by Endo-supported websites, as well.

       187.    There are three fundamental flaws in the Marketing Defendants’ representations

that doctors can consistently identify and manage the risk of addiction. First, there is no reliable

scientific evidence that doctors can depend on the screening tools currently available to materially

limit the risk of addiction. Second, there is no reliable scientific evidence that high-risk patients

identified through screening can take opioids long-term without triggering addiction, even with

enhanced monitoring. Third, there is no reliable scientific evidence that patients who are not

identified through such screening can take opioids long-term without significant danger of

addiction.

                               Falsehood #3: Signs of addictive behavior are
                               “pseudoaddiction,” requiring more opioids

       188.    The Marketing Defendants instructed patients and prescribers that signs of

addiction are actually indications of untreated pain, such that the appropriate response is to

prescribe even more opioids. Dr. David Haddox, who later became a Senior Medical Director for

Purdue, published a study in 1989 coining the term “pseudoaddiction,” which he characterized as

“the iatrogenic syndrome of abnormal behavior developing as a direct consequence of inadequate

pain management.”53 In other words, people on prescription opioids who exhibited classic signs



53
  David E. Weissman & J. David Haddox, Opioid Pseudoaddiction – An Iatrogenic Syndrome,
36(3) Pain 363-66 (Mar. 1989), https://www.ncbi.nlm.nih.gov/pubmed/2710565 (“Iatrogenic”
describes a condition induced by medical treatment.).


                                                 55
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 63 of 289 PageID 63



of addiction— for example, asking for more and higher doses of opioids, self-escalating their

doses, or claiming to have lost prescriptions in order to get more opioids—were not addicted, but

rather simply suffering from undertreatment of their pain.

       189.    In the materials and outreach they produced, sponsored, or controlled, Marketing

Defendants made each of these misrepresentations and omissions, and have never acknowledged,

retracted, or corrected them.

       190.    Cephalon, Endo, and Purdue sponsored the Federation of State Medical Boards’

(“FSMB”) Responsible Opioid Prescribing (2007) written by Dr. Fishman and discussed in more

detail below, which taught that behaviors such as “requesting drugs by name,” “demanding or

manipulative behavior,” seeing more than one doctor to obtain opioids, and hoarding, which are

signs of genuine addiction, are all really signs of “pseudoaddiction.”

       191.    Purdue posted an unbranded pamphlet entitled Clinical Issues in Opioid

Prescribing on its unbranded website, PartnersAgainstPain.com, in 2005, and circulated this

pamphlet through at least 2007 and on its website through at least 2013. The pamphlet listed

conduct including “illicit drug use and deception” that it claimed was not evidence of true addiction

but “pseudoaddiction” caused by untreated pain.

       192.    Purdue’s Pain Management Kit is another example of publication used by Purdue’s

sales force that endorses pseudoaddiction by claiming that “pain-relief seeking behavior can be

mistaken for drug-seeking behavior.” Upon information and belief, the kit was in use from roughly

2011 through at least June 2016.

       193.    Endo also sponsored a NIPC CME program in 2009 titled Chronic Opioid Therapy:

Understanding Risk While Maximizing Analgesia, which promoted pseudoaddiction.




                                                 56
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 64 of 289 PageID 64



         194.   Upon information and belief, Endo itself has repudiated the concept of

pseudoaddiction. In finding that “[t]he pseudoaddiction concept has never been empirically

validated and in fact has been abandoned by some of its proponents,” the New York Attorney

General, in a 2016 settlement with Endo, reported that “Endo’s Vice President for

Pharmacovigilance and Risk Management testified to [the NY AG] that he was not aware of any

research validating the ‘pseudoaddiction’ concept” and acknowledged the difficulty in

distinguishing “between addiction and ‘pseudoaddiction.’”54 Endo thereafter agreed not to “use

the term ‘pseudoaddiction’ in any training or marketing” in New York.

         195.   Janssen sponsored, funded, and edited a website called Let’s Talk Pain, which in

2009 stated “pseudoaddiction . . . refers to patient behaviors that may occur when pain is

undertreated . . . . Pseudoaddiction is different from true addiction because such behaviors can be

resolved with effective pain management.” This website was accessible online until at least May

2012.

         196.   Janssen also currently runs a website, Prescriberesponsibly.com, which claims that

concerns about opioid addiction are “overestimated,” and describes pseudoaddiction as “a

syndrome that causes patients to seek additional medications due to inadequate pharmacotherapy

being prescribed. Typically, when the pain is treated appropriately the inappropriate behavior

ceases.”55




54
  Attorney General of the State of New York, In the Matter of Endo Health Solutions Inc. &
Endo Pharmaceuticals Inc., Assurance No.:15-228, Assurance of Discontinuance Under
Executive Law Section 63. Subdivision 15 at 7., https://ag.ny.gov/pdfs/Endo_AOD_030116-
Fully_Executed.pdf
55
     Heit & Gourlay, supra.


                                                57
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 65 of 289 PageID 65



       197.    The CDC Guideline nowhere recommends attempting to provide more opioids to

patients exhibiting symptoms of addiction. Dr. Lynn Webster, a so-called “key opinion leader”

(KOL) discussed below, admitted that pseudoaddiction “is already something we are debunking

as a concept” and became “too much of an excuse to give patients more medication. It led us down

a path that caused harm.”

                               Falsehood #4: Opioid withdrawal can be avoided by tapering

       198.    In an effort to underplay the risk and impact of addiction, the Marketing Defendants

falsely claimed that, while patients become physically dependent on opioids, physical dependence

is not the same as addiction and can be easily addressed, if and when pain relief is no longer

desired, by gradually tapering patients’ dose to avoid withdrawal. Marketing Defendants failed to

disclose the extremely difficult and painful effects that patients can experience upon ceasing opioid

treatment – adverse effects that also make it less likely that patients will be able to stop using the

drugs. Marketing Defendants also failed to disclose how difficult it is for patients to stop using

opioids after they have used them for prolonged periods.

       199.    A non-credit educational program sponsored by Endo, Persistent Pain in the Older

Adult, claimed that withdrawal symptoms, which make it difficult for patients to stop using

opioids, could be avoided by simply tapering a patient’s opioid dose over ten days. However, this

claim is at odds with the experience of patients addicted to opioids. Most patients who have been

taking opioids regularly will, upon stopping treatment, experience withdrawal, characterized by

intense physical and psychological effects, including anxiety, nausea, headaches, and delirium,

among others. This painful and arduous struggle to terminate use can leave many patients

unwilling or unable to give up opioids and heightens the risk of addiction.

       200.    Purdue sponsored the American Pain Foundation’s (“APF”) A Policymaker’s

Guide to Understanding Pain & Its Management, which taught that “Symptoms of physical


                                                 58
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 66 of 289 PageID 66



dependence can often be ameliorated by gradually decreasing the dose of medication during

discontinuation,” but the guide did not disclose the significant hardships that often accompany

cessation of use.

       201.    To this day, the Marketing Defendants have not corrected or retracted their

misrepresentations regarding tapering as a solution to opioid withdrawal.

                               Falsehood #5: Opioid doses can be increased without limit or
                               greater risks

       202.    In materials they produced, sponsored or controlled, Marketing Defendants

instructed prescribers that they could safely increase a patient’s dose to achieve pain relief. Each

of the Marketing Defendants’ claims was deceptive in that it omitted warnings of increased adverse

effects that occur at higher doses, effects confirmed by scientific evidence.

       203.    These misrepresentations were integral to the Marketing Defendants’ promotion of

prescription opioids. As discussed above, patients develop a tolerance to opioids’ analgesic

effects, so that achieving long-term pain relief requires constantly increasing the dose.

       204.    In a 1996 sales memo regarding OxyContin, for example, a regional manager for

Purdue instructed sales representatives to inform physicians that there is “no[] upward limit” for

dosing and ask “if there are any reservations in using a dose of 240mg-320mg of OxyContin.”56

       205.    In addition, sales representatives aggressively pushed doctors to prescribe stronger

doses of opioids. For example, one Purdue sales representative wrote about how his regional

manager would drill the sales team on their upselling tactics:

               It went something like this. “Doctor, what is the highest dose of
               OxyContin you have ever prescribed?” “20mg Q12h.” “Doctor, if
               the patient tells you their pain score is still high you can increase the
               dose 100% to 40mg Q12h, will you do that?” “Okay.” “Doctor, what

56
   Letter from Windell Fisher, Purdue Regional Manager, to B. Gergely, Purdue Employee (Nov.
7, 1996), http://documents.latimes.com/sales-manager-on12-hour-dosing-1996/ (last updated
May 5, 2016) (hereinafter “Letter from Fisher”)


                                                  59
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 67 of 289 PageID 67



                  if that patient them came back and said their pain score was still
                  high, did you know that you could increase the OxyContin dose to
                  80mg Q12h, would you do that?” “I don’t know, maybe.” “Doctor,
                  but you do agree that you would at least Rx the 40mg dose, right?”
                  “Yes.”

                  The next week the rep would see that same doctor and go through
                  the same discussion with the goal of selling higher and higher doses
                  of OxyContin.

       206.       These misrepresentations were particularly dangerous. As noted above, opioid

doses at or above 50 MME/day double the risk of overdose compared to 20 MME/day, and 50

MME is equal to just 33 mg of oxycodone. The recommendation of 320 mg every twelve hours is

ten times that.

       207.       In its 2010 Risk Evaluation and Mitigation Strategy (“REMS”) for OxyContin,

however, Purdue does not address the increased risk of respiratory depression and death from

increasing dose, and instead advises prescribers that “dose adjustments may be made every 1-2

days”; “it is most appropriate to increase the q12h dose”; the “total daily dose can usually be

increased by 25% to 50%”; and if “significant adverse reactions occur, treat them aggressively

until they are under control, then resume upward titration.”57

       208.       Endo sponsored a website, www.painknowledge.com, which claimed that opioids

may be increased until “you are on the right dose of medication for your pain,” at which point

further dose increases would not be required.

       209.       Endo also published on its website a patient education pamphlet entitled

Understanding Your Pain: Taking Oral Opioid Analgesics. In Q&A format, it asked, “If I take


57
   Purdue Pharma, L.P., OxyContin Risk Evaluation and Mitigation Strategy, Purdue Pharma
L.P.,
https://web.archive.org/web/20170215190303/https://www.fda.gov/downloads/Drugs/DrugSafet
y/PostmarketDrugSafetyInformationforPatientsandProviders/UCM220990.pdf (last modified
Nov. 2010).


                                                  60
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 68 of 289 PageID 68



the opioid now, will it work later when I really need it?” The response is, “The dose can be

increased . . . You won’t ‘run out’ of pain relief.”

       210.    Purdue and Cephalon sponsored APF’s Treatment Options: A Guide for People

Living with Pain (2007), which taught patients that opioids have “no ceiling dose” and therefore

are safer than NSAIDs.

       211.    Marketing Defendants were aware of the greater dangers high dose opioids posed.

In 2013, the FDA acknowledged “that the available data do suggest a relationship between

increasing opioid dose and risk of certain adverse events” and that studies “appear to credibly

suggest a positive association between high-dose opioid use and the risk of overdose and/or

overdose mortality.” For example, a study of patient data from the Veterans Health Administration

published in 2011 found that higher maximum prescribed daily opioid doses were associated with

a higher risk of opioid overdose deaths.58

                               Falsehood #6: Long-term opioid use improves functioning

       212.    Despite the lack of evidence of improved function and the existence of evidence to

the contrary, the Marketing Defendants consistently promoted opioids as capable of improving

patients’ function and quality of life because they viewed these claims as a critical part of their

marketing strategies. In recalibrating the risk-benefit analysis for opioids, increasing the perceived

benefits of treatment was necessary to overcome its risks.

       213.    Janssen, for example, promoted Duragesic as improving patients’ functioning and

work productivity through an ad campaign that included the following statements: “[w]ork,




58
   Amy S. B. Bohnert, Ph.D. et al., Association Between Opioid Prescribing Patterns and Opioid
Overdose-Related Deaths, 305(13) J. of Am. Med. Assoc. 1315, 1315-1321 (Apr. 6, 2011),
https://jamanetwork.com/journals/jama/fullarticle/896182.


                                                  61
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 69 of 289 PageID 69



uninterrupted,” “[l]ife, uninterrupted,” “[g]ame, uninterrupted,” “[c]hronic pain relief that supports

functionality,” and “[i]mprove[s] . . . physical and social functioning.”

          214.   Purdue noted the need to compete with this messaging, despite the lack of data

supporting improvement in quality of life with OxyContin treatment:

                 Janssen has been stressing decreased side effects, especially
                 constipation, as well as patient quality of life, as supported by
                 patient rating compared to sustained release morphine…We do not
                 have such data to support OxyContin promotion. . . . In addition,
                 Janssen has been using the “life uninterrupted” message in
                 promotion of Duragesic for non-cancer pain, stressing that
                 Duragesic “helps patients think less about their pain.” This is a
                 competitive advantage based on our inability to make any quality of
                 life claims.59

          215.   Despite its acknowledgment that “[w]e do not have such data to support OxyContin

promotion,” Purdue ran a full-page ad for OxyContin in the Journal of the American Medical

Association, proclaiming, “There Can Be Life With Relief,” and showing a man happily fly-

fishing alongside his grandson, implying that OxyContin would help users’ function. This ad

earned a warning letter from the FDA, which admonished, “It is particularly disturbing that your

November ad would tout ‘Life With Relief’ yet fail to warn that patients can die from taking

OxyContin.”60

          216.   Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management, which claimed that “multiple clinical studies” have shown that opioids are effective

in improving daily function, psychological health, and health-related quality of life for chronic

pain patients. But the article cited as support for this in fact stated the contrary, noting the absence




59
     Meier, supra note 18, at 281.
60
  Chris Adams, FDA Orders Purdue Pharma To Pull Its OxyContin Ads, Wall St. J. (Jan. 23,
2003, 12:01am), https://www.wsj.com/articles/SB1043259665976915824.


                                                  62
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 70 of 289 PageID 70



of long-term studies and concluding, “[f]or functional outcomes, the other analgesics were

significantly more effective than were opioids.”

       217.    A series of medical journal advertisements for OxyContin in 2012 presented “Pain

Vignettes”—case studies featuring patients with pain conditions persisting over several months—

that implied functional improvement. For example, one advertisement described a “writer with

osteoarthritis of the hands” and implied that OxyContin would help him work more effectively.

       218.    Similarly, since at least May of 2011, Endo has distributed and made available on

its website, www.opana.com, a pamphlet promoting Opana ER with photographs depicting

patients with physically demanding jobs like those of a construction worker or chef, misleadingly

implying that the drug would provide long-term pain relief and functional improvement.

       219.    As noted above, Janssen sponsored and edited a patient education guide entitled

Finding Relief: Pain Management for Older Adults (2009), which states as “a fact” that “opioids

may make it easier for people to live normally.” This guide features a man playing golf on the

cover and lists examples of expected functional improvement from opioids, like sleeping through

the night, returning to work, recreation, sex, walking, and climbing stairs. It assures patients that,

“[u]sed properly, opioid medications can make it possible for people with chronic pain to ‘return

to normal.’” Similarly, Responsible Opioid Prescribing (2007), sponsored and distributed by Teva,

Endo, and Purdue, taught that relief of pain by opioids, by itself, improved patients’ function. The

book remains for sale online.

       220.    In addition, Janssen’s Let’s Talk Pain website featured a video interview, which

was edited by Janssen personnel, claiming that opioids were what allowed a patient to “continue

to function,” falsely implying that her experience would be representative.




                                                 63
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 71 of 289 PageID 71



       221.    The APF’s Treatment Options: A Guide for People Living with Pain (2007),

sponsored by Purdue and Cephalon, counseled patients that opioids “give [pain patients] a quality

of life we deserve.” The guide was available online until APF shut its doors in May 2012.

       222.    Endo’s NIPC website www.painknowledge.com claimed that with opioids, “your

level of function should improve; you may find you are now able to participate in activities of

daily living, such as work and hobbies, that you were not able to enjoy when your pain was worse.”

In addition to “improved function,” the website touted improved quality of life as a benefit of

opioid therapy. The grant request that Endo approved for this project specifically indicated NIPC’s

intent to make claims of functional improvement.

       223.    Endo was the sole sponsor, through NIPC, of a series of CMEs titled Persistent

Pain in the Older Patient, which claimed that chronic opioid therapy has been “shown to reduce

pain and improve depressive symptoms and cognitive functioning.” The CME was disseminated

via webcast.

       224.    Mallinckrodt’s website, in a section on responsible use of opioids, claims that “[t]he

effective pain management offered by our medicines helps enable patients to stay in the workplace,

enjoy interactions with family and friends, and remain an active member of society.”61

       225.    The Marketing Defendants’ claims that long-term use of opioids improves patient

function and quality of life are unsupported by clinical evidence. There are no controlled studies

of the use of opioids beyond 16 weeks, and there is no evidence that opioids improve patients’

pain and function long term. The FDA, for years, has made clear through warning letters to

manufacturers the lack of evidence for claims that the use of opioids for chronic pain improves



61
  Mallinckrodt Pharmaceuticals, Responsible Use, http://www.mallinckrodt.com/corporate-
responsibility/responsible-use.


                                                64
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 72 of 289 PageID 72



patients’ function and quality of life.62 Based upon a review of the existing scientific evidence, the

CDC Guideline concluded that “there is no good evidence that opioids improve pain or function

with long-term use.”63

         226.   Consistent with the CDC’s findings, substantial evidence exists demonstrating that

opioid drugs are ineffective for the treatment of chronic pain and worsen patients’ health. For

example, a 2006 study-of-studies found that opioids as a class did not demonstrate improvement

in functional outcomes over other non-addicting treatments. The few longer-term studies of opioid

use had “consistently poor results,” and “several studies have showed that [using] opioids for

chronic pain may actually worsen pain and functioning . . .”64 along with general health, mental

health, and social function. Over time, even high doses of potent opioids often fail to control pain,

and patients exposed to such doses are unable to function normally.

         227.   Increased duration of opioid use is also strongly associated with increased

prevalence of mental health disorders (depression, anxiety, post-traumatic stress disorder, and

substance abuse), increased psychological distress, and greater health care utilization. The CDC

Guideline concluded that “[w]hile benefits for pain relief, function and quality of life with long-


62
  The FDA has warned other drugmakers that claims of improved function and quality of life
were misleading. See Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., &
Commc’ns, to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010), (rejecting claims that
Actavis’ opioid, Kadian, had an “overall positive impact on a patient’s work, physical and
mental functioning, daily activities, or enjoyment of life.”); Warning Letter from Thomas
Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Brian A. Markison, Chairman,
President and Chief Executive Officer, King Pharmaceuticals, Inc. (March 24, 2008), (finding
the claim that “patients who are treated with [Avinza (morphine sulfate ER)] experience an
improvement in their overall function, social function, and ability to perform daily activities . . .
has not been demonstrated by substantial evidence or substantial clinical experience.”). The
FDA’s warning letters were available to Defendants on the FDA website.
63
     CDC Guideline at 20.
64
  Thomas R. Frieden and Debra Houry, Reducing the Risks of Relief – The CDC Opioid-
Prescribing Guideline, New Eng. J. Med., at 1503 (Apr. 21, 2016).


                                                 65
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 73 of 289 PageID 73



term opioid use for chronic pain are uncertain, risks associated with long-term opioid use are

clearer and significant.”65 According to the CDC, “for the vast majority of patients, the known,

serious, and too-often-fatal risks far outweigh the unproven and transient benefits [of opioids for

chronic pain].”66

         228.   As one pain specialist observed, “opioids may work acceptably well for a while,

but over the long term, function generally declines, as does general health, mental health, and

social functioning. Over time, even high doses of potent opioids often fail to control pain, and

these patients are unable to function normally.”67 In fact, research such as a 2008 study in the

journal Spine has shown that pain sufferers prescribed opioids long-term suffered addiction that

made them more likely to be disabled and unable to work.68 Another study demonstrated that

injured workers who received a prescription opioid for more than seven days during the first six

weeks after the injury were 2.2 times more likely to remain on work disability a year later than

workers with similar injuries who received no opioids at all.69 Moreover, the first randomized

clinical trial designed to make head-to-head comparisons between opioids and other kinds of pain

medications was recently published on March 6, 2018, in the Journal of the American Medical

Association. The study reported that “[t]here was no significant difference in pain-related function



65
     CDC Guideline at 2, 18.
66
     Frieden & Debra Houry,supra note 86, at 1503.
67
   Andrea Rubinstein, M.D. Are We Making Pain Patients Worse?, Sonoma Med. (Fall 2009),
http://www.nbcms.org/about-us/sonoma-county-medical-association/magazine/sonoma-
medicine-are-we-making-pain-patients-worse.aspx?pageid=144&tabid=747.
68
  Jeffrey Dersh, et al., Prescription Opioid Dependence Is Associated With Poorer Outcomes In
Disabling Spinal Disorders, 33(20) Spine 2219-27 (Sept. 15, 2008).
69
  Franklin, GM, Stover, BD, Turner, JA, Fulton-Kehoe, D, Wickizer, TM, Early Opioid
Prescription and Subsequent Disability Among Workers With Back Injuries: The Disability Risk
Identification Study Cohort, 33 Spine 199, 201-202.


                                                66
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 74 of 289 PageID 74



between the 2 groups” – those whose pain was treated with opioids and those whose pain was

treated with non-opioids, including acetaminophen and other non-steroidal anti-inflammatory

drugs (“NSAIDs”) like ibuprofen. Accordingly, the study concluded: “Treatment with opioids

was not superior to treatment with nonopioid medications for improving pain-related function over

12 months.”

                              Falsehood #7: Alternative forms of pain relief pose greater
                              risks than opioids

       229.    In materials they produced, sponsored or controlled, the Marketing Defendants

omitted known risks of chronic opioid therapy and emphasized or exaggerated risks of competing

products so that prescribers and patients would favor opioids over other therapies such as over-

the-counter acetaminophen or over-the-counter or prescription NSAIDs.

       230.    For example, in addition to failing to disclose in promotional materials the risks of

addiction, overdose, and death, the Marketing Defendants routinely ignored the risks of

hyperalgesia, a “known serious risk associated with chronic opioid analgesic therapy in which the

patient becomes more sensitive to certain painful stimuli over time;”70 hormonal dysfunction;71

decline in immune function; mental clouding, confusion, and dizziness; increased falls and

fractures in the elderly;72 neonatal abstinence syndrome (when an infant exposed to opioids

prenatally suffers withdrawal after birth), and potentially fatal interactions with alcohol or with



70
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny,
M.D., Pres. Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818
(Sept. 10, 2013).
71
  H.W. Daniell, Hypogonadism in Men Consuming Sustained-Action Oral Opioids, 3(5) J. Pain
377-84 (2001).
72
  See Bernhard M. Kuschel, The Risk of Fall Injury in Relation to Commonly Prescribed
Medications Among Older People – a Swedish Case-Control Study, Eur. J. Pub. H. 527, 527-32
(July 31, 2014).



                                                67
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 75 of 289 PageID 75



benzodiazepines, which are used to treat anxiety and may be co-prescribed with opioids,

particularly to veterans suffering from pain.73

       231.    The APF’s Treatment Options: A Guide for People Living with Pain, sponsored by

Purdue and Cephalon, warned that risks of NSAIDs increase if “taken for more than a period of

months,” with no corresponding warning about opioids. The publication falsely attributed 10,000

to 20,000 deaths annually to NSAID overdoses, when the figure is closer to 3,200.74

       232.    Janssen sponsored Finding Relief: Pain Management for Older Adults (2009), that

listed dose limitations as “disadvantages” of other pain medicines but omitted any discussion of

risks of increased doses from opioids. Finding Relief described the advantages and disadvantages

of NSAIDs on one page, and the “myths/facts” of opioids on the facing page. The disadvantages

of NSAIDs are described as involving “stomach upset or bleeding,” “kidney or liver damage if

taken at high doses or for a long time,” “adverse reactions in people with asthma,” and “can

increase the risk of heart attack and stroke.” The only adverse effects of opioids listed are “upset

stomach or sleepiness,” which the brochure claims will go away, and constipation.

       233.    Endo’s NIPC website, www.painknowledge.com, which contained a flyer called

“Pain: Opioid Therapy.” This publication listed opioids’ adverse effects but with significant

omissions, including hyperalgesia, immune and hormone dysfunction, cognitive impairment,

tolerance, dependence, addiction, and death.




73
  Karen H. Seal, Association of Mental Health Disorders With Prescription Opioids and High-
Risk Opioids in US Veterans of Iraq and Afghanistan, 307(9) J. Am. Med. Ass’n 940-47 (2012).
74
  Robert E. Tarone, et al., Nonselective Nonaspirin Nonsteroidal Anti-Inflammatory Drugs and
Gastrointestinal Bleeding: Relative and Absolute Risk Estimates from Recent Epidemiologic
Studies, 11 Am. J. of Therapeutics 17-25 (2004).


                                                  68
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 76 of 289 PageID 76



           234.   As another example, the Endo-sponsored CME put on by NIPC, Persistent Pain in

the Older Adult, discussed above, counseled that acetaminophen should be used only short-term

and includes five slides on the FDA’s restrictions on acetaminophen and its adverse effects,

including severe liver injury and anaphylaxis (shock). In contrast, the CME downplays the risk of

opioids, claiming opioids have “possibly less potential for abuse than in younger patients,” and

does not list overdose among the adverse effects. Some of those misrepresentations are described

above; others are laid out below.

           235.   In April 2007, Endo sponsored an article aimed at prescribers, published in Pain

Medicine News, titled “Case Challenges in Pain Management: Opioid Therapy for Chronic Pain.”75

The article asserted:

                  Opioids represent a highly effective but controversial and often
                  misunderstood class of analgesic medications for controlling both
                  chronic and acute pain. The phenomenon of tolerance to opioids –
                  the gradual waning of relief at a given dose – and fears of abuse,
                  diversion, and misuse of these medications by patients have led
                  many clinicians to be wary of prescribing these drugs, and/or to
                  restrict dosages to levels that may be insufficient to provide
                  meaningful relief.76

           236.   To help allay these concerns, Endo emphasized the risks of NSAIDs as an

alternative to opioids. The article included a case study that focused on the danger of extended use

of NSAIDs, including that the subject was hospitalized with a massive upper gastrointestinal bleed

believed to have resulted from his protracted NSAID use. In contrast, the article did not provide

the same detail concerning the serious side effects associated with opioids.




75
  Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain,
Pain Med. News, https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf
76
     Id, at 1.


                                                 69
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 77 of 289 PageID 77



       237.      Additionally, Purdue acting with Endo sponsored Overview of Management

Options, a CME issued by the AMA in 2003, 2007, 2010, and 2013. The 2013 version remains

available for CME credit. The CME taught that NSAIDs and other drugs, but not opioids, are

unsafe at high doses.

       238.      As a result of the Marketing Defendants’ deceptive promotion of opioids over safer

and more effective drugs, opioid prescriptions increased even as the percentage of patients visiting

a doctor for pain remained constant. A study of 7.8 million doctor visits between 2000 and 2010

found that opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and

acetaminophen prescriptions fell from 38% to 29%, driven primarily by the decline in NSAID

prescribing.77

                               Falsehood #8: OxyContin provides twelve hours of pain relief

       239.      Purdue also dangerously misled doctors and patients about OxyContin’s duration

and onset of action, making the knowingly false claim that OxyContin would provide 12 hours of

pain relief for most patients. As laid out below, Purdue made this claim for two reasons. First, it

provides the basis for both Purdue’s patent and its market niche, allowing it to both protect and

differentiate itself from competitors. Second, it allowed Purdue to imply or state outright that

OxyContin had a more even, stable release mechanism that avoided peaks and valleys and

therefore the rush that fostered addiction and attracted abusers.




77
  M. Daubresse, et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the
United States, 2000-2010, 51(10) Med. Care, 870-878 (2013). For back pain alone, the
percentage of patients prescribed opioids increased from 19% to 29% between 1999 and 2010,
even as the use of NSAIDs or acetaminophen declined from 39.9% to 24.5% of these visits; and
referrals to physical therapy remained steady. See also J. Mafi, et al., Worsening Trends in the
Management and Treatment of Back Pain, 173(17) J. of the Am Med. Ass’n Internal Med. 1573,
1573 (2013).


                                                 70
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 78 of 289 PageID 78



        240.      Purdue promotes OxyContin as an extended-release opioid, but the oxycodone does

not enter the body on a linear rate. OxyContin works by releasing a greater proportion of

oxycodone into the body upon administration, and the release gradually tapers, as illustrated in the

following chart, which was apparently adapted from Purdue’s own sales materials:




        241.      The reduced release of the drug over time means that the oxycodone no longer

provides the same level of pain relief; as a result, in many patients, OxyContin does not last for

the twelve hours for which Purdue promotes it—a fact that Purdue has known at all times relevant

to this action.

        242.      OxyContin tablets provide an initial absorption of approximately 40% of the active

medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful opioid

triggers a powerful psychological response. OxyContin thus behaves more like an immediate

release opioid, which Purdue itself once claimed was more addicting in its original 1995 FDA-


                                                  71
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 79 of 289 PageID 79



approved drug label. Second, the initial burst of oxycodone means that there is less of the drug at

the end of the dosing period, which results in the drug not lasting for a full twelve hours and

precipitates withdrawal symptoms in patients, a phenomenon known as “end of dose” failure. (The

FDA found in 2008 that a “substantial number” of chronic pain patients will experience end-of-

dose failure with OxyContin.)

       243.    End-of-dose failure renders OxyContin even more dangerous because patients

begin to experience withdrawal symptoms, followed by a euphoric rush with their next dose—a

cycle that fuels a craving for OxyContin.             For this reason, Dr. Theodore Cicero, a

neuropharmacologist at the Washington University School of Medicine in St. Louis, has called

OxyContin’s 12-hour dosing “the perfect recipe for addiction.”78 Many patients will exacerbate

this cycle by taking their next dose ahead of schedule or resorting to a rescue dose of another

opioid, increasing the overall amount of opioids they are taking.

       244.    It was Purdue’s decision to submit OxyContin for approval with 12-hour dosing.

While the OxyContin label indicates that “[t]here are no well-controlled clinical studies evaluating

the safety and efficacy with dosing more frequently than every 12 hours,” that is because Purdue

has conducted no such studies.

       245.    Purdue nevertheless has falsely promoted OxyContin as if it were effective for a

full twelve hours. Its advertising in 2000 included claims that OxyContin provides “Consistent

Plasma Levels Over 12 Hours.” That claim was accompanied by a chart, mirroring the chart on

the previous page. However, this version of the chart deceptively minimized the rate of end-of-

dose failure by depicting 10 mg in a way that it appeared to be half of 100 mg in the table’s y-axis.


78
  Harriet Ryan, et al.,“‘‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem,” Los
Angeles Times, May 5, 2016, http://www.latimes.com/projects/oxycontin-part1/ (hereinafter,
“You Want a Description of Hell”).


                                                 72
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 80 of 289 PageID 80



That chart, shown below, depicts the same information as the chart above, but does so in a way

that makes the absorption rate appear more consistent:




       246.   Purdue’s 12-hour messaging was key to its competitive advantage over short-acting

opioids that required patients to wake in the middle of the night to take their pills. Purdue

advertisements also emphasized “Q12h” dosing. These include an advertisement in the February

2005 Journal of Pain and 2006 Clinical Journal of Pain featuring an OxyContin logo with two

pill cups, reinforcing the twice-a-day message. A Purdue memo to the OxyContin launch team

stated that “OxyContin’s positioning statement is ‘all of the analgesic efficacy of immediate-

release oxycodone, with convenient q12h dosing,’” and further that “[t]he convenience of q12h

dosing was emphasized as the most important benefit.”79


79
  Memorandum from Lydia Johnson, Marketing Executive at Purdue, to members of Oxycontin
Launch Team (Apr. 4, 1995), http://documents.latimes.com/oxycontin-launch-1995/ (last
updated May 5, 2016).


                                               73
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 81 of 289 PageID 81



        247.   In keeping with this positioning statement, a Purdue regional manager emphasized

in a 1996 sales strategy memo that representatives should “convinc[e] the physician that there is

no need” for prescribing OxyContin in shorter intervals than the recommended 12-hour interval,

and instead the solution is prescribing higher doses.”80 One sales manage instructed her team that

anything shorter than 12-hour dosing “needs to be nipped in the bud NOW!!”81

        248.   Purdue executives therefore maintained the messaging of twelve-hour dosing even

when many reports surfaced that OxyContin did not last twelve hours. Instead of acknowledging

a need for more frequent dosing, Purdue instructed its representatives to push higher-strength pills,

even though higher dosing carries its own risks, as noted above. It also means that patients will

experience higher highs and lower lows, increasing their craving for their next pill. (Urging higher

doses to avoid end-of-dose failure is like advising a pilot to avoid a crash by flying higher.)

Nationwide, based on an analysis by the Los Angeles Times, more than 52% of patients taking

OxyContin longer than three months are on doses greater than 60 milligrams per day—which

converts to the 90 MED that the CDC Guideline urges prescribers to “avoid” or “carefully

justify.”82

        249.   The information that OxyContin did not provide pain relief for a full twelve hours

was known to Purdue, and Purdue’s competitors, but was not disclosed to prescribers. Purdue’s

knowledge of some pain specialists’ tendency to prescribe OxyContin three times per day instead

of two was set out in Purdue’s internal documents as early as 1999 and is apparent from

MEDWATCH Adverse Event reports for OxyContin.




80
   Letter from Fisher, supra.
81
   You Want a Description of Hell, supra.
82
   CDC Guideline, supra, at 16.


                                                 74
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 82 of 289 PageID 82



       250.    Even Purdue’s competitor, Endo, was aware of the problem; Endo attempted to

position its Opana ER drug as offering “durable” pain relief, which Endo understood to suggest a

contrast to OxyContin. Opana ER advisory board meetings featured pain specialists citing lack of

12-hour dosing as a disadvantage of OxyContin. Endo even ran advertisements for Opana ER

referring to “real” 12-hour dosing.

       251.    Purdue’s failure to disclose the prevalence of end-of-dose failure meant that

prescribers were misinformed about the advantages of OxyContin in a manner that preserved

Purdue’s competitive advantage and profits, at the expense of patients, who were placed at greater

risk of overdose, addiction, and other adverse effects.

                               Falsehood #9: New formulations of certain opioids successfully
                               deter abuse

       252.    Rather than take the widespread opioid abuse as reason to cease their untruthful

marketing efforts, Marketing Defendants Purdue and Endo seized them as a competitive

opportunity. These companies developed and oversold “abuse-deterrent formulations” (“ADF”)

opioids as a solution to opioid abuse and as a reason that doctors could continue to safely prescribe

their opioids, as well as an advantage of these expensive branded drugs over other opioids. These

Defendants’ false and misleading marketing of the benefits of their ADF opioids preserved and

expanded their sales and falsely reassured prescribers thereby prolonging the opioid epidemic.

Other Marketing Defendants, including Actavis and Mallinckrodt, also promoted their branded

opioids as formulated to be less addictive or less subject to abuse than other opioids.

       253.    The CDC Guideline confirms that “[n]o studies” support the notion that “abuse-

deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,” noting

that the technologies “do not prevent opioid abuse through oral intake, the most common route of

opioid abuse, and can still be abused by non-oral routes.” Tom Frieden, the former Director of the



                                                 75
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 83 of 289 PageID 83



CDC, reported that his staff could not find “any evidence showing the updated opioids [ADF

opioids] actually reduce rates of addiction, overdoses, or death.”

                 i.    Purdue’s deceptive marketing of reformulated OxyContin and
                       Hysingla ER

       254.    Reformulated ADF OxyContin was approved by the FDA in April 2010. It was not

until 2013 that the FDA, in response to a citizen petition filed by Purdue, permitted reference to

the abuse-deterrent properties in its label. When Hysingla ER (extended-release hydrocodone)

launched in 2014, the product included similar abuse-deterrent properties and limitations. But in

the beginning, the FDA made clear the limited claims that could be made about ADF, noting that

no evidence supported claims that ADF prevented tampering, oral abuse, or overall rates of abuse.

       255.    It is unlikely a coincidence that reformulated OxyContin was introduced shortly

before generic versions of OxyContin were to become available, threatening to erode Purdue’s

market share and the price it could charge. Purdue nonetheless touted its introduction of ADF

opioids as evidence of its good corporate citizenship and commitment to address the opioid crisis.

       256.    Despite its self-proclaimed good intention, Purdue merely incorporated its

generally deceptive tactics with respect to ADF. Purdue sales representatives regularly overstated

and misstated the evidence for and impact of the abuse-deterrent features of these opioids.

Specifically, Purdue sales representatives:

           •   claimed that Purdue’s ADF opioids prevent tampering and that its ADFs could not
               be crushed or snorted;

           •   claimed that Purdue’s ADF opioids reduce opioid abuse and diversion;

           •   asserted or suggested that its ADF opioids are non-addictive or less addictive,

           •   asserted or suggested that Purdue’s ADF opioids are safer than other opioids,
               could not be abused or tampered with, and were not sought out for diversion; and

           •   failed to disclose that Purdue’s ADF opioids do not impact oral abuse or misuse.



                                                76
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 84 of 289 PageID 84



         257.   If pressed, Purdue acknowledged that perhaps some “extreme” patients might still

abuse the drug, but claimed the ADF features protect the majority of patients. These

misrepresentations and omissions are misleading and contrary to Purdue’s ADF labels, Purdue’s

own information, and publicly available data.

         258.   Purdue knew or should have known that reformulated OxyContin is not more

tamper-resistant than the original OxyContin and is still regularly tampered with and abused.

         259.   In 2009, the FDA noted in permitting ADF labeling that “the tamper-resistant

properties will have no effect on abuse by the oral route (the most common mode of abuse)”. In

the 2012 medical office review of Purdue’s application to include an abuse-deterrence claim in its

label for OxyContin, the FDA noted that the overwhelming majority of deaths linked to OxyContin

were associated with oral consumption, and that only 2% of deaths were associated with recent

injection and only 0.2% with snorting the drug.

         260.   The FDA’s Director of the Division of Epidemiology stated in September 2015 that

no data that she had seen suggested the reformulation of OxyContin “actually made a reduction in

abuse,” between continued oral abuse, shifts to injection of other drugs (including heroin), and

defeat of the ADF mechanism. Even Purdue’s own funded research shows that half of OxyContin

abusers continued to abuse OxyContin orally after the reformulation rather than shift to other

drugs.

         261.   A 2013 article presented by Purdue employees based on review of data from poison

control centers, concluded that ADF OxyContin can reduce abuse, but it ignored important

negative findings. The study revealed that abuse merely shifted to other drugs and that, when the

actual incidence of harmful exposures was calculated, there were more harmful exposures to




                                                  77
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 85 of 289 PageID 85



opioids after the reformulation of OxyContin. In short, the article deceptively emphasized the

advantages and ignored the disadvantages of ADF OxyContin.

       262.    Websites and message boards used by drug abusers, such as bluelight.org and

reddit.com, report a variety of ways to tamper with OxyContin and Hysingla ER, including through

grinding, microwaving then freezing, or drinking soda or fruit juice in which a tablet is dissolved.

Purdue has been aware of these methods of abuse for more than a decade.

       263.    One-third of the patients in a 2015 study defeated the ADF mechanism and were

able to continue inhaling or injecting the drug. To the extent that the abuse of Purdue’s ADF

opioids was reduced, there was no meaningful reduction in opioid abuse overall, as many users

simply shifted to other opioids such as heroin.

       264.    In 2015, claiming a need to further assess its data, Purdue abruptly withdrew a

supplemental new drug application related to reformulated OxyContin one day before FDA staff

was to release its assessment of the application. The staff review preceded an FDA advisory

committee meeting related to new studies by Purdue “evaluating the misuse and/or abuse of

reformulated OxyContin” and whether those studies “have demonstrated that the reformulated

product has a meaningful impact on abuse.”83 Upon information and belief, Purdue never

presented the data to the FDA because the data would not have supported claims that OxyContin’s

ADF properties reduced abuse or misuse.

       265.    Despite its own evidence of abuse, and the lack of evidence regarding the benefit

of Purdue’s ADF opioids in reducing abuse, Dr. J. David Haddox, the Vice President of Health

Policy for Purdue, falsely claimed in 2016 that the evidence does not show that Purdue’s ADF


83
  Meeting Notice, Joint Meeting of the Drug Safety and Risk Management Advisory Committee
and the Anesthetic and Analgesic Drug Products Advisory Committee; Notice of Meeting, May
25, 2015, 80 FR 30686.


                                                  78
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 86 of 289 PageID 86



opioids are being abused in large numbers. Purdue’s recent advertisements in national newspapers

also continues to claim its ADF opioids as evidence of its efforts to reduce opioid abuse, continuing

to mislead prescribers, patients, payors, and the public about the efficacy of its actions.

                 ii.   Endo’s deceptive marketing of reformulated Opana ER

       266.    As the expiration of its patent exclusivity for Opana ER neared, Endo also made

abuse-deterrence a key to its marketing strategy.

       267.    Opana ER was particularly likely to be tampered with and abused. That is because

Opana ER has lower “bioavailability” than other opioids, meaning that the active pharmaceutical

ingredient (the “API” or opioid) does not absorb into the bloodstream as rapidly as other opioids

when taken orally. Additionally, when swallowed whole, the extended-release mechanism remains

intact, so that only 10% of Opana ER’s API is released into the patient’s bloodstream relative to

injection; when it is taken intranasally, that rate increases to 43%. The larger gap between

bioavailability when consumed orally versus snorting or injection, the greater the incentive for

users to manipulate the drug’s means of administration.

       268.    In December 2011, Endo obtained approval for a new formulation of Opana ER

that added a hard coating that the company claimed made it crush-resistant.

       269.    In August of 2012, Endo submitted a citizen petition asking the FDA for permission

to change its label to indicate that Opana ER was abuse-resistant, both in that it was less able to be

crushed and snorted and that it was resistant injection by syringe. Borrowing a page from Purdue’s

playbook, Endo announced it would withdraw original Opana ER from the market and sought a

determination that its decision was made for safety reasons (its lack of abuse-deterrence), which

would prevent generic copies of original Opana ER.

       270.    Endo then sued the FDA, seeking to force expedited consideration of its citizen

petition. The court filings confirmed Endo’s true motives: in a declaration submitted with its


                                                 79
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 87 of 289 PageID 87



lawsuit, Endo’s chief operating officer indicated that a generic version of Opana ER would

decrease the company’s revenue by up to $135 million per year. Endo also claimed that if the

FDA did not block generic competition, $125 million, which Endo spent on developing the

reformulated drug to “promote the public welfare” would be lost.84 The FDA responded that:

“Endo’s true interest in expedited FDA consideration stems from business concerns rather than

protection of the public health.”85

       271.    Despite Endo’s purported concern with public safety, not only did Endo continue

to distribute original, admittedly unsafe Opana ER for nine months after the reformulated version

became available, it declined to recall original Opana ER despite its dangers. In fact, Endo claimed

in September 2012 to be “proud” that “almost all remaining inventory” of the original Opana ER

had “been utilized.”86

       272.    In its citizen petition, Endo asserted that redesigned Opana ER had “safety

advantages.” Endo even relied on its rejected assertion that Opana was less crushable to argue that

it developed Opana ER for patient safety reasons and that the new formulation would help, for

example, “where children unintentionally chew the tablets prior to an accidental ingestion.”87

       273.    However, in rejecting the petition in a 2013 decision, the FDA found that “study

data show that the reformulated version’s extended-release features can be compromised when



84
   Plf.’s Opp. to Defs.’ and Intervenor’s Motions to Dismiss and Plf.’s Reply in Supp. of Motion
for Prelim. Inj. (“Endo Br.”), [ECF No. 23] Endo Pharms, Inc. v. U.S. Food and Drug Admin., et
al., No. 1:12-cv-01936, at 20 (D.D.C. Dec.14, 2012).
85
  Defs.’ Resp. to the Court’s Nov. 30, 2012 Order, [ECF No.9] Endo Pharms., Inc. v. U.S. Food
and Drug Admin., et al.., No. 1:12-cv-01936, at 6 (D.D.C. Dec. 3, 2012).
86
  Id.; Endo News Release, (Sept. 6, 2012) [ECF No. 18-4], Endo Pharms., Inc. v. U.S. Food and
Drug Admin., et al., No. 1:12-cv-01936, Doc. 18-4(D.D.C. Dec. 9, 2012).
87
  CP, FDA Docket 2012-8-0895, at 2., https://www.documentcloud.org/documents/2086687-
endo-pharmaceuticals-inc-citizen-petition.html


                                                80
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 88 of 289 PageID 88



subjected to ... cutting, grinding, or chewing.” The FDA also determined that “reformulated Opana

ER” could also be “readily prepared for injections and more easily injected[.]” In fact, the FDA

warned that preliminary data—including in Endo’s own studies—suggested that a higher

percentage of reformulated Opana ER abuse is via injection than was the case with the original

formulation.

       274.    Meanwhile, in 2012, an internal memorandum to Endo account executives noted

that abuse of Opana ER had “increased significantly” in the wake of the purportedly abuse-

deterrent formulation. In February 2013, Endo received abuse data regarding Opana ER from

Inflexxion, Inc., which gathers information from substance abusers entering treatment and reviews

abuse-focused internet discussions, that confirmed continued abuse, particularly by injection.

       275.    In 2009, only 3% of Opana ER abuse was by intravenous means. Since the

reformulation, injection of Opana ER increased by more than 500%. Endo’s own data, presented

in 2014, found between October 2012 and March 2014, 64% of abusers of Opana ER did so by

injection, compared with 36% for the old formulation.88 The transition into injection of Opana ER

made the drug even less safe than the original formulation. Injection carries risks of HIV, Hepatitis

C, and, in reformulated Opana ER’s specific case, the blood-clotting disorder thrombotic

thrombocytopenic purpura (TTP), which can cause kidney failure.

       276.    Publicly, Endo sought to marginalize the problem. On a 2013 call with investors,

when asked about an outbreak of TTP in Tennessee from injecting Opana ER, Endo sought to limit

its import by assigning it to “a very, very distinct area of the country.”



88
   Theresa Cassidy, The Changing Abuse Ecology: Implications for Evaluating the Abuse Pattern
of Extended-Release Oxymorphone and Abuse-Deterrent Opioid Formulations, Pain Week
Abstract 2014, https://www.painweek.org/assets/documents/general/724-
painweek2014acceptedabstracts.pdf.


                                                  81
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 89 of 289 PageID 89



       277.    Despite its knowledge that Opana ER was widely abused and injected, Endo

marketed the drug as tamper-resistant and abuse-deterrent. Upon information and belief, based on

the company’s detailing elsewhere, Endo sales representatives informed doctors that Opana ER

was abuse-deterrent, could not be tampered with, and was safe. In addition, sales representatives

did not disclose evidence that Opana was easier to abuse intravenously and, if pressed by

prescribers, claimed that while outlier patients might find a way to abuse the drug, most would be

protected.

       278.    In its written materials, Endo marketed Opana ER as having been designed to be

crush-resistant, knowing that this would (falsely) imply that Opana ER actually was crush-resistant

and that this crush-resistant quality would make Opana ER less likely to be abused. For example,

a June 14, 2012 Endo press release announced, “the completion of the company’s transition of its

Opana ER franchise to the new formulation designed to be crush resistant.”

       279.    The press release further stated that: “We firmly believe that the new formulation

of Opana ER, coupled with our long-term commitment to awareness and education around

appropriate use of opioids will benefit patients, physicians and payers. The press release described

the old formulation of Opana as subject to abuse and misuse but failed to disclose the absence of

evidence that reformulated Opana was any better. In September 2012, another Endo press release

stressed that reformulated Opana ER employed “INTAC Technology” and continued to describe

the drug as “designed to be crush-resistant.”

       280.    Similarly, journal advertisements that appeared in April 2013 stated Opana ER was

“designed to be crush resistant.” A January 2013 article in Pain Medicine News, based in part on

an Endo press release, described Opana ER as “crush-resistant.” This article was posted on the

Pain Medicine News website, which was accessible to patients and prescribers.




                                                82
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 90 of 289 PageID 90



       281.    In March 2017, because Opana ER could be “readily prepared for injection” and

was linked to outbreaks of HIV and TTP, an FDA advisory committee recommended that Opana

be withdrawn from the market. The FDA adopted this recommendation on June 8, 2017.89 Endo

announced on July 6, 2017 that it would agree to stop marketing and selling Opana ER.90 However,

by this point, the damage had been done. Even then, Endo continued to insist, falsely, that it “has

taken significant steps over the years to combat misuse and abuse.”

                iii.   Other Marketing Defendants’ misrepresentations regarding abuse
                       deterrence

       282.    Mallinckrodt promoted both Exalgo (extended-release hydromorphone) and

Xartemis XR (oxycodone and acetaminophen) as specifically formulated to reduce abuse. For

example, Mallinckrodt’s promotional materials stated that “the physical properties of EXALGO

may make it difficult to extract the active ingredient using common forms of physical and chemical

tampering, including chewing, crushing and dissolving.”91 One member of the FDA’s Controlled

Substance Staff, however, noted in 2010 that hydromorphone has “a high abuse potential

comparable to oxycodone” and further stated that “we predict that Exalgo will have high levels of

abuse and diversion.”92




89
  Press Release, “FDA Requests Removal of Opana ER for Risks Related to Abuse,” June 8,
2017, https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
90
   Press Release, U.S. Food & Drug Admin., FDA Requests Removal of Opana ER for Risks
Related to Abuse (June 8, 2017),
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
91
   Mallinckrodt Press Release, FDA Approves Mallinckrodt’s EXALGO® (hydromorphone HCl)
Extended-Release Tablets 32 mg (CII) for Opioid-Tolerant Patients with Moderate-to-Severe
Chronic Pain (Aug. 27, 2012),
http://newsroom.medtronic.com/phoenix.zhtml?c=251324&p=irol-newsArticle&ID=2004159.
92
  https://www.markey.senate.gov/imo/media/doc/2016-02-19-Markey-ADF-Opioid-
timeline.pdf.


                                                83
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 91 of 289 PageID 91



         283.    With respect to Xartemis XR, Mallinckrodt’s promotional materials stated that

“XARTEMIS XR has technology that requires abusers to exert additional effort to extract the

active ingredient from the large quantity of inactive and deterrent ingredients.”93 In anticipation of

Xartemis XR’s approval, Mallinckrodt added 150-200 sales representatives to promote it, and

CEO Mark Trudeau said the drug could generate “hundreds of millions in revenue.”94

         284.    While Marketing Defendants promote patented technology as the solution to opioid

abuse and addiction, none of their “technology” addresses the most common form of abuse—oral

ingestion—and their statements regarding abuse-deterrent formulations give the misleading

impression that these reformulated opioids can be prescribed safely.

         285.    In sum, each of the nine categories of misrepresentations discussed above regarding

the use of opioids to treat chronic pain was not supported by or was contrary to the scientific

evidence. In addition, the misrepresentations and omissions set forth above and elsewhere in this

Complaint are misleading and contrary to the Marketing Defendants’ products’ labels.

                 2.     The Marketing Defendants Disseminated Their Misleading Messages
                        About Opioids Through Multiple Channels

         286.    The Marketing Defendants’ false marketing campaign not only targeted the medical

community who had to treat chronic pain, but also patients who experience chronic pain.

         287.    The Marketing Defendants utilized various channels to carry out their marketing

scheme of targeting the medical community and patients with deceptive information about opioids:

(1) ”Front Groups” with the appearance of independence from the Marketing Defendants;

(2) ”KOLs”, that is, doctors who were paid by the Marketing Defendants to promote their pro-



93
     Mallinckrodt, Responsible Use of Opioid Pain Medications (Mar. 7, 2014).
94
  Samantha Liss, Mallinckrodt Banks on New Painkillers for Sales, St. Louis Bus. J. (Dec. 30,
2013), http://argentcapital.com/mallinckrodt-banks-on-new-painkillers-for-sales/.


                                                 84
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 92 of 289 PageID 92



opioid message; (3) CME programs controlled and/or funded by the Marketing Defendants;

(4) branded advertising; (5) unbranded advertising; (6) publications; (7) direct, targeted

communications with prescribers by sales representatives or “detailers”; and (8) speakers bureaus

and programs.

                                The Marketing Defendants Directed Front Groups to
                                Deceptively Promote Opioid Use

           288.   Patient advocacy groups and professional associations also became vehicles to

reach prescribers, patients, and policymakers. Marketing Defendants exerted influence and

effective control over the messaging by these groups by providing major funding directly to them,

as well as through KOLs who served on their boards. These “Front Groups” put out patient

education materials, treatment guidelines and CMEs that supported the use of opioids for chronic

pain, overstated their benefits, and understated their risks.95 Marketing Defendants funded these

Front Groups in order to ensure supportive messages from these seemingly neutral and credible

third parties, and their funding did, in fact, ensure such supportive messages—often at the expense

of their own constituencies.

           289.   “Patient advocacy organizations and professional societies like the Front Groups

‘play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public.’”96 “Even small organizations—

with ‘their large numbers and credibility with policymakers and the public’—have ‘extensive

influence in specific disease areas.’ Larger organizations with extensive funding and outreach




95
  U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members’
Office, (February 12, 2018), https://www.hsdl.org/?view&did=808171 at 3 (“Fueling an
Epidemic”), at 3.
96
     Id. at 2.


                                                 85
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 93 of 289 PageID 93



capabilities ‘likely have a substantial effect on policies relevant to their industry sponsors.’”97

Indeed, the U.S. Senate’s report, Fueling an Epidemic: Exposing the Financial Ties Between

Opioid Manufacturers and Third Party Advocacy Groups,98 which arose out of a 2017 Senate

investigation and, drawing on disclosures from Purdue, Janssen, Insys, and other opioid

manufacturers, “provides the first comprehensive snapshot of the financial connections between

opioid manufacturers and advocacy groups and professional societies operating in the area of

opioids policy,”99 found that the Marketing Defendants gave millions of dollars in contributions

to various Front Groups.100

           290.    The Marketing Defendants also “made substantial payments to individual group

executives, staff members, board members, and advisory board members” affiliated with the Front

Groups subject to the Senate Committee’s study.101

           291.    As the Senate Fueling an Epidemic Report found, the Front Groups “amplified or

issued messages that reinforce industry efforts to promote opioid prescription and use, including

guidelines and policies minimizing the risk of addiction and promoting opioids for chronic

pain.”102 They also “lobbied to change laws directed at curbing opioid use, strongly criticized

landmark CDC guidelines on opioid prescribing, and challenged legal efforts to hold physicians

and industry executives responsible for over prescription and misbranding.”103



97
     Id.
98
     Id. at 3.
99
     Id. at 1.
100
      Id. at 3.
101
      Id. at 10.
102
      Id. at 12-15.
103
      Id. at 12.


                                                 86
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 94 of 289 PageID 94



       292.    The Marketing Defendants took an active role in guiding, reviewing, and approving

many of the false and misleading statements issued by the Front Groups, ensuring that Marketing

Defendants were consistently in control of their content. By funding, directing, editing, approving,

and distributing these materials, Marketing Defendants exercised control over and adopted their

false and deceptive messages and acted in concert with the Front Groups and through the Front

groups, with each other to deceptively promote the use of opioids for the treatment of chronic pain.

                 i.    American Pain Foundation

       293.    The most prominent of the Front Groups was the American Pain Foundation

(“APF”). While APF held itself out as an independent patient advocacy organization, in reality it

received 90% of its funding in 2010 from the drug and medical-device industry, including from

defendants Purdue, Endo, Janssen and Cephalon. APF received more than $10 million in funding

from opioid manufacturers from 2007 until it closed its doors in May 2012. By 2011, APF was

entirely dependent on incoming grants from Defendants Purdue, Cephalon, Endo, and others to

avoid using its line of credit. Endo was APF’s largest donor and provided more than half of its

$10 million in funding from 2007 to 2012.

       294.    For example, APF published a guide sponsored by Cephalon and Purdue titled

Treatment Options: A Guide for People Living with Pain and distributed 17,200 copies of this

guide in one year alone, according to its 2007 annual report. This guide contains multiple

misrepresentations regarding opioid use which are discussed below.

       295.    APF also developed the National Initiative on Pain Control (“NIPC”), which ran a

facially unaffiliated website, www.painknowledge.com. NIPC promoted itself as an education

initiative led by its expert leadership team, including purported experts in the pain management

field. NIPC published unaccredited prescriber education programs (accredited programs are

reviewed by a third party and must meet certain requirements of independence from


                                                87
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 95 of 289 PageID 95



pharmaceutical companies), including a series of “dinner dialogues.” But it was Endo that

substantially controlled NIPC, by funding NIPC projects, developing, specifying, and reviewing

its content, and distributing NIPC materials. Endo’s control of NIPC was such that Endo listed it

as one of its “professional education initiative[s]” in a plan Endo submitted to the FDA. Yet,

Endo’s involvement in NIPC was nowhere disclosed on the website pages describing NIPC or

www.painknowledge.org. Endo estimated it would reach 60,000 prescribers through NIPC.

       296.    APF was often called upon to provide “patient representatives” for the Marketing

Defendants’ promotional activities, including for Purdue’s “Partners Against Pain” and Janssen’s

“Let’s Talk Pain.” Although APF presented itself as a patient advocacy organization, it functioned

largely as an advocate for the interests of the Marketing Defendants, not patients. As Purdue told

APF in 2001, the basis of a grant to the organization was Purdue’s desire to strategically align its

investments in nonprofit organizations that share [its] business interests.

       297.    In practice, APF operated in close collaboration with Marketing Defendants,

submitting grant proposals seeking to fund activities and publications suggested by Marketing

Defendants and assisting in marketing projects for Marketing Defendants.

       298.    This alignment of interests was expressed most forcefully in the fact that Purdue

hired APF to provide consulting services on its marketing initiatives. Purdue and APF entered

into a “Master Consulting Services” Agreement on September 14, 2011. That agreement gave

Purdue substantial rights to control APF’s work related to a specific promotional project.

Moreover, based on the assignment of particular Purdue “contacts” for each project and APF’s

periodic reporting on their progress, the agreement enabled Purdue to be regularly aware of the

misrepresentations APF was disseminating regarding the use of opioids to treat chronic pain in

connection with that project. The agreement gave Purdue—but not APF—the right to end the




                                                 88
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 96 of 289 PageID 96



project (and, thus, APF’s funding) for any reason. Even for projects not produced during the terms

of this Agreement, the Agreement demonstrates APF’s lack of independence and willingness to

harness itself to Purdue’s control and commercial interests, which would have carried across all of

APF’s work.

       299.    APF’s Board of Directors was largely comprised of doctors who were on the

Marketing Defendants’ payrolls, either as consultants or speakers at medical events. The close

relationship between APF and the Marketing Defendants demonstrates APF’s clear lack of

independence, in its finances, management, and mission, and its willingness to allow Marketing

Defendants to control its activities and messages supports an inference that each Marketing

Defendant that worked with it was able to exercise editorial control over its publications—even

when Marketing Defendants’ messages contradicted APF’s internal conclusions. For example, a

roundtable convened by APF and funded by Endo also acknowledged the lack of evidence to

support chronic opioid therapy. APF’s formal summary of the meeting notes concluded that: “[An]

important barrier[] to appropriate opioid management [is] the lack of confirmatory data about the

long-term safety and efficacy of opioids in non-cancer chronic pain, amid cumulative clinical

evidence.”

       300.    In May 2012, the U.S. Senate Finance Committee began looking into APF to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. Within days of being targeted by the Senate investigation, APF’s board voted

to dissolve the organization “due to irreparable economic circumstances.” APF then “cease[d] to

exist, effective immediately.” Without support from Marketing Defendants, to whom APF could

no longer be helpful, APF was no longer financially viable.




                                                89
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 97 of 289 PageID 97



                 ii.   American Academy of Pain Medicine and the American Pain Society

         301.   The American Academy of Pain Medicine (“AAPM”) and the American Pain

Society (“APS”) are professional medical societies, each of which received substantial funding

from Defendants from 2009 to 2013. In 1997, AAPM issued a “consensus” statement that endorsed

opioids to treat chronic pain and claimed that the risk that patients would become addicted to

opioids was low.104 The Chair of the committee that issued the statement, Dr. J. David Haddox,

was at the time a paid speaker for Purdue. The sole consultant to the committee was Dr. Russell

Portenoy, who was also a spokesperson for Purdue. The consensus statement, which also formed

the foundation of the 1998 Guidelines, was published on the AAPM’s website.

         302.   AAPM’s corporate council includes Purdue, Depomed, Teva and other

pharmaceutical companies. AAPM’s past presidents include Haddox (1998), Dr. Scott Fishman

(“Fishman”) (2005), Dr. Perry G. Fine (“Fine”) (2011) and Dr. Lynn R. Webster (“Webster”)

(2013), all of whose connections to the opioid manufacturers are well-documented as set forth

below.

         303.   Fishman, who also served as a KOL for Marketing Defendants, stated that he would

place the organization “at the forefront” of teaching that “the risks of addiction are . . . small and

can be managed.”105

         304.   AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per


104
   Consensus Statement by the Am. Acad. of Pain Med. & the Am. Pain Soc’y, The Use of
Opioids for the Treatment of Chronic Pain, APS & AAPM (1997).,
http://www.stgeorgeutah.com/wp-content/uploads/2016/05/OPIOIDES.DOLORCRONICO.pdf
(August 18, 2017).
105
   Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and
Pain Medicine, Chief of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
http://www.medscape.org/viewarticle/500829.


                                                 90
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 98 of 289 PageID 98



year (on top of other funding) to participate. The benefits included allowing members to present

educational programs at off-site dinner symposia in connection with AAPM’s marquee event – its

annual meeting held in Palm Springs, California, or other resort locations.

        305.   AAPM describes the annual event as an “exclusive venue” for offering CMEs to

doctors. Membership in the corporate relations council also allows drug company executives and

marketing staff to meet with AAPM executive committee members in small settings. Marketing

Defendants Endo, Purdue, and Cephalon were members of the council and presented deceptive

programs to doctors who attended this annual event. The conferences sponsored by AAPM heavily

emphasized CME sessions on opioids – 37 out of roughly 40 at one conference alone.

        306.   AAPM’s staff understood that they and their industry funders were engaged in a

common task. Defendants were able to influence AAPM through both their significant and regular

funding and the leadership of pro-opioid KOLs within the organization.

        307.   AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”) AAPM,

with the assistance, prompting, involvement, and funding of Marketing Defendants, issued the

treatment guidelines discussed herein, and continued to recommend the use of opioids to treat

chronic pain. Fourteen of the 21 panel members who drafted the 2009 Guidelines, including KOL

Dr. Fine, received support from Defendants Janssen, Cephalon, Endo, and Purdue. Of these

individuals, six received support from Purdue, eight from Teva, nine from Janssen, and nine from

Endo.

        308.   One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan

State University and founder of the Michigan Headache & Neurological Institute, resigned from

the panel because of his concerns that the Guidelines were influenced by contributions that drug




                                                91
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 99 of 289 PageID 99



companies, including Purdue, Endo, Janssen, and Teva, made to the sponsoring organizations and

committee members.

         309.   Dr. Gilbert Fanciullo, now retired as a professor at Dartmouth College’s Geisel

School of Medicine, who served on the AAPM/APS Guidelines panel, has since described them

as “skewed” by drug companies and “biased in many important respects,” including the high

presumptive maximum dose, lack of suggested mandatory urine toxicology testing, and claims of

a low risk of addiction.

         310.   The 2009 Guidelines have been a particularly effective channel of deception. They

have influenced not only treating physicians, but also the scientific literature on opioids; they were

reprinted in the Journal of Pain, have been cited hundreds of times in academic literature, were

disseminated during the relevant time period, and were and are available online. Treatment

guidelines are especially influential with primary care physicians and family doctors to whom

Marketing Defendants promoted opioids, whose lack of specialized training in pain management

and opioids makes them more reliant on, and less able to evaluate, these guidelines. For that reason,

the CDC has recognized that treatment guidelines can “change prescribing practices.”106

         311.   The 2009 Guidelines are relied upon by doctors, especially general practitioners

and family doctors who have no specific training in treating chronic pain.

         312.   The Marketing Defendants widely cited and promoted the 2009 Guidelines without

disclosing the lack of evidence to support their conclusions, their involvement in the development

of the Guidelines or their financial backing of the authors of these Guidelines. For example, a

speaker presentation prepared by Endo in 2009 titled The Role of Opana ER in the Management




106
      2016 CDC Guideline at 2.


                                                 92
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 100 of 289 PageID 100



 of Moderate to Severe Chronic Pain relies on the AAPM/APS Guidelines while omitting their

 disclaimer regarding the lack of evidence for recommending the use of opioids for chronic pain.

                 iii.   FSMB

        313.    The Federation of State Medical Boards (“FSMB”) is a trade organization

 representing the various state medical boards in the United States. The state boards that comprise

 the FSMB membership have the power to license doctors, investigate complaints, and discipline

 physicians.

        314.    The FSMB finances opioid- and pain-specific programs through grants from

 Marketing Defendants.

        315.    Since 1998, the FSMB has been developing treatment guidelines for the use of

 opioids for the treatment of pain. The 1998 version, Model Guidelines for the Use of Controlled

 Substances for the Treatment of Pain (“1998 Guidelines”) was produced “in collaboration with

 pharmaceutical companies.” The 1998 Guidelines that the pharmaceutical companies helped

 author taught not that opioids could be appropriate in only limited cases after other treatments had

 failed, but that opioids were “essential” for treatment of chronic pain, including as a first

 prescription option.

        316.    A 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible Opioid

 Prescribing, also made the same claims as the 1998 Guidelines. These guidelines were posted

 online and were available to and intended to reach physicians nationwide, including in Plaintiff’s

 Community.

        317.    FSMB’s 2007 publication Responsible Opioid Prescribing was backed largely by

 drug manufacturers, including Purdue, Endo and Cephalon. The publication also received support

 from the American Pain Foundation and the American Academy of Pain Medicine. The

 publication was written by Dr. Fishman, and Dr. Fine served on the Board of Advisors. In all,


                                                 93
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 101 of 289 PageID 101



 163,131 copies of Responsible Opioid Prescribing were distributed by state medical boards (and

 through the boards, to practicing doctors). The FSMB website describes the book as “the leading

 continuing medical education (CME) activity for prescribers of opioid medications.” This

 publication asserted that opioid therapy to relieve pain and improve function is a legitimate

 medical practice for acute and chronic pain of both cancer and non-cancer origins; that pain is

 under-treated, and that patients should not be denied opioid medications except in light of clear

 evidence that such medications are harmful to the patient.107

        318.     The Marketing Defendants relied on the 1998 Guidelines to convey the alarming

 message that “under-treatment of pain” would result in official discipline, but no discipline would

 result if opioids were prescribed as part of an ongoing patient relationship and prescription

 decisions were documented. FSMB turned doctors’ fear of discipline on its head: doctors, who

 used to believe that they would be disciplined if their patients became addicted to opioids, were

 taught instead that they would be punished if they failed to prescribe opioids to their patients with

 chronic pain.

                  iv.   The Alliance for Patient Access

        319.     Founded in 2006, the Alliance for Patient Access (“APA”) is a self-described

 patient advocacy and health professional organization that styles itself as “a national network of

 physicians dedicated to ensuring patient access to approved therapies and appropriate clinical

 care.”108 It is run by Woodberry Associates LLC, a lobbying firm that was also established in




 107
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide 8-9 (Waterford Life
 Sciences 2007).
 108
     About AfPA, The Alliance for Patient Access, http://allianceforpatientaccess.org/about-afpa
 (last visited Apr. 25, 2018). References herein to APA include two affiliated groups: the Global
 Alliance for Patient Access and the Institute for Patient Access.


                                                  94
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 102 of 289 PageID 102



 2006.109 As of June 2017, the APA listed 30 “Associate Members and Financial Supporters.” The

 list includes Johnson & Johnson, Endo, Mallinckrodt, Purdue and Cephalon.

        320.   APA’s board members have also directly received substantial funding from

 pharmaceutical companies.110 For instance, board vice president Dr. Srinivas Nalamachu

 (“Nalamachu”), who practices in Kansas, received more than $800,000 from 2013 through 2015

 from pharmaceutical companies—nearly all of it from manufacturers of opioids or drugs that treat

 opioids’ side effects, including from Defendants Endo, Insys, Purdue and Cephalon. Nalamachu’s

 clinic was raided by FBI agents in connection with an investigation of Insys and its payment of

 kickbacks to physicians who prescribed Subsys.111 Other board members include Dr. Robert A.

 Yapundich from North Carolina, who received $215,000 from 2013 through 2015 from

 pharmaceutical companies, including payments by Defendants Cephalon and Mallinckrodt;

 Dr. Jack D. Schim from California, who received more than $240,000 between 2013 and 2015

 from pharmaceutical companies, including Defendants Endo, Mallinckrodt and Cephalon;

 Dr. Howard Hoffberg from Maryland, who received $153,000 between 2013 and 2015 from

 pharmaceutical companies, including Defendants Endo, Purdue, Insys, Mallinckrodt and

 Cephalon; and Dr. Robin K. Dore from California, who received $700,000 between 2013 and 2015

 from pharmaceutical companies.


 109
    Mary Chris Jaklevic, Alliance for Patient Access Uses Journalists and Politicians to Push Big
 Pharma’s Agenda, Health News Review (Oct. 2, 2017),
 https://www.healthnewsreview.org/2017/10/non-profit-alliance-patient-access-uses-journalists-
 politicians-push-big-pharmas-agenda/ (hereinafter “Jaklevic, Non-Profit Alliance for Patient
 Access”).
 110
    All information concerning pharmaceutical company payments to doctors in this paragraph is
 from ProPublica’s Dollars for Docs database, https://projects.propublica.org/docdollars/.
 111
    Andy Marso, FBI Seizes Records of Overland Park Pain Doctor Tied to Insys, Kansas City
 Star (July 20, 2017), http://www.kansascity.com/news/business/health-
 care/article162569383.html.


                                               95
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 103 of 289 PageID 103



        321.    Among its activities, APA issued a “white paper” titled “Prescription Pain

 Medication: Preserving Patient Access While Curbing Abuse.”112 Among other things, the white

 paper criticizes prescription monitoring programs, purporting to express concern that they are

 burdensome, not user friendly, and of questionable efficacy:

                Prescription monitoring programs that are difficult to use and
                cumbersome can place substantial burdens on physicians and their
                staff, ultimately leading many to stop prescribing pain medications
                altogether. This forces patients to seek pain relief medications
                elsewhere, which may be much less convenient and familiar and
                may even be dangerous or illegal.

                                          *       *        *

                In some states, physicians who fail to consult prescription
                monitoring databases before prescribing pain medications for their
                patients are subject to fines; those who repeatedly fail to consult the
                databases face loss of their professional licensure. Such penalties
                seem excessive and may inadvertently target older physicians in
                rural areas who may not be facile with computers and may not have
                the requisite office staff. Moreover, threatening and fining
                physicians in an attempt to induce compliance with prescription
                monitoring programs represents a system based on punishment as
                opposed to incentives. . . .

                We cannot merely assume that these programs will reduce
                prescription pain medication use and abuse.113

        322.    The white paper also purports to express concern about policies that have been

 enacted in response to the prevalence of pill mills:

                Although well intentioned, many of the policies designed to address
                this problem have made it difficult for legitimate pain management
                centers to operate. For instance, in some states, [pain management
                centers] must be owned by physicians or professional corporations,
                must have a Board certified medical director, may need to pay for
                annual inspections, and are subject to increased record keeping and


 112
     Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, Institute for
 Patient Access (Dec. 2013), http://1yh21u3cjptv3xjder1dco9mx5s.wpengi
 ne.netdna-cdn.com/wp-content/uploads/2013/12/PT_White-Paper_Finala.pdf.
 113
     Id. at 4-5.


                                                  96
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 104 of 289 PageID 104



                     reporting requirements. . . . [I]t is not even certain that the
                     regulations are helping prevent abuses.114

            323.     In addition, in an echo of earlier industry efforts to push back against what they

 termed “opiophobia,” the white paper laments the stigma associated with prescribing and taking

 pain medication:

                     Both pain patients and physicians can face negative perceptions and
                     outright stigma. When patients with chronic pain can’t get their
                     prescriptions for pain medication filled at a pharmacy, they may feel
                     like they are doing something wrong – or even criminal. . . .
                     Physicians can face similar stigma from peers. Physicians in non-
                     pain specialty areas often look down on those who specialize in pain
                     management – a situation fueled by the numerous regulations and
                     fines that surround prescription pain medications.115

            324.     In conclusion, the white paper states that “[p]rescription pain medications, and

 specifically the opioids, can provide substantial relief for people who are recovering from surgery,

 afflicted by chronic painful diseases, or experiencing pain associated with other conditions that

 does not adequately respond to over-the-counter drugs.”116

            325.     The APA also issues “Patient Access Champion” financial awards to members of

 Congress, including 50 such awards in 2015. The awards were funded by a $7.8 million donation

 from unnamed donors. While the awards are ostensibly given for protecting patients’ access to

 Medicare and are thus touted by their recipients as demonstrating a commitment to protecting the

 rights of senior citizens and the middle class, they appear to be given to provide cover to and

 reward members of Congress who have supported the APA’s agenda.117




 114
       Id. at 5-6.
 115
       Id. at 6.
 116
       Id. at 7.
 117
       Jaklevic, Non-profit Alliance for Patient Access, supra note 139..


                                                      97
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 105 of 289 PageID 105



           326.   The APA also lobbies Congress directly. In 2015, the APA signed onto a letter

 supporting legislation proposed to limit the ability of the DEA to police pill mills by enforcing the

 “suspicious orders” provision of the Comprehensive Drug Abuse Prevention and Control Act of

 1970, 21 U.S.C. §801 et seq. (“CSA” or “Controlled Substances Act”). The AAPM is also a

 signatory to this letter. An internal U.S. Department of Justice (“DOJ”) memo stated that the

 proposed bill “‘could actually result in increased diversion, abuse, and public health and safety

 consequences’”118 and, according to DEA chief administrative law judge John J. Mulrooney

 (“Mulrooney”), the law would make it “all but logically impossible” to prosecute manufacturers

 and distributors, like the defendants here, in the federal courts.119 The bill passed both houses of

 Congress and was signed into law in 2016.

                   v.    The U.S. Pain Foundation (“USPF”)

           327.   The USPF was another Front Group with systematic connections and interpersonal

 relationships with the Marketing Defendants. The USPF was one of the largest recipients of

 contributions from the Marketing Defendants, collecting nearly $3 million in payments between

 2012 and 2015 alone.120 The USPF was also a critical component of the Marketing Defendants’

 lobbying efforts to reduce the limits on over-prescription. The U.S. Pain Foundation advertises its

 ties to the Marketing Defendants, listing opioid manufacturers like Pfizer, Teva, Depomed, Endo,

 Purdue, McNeil (i.e. Janssen), and Mallinckrodt as “Platinum,” “Gold,” and “Basic” corporate


 118
    Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS
 News (Oct. 17, 2017), https://www.cbsnews.com/news/ex-dea-agent-opioid-crisis-fueled-by-
 drug-industry-and-congress/ (hereinafter, “Whitaker, Opioid Crisis Fueled by Drug Industry”).
 119
    John J. Mulrooney, II & Katherine E. Legel, Current Navigation Points in Drug Diversion
 Law: Hidden Rocks in Shallow, Murky, Drug-Infested Waters, 101 Marquette L. Rev. 15 (2017),
 https://www.documentcloud.org/documents/4108121-Marquette-Law-Review-Mulrooney-
 Legel.html.
 120
       Fueling an Epidemic, supra.


                                                  98
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 106 of 289 PageID 106



 members.121 Industry Front Groups like the American Academy of Pain Management, the

 American Academy of Pain Medicine, the American Pain Society, and PhRMA are also members

 of varying levels in the USPF.

                  vi.   American Geriatrics Society (“AGS”)

        328.     The AGS was another Front Group with systematic connections and interpersonal

 relationships with the Marketing Defendants. The AGS was a large recipient of contributions from

 the Marketing Defendants, including Endo, Purdue and Janssen. AGS contracted with Purdue,

 Endo and Janssen to disseminate guidelines regarding the use of opioids for chronic pain in 2002

 (The Management of Persistent Pain in Older Persons, hereinafter “2002 AGS Guidelines”) and

 2009 (Pharmacological Management of Persistent Pain in Older Persons,122 hereinafter “2009

 AGS Guidelines”). According to news reports, AGS has received at least $344,000 in funding

 from opioid manufacturers since 2009.123 AGS’s complicity in the common purpose with the

 Marketing Defendants is evidenced by the fact that AGS internal discussions in August 2009

 reveal that it did not want to receive-up front funding from drug companies, which would suggest

 drug company influence, but would instead accept commercial support to disseminate pro-opioid

 publications.

        329.     The 2009 AGS Guidelines recommended that “[a]ll patients with moderate to

 severe pain . . . should be considered for opioid therapy.”           The panel made “strong


 121
     Id. at 12; Transparency, U.S. Pain Foundation, https://uspainfoundation.org/transparency/
 (last visited on March 9, 2018).
 122
     Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics
 Soc’y 1331, 1339, 1342 ( 2009),
 https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
 (last visited Apr.25, 2018).
 123
     John Fauber & Ellen Gabler, “Narcotic Painkiller Use Booming Among Elderly,” Milwaukee
 J. Sentinel, May 30, 2012, https://medpagetoday.com/geriatrics/painmanagement/32967


                                                99
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 107 of 289 PageID 107



 recommendations” in this regard despite “low quality of evidence” and concluded that the risk of

 addiction is manageable for patients, even with a prior history of drug abuse.124 These Guidelines

 further recommended that “the risks [of addiction] are exceedingly low in older patients with no

 current or past history of substance abuse.” These recommendations are not supported by any

 study or other reliable scientific evidence. Nevertheless, they have been cited as many as 1,833

 times in Google Scholar (which allows users to search scholarly publications that would be have

 been relied on by researchers and prescribers) since their 2009 publication and as recently as this

 year.

          330.   Representatives of the Marketing Defendants, often at informal meetings at

 conferences, suggested activities, lobbying efforts and publications for AGS to pursue. AGS then

 submitted grant proposals seeking to fund these activities and publications, knowing that drug

 companies would support projects conceived as a result of these communications.

          331.   Members of AGS Board of Directors were doctors who were on the Marketing

 Defendants’ payrolls, either as consultants or speakers at medical events. As described below,

 many of the KOLs also served in leadership positions within the AGS.

                               The Marketing Defendants Paid Key Opinion Leaders to
                               Deceptively Promote Opioid Use

          332.   To falsely promote their opioids, the Marketing Defendants paid and cultivated a

 select circle of doctors who were chosen and sponsored by the Marketing Defendants for their

 supportive messages. As set forth below, pro-opioid doctors have been at the hub of the Marketing

 Defendants’ well-funded, pervasive marketing scheme since its inception and were used to create

 the grave misperception that science and respected medical professionals favored the broader use



 124
       2009 AGS Guidelines at 1342.


                                                100
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 108 of 289 PageID 108



 of opioids. These doctors include Dr. Russell Portenoy, Dr. Lynn Webster, Dr. Perry Fine, and Dr.

 Scott Fishman, as set forth below.

        333.    Although these KOLs were funded by the Marketing Defendants, the KOLs were

 used extensively to present the appearance that unbiased and reliable medical research supporting

 the broad use of opioid therapy for chronic pain had been conducted and was being reported on by

 independent medical professionals.

        334.    As the Marketing Defendants’ false marketing scheme picked up steam, these pro-

 opioid KOLs wrote, consulted on, edited, and lent their names to books and articles, and gave

 speeches and CMEs supportive of opioid therapy for chronic pain. They served on committees

 that developed treatment guidelines that strongly encouraged the use of opioids to treat chronic

 pain and they were placed on boards of pro-opioid advocacy groups and professional societies that

 develop, select, and present CMEs.

        335.    Through use of their KOLs and strategic placement of these KOLs throughout

 every critical distribution channel of information within the medical community, the Marketing

 Defendants were able to exert control of each of these modalities through which doctors receive

 their information.

        336.    In return for their pro-opioid advocacy, the Marketing Defendants’ KOLs received

 money, prestige, recognition, research funding, and avenues to publish. For example, Dr. Webster

 has received funding from Endo, Purdue, and Cephalon. Dr. Fine has received funding from

 Janssen, Cephalon, Endo, and Purdue.

        337.    The Marketing Defendants carefully vetted their KOLs to ensure that they were

 likely to remain on-message and supportive of the Marketing Defendants’ agenda. The Marketing

 Defendants also kept close tabs on the content of the materials published by these KOLs. And, of




                                               101
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 109 of 289 PageID 109



 course, the Marketing Defendants kept these KOLs well-funded to enable them to push the

 Marketing Defendants’ deceptive message out to the medical community.

        338.    Once the Marketing Defendants identified and funded KOLs and those KOLs began

 to publish “scientific” papers supporting the Marketing Defendants’ false position that opioids

 were safe and effective for treatment of chronic pain, the Marketing Defendants poured significant

 funds and resources into a marketing machine that widely cited and promoted their KOLs and

 studies or articles by their KOLs to drive prescription of opioids for chronic pain. The Marketing

 Defendants cited to, distributed, and marketed these studies and articles by their KOLs as if they

 were independent medical literature so that it would be well-received by the medical community.

 By contrast, the Marketing Defendants did not support, acknowledge, or disseminate the truly

 independent publications of doctors critical of the use of chronic opioid therapy.

        339.    In their promotion of the use of opioids to treat chronic pain, the Marketing

 Defendants’ KOLs knew that their statements were false and misleading, or they recklessly

 disregarded the truth in doing so, but they continued to publish their misstatements to benefit

 themselves and the Marketing Defendants.

                  i.   Dr. Russell Portenoy

        340.    In 1986, Dr. Russell Portenoy, who later became Chairman of the Department of

 Pain Medicine and Palliative Care at Beth Israel Medical Center in New York while at the same

 time serving as a top spokesperson for drug companies, published an article reporting that “[f]ew

 substantial gains in employment or social function could be attributed to the institution of opioid

 therapy.”125



 125
    R. Portenoy & K. Foley, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of
 38 cases, 25(2) Pain 171 (1986), https://ncbi.nlm.nih.gov/pubmed/2873550


                                                102
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 110 of 289 PageID 110



             341.   Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the

 dangers of long-term use of opioids:

                    The traditional approach to chronic non-malignant pain does not
                    accept the long-term administration of opioid drugs. This
                    perspective has been justified by the perceived likelihood of
                    tolerance, which would attenuate any beneficial effects over time,
                    and the potential for side effects, worsening disability, and
                    addiction. According to conventional thinking, the initial response
                    to an opioid drug may appear favorable, with partial analgesia and
                    salutary mood changes, but adverse effects inevitably occur
                    thereafter. It is assumed that the motivation to improve function will
                    cease as mental clouding occurs and the belief takes hold that the
                    drug can, by itself, return the patient to a normal life. Serious
                    management problems are anticipated, including difficulty in
                    discontinuing a problematic therapy and the development of drug
                    seeking behavior induced by the desire to maintain analgesic effects,
                    avoid withdrawal, and perpetuate reinforcing psychic effects. There
                    is an implicit assumption that little separates these outcomes from
                    the highly aberrant behaviors associated with addiction.126

 According to Dr. Portenoy, the foregoing problems could constitute “compelling reasons to

 reject long-term opioid administration as a therapeutic strategy in all but the most desperate cases

 of chronic nonmalignant pain.”127

             342.   Despite having taken this position on long-term opioid treatment, Dr. Portenoy

 ended up becoming a spokesperson for Purdue and other Marketing Defendants, promoting the

 use of prescription opioids and minimizing their risks. A respected leader in the field of pain

 treatment, Dr. Portenoy was highly influential. Dr. Andrew Kolodny, cofounder of Physicians for

 Responsible Opioid Prescribing, described him “lecturing around the country as a religious-like

 figure. The megaphone for Portenoy is Purdue, which flies in people to resorts to hear him speak.



 126
    Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1
 Progress in Pain Res. & Mgmt., 247-287 (H.L. Fields and J.C. Liebeskind eds., 1994) (emphasis
 added).
 127
       Id.


                                                     103
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 111 of 289 PageID 111



 It was a compelling message: ‘Docs have been letting patients suffer; nobody really gets addicted;

 it’s been studied.’”128

             343.    As one organizer of CME seminars who worked with Portenoy and Purdue pointed

 out, “had Portenoy not had Purdue’s money behind him, he would have published some papers,

 made some speeches, and his influence would have been minor. With Purdue’s millions behind

 him, his message, which dovetailed with their marketing plans, was hugely magnified.”129

             344.    Dr. Portenoy was also a critical component of the Marketing Defendants’ control

 over their Front Groups. Specifically, Dr. Portenoy sat as a Director on the board of the APF. He

 was also the President of the APS.

             345.    In recent years, some of the Marketing Defendants’ KOLs have conceded that many

 of their past claims in support of opioid use lacked evidence or support in the scientific literature.130

 Dr. Portenoy has now admitted that he minimized the risks of opioids, and that he “gave

 innumerable lectures in the late 1980s and ‘90s about addiction that weren’t true.”131 He mused,

 “Did I teach about pain management, specifically about opioid therapy, in a way that reflects

 misinformation? Well, against the standards of 2012, I guess I did . . .”132



 128
    Sam Quinones, Dreamland: The True Tale of America’s Opiate Epidemic 314 (Bloomsbury
 Press 2015).
 129
       Id. at 136.
 130
    See, e.g., John Fauber, Painkiller Boom Fueled by Networking, Journal Sentinel (Feb. 18,
 2012), http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-
 networking-dp3p2rn-139609053.html/ (reporting that a key Endo KOL acknowledged that
 opioid marketing went too far).
 131
    Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall Street
 Journal Street Journal
 https://www.wsj.com/articles/SB10001424127887324478304578173342657044604. (Last
 updated Dec. 17, 2012 11:36 AM).
 132
       Id.


                                                   104
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 112 of 289 PageID 112



           346.   In a 2011 interview released by Physicians for Responsible Opioid Prescribing,

 Portenoy stated that his earlier work purposefully relied on evidence that was not “real” and left

 real evidence behind:

                  I gave so many lectures to primary care audiences in which the
                  Porter and Jick article was just one piece of data that I would then
                  cite, and I would cite six, seven, maybe ten different avenues of
                  thought or avenues of evidence, none of which represented real
                  evidence, and yet what I was trying to do was to create a narrative
                  so that the primary care audience would look at this information in
                  [total] and feel more comfortable about opioids in a way they hadn’t
                  before. In essence this was education to destigmatize [opioids], and
                  because the primary goal was to destigmatize, we often left evidence
                  behind.133

           347.   Several years earlier, when interviewed by journalist Barry Meier for his 2003

 book, Pain Killer, Dr. Portenoy was more direct: “It was pseudoscience. I guess I’m going to have

 always to live with that one.”134

                    ii.   Dr. Lynn Webster

           348.   Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

 of the Lifetree Clinical Research & Pain Clinic in Salt Lake City, Utah. Dr. Webster was President

 in 2013 and is a current board member of AAPM, a Front Group that ardently supports chronic

 opioid therapy. He is a Senior Editor of Pain Medicine, the same journal that published Endo’s

 special advertising supplements touting Opana ER. Dr. Webster was the author of numerous CMEs

 sponsored by Cephalon, Endo, and Purdue. At the same time, Dr. Webster was receiving

 significant funding from Defendants (including nearly $2 million from Cephalon).


 133
    Harrison Jacobs, This 1-Paragraph Letter May Have Launched the Opioid Epidemic, AOL
 (May 26, 2016), https://www.aol.com/article/2016/05/26/letter-may-have-launched-opioid-
 epidemic/21384408/; Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare,
 YouTube (Oct. 30, 2011),
 https://www.youtube.com/watch?v=DgyuBWN9D4w&feature=youtu.be.
 134
       Meier, supra note 18, at 277.


                                                  105
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 113 of 289 PageID 113



        349.    Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-

 minute screening tool relying on patient self-reports that purportedly allows doctors to manage the

 risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

 patients likely to become addicted is an important tool in giving doctors confidence to prescribe

 opioids long-term, and for this reason, references to screening appear in various industry-supported

 guidelines. Versions of Dr. Webster’s Opioid Risk Tool (“ORT”) appear on, or are linked to,

 websites run by Endo, Janssen, and Purdue. In 2011, Dr. Webster presented, via webinar, a

 program sponsored by Purdue titled, Managing Patient’s Opioid Use: Balancing the Need and the

 Risk. Dr. Webster recommended use of risk screening tools, urine testing, and patient agreements

 to prevent “overuse of prescriptions” and “overdose deaths.” This webinar was available to and

 was intended to reach doctors in Plaintiff’s Community.

        350.    Dr. Webster was himself tied to numerous overdose deaths. He and the Lifetree

 Clinic were investigated by the DEA for overprescribing opioids after twenty patients died from

 overdoses. In keeping with the Marketing Defendants’ promotional messages, Dr. Webster

 apparently believed the solution to patients’ tolerance or addictive behaviors was more opioids: he

 prescribed staggering quantities of pills.

        351.    At an AAPM annual meeting held February 22 through 25, 2006, Cephalon

 sponsored a presentation by Webster and others titled, “Open-label study of fentanyl effervescent

 buccal tablets in patients with chronic pain and breakthrough pain: Interim safety results.” The

 presentation’s agenda description states: “Most patients with chronic pain experience episodes of

 breakthrough pain, yet no currently available pharmacologic agent is ideal for its treatment.” The

 presentation purports to cover a study analyzing the safety of a new form of fentanyl buccal tablets

 in the chronic pain setting and promises to show the “[i]nterim results of this study suggest that




                                                 106
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 114 of 289 PageID 114



 FEBT is safe and well-tolerated in patients with chronic pain and BTP.” This CME effectively

 amounted to off-label promotion of Cephalon’s opioids – the only drugs in this category – for

 chronic pain, even though they were approved only for cancer pain.

        352.    Cephalon sponsored a CME written by Dr. Webster, Optimizing Opioid Treatment

 for Breakthrough Pain, offered by Medscape, LLC from September 28, 2007 through December

 15, 2008. The CME taught that non-opioid analgesics and combination opioids containing non-

 opioids such as aspirin and acetaminophen are less effective at treating breakthrough pain because

 of dose limitations on the non-opioid component.

                 iii.   Dr. Perry Fine

        353.    Dr. Perry Fine’s ties to the Marketing Defendants have been well documented. He

 has authored articles and testified in court cases and before state and federal committees, and he,

 too, has argued against legislation restricting high-dose opioid prescription for non-cancer patients.

 He has served on Purdue’s advisory board, provided medical legal consulting for Janssen, and

 participated in CME activities for Endo, along with serving in these capacities for several other

 drug companies. He co-chaired the APS-AAPM Opioid Guideline Panel, served as treasurer of the

 AAPM from 2007 to 2010 and as president of that group from 2011 to 2013, and was also on the

 board of directors of APF.135

        354.    Multiple videos feature Fine delivering educational talks about prescription

 opioids. He even testified at trial that the 1,500 pills a month prescribed to celebrity Anna Nicole

 Smith for pain did not make her an addict before her death.



 135
    Scott M. Fishman, MD, Incomplete Financial Disclosures in a Letter on Reducing Opioid
 Abuse and Diversion, 306 (13) JAMA 1445 (Sept. 20, 2011),
 https://jamanetwork.com/journals/jama/article-abstract/1104464?redirect=true. (hereinafter,
 “Fishman”).


                                                  107
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 115 of 289 PageID 115



        355.   He has also acknowledged having failed to disclose numerous conflicts of interest.

 For example, Dr. Fine failed to fully disclose payments received as required by his employer, the

 University of Utah—telling the university that he had received under $5,000 in 2010 from Johnson

 & Johnson for providing “educational” services, but Johnson & Johnson’s website states that the

 company paid him $32,017 for consulting, promotional talks, meals and travel that year.136

        356.   Dr. Fine and Dr. Portenoy co-wrote A Clinical Guide to Opioid Analgesia, in which

 they downplayed the risks of opioid treatment, such as respiratory depression and addiction:

               At clinically appropriate doses, . . . respiratory rate typically does
               not decline. Tolerance to the respiratory effects usually develops
               quickly, and doses can be steadily increased without risk.

               Overall, the literature provides evidence that the outcomes of drug
               abuse and addiction are rare among patients who receive opioids for
               a short period (i.e., for acute pain) and among those with no history
               of abuse who receive long-term therapy for medical indications.137

        357.   In November 2010, Dr. Fine and others published an article presenting the results

 of another Cephalon-sponsored study titled “Long-Term Safety and Tolerability of Fentanyl

 Buccal Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic

 Pain: An 18-Month Study.”138 In that article, Dr. Fine explained that the 18-month “open-label”

 study “assessed the safety and tolerability of FBT [Fentora] for the [long-term] treatment of BTP

 in a large cohort . . . of opioid-tolerant patients receiving around-the-clock . . . opioids for


 136
    Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug
 Industry, ProPublica (Dec. 23,2011, 9:14 AM), https://www.propublica.org/article/two-leaders-
 in-pain-treatment-have-long-ties-to-drug-industry (hereinafter, “Weber”).
 137
    Perry G. Fine, MD & Russell K. Portenoy, MD, A Clinical Guide to Opioid Analgesia 20 and
 34, McGraw-Hill Companies (2004), at 20, 34.
 http://www.thblack.com/links/RSD/OpioidHandbook.pdf.
 138
    Perry G. Fine, et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the
 Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month
 Study, 40(5) J. Pain & Symptom Mgmt. 747-60 (Nov. 2010).


                                                108
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 116 of 289 PageID 116



 noncancer pain.” The article acknowledged that: (a) “[t]here has been a steady increase in the use

 of opioids for the management of chronic noncancer pain over the past two decades”; (b) the

 “widespread acceptance” had led to the publishing of practice guidelines “to provide evidence-

 and consensus-based recommendations for the optimal use of opioids in the management of

 chronic pain”; and (c) those guidelines lacked “data assessing the long-term benefits and harms of

 opioid therapy for chronic pain.”139

           358.      The article concluded: “[T]he safety and tolerability profile of FBT in this study

 was generally typical of a potent opioid. The [adverse events] observed were, in most cases,

 predictable, manageable, and tolerable.” They also conclude that the number of abuse-related

 events was “small.”140

           359.      Multiple videos feature Dr. Fine delivering educational talks about the drugs. In

 one video from 2011 titled “Optimizing Opioid Therapy,” he sets forth a “Guideline for Chronic

 Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another) not only for

 cancer patients, but for non-cancer patients, and suggests it may take four or five switches over a

 person’s “lifetime” to manage pain.141 He states the “goal is to improve effectiveness which is

 different from efficacy and safety.” Rather, for chronic pain patients, effectiveness “is a balance

 of therapeutic good and adverse events over the course of years.” The entire program assumes that

 opioids are appropriate treatment over a “protracted period of time” and even over a patient’s entire

 “lifetime.” He even suggests that opioids can be used to treat sleep apnea. He further states that




 139
       Id. at 748.
 140
       Id. at 759.
 141
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
 https://www.youtube.com/watch?v=_G3II9yqgXI.


                                                    109
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 117 of 289 PageID 117



 the associated risks of addiction and abuse can be managed by doctors and evaluated with “tools,”

 but leaves that for “a whole other lecture.”142

                     iv.   Dr. Scott Fishman

             360.   Dr. Scott Fishman is a physician whose ties to the opioid drug industry are legion.

 He has served as an APF board member and as president of the AAPM, and has participated yearly

 in numerous CME activities for which he received “market rate honoraria.” As discussed below,

 he has authored publications, including the seminal guides on opioid prescribing, which were

 funded by the Marketing Defendants. He has also worked to oppose legislation requiring doctors

 and others to consult pain specialists before prescribing high doses of opioids to non-cancer

 patients. He has himself acknowledged his failure to disclose all potential conflicts of interest in a

 letter in the Journal of the American Medical Association titled “Incomplete Financial Disclosures

 in a Letter on Reducing Opioid Abuse and Diversion.”143

             361.   Dr. Fishman authored a physician’s guide on the use of opioids to treat chronic pain

 titled “Responsible Opioid Prescribing,” in 2007 which promoted the notion that long-term opioid

 treatment was a viable and safe option for treating chronic pain.

             362.   In 2012, Dr. Fishman updated the guide and continued emphasizing the

 “catastrophic” “under-treatment” of pain and the “crisis” such under-treatment created:

                    Given the magnitude of the problems related to opioid analgesics, it
                    can be tempting to resort to draconian solutions: clinicians may
                    simply stop prescribing opioids, or legislation intended to improve
                    pharmacovigilance may inadvertently curtail patient access to care.
                    As we work to reduce diversion and misuse of prescription opioids,
 142
       Id.
 143
    Scott M. Fishman, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse
 and Diversion, 306(13) JAMA 1445 (2011); Tracy Weber & Charles Ornstein, Two Leaders in
 Pain Treatment Have Long Ties to Drug Industry, ProPublica (Dec. 23, 2011, 2:14 PM),
 https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-
 industry.


                                                    110
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 118 of 289 PageID 118



                    it’s critical to remember that the problem of unrelieved pain remains
                    as urgent as ever.144

             363.   The updated guide still assures that “[o]pioid therapy to relieve pain and improve

 function is legitimate medical practice for acute and chronic pain of both cancer and noncancer

 origins.”145

             364.   In another guide by Dr. Fishman, he continues to downplay the risk of addiction:

 “I believe clinicians must be very careful with the label ‘addict.’ I draw a distinction between a

 ‘chemical coper’ and an addict.”146 The guide also continues to present symptoms of addiction as

 symptoms of “pseudoaddiction.”

                                   The Marketing Defendants Disseminated Their
                                   Misrepresentations Through Continuing Medical Education
                                   Programs

             365.   Now that the Marketing Defendants had both a group of physician promoters and

 had built a false body of “literature,” Marketing Defendants needed to make sure their false

 marketing message was widely distributed.

             366.   One way the Marketing Defendants aggressively distributed their false message

 was through thousands of Continuing Medical Education courses (“CMEs”).

             367.   A CME is a professional education program provided to doctors. Doctors are

 required to attend a certain number and, often, type of CME programs each year as a condition of

 their licensure. These programs are delivered in person, often in connection with professional

 organizations’ conferences, and online, or through written publications. Doctors rely on CMEs


 144
   Scott M. Fishman, Responsible Opioid Prescribing: A Guide for Michigan Clinicians, 10-11
 (Waterford Life Sciences 2d ed. 2012).
 145
       Id.
 146
    Scott M. Fishman, Listening to Pain: A Clinician’s Guide to Improving Pain Management
 Through Better Communication 45 (Oxford University Press 2012).


                                                    111
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 119 of 289 PageID 119



 not only to satisfy licensing requirements, but also to get information on new developments in

 medicine or to deepen their knowledge in specific areas of practice. Because CMEs typically are

 taught by KOLs who are highly respected in their fields, and are thought to reflect these physicians’

 medical expertise, they can be especially influential with doctors.

        368.    The countless doctors and other health care professionals who participate in

 accredited CMEs constitute an enormously important audience for opioid reeducation. As one

 target, Marketing Defendants aimed to reach general practitioners, whose broad area of practice

 and lack of expertise and specialized training in pain management made them particularly

 dependent upon CMEs and, as a result, especially susceptible to the Marketing Defendants’

 deceptions.

        369.    The Marketing Defendants sponsored CMEs that were delivered thousands of

 times, promoting chronic opioid therapy and supporting and disseminating the deceptive and

 biased messages described in this Complaint. These CMEs, while often generically titled to relate

 to the treatment of chronic pain, focus on opioids to the exclusion of alternative treatments, inflate

 the benefits of opioids, and frequently omit or downplay their risks and adverse effects.

        370.    Cephalon sponsored numerous CME programs, which were made widely available

 through organizations like Medscape, LLC (“Medscape”) and which disseminated false and

 misleading information to physicians across the country.

        371.    Another Cephalon-sponsored CME presentation titled Breakthrough Pain:

 Treatment Rationale with Opioids was available on Medscape starting September 16, 2003 and

 was given by a self-professed pain management doctor who “previously operated back, complex

 pain syndromes, the neuropathies, and interstitial cystitis.” He describes the pain process as a non-

 time-dependent continuum that requires a balanced analgesia approach using “targeted




                                                  112
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 120 of 289 PageID 120



 pharmacotherapeutics to affect multiple points in the pain-signaling pathway.”147 The doctor lists

 fentanyl as one of the most effective opioids available for treating breakthrough pain, describing

 its use as an expected and normal part of the pain management process. Nowhere in the CME is

 cancer or cancer-related pain even mentioned, despite FDA restrictions that fentanyl use be limited

 to cancer-related pain.

        372.    Teva paid to have a CME it sponsored, Opioid-Based Management of Persistent

 and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009. The CME

 instructed doctors that “clinically, broad classification of pain syndromes as either cancer- or

 noncancer-related has limited utility” and recommended Actiq and Fentora for patients with

 chronic pain. The CME is still available online.

        373.    Responsible Opioid Prescribing was sponsored by Purdue, Endo and Teva. The

 FSMB website described it as the “leading continuing medical education (CME) activity for

 prescribers of opioid medications.” Endo sales representatives distributed copies of Responsible

 Opioid Prescribing with a special introductory letter from Dr. Scott Fishman.

        374.    In all, more than 163,000 copies of Responsible Opioid Prescribing were

 distributed nationally.

        375.    The American Medical Association (“AMA”) recognized the impropriety that

 pharmaceutical company-funded CMEs creates; stating that support from drug companies with a

 financial interest in the content being promoted “creates conditions in which external interests

 could influence the availability and/or content” of the programs and urges that “[w]hen possible,




 147
    Daniel S. Bennett, Breakthrough Pain: Treatment Rationale with Opioids, Medscape, (Sept
 16, 2003) http://www.medscape.org/viewarticle/461612.


                                                113
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 121 of 289 PageID 121



 CME[s] should be provided without such support or the participation of individuals who have

 financial interests in the education subject matter.”148

        376.    Physicians attended or reviewed CMEs sponsored by the Marketing Defendants

 during the relevant time period and were misled by them.

        377.    By sponsoring CME programs put on by Front Groups like APF, AAPM, and

 others, the Marketing Defendants could expect instructors to deliver messages favorable to them,

 as these organizations were dependent on the Marketing Defendants for other projects. The

 sponsoring organizations honored this principle by hiring pro-opioid KOLs to give talks that

 supported chronic opioid therapy. Marketing Defendant-driven content in these CMEs had a direct

 and immediate effect on prescribers’ views on opioids. Producers of CMEs and the Marketing

 Defendants both measure the effects of CMEs on prescribers’ views on opioids and their

 absorption of specific messages, confirming the strategic marketing purpose in supporting them.

                                The Marketing Defendants Used “Branded” Advertising to
                                Promote Their Products to Doctors and Consumers

        378.    The Marketing Defendants engaged in widespread advertising campaigns touting

 the benefits of their branded drugs. The Marketing Defendants published print advertisements in

 a broad array of medical journals, ranging from those aimed at specialists, such as the Journal of

 Pain and Clinical Journal of Pain, to journals with wider medical audiences, such as the Journal

 of the American Medical Association. The Marketing Defendants collectively spent more than $14

 million on the medical journal advertising of opioids in 2011, nearly triple what they spent in 2001.

 The 2011 total includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1 million by Endo.




   Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass’n (Nov.
 148

 2011), at 1.


                                                  114
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 122 of 289 PageID 122



             379.   The Marketing Defendants also targeted consumers in their advertising. They knew

 that physicians are more likely to prescribe a drug if a patient specifically requests it.149 They also

 knew that this willingness to acquiesce to such patient requests holds true even for opioids and for

 conditions for which they are not approved.150 Endo’s research, for example, also found that such

 communications resulted in greater patient “brand loyalty,” with longer durations of Opana ER

 therapy and fewer discontinuations. The Marketing Defendants thus increasingly took their opioid

 sales campaigns directly to consumers, including through patient-focused “education and support”

 materials in the form of pamphlets, videos, or other publications that patients could view in their

 physician’s office.

                                  The Marketing Defendants Used “Unbranded” Advertising To
                                  Promote Opioid Use For Chronic Pain Without FDA Review

             380.   The Marketing Defendants also aggressively promoted opioids through “unbranded

 advertising” to generally tout the benefits of opioids without specifically naming a particular

 brand-name opioid drug. Instead, unbranded advertising is usually framed as “disease

 awareness”—encouraging consumers to “talk to your doctor” about a certain health condition

 without promoting a specific product and, therefore, without providing balanced disclosures about

 the product’s limits and risks. In contrast, a pharmaceutical company’s “branded” advertisement

 that identifies a specific medication and its indication (i.e., the condition which the drug is

 approved to treat) must also include possible side effects and contraindications—what the FDA

 Guidance on pharmaceutical advertising refers to as “fair balance.” Branded advertising is also


 149
    In one study, for example, nearly 20% of sciatica patients requesting oxycodone received a
 prescription for it, compared with 1% of those making no specific request. J.B. McKinlay et al.,
 Effects of Patient Medication Requests on Physician Prescribing Behavior, Results of a
 Factorial Experiment, 52(2) Med. Care 294 -99 (April 2014).
 150
       Id.


                                                  115
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 123 of 289 PageID 123



 subject to FDA review for consistency with the drug’s FDA-approved label. Through unbranded

 materials, the Marketing Defendants expanded the overall acceptance of and demand for chronic

 opioid therapy without the restrictions imposed by regulations on branded advertising.

        381.    Many of the Marketing Defendants utilized unbranded websites to promote opioid

 use without promoting a specific branded drug, such as Purdue’s pain-management website,

 www.inthefaceofpain.com. The website contained testimonials from several dozen “advocates,”

 including health care providers, urging more pain treatment. The website presented the advocates

 as neutral and unbiased, but an investigation by the New York Attorney General later revealed that

 Purdue paid the advocates hundreds of thousands of dollars.

                               The Marketing Defendants Funded, Edited And
                               Distributed Publications That Supported Their
                               Misrepresentations

        382.    The Marketing Defendants created a body of false, misleading, and unsupported

 medical and popular literature about opioids that (a) understated the risks and overstated the

 benefits of long-term use; (b) appeared to be the result of independent, objective research; and

 (c) was likely to shape the perceptions of prescribers, patients, and payors. This literature served

 marketing goals, rather than scientific standards, and was intended to persuade doctors and

 consumers that the benefits of long-term opioid use outweighed the risks.

        383.    To accomplish their goal, the Marketing Defendants—sometimes through third-

 party consultants and/or Front Groups—commissioned, edited, and arranged for the placement of

 favorable articles in academic journals.

        384.    The Marketing Defendants’ plans for these materials did not originate in the

 departments with the organizations that were responsible for research, development, or any other

 area that would have specialized knowledge about the drugs and their effects on patients; rather,

 they originated in the Marketing Defendants’ marketing departments.


                                                 116
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 124 of 289 PageID 124



        385.    The Marketing Defendants made sure that favorable articles were disseminated and

 cited widely in the medical literature, even when the Marketing Defendants knew that the articles

 distorted the significance or meaning of the underlying study, as with the Porter & Jick letter. The

 Marketing Defendants also frequently relied on unpublished data or posters, neither of which are

 subject to peer review, but were presented as valid scientific evidence.

        386.    The Marketing Defendants published or commissioned deceptive review articles,

 letters to the editor, commentaries, case-study reports, and newsletters aimed at discrediting or

 suppressing negative information that contradicted their claims or raised concerns about chronic

 opioid therapy.

        387.    For example, in 2007 Cephalon sponsored the publication of an article titled

 “Impact of Breakthrough Pain on Quality of Life in Patients with Chronic, Noncancer Pain: Patient

 Perceptions and Effect of Treatment with Oral Transmucosal Fentanyl Citrate,”151 published in the

 nationally circulated journal Pain Medicine, to support its effort to expand the use of its branded

 fentanyl products. The article’s authors (including Dr. Lynn Webster, discussed above) stated that

 the “OTFC [fentanyl] has been shown to relieve BTP more rapidly than conventional oral, normal-

 release, or ‘short acting’ opioids” and that “[t]he purpose of [the] study was to provide a qualitative

 evaluation of the effect of BTP on the [quality of life] of noncancer pain patients.” The number-

 one-diagnosed cause of chronic pain in the patients studied was back pain (44%), followed by

 musculoskeletal pain (12%) and head pain (7%). The article cites Portenoy and recommends

 fentanyl for non-cancer BTP patients:

                In summary, BTP appears to be a clinically important condition in
                patients with chronic noncancer pain and is associated with an

 151
   Donald R. Taylor, et al., Impact of Breakthrough Pain on Quality of Life in Patients With
 Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment With Oral Transmucosal
 Fentanyl Citrate (OTFC, ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007).


                                                  117
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 125 of 289 PageID 125



                    adverse impact on QoL. This qualitative study on the negative
                    impact of BTP and the potential benefits of BTP-specific therapy
                    suggests several domains that may be helpful in developing BTP-
                    specific, QoL assessment tools.152

                                  The Marketing Defendants Used Detailing To
                                  Directly Disseminate Their Misrepresentations To Prescribers

             388.   The Marketing Defendants’ sales representatives executed carefully crafted

 marketing tactics, developed at the highest rungs of their corporate ladders, to reach targeted

 doctors with centrally orchestrated messages. The Marketing Defendants’ sales representatives

 also distributed third-party marketing material to their target audience that was deceptive.

             389.   Each Marketing Defendant promoted opioids through sales representatives (also

 called “detailers”) and, upon information and belief, small group speaker programs to reach out to

 individual prescribers. By establishing close relationships with doctors, the Marketing Defendants

 were able to disseminate their misrepresentations in targeted, one-on-one settings that allowed

 them to promote their opioids and to allay individual prescribers’ concerns about prescribing

 opioids for chronic pain.

             390.   In accordance with common industry practice, the Marketing Defendants purchase

 and closely analyze prescription sales data from IMS Health (now IQVIA), a healthcare data

 collection, management and analytics corporation. This data allows them to track precisely the

 rates of initial and renewal prescribing by individual doctors, which allows them to target and tailor

 their appeals. Sales representatives visited hundreds of thousands of doctors and disseminated the

 misinformation and materials described above.

             391.   Marketing Defendants devoted and continue to devote massive resources to direct

 sales contacts with doctors. In 2014 alone, Marketing Defendants spent $166 million on detailing


 152
       Id.


                                                  118
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 126 of 289 PageID 126



 branded opioids to doctors. This amount is twice as much as Marketing Defendants spent on

 detailing in 2000. The amount includes $108 million spent by Purdue, $34 million by Janssen, $13

 million by Teva, and $10 million by Endo.

        392.    Cephalon’s quarterly spending steadily climbed from below $1 million in 2000 to

 more than $3 million in 2014 (and more than $13 million for the year), with a peak, coinciding

 with the launch of Fentora, of more than $27 million in 2007, as shown below:




        393.    Endo’s quarterly spending went from the $2 million to $4 million range in 2000-

 2004 to more than $10 million following the launch of Opana ER in mid-2006 (and more than $38

 million for the year in 2007) and more than $8 million coinciding with the launch of a reformulated

 version in 2012 (and nearly $34 million for the year):




                                                119
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 127 of 289 PageID 127




        394.   Janssen’s quarterly spending dramatically rose from less than $5 million in 2000 to

 more than $30 million in 2011, coinciding with the launch of Nucynta ER (with yearly spending

 at $142 million for 2011), as shown below:




                                               120
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 128 of 289 PageID 128



        395.    Purdue’s quarterly spending notably decreased from 2000 to 2007, as Purdue came

 under investigation by the Department of Justice, but then spiked to above $25 million in 2011

 (for a total of $110 million that year), and continues to rise, as shown below:




        396.    For its opioid, Actiq, Cephalon also engaged in direct marketing in direct

 contravention of the FDA’s strict instructions that Actiq be prescribed only to terminal cancer

 patients and by oncologists and pain management doctors experienced in treating cancer pain.

        397.    Thousands of prescribers attended Cephalon speaking programs.

                               Marketing Defendants Used Speakers’ Bureaus
                               and Programs to Spread Their Deceptive Messages.

        398.    In addition to making sales calls, Marketing Defendants’ detailers also identified

 doctors to serve, for payment, on their speakers’ bureaus and to attend programs with speakers and

 meals paid for by the Marketing Defendants. These speaker programs and associated speaker

 trainings serve three purposes: they provide an incentive to doctors to prescribe, or increase their

 prescriptions of, a particular drug; to qualify to be selected a forum in which to further market to


                                                 121
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 129 of 289 PageID 129



 the speaker himself or herself; and an opportunity to market to the speaker’s peers. The Marketing

 Defendants grade their speakers, and future opportunities are based on speaking performance,

 post-program sales, and product usage. Purdue, Janssen, Endo, Cephalon, and Mallinckrodt each

 made thousands of payments to physicians nationwide, for activities including participating on

 speakers’ bureaus, providing consulting services, and other services.

        399.    As detailed below, Insys paid prescribers for fake speakers’ programs in exchange

 for prescribing its product, Subsys. Insys’s schemes resulted in countless speakers’ programs at

 which the designated speaker did not speak, and, on many occasions, speaker programs at which

 the only attendees at the events were the speaker and an Insys sales representative. It was a pay-

 to-prescribe program.

        400.    Insys used speakers’ programs as a front to pay for prescriptions, and paid to push

 opioids onto patients who did not need them.

                3.       The Marketing Defendants Targeted Vulnerable Populations

        401.    The Marketing Defendants specifically targeted their marketing at two vulnerable

 populations—the elderly and veterans.

        402.    Elderly patients taking opioids have been found to be exposed to elevated fracture

 risks, a greater risk for hospitalizations, and increased vulnerability to adverse drug effects and

 interactions, such as respiratory depression which occurs more frequently in elderly patients.

        403.    The Marketing Defendants promoted the notion—without adequate scientific

 foundation—that the elderly are particularly unlikely to become addicted to opioids. The AGS

 2009 Guidelines, for example, which Purdue, Endo, and Janssen publicized, described the risk of

 addiction as “exceedingly low in older patients with no current or past history of substance abuse.”

 (emphasis added). As another example, an Endo-sponsored CME put on by NIPC, Persistent Pain

 in the Older Adult, taught that prescribing opioids to older patients carried “possibly less potential


                                                  122
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 130 of 289 PageID 130



 for abuse than in younger patients.” Contrary to these assertions, however, a 2010 study examining

 overdoses among long-term opioid users found that patients 65 or older were among those with

 the largest number of serious overdoses.

        404.    According to a study published in the 2013 Journal of American Medicine, veterans

 returning from Iraq and Afghanistan who were prescribed opioids have a higher incidence of

 adverse clinical outcomes, such as overdoses and self-inflicted and accidental injuries. A 2008

 survey showed that prescription drug misuse among military personnel doubled from 2002 to

 2005, and then nearly tripled again over the next three years. Veterans are twice as likely as non-

 veterans to die from an opioid overdose.

        405.    Yet the Marketing Defendants deliberately targeted veterans with deceptive

 marketing. For example, a 2009 publication sponsored by Purdue, Endo, and Janssen, and

 distributed by APF with grants from Janssen, and Endo, was written as a personal narrative of one

 veteran but was in fact another vehicle for opioid promotion. Called Exit Wounds, the publication

 describes opioids as “underused” and the “gold standard of pain medications” while failing to

 disclose significant risks of opioid use, including the risks of fatal interactions with

 benzodiazepines. According to a VA Office of Inspector General Report, 92.6% of veterans who

 were prescribed opioid drugs were also prescribed benzodiazepines, despite the increased danger

 of respiratory depression from the two drugs together.

        406.    Opioid prescriptions have dramatically increased for veterans and the elderly.

 Since 2007, prescriptions for the elderly have grown at twice the rate of prescriptions for adults

 between the ages of 40 and 59. And in 2009, military doctors wrote 3.8 million prescriptions for

 narcotic pain pills—four times as many as they did in 2001.

                4.     Insys Employed Fraudulent, Illegal, and Misleading Marketing
                       Schemes to Promote Subsys



                                                123
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 131 of 289 PageID 131



        407.    Insys’s opioid, Subsys, was approved by the FDA in 2012 for “management of

 breakthrough pain in adult cancer patients who are already receiving and who are tolerant to

 around-the-clock opioid therapy for their underlying persistent cancer pain.” Under FDA rules,

 Insys could only market Subsys for this use. Subsys consists of the highly addictive narcotic,

 fentanyl, administered via a sublingual (under the tongue) spray, which provides rapid-onset pain

 relief. It is in the class of drugs described as Transmucosal Immediate-Release Fentanyl (“TIRF”).

        408.    To reduce the risk of abuse, misuse, and diversion, the FDA instituted a Risk

 Evaluation and Mitigation Strategy (“REMS”) for Subsys and other TIRF products, such as

 Cephalon’s Actiq and Fentora. The purpose of REMS was to educate “prescribers, pharmacists,

 and patients on the potential for misuse, abuse, addiction, and overdose” for this type of drug and

 to “ensure safe use and access to these drugs for patients who need them.”153 Prescribers must

 enroll in the TIRF REMS before writing a prescription for Subsys.

        409.    Since its launch, Subsys has been an extremely expensive medication and its price

 continues to rise each year. Depending on a patient’s dosage and frequency of use, a month’s

 supply of Subsys could cost in the thousands of dollars.

        410.    Due to its high cost, in most instances prescribers must submit Subsys prescriptions

 to insurance companies or health benefit payors for prior authorization to determine whether they

 will pay for the drug prior to the patient attempting to fill the prescription. According to the U.S.

 Senate Homeland Security and Governmental Affairs Committee Minority Staff Report (“Staff

 Report”), the prior authorization process includes “confirmation that the patient had an active

 cancer diagnosis, was being treated by an opioid (and, thus, was opioid tolerant), and was being



 153
    Press Release, FDA, U.S. Food & Drug Admin., FDA Approves Shared System REMS for
 TIRF Products, (Dec. 29, 2011).


                                                 124
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 132 of 289 PageID 132



 prescribed Subsys to treat breakthrough pain that the other opioid could not eliminate. If any one

 of these factors was not present, the prior authorization would be denied . . . .”154

           411.   These prior authorization requirements proved to be daunting. Subsys received

 reimbursement approval in only approximately 30% of submitted claims. In order to increase

 approvals, Insys created a prior authorization unit, called the Insys Reimbursement Center

 (“IRC”), to obtain approval for Subsys reimbursements. This unit employed a number of

 fraudulent and misleading tactics to secure reimbursements, including falsifying medical histories

 of patients, falsely claiming that patients had cancer, and providing misleading information to

 insurers and payors regarding patients’ diagnoses and medical conditions.

           412.   Subsys has proved to be extremely profitable for Insys. Insys made approximately

 $330 million in net revenue from Subsys last year. Between 2013 and 2016, the value of Insys

 stock rose 296%.

           413.   Since its launch in 2012, Insys aggressively worked to grow its profits through

 fraudulent, illegal, and misleading tactics, including its reimbursement-related fraud. Through its

 sales representatives and other marketing efforts, Insys deceptively promoted Subsys as safe and

 appropriate for uses such as neck and back pain, without disclosing the lack of approval or

 evidence for such uses, and misrepresented the appropriateness of Subsys for treatment those

 conditions. It implemented a kickback scheme wherein it paid prescribers for fake speakers

 programs in exchange for prescribing Subsys. All of these fraudulent and misleading schemes had

 the effect of pushing Insys’s dangerous opioid onto patients who did not need it.

           414.   Insys incentivized its sales force to engage in illegal and fraudulent conduct. Many

 of the Insys sales representatives were new to the pharmaceutical industry and their base salaries


 154
       Fueling an Epidemic, supra.


                                                  125
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 133 of 289 PageID 133



 were low compared to industry standard. The compensation structure was heavily weighted

 toward commissions and rewarded reps more for selling higher (and more expensive) doses of

 Subsys, a “highly unusual” practice because most companies consider dosing a patient-specific

 decision that should be made by a doctor.155

             415.   The Insys “speakers program” was perhaps its most widespread and damaging

 scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam action that the sole purpose

 of the speakers program was “in the words of his then supervisor Alec Burlakoff, ‘to get money in

 the doctor’s pocket.’” Furchak went on to explain that “[t]he catch . . . was that doctors who

 increased the level of Subsys prescriptions, and at higher dosages (such as 400 or 800 micrograms

 instead of 200 micrograms), would receive the invitations to the program—and the checks.”156 It

 was a pay-to-prescribe program.

             416.   Insys’s sham speaker program and other fraudulent and illegal tactics have been

 outlined in great detail in indictments and guilty pleas of Insys executives, employees, and

 prescribers across the country, as well as in a number of lawsuits against the company itself.

             417.   In May of 2015, two Alabama pain specialists were arrested and charged with

 illegal prescription drug distribution, among other charges. The doctors were the top prescribers

 of Subsys, though neither were oncologists. According to prosecutors, the doctors received illegal

 kickbacks from Insys for prescribing Subsys. Both doctors had prescribed Subsys to treat neck,

 back, and joint pain. In February of 2016, a former Insys sales manager pled guilty to conspiracy

 to commit health care fraud, including engaging in a kickback scheme in order to induce one of



 155
       Id.
 156
      Roddy Boyd, Insys Therapeutics and the New ‘Killing It’”, Southern Investigative Reporting
 Foundation, The Investigator, April 24, 2015, http://sirf-online.org/2015/04/24/the-new-killing-
 it/.


                                                  126
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 134 of 289 PageID 134



 these doctors to prescribe Subsys. The plea agreement states that nearly all of the Subsys

 prescriptions written by the doctor were off-label to non-cancer patients. In May of 2017 one of

 the doctors was sentenced to 20 years in prison.

        418.    In June of 2015, a nurse practitioner in Connecticut described as the state’s highest

 Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks from Insys for

 prescribing Subsys. Most of her patients were prescribed the drug for chronic pain. Insys paid the

 nurse as a speaker for more than 70 dinner programs at approximately $1,000 per event; however,

 she did not give any presentations. In her guilty plea, the nurse admitted receiving the speaker

 fees in exchange for writing prescriptions for Subsys.

        419.    In August of 2015, Insys settled a complaint brought by the Oregon Attorney

 General. In its complaint, the Oregon Department of Justice cited Insys for, among other things,

 misrepresenting to doctors that Subsys could be used to treat migraine, neck pain, back pain, and

 other uses for which Subsys is neither safe nor effective, and using speaking fees as kickbacks to

 incentivize doctors to prescribe Subsys.

        420.    In August of 2016, the State of Illinois sued Insys for similar deceptive and illegal

 practices. The Complaint alleged that Insys marketed Subsys to high-volume prescribers of opioid

 drugs instead of to oncologists whose patients experienced the breakthrough cancer pain for which

 the drug is indicated. The Illinois Complaint also details how Insys used its speaker program to

 pay high volume prescribers to prescribe Subsys. The speaker events took place at upscale

 restaurants in the Chicago area, and Illinois speakers received an “honorarium” ranging from $700

 to $5,100, and they were allowed to order as much food and alcohol as they wanted. At most of

 the events, the “speaker” being paid by Insys did not speak, and, on many occasions, the only

 attendees at the events were the speaker and an Insys sales representative.




                                                127
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 135 of 289 PageID 135



             421.   In December of 2016, six Insys executives and managers were indicted and then,

 in October 2017, Insys’s founder and owner was arrested and charged with multiple felonies in

 connection with an alleged conspiracy to bribe practitioners to prescribe Subsys and defraud

 insurance companies. A U.S. Department of Justice press release explained that, among other

 things: “Insys executives improperly influenced health care providers to prescribe a powerful

 opioid for patients who did not need it, and without complying with FDA requirements, thus

 putting patients at risk and contributing to the current opioid crisis.”157 A Drug Enforcement

 Administration (“DEA”) Special Agent in Charge further explained that: “Pharmaceutical

 companies whose products include controlled medications that can lead to addiction and overdose

 have a special obligation to operate in a trustworthy, transparent manner, because their customers’

 health and safety and, indeed, very lives depend on it.”158

                    5.     The Marketing Defendants’ Scheme Succeeded, Creating a Public
                           Health Epidemic.

                                  Marketing Defendants dramatically expanded opioid
                                  prescribing and use.

             422.   The Marketing Defendants necessarily expected a return on the enormous

 investment they made in their deceptive marketing scheme and worked to measure and expand

 their success. Their own documents show that they knew they were influencing prescribers and

 increasing prescriptions. Studies also show that in doing so, they fueled an epidemic of addiction

 and abuse.




 157
    Press Release, U.S. Dep’t of Just., U.S. Attorney’s Office, Dist. of Mass., Founder and
 Owner of Pharmaceutical Company Insys Arrested and Charged with Racketeering (Oct. 26,
 2017), https://www.justice.gov/usao-ma/pr/founder-and-owner-pharmaceutical-company-insys-
 arrested-and-charged-racketeering.
 158
       Id.


                                                  128
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 136 of 289 PageID 136



             423.   Endo, for example directed the majority of its marketing budget to sales

 representatives—with good results: 84% of its prescriptions were from the doctors they detailed.

 Moreover, as of 2008, cancer and post-operative pain accounted for only 10% of Opana ER’s uses;

 virtually all of Endo’s opioid sales—and profits—were from a market that did not exist ten years

 earlier.      Internal emails from Endo staff attributed increases in Opana ER sales to the

 aggressiveness and persistence of sales representatives.

             424.   Cephalon also recognized the return of its efforts to market Actiq and Fentora off-

 label for chronic pain. In 2000, Actiq generated $15 million in sales. By 2002, Actiq sales had

 increased by 92%, which Cephalon attributed to “a dedicated sales force for ACTIQ” and “ongoing

 changes to [its] marketing approach including hiring additional sales representatives and targeting

 our marketing efforts to pain specialists.”159 Actiq became Cephalon’s second best-selling drug.

 By the end of 2006, Actiq’s sales had exceeded $500 million.160 Only 1% of the 187,076

 prescriptions for Actiq filled at retail pharmacies during the first six months of 2006 were

 prescribed by oncologists. One measure suggested that “more than 80 percent of patients who

 use[d] the drug don’t have cancer.”161

             425.   Upon information and belief, each of the Marketing Defendants tracked the impact

 of their marketing efforts to measure their impact in changing doctors’ perceptions and prescribing

 of their drugs. They purchased prescribing and survey data that allowed them to closely monitor

 these trends, and they did actively monitor them. For instance, they monitored doctors’ prescribing



 159
   Cephalon, Inc. Annual Report (Form 10-K) at 28 (Mar. 31, 2003), https://
 www.sec.gov/Archives/edgar/data/873364/000104746903011137/a2105971z10-k.htm.
 160
    John Carreyrou, Narcotic ‘Lollipop’ Becomes Big Seller Despite FDA Curbs, WSJ (Nov. 3,
 2006), https://www.wsj.com/articles/SB116252463810112292.
 161
       Id.


                                                    129
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 137 of 289 PageID 137



 before and after detailing visits, and at various levels of detailing intensity, and before and after

 speaker programs. Marketing Defendants continued and, in many cases, expanded and refined

 their aggressive and deceptive marketing for one reason: it worked. As described in this

 Complaint, both in specific instances, and more generally, Marketing Defendants’ marketing

 changed prescribers’ willingness to prescribe opioids, led them to prescribe more of their opioids,

 and persuaded them to continue prescribing opioids or to switch to supposedly “safer” opioids,

 such as ADF.

        426.    This success would have come as no surprise. Drug company marketing materially

 impacts doctors’ prescribing behavior.162 The effects of sales calls on prescribers’ behavior is well

 documented in the literature, including a 2017 study that found that physicians ordered fewer

 promoted brand-name medications and prescribed more cost-effective generic versions if they

 worked in hospitals that instituted rules about when and how pharmaceutical sales representatives

 were allowed to detail prescribers. The changes in prescribing behavior appeared strongest at

 hospitals that implemented the strictest detailing policies and included enforcement measures.

 Another study examined four practices, including visits by sales representatives, medical journal

 advertisements, direct-to-consumer advertising, and pricing, and found that sales representatives

 have the strongest effect on drug utilization. An additional study found that doctor meetings with



 162
    See, e.g., P. Manchanda & P. Chintagunta, Responsiveness of Physician Prescription
 Behavior to Salesforce Effort: An Individual Level Analysis, 15 (2-3) Mktg. Letters 129 (2004)
 (detailing has a positive impact on prescriptions written); I. Larkin, Restrictions on
 Pharmaceutical Detailing Reduced Off-Label Prescribing of Antidepressants and Antipsychotics
 in Children, 33(6) Health Affairs 1014 (2014) (finding academic medical centers that restricted
 direct promotion by pharmaceutical sales representatives resulted in a 34% decline in on-label
 use of promoted drugs); see also A. Van Zee, The Promotion and Marketing of OxyContin:
 Commercial Triumph, Public Health Tragedy, 99(2) Am J. Pub. Health 221 (2009) (correlating
 an increase of OxyContin prescriptions from 670,000 annually in 1997 to 6.2 million in 2002 to a
 doubling of Purdue’s sales force and trebling of annual sales calls).


                                                 130
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 138 of 289 PageID 138



 sales representatives are related to changes in both prescribing practices and requests by physicians

 to add the drugs to hospitals’ formularies.

        427.      Marketing Defendants spent millions of dollars to market their drugs to prescribers

 and patients and meticulously tracked their return on that investment. In one recent survey

 published by the AMA, even though nine in ten general practitioners reported prescription drug

 abuse to be a moderate to large problem in their communities, 88% of the respondents said they

 were confident in their prescribing skills, and nearly half were comfortable using opioids for

 chronic non-cancer pain.163 These results are directly due to the Marketing Defendants’ fraudulent

 marketing campaign focused on several misrepresentations.

        428.      Thus, both independent studies and Marketing Defendants’ own tracking confirm

 that Marketing Defendants’ marketing scheme dramatically increased their sales.

                                 Marketing Defendants’ Dramatically Expanded Opioid
                                 Prescribing and Use.

        429.      Independent research demonstrates a close link between opioid prescriptions and

 opioid abuse. For example, a 2007 study found “a very strong correlation between therapeutic

 exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.”164 It has been

 estimated that 60% of the opioids that are abused come, directly or indirectly, through physicians’

 prescriptions.

        430.      There is a parallel relationship between the availability of prescription opioid

 analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and



 163
   Catherine S. Hwang, et al., Prescription Drug Abuse: A National Survey of Primary Care
 Physicians, 175 (2) JAMA Intern. Med. (Dec. 8, 2014).
 164
   Theodore J. Cicero et al.. Relationship Between Therapeutic Use and Abuse of Opioid
 Analgesics in Rural, Suburban, and Urban Locations in the United States, 16.8
 Pharmacopidemiology and Drug Safety, 827-40 (2007).


                                                  131
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 139 of 289 PageID 139



 associated adverse outcomes.      The opioid epidemic is “directly related to the increasingly

 widespread misuse of powerful opioid pain medications.”165

        431.    In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

 quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

 opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons, the

 CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

 reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

        E.      Defendants Throughout the Supply Chain Deliberately Disregarded Their
                Duties to Maintain Effective Controls and to Identify, Report, and Take
                Steps to Halt Suspicious Orders

        432.    The Marketing Defendants created a vastly and dangerously larger market for

 opioids. All of the Defendants compounded this harm by facilitating the supply of far more opioids

 that could have been justified to serve that market. The failure of the Defendants to maintain

 effective controls, and to investigate, report, and take steps to halt orders that they knew or should

 have known were suspicious breached both their statutory and common law duties.

        433.    For over a decade, as the Marketing Defendants increased the demand for opioids,

 all the Defendants aggressively sought to bolster their revenue, increase profit, and grow their

 share of the prescription painkiller market by unlawfully and surreptitiously increasing the volume

 of opioids they sold. However, Defendants are not permitted to engage in a limitless expansion of

 their sales through the unlawful sales of regulated painkillers. Rather, as described below,

 Defendants are subject to various duties to report the quantity of Schedule II controlled substances

 in order to monitor such substances and prevent oversupply and diversion into the illicit market.



 165
    Robert M. Califf, M.D., et al., A Proactive Response to Prescription Opioid Abuse, New Eng.
 J. Med., http://www.nejm.org/doi/full/10.1056/NEJMsr1601307.


                                                  132
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 140 of 289 PageID 140



             434.   Defendants are all required to register as either manufacturers or distributors

 pursuant to 21 U.S.C. § 823 and 21 C.F.R. §§ 1301.11, 1301.74.

             435.   Marketing Defendants’ scheme was resoundingly successful.       Chronic opioid

 therapy—the prescribing of opioids long-term to treat chronic pain—has become a commonplace,

 and often first-line, treatment. Marketing Defendants’ deceptive marketing caused prescribing not

 only of their opioids, but of opioids as a class, to skyrocket. According to the CDC opioid

 prescriptions, as measured by number of prescriptions and morphine milligram equivalent

 (“MME”) per person, tripled from 1999 to 2015. In 2015, on an average day, more than 650,000

 opioid prescriptions were dispensed in the U.S. While previously a small minority of opioid sales,

 today between 80% and 90% of opioids (measured by weight) used are for chronic pain.

 Approximately 20% of the population between the ages of 30 and 44, and nearly 30% of the

 population over 45, have used opioids. Opioids are the most common treatment for chronic pain,

 and 20% of office visits now include the prescription of an opioid.

             436.   In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

 quadrupled since 1999 and has increased in parallel with [opioid] overdoses.”166 Patients receiving

 opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons, the

 CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

 reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”167

                    1.     All Defendants Have a Duty to Report Suspicious Orders and Not to
                           Ship Those Orders Unless Due Diligence Disproves Their Suspicions



 166
    Rose A. Rudd, et al. “Increases in Drug and Opioid-Involved Overdose Deaths—United
 States, 2000–2014.”, 64 (50 &51) Ctrs. For Disease Control and Prevention, Morbidity &
 Mortality Wkly. Rep. 1323-1327 (2016),
 https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6450a3.htm.
 167
       Id.


                                                  133
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 141 of 289 PageID 141



         437.   Multiple sources impose duties on the Defendants to report suspicious orders and

 further to not ship those orders unless due diligence disproves those suspicions.

         438.   First, under the common law, the Defendants had a duty to exercise reasonable care

 in delivering dangerous narcotic substances. By flooding Plaintiff’s Community and Florida

 generally with more opioids than could be used for legitimate medical purposes and by filling and

 failing to report orders that they knew or should have realized were likely being diverted for illicit

 uses, Defendants breached that duty and both created and failed to prevent a foreseeable risk of

 harm.

         439.   Second, each of the Defendants assumed a duty, when speaking publicly about

 opioids and their efforts to combat diversion, to speak accurately and truthfully.

         440.   Third, each of the Defendants was required to register with the DEA to manufacture

 and/or distribute Schedule II controlled substances. See 21 U.S.C. § 823(a)-(b), (e); 28 C.F.R. §

 0.100. As registrants, Defendants were required to “maint[ain] . . . effective controls against

 diversion” and to “design and operate a system to disclose . . . suspicious orders of controlled

 substances.” 21 U.S.C. § 823(a)-(b); 21 C.F.R. § 1301.74. Defendants were further required to

 take steps to halt suspicious orders. Defendants violated their obligations under federal law.

         441.   Fourth, as described below, Defendants also had duties under applicable state laws.

         442.   Recognizing a need for greater scrutiny over controlled substances due to their

 potential for abuse and danger to public health and safety, the United States Congress enacted the

 Controlled Substances Act in 1970. The CSA and its implementing regulations created a closed-

 system of distribution for all controlled substances and listed chemicals. Congress specifically

 designed the closed chain of distribution to prevent the diversion of legally produced controlled

 substances into the illicit market. Congress was concerned with the diversion of drugs out of




                                                  134
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 142 of 289 PageID 142



 legitimate channels of distribution and acted to halt the “widespread diversion of [controlled

 substances] out of legitimate channels into the illegal market.” Moreover, the closed-system was

 specifically designed to ensure that there are multiple ways of identifying and preventing diversion

 through active participation by registrants within the drug delivery chain. All registrants – which

 includes all manufacturers and distributors of controlled substances – must adhere to the specific

 security, recordkeeping, monitoring, and reporting requirements that are designed to identify or

 prevent diversion. When registrants at any level fail to fulfill their obligations, the necessary

 checks and balances collapse. The result is the scourge of addiction that has occurred.

        443.    The CSA requires manufacturers and distributors of Schedule II substances like

 opioids to: (a) limit sales within a quota set by the DEA for the overall production of Schedule II

 substances like opioids; (b) register to manufacture or distribute opioids; (c) maintain effective

 controls against diversion of the controlled substances that they manufacture or distribute; and (d)

 design and operate a system to identify suspicious orders of controlled substances, halt such

 unlawful sales, and report them to the DEA.

        444.    Central to the closed-system created by the CSA was the directive that the DEA

 determine quotas of each basic class of Schedule I and II controlled substances each year. The

 quota system was intended to reduce or eliminate diversion from “legitimate channels of trade” by

 controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

 substances], and the requirement of order forms for all transfers of these drugs.” When evaluating

 production quotas, the DEA was instructed to consider the following information:

                a.      Information provided by the Department of Health and Human Services;

                b.      Total net disposal of the basic class [of each drug] by all manufacturers;

                c.      Trends in the national rate of disposal of the basic class [of drug];

                d.      An applicant’s production cycle and current inventory position;


                                                 135
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 143 of 289 PageID 143



                e.      Total actual or estimated inventories of the class [of drug] and of all
                        substances manufactured from the class and trends in inventory
                        accumulation; and

                f.      Other factors such as: changes in the currently accepted medical use of
                        substances manufactured for a basic class; the economic and physical
                        availability of raw materials; yield and sustainability issues; potential
                        disruptions to production; and unforeseen emergencies.

        445.    It is unlawful to manufacture a controlled substance in Schedule II, like prescription

 opioids, in excess of a quota assigned to that class of controlled substances by the DEA.

        446.    To ensure that even drugs produced within quota are not diverted, Federal

 regulations issued under the CSA mandate that all registrants, manufacturers and distributors alike,

 “design and operate a system to disclose to the registrant suspicious orders of controlled

 substances.” 21 C.F.R. § 1301.74(b). Registrants are not entitled to be passive (but profitable)

 observers, but rather “shall inform the Field Division Office of the Administration in his area of

 suspicious orders when discovered by the registrant.” Id. Suspicious orders include orders of

 unusual size, orders deviating substantially from a normal pattern, and orders of unusual

 frequency. Id. Other red flags may include, for example, “[o]rdering the same controlled

 substance from multiple distributors.”

        447.    These criteria are disjunctive and are not all inclusive. For example, if an order

 deviates substantially from a normal pattern, the size of the order does not matter and the order

 should be reported as suspicious. Likewise, a distributor or manufacturer need not wait for a

 normal pattern to develop over time before determining whether a particular order is suspicious.

 The size of an order alone, regardless of whether it deviates from a normal pattern, is enough to

 trigger the responsibility to report the order as suspicious. The determination of whether an order

 is suspicious depends not only on the ordering patterns of the particular customer but also on the

 patterns of the entirety of the customer base and the patterns throughout the relevant segment of



                                                 136
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 144 of 289 PageID 144



 the industry. For this reason, identification of suspicious orders serves also to identify excessive

 volume of the controlled substance being shipped to a particular region.

        448.    In sum, Defendants have several responsibilities under state and federal law with

 respect to control of the supply chain of opioids. First, they must set up a system to prevent

 diversion, including excessive volume and other suspicious orders. That would include reviewing

 their own data, relying on their observations of prescribers and pharmacies, and following up on

 reports or concerns of potential diversion. All suspicious orders must be reported to relevant

 enforcement authorities. Further, they must also stop shipment of any order which is flagged as

 suspicious and only ship orders which were flagged as potentially suspicious if, after conducting

 due diligence, they can determine that the order is not likely to be diverted into illegal channels.

        449.    State and federal statutes and regulations reflect a standard of conduct and care

 below which reasonably prudent manufacturers and distributors would not fall. Together, these

 laws and industry guidelines make clear that Distributor and Marketing Defendants alike possess

 and are expected to possess specialized and sophisticated knowledge, skill, information, and

 understanding of both the market for scheduled prescription narcotics and of the risks and dangers

 of the diversion of prescription narcotics when the supply chain is not properly controlled.

        450.    Further, these laws and industry guidelines make clear that the Distributor

 Defendants and Marketing Defendants alike have a duty and responsibility to exercise their

 specialized and sophisticated knowledge, information, skill, and understanding to prevent the

 oversupply of prescription opioids and minimize the risk of their diversion into an illicit market.

        451.    The FTC has recognized the unique role of distributors. Since their inception,

 Distributor Defendants have continued to integrate vertically by acquiring businesses that are

 related to the distribution of pharmaceutical products and health care supplies. In addition to the




                                                 137
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 145 of 289 PageID 145



 actual distribution of pharmaceuticals, as wholesalers, Distributor Defendants also offer their

 pharmacy, or dispensing, customers a broad range of added services. For example, Distributor

 Defendants offer their pharmacies sophisticated ordering systems and access to an inventory

 management system and distribution facility that allows customers to reduce inventory carrying

 costs. Distributor Defendants are also able to use the combined purchase volume of their

 customers to negotiate the cost of goods with manufacturers and offer services that include

 software assistance and other database management support. See Fed. Trade Comm’n v. Cardinal

 Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998) (granting the FTC’s motion for preliminary

 injunction and holding that the potential benefits to customers did not outweigh the potential anti-

 competitive effect of a proposed merger between Cardinal Health, Inc. and Bergen Brunswig

 Corp.). As a result of their acquisition of a diverse assortment of related businesses within the

 pharmaceutical industry, as well as the assortment of additional services they offer, Distributor

 Defendants have a unique insight into the ordering patterns and activities of their dispensing

 customers.

        452.    Marketing Defendants also have specialized and detailed knowledge of the

 potential suspicious prescribing and dispensing of opioids through their regular visits to doctors’

 offices and pharmacies, and from their purchase of data from commercial sources, such as IMS

 Health (now IQVIA). Their extensive boots-on-the-ground through their sales force, allows

 Marking Defendants to observe the signs of suspicious prescribing and dispensing discussed

 elsewhere in the Complaint—lines of seemingly healthy patients, out-of-state license plates, and

 cash transactions, to name only a few. In addition, Marketing Defendants regularly mined data,

 including, upon information and belief, chargeback data, that allowed them to monitor the volume

 and type of prescribing of doctors, including sudden increases in prescribing and unusually high




                                                 138
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 146 of 289 PageID 146



 dose prescribing, that would have alerted them, independent of their sales representatives, to

 suspicious prescribing.    These information points gave Marketing Defendants insight into

 prescribing and dispensing conduct that enabled them to play a valuable role in the preventing

 diversion and fulfilling their obligations under the CSA.

        453.    Defendants have a duty to, and are expected, to be vigilant in deciding whether a

 prospective customer can be trusted to deliver controlled substances only for lawful purposes.

        454.    Defendants breached these duties by failing to: (a) control the supply chain;

 (b) prevent diversion; (c) report suspicious orders; and (d) halt shipments of opioids in quantities

 they knew or should have known could not be justified and were indicative of serious overuse of

 opioids.

                2.       Defendants Were Aware of and Have Acknowledged Their Obligations
                         to Prevent Diversion and to Report and Take Steps to Halt Suspicious
                         Orders

        455.    The reason for the reporting rules is to create a “closed” system intended to control

 the supply and reduce the diversion of these drugs out of legitimate channels into the illicit market,

 while at the same time providing the legitimate drug industry with a unified approach to narcotic

 and dangerous drug control. Both because distributors handle such large volumes of controlled

 substances, and because they are uniquely positioned, based on their knowledge of their customers

 and orders, as the first line of defense in the movement of legal pharmaceutical controlled

 substances from legitimate channels into the illicit market, distributors’ obligation to maintain

 effective controls to prevent diversion of controlled substances is critical. Should a distributor

 deviate from these checks and balances, the closed system of distribution, designed to prevent

 diversion, collapses.




                                                  139
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 147 of 289 PageID 147



        456.    Defendants were well aware they had an important role to play in this system, and

 also knew or should have known that their failure to comply with their obligations would have

 serious consequences.

        457.    Recently, Mallinckrodt, a prescription opioid manufacturer, admitted in a

 settlement with DEA that “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to

 maintain effective controls against diversion, including a requirement that it review and monitor

 these sales and report suspicious orders to DEA.” Mallinckrodt further stated that it “recognizes

 the importance of the prevention of diversion of the controlled substances they manufacture” and

 agreed that it would “design and operate a system that meets the requirements of 21 CFR

 1301.74(b) . . . [such that it would] utilize all available transaction information to identify

 suspicious orders of any Mallinckrodt product.” Mallinckrodt specifically agreed “to notify DEA

 of any diversion and/or suspicious circumstances involving any Mallinckrodt controlled

 substances that Mallinckrodt discovers.”

        458.    Trade organizations to which Defendants belong have acknowledged that

 wholesale distributors have been responsible for reporting suspicious orders for more than 40

 years. The Healthcare Distribution Management Association (“HDMA,” now known as the

 Healthcare Distribution Alliance (“HDA”)), a trade association of pharmaceutical distributors to

 which Distributor Defendants belong, has long taken the position that distributors have

 responsibilities to “prevent diversion of controlled prescription drugs” not only because they have

 statutory and regulatory obligations do so, but “as responsible members of society.” Guidelines

 established by the HDA also explain that distributors, “[a]t the center of a sophisticated supply

 chain . . . are uniquely situated to perform due diligence in order to help support the security of the

 controlled substances they deliver to their customers.”




                                                  140
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 148 of 289 PageID 148



        459.    The DEA also repeatedly reminded the Defendants of their obligations to report

 and decline to fill suspicious orders. Responding to the proliferation of pharmacies operating on

 the internet that arranged illicit sales of enormous volumes of opioids to drug dealers and

 customers, the DEA began a major push to remind distributors of their obligations to prevent these

 kinds of abuses and educate them on how to meet these obligations. Since 2007, the DEA has

 hosted at least five conferences that provided registrants with updated information about diversion

 trends and regulatory changes. Each of the Distributor Defendants attended at least one of these

 conferences. The DEA has also briefed wholesalers regarding legal, regulatory, and due diligence

 responsibilities since 2006. During these briefings, the DEA pointed out the red flags wholesale

 distributors should look for to identify potential diversion.

        460.    The DEA also advised in a September 27, 2006 letter to every commercial entity

 registered to distribute controlled substances that they are “one of the key components of the

 distribution chain. If the closed system is to function properly . . . distributors must be vigilant in

 deciding whether a prospective customer can be trusted to deliver controlled substances only for

 lawful purposes. This responsibility is critical, as . . . the illegal distribution of controlled

 substances has a substantial and detrimental effect on the health and general welfare of the

 American people.”      The DEA’s September 27, 2006 letter also expressly reminded them that

 registrants, in addition to reporting suspicious orders, have a “statutory responsibility to exercise

 due diligence to avoid filling suspicious orders that might be diverted into other than legitimate

 medical, scientific, and industrial channels.”         The same letter reminds distributors of the

 importance of their obligation to “be vigilant in deciding whether a prospective customer can be

 trusted to deliver controlled substances only for lawful purposes,” and warns that “even just one

 distributor that uses its DEA registration to facilitate diversion can cause enormous harm.”




                                                  141
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 149 of 289 PageID 149



        461.    The DEA sent another letter to Defendants on December 27, 2007, reminding them

 that, as registered manufacturers and distributors of controlled substances, they share, and must

 each abide by, statutory and regulatory duties to “maintain effective controls against diversion”

 and “design and operate a system to disclose to the registrant suspicious orders of controlled

 substances.” The DEA’s December 27, 2007 letter reiterated the obligation to detect, report, and

 not fill suspicious orders and provided detailed guidance on what constitutes a suspicious order

 and how to report (e.g., by specifically identifying an order as suspicious, not merely transmitting

 data to the DEA). Finally, the letter references the Revocation of Registration issued in Southwood

 Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

 report suspicious orders and “some criteria to use when determining whether an order is

 suspicious.”

                3.      Defendants Worked Together to Inflate the Quotas of Opioids They
                        Could Distribute

        462.    Finding it impossible to legally achieve their ever-increasing sales ambitions

 Defendants engaged in the common purpose of increasing the supply of opioids and fraudulently

 increasing the quotas that governed the manufacture and distribution of their prescription opioids.

        463.    Wholesale distributors such as the Distributor Defendants had close financial

 relationships with both Marketing Defendants and customers, for whom they provide a broad range

 of value added services that render them uniquely positioned to obtain information and control

 against diversion. These services often otherwise would not be provided by manufacturers to their

 dispensing customers and would be difficult and costly for the dispenser to reproduce. For

 example, “[w]holesalers have sophisticated ordering systems that allow customers to

 electronically order and confirm their purchases, as well as to confirm the availability and prices

 of wholesalers’ stock.” Fed. Trade Comm’n v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 41



                                                 142
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 150 of 289 PageID 150



 (D.D.C. 1998). Through their generic source programs, wholesalers are also able “to combine the

 purchase volumes of customers and negotiate the cost of goods with manufacturers.” Wholesalers

 typically also offer marketing programs, patient services, and other software to assist their

 dispensing customers.

        464.    Distributor Defendants had financial incentives from the Marketing Defendants to

 distribute higher volumes, and thus to refrain from reporting or declining to fill suspicious orders.

 Wholesale drug distributors acquire pharmaceuticals, including opioids, from manufacturers at an

 established wholesale acquisition cost. Discounts and rebates from this cost may be offered by

 manufacturers based on market share and volume. As a result, higher volumes may decrease the

 cost per pill to distributors. Decreased cost per pill in turn, allows wholesale distributors to offer

 more competitive prices, or alternatively, pocket the difference as additional profit. Either way,

 the increased sales volumes result in increased profits.

        465.    The Marketing Defendants engaged in the practice of paying rebates and/or

 chargebacks to the Distributor Defendants for sales of prescription opioids as a way to help them

 boost sales and better target their marketing efforts. The Washington Post has described the

 practice as industry-wide, and the HDA includes a “Contracts and Chargebacks Working Group,”

 suggesting a standard practice. Further, in a recent settlement with the DEA, Mallinckrodt, a

 prescription opioid manufacturer, acknowledged that “[a]s part of their business model

 Mallinckrodt collects transaction information, referred to as chargeback data, from their direct

 customers (distributors).”     The transaction information contains data relating to the direct

 customer sales of controlled substances to ‘downstream’ registrants,” meaning pharmacies or other

 dispensaries, such as hospitals. Marketing Defendants buy data from pharmacies as well. This




                                                  143
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 151 of 289 PageID 151



 exchange of information, upon information, and belief, would have opened channels providing for

 the exchange of information revealing suspicious orders as well.

        466.    The contractual relationships among the Defendants also include vault security

 programs. Defendants are required to maintain certain security protocols and storage facilities for

 the manufacture and distribution of their opioids. The manufacturers negotiated agreements

 whereby the Marketing Defendants installed security vaults for the Distributor Defendants in

 exchange for agreements to maintain minimum sales performance thresholds. These agreements

 were used by the Defendants as a tool to violate their reporting and diversion duties in order to

 reach the required sales requirements.

        467.    In addition, Defendants worked together to achieve their common purpose through

 trade or other organizations, such as the Pain Care Forum (“PCF”) and the HDA.

        468.    The PCF has been described as a coalition of drug makers, trade groups and dozens

 of non-profit organizations supported by industry funding, including the Front Groups described

 in this Complaint. The PCF recently became a national news story when it was discovered that

 lobbyists for members of the PCF quietly shaped federal and state policies regarding the use of

 prescription opioids for more than a decade.

        469.    The Center for Public Integrity and The Associated Press obtained “internal

 documents shed[ding] new light on how drug makers and their allies shaped the national response

 to the ongoing wave of prescription opioid abuse.”168 Specifically, PCF members spent over $740




 168
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The
 Center for Public Integrity, https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-
 echochamber-shaped-policy-amid-drug-epidemic. (Last Updated Dec. 15, 2016, 9:09 AM)
 (emphasis added).


                                                144
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 152 of 289 PageID 152



 million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

 opioid-related measures.169

             470.   The Defendants who stood to profit from expanded prescription opioid use are

 members of and/or participants in the PCF. In 2012, membership and participating organizations

 included Endo, Purdue, Actavis and Cephalon. Each of the Marketing Defendants worked together

 through the PCF. But, the Marketing Defendants were not alone. The Distributor Defendants

 actively participated, and continue to participate in the PCF, at a minimum, through their trade

 organization, the HDA.170 The Distributor Defendants participated directly in the PCF as well.

             471.   Additionally, the HDA led to the formation of interpersonal relationships and an

 organization among the Defendants. Although the entire HDA membership directory is private,

 the HDA website confirms that each of the Distributor Defendants and the Marketing Defendants

 including Actavis, Endo, Purdue, Mallinckrodt and Cephalon were members of the HDA.

 Additionally, the HDA and each of the Distributor Defendants, eagerly sought the active

 membership and participation of the Marketing Defendants by advocating for the many benefits

 of members, including “strengthen[ing] . . . alliances.”171

             472.   Beyond strengthening alliances, the benefits of HDA membership included the

 ability to, among other things, “network one on one with manufacturer executives at HDA’s



 169
       Id.
 170
    Id; The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief
 Executive Officer, Pharmaceutical Segment for Cardinal Health, Inc., the Group President,
 Pharmaceutical Distribution and Strategic Global Source for AmerisourceBergen Corporation,
 and the President, U.S. Pharmaceutical for McKesson Corporation. Executive Committee,
 Healthcare Distribution Alliance, https://www.healthcaredistribution.org/about/executive-
 committee (last accessed Apr. 25, 2018).
 171
    Manufacturer Membership, Healthcare Distribution Alliance,
 https://healthcaredistribution.org/about/membership/manufacturer (last accessed Apr. 25, 2018).


                                                  145
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 153 of 289 PageID 153



 members-only Business and Leadership Conference,” “networking with HDA wholesale

 distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

 “participate on HDA committees, task forces and working groups with peers and trading partners,”

 and “make connections.”172 Clearly, the HDA and the Defendants believed that membership in

 the HDA was an opportunity to create interpersonal and ongoing organizational relationships and

 “alliances” between the Marketing and Distributor Defendants.

             473.   The application for manufacturer membership in the HDA further indicates the

 level of connection among the Defendants and the level of insight that they had into each other’s

 businesses.173 For example, the manufacturer membership application must be signed by a “senior

 company executive,” and it requests that the manufacturer applicant identify a key contact and any

 additional contacts from within its company.

             474.   The HDA application also requests that the manufacturer identify its current

 distribution information, including the facility name and contact information. Manufacturer

 members were also asked to identify their “most recent year end net sales” through wholesale

 distributors, including the Distributor Defendants AmerisourceBergen, Cardinal Health, and

 McKesson and their subsidiaries.

             475.   The closed meetings of the HDA’s councils, committees, task forces and working

 groups provided the Marketing and Distributor Defendants with the opportunity to work closely

 together, confidentially, to develop and further the common purpose and interests of the enterprise.




 172
       Id.
 173
    Manufacturer Membership Application, Healthcare Distribution Alliance,
 https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
 application.ashx?la=en.


                                                  146
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 154 of 289 PageID 154



             476.   The HDA also offers a multitude of conferences, including annual business and

 leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

 the Marketing Defendants as an opportunity to “bring together high-level executives, thought

 leaders and influential managers . . . to hold strategic business discussions on the most pressing

 industry issues.”174      The conferences also gave the Marketing and Distributor Defendants

 “unmatched opportunities to network with [their] peers and trading partners at all levels of the

 healthcare distribution industry.”175 The HDA and its conferences were significant opportunities

 for the Marketing and Distributor Defendants to interact at a high-level of leadership. It is clear

 that the Marketing Defendants embraced this opportunity by attending and sponsoring these

 events.176

             477.   After becoming members of HDA, Defendants were eligible to participate on

 councils, committees, task forces and working groups, including:

                    a.     Industry Relations Council: “This council, composed of distributor and
                           manufacturer members, provides leadership on pharmaceutical distribution
                           and supply chain issues.”

                    b.     Business Technology Committee: “This committee provides guidance to
                           HDA and its members through the development of collaborative e-
                           commerce business solutions. The committee’s major areas of focus within
                           pharmaceutical distribution include information systems, operational
                           integration and the impact of e-commerce.” Participation in this committee
                           includes distributor and manufacturer members.

                    c.     Logistics Operation Committee: “This committee initiates projects
                           designed to help members enhance the productivity, efficiency and
                           customer satisfaction within the healthcare supply chain. Its major areas of

 174
    Business and Leadership Conference – Information for Manufacturers, Healthcare
 Distribution Alliance, https://www.healthcaredistribution.org/events/2015-business-and-
 leadership-conference/blc-for-manufacturers.
 175
       Id.
 176
    2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
 https://www.healthcaredistribution.org/events/2015-distribution-management-conference.


                                                   147
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 155 of 289 PageID 155



                       focus include process automation, information systems, operational
                       integration, resource management and quality improvement.” Participation
                       in this committee includes distributor and manufacturer members.

                d.     Manufacturer Government Affairs Advisory Committee: “This committee
                       provides a forum for briefing HDA’s manufacturer members on federal and
                       state legislative and regulatory activity affecting the pharmaceutical
                       distribution channel. Topics discussed include such issues as prescription
                       drug traceability, distributor licensing, FDA and DEA regulation of
                       distribution, importation and Medicaid/Medicare reimbursement.”
                       Participation in this committee includes manufacturer members.

                e.     Contracts and Chargebacks Working Group: “This working group explores
                       how the contract administration process can be streamlined through process
                       improvements or technical efficiencies. It also creates and exchanges
                       industry knowledge of interest to contract and chargeback professionals.”
                       Participation in this group includes manufacturer and distributor members.

        478.    The Distributor Defendants and Marketing Defendants also participated, through

 the HDA, in Webinars and other meetings designed to exchange detailed information regarding

 their prescription opioid sales, including purchase orders, acknowledgements, ship notices, and

 invoices.177 For example, on April 27, 2011, the HDA offered a Webinar to “accurately and

 effectively exchange business transactions between distributors and manufacturers….” The

 Marketing Defendants used this information to gather high-level data regarding overall distribution

 and direct the Distributor Defendants on how to most effectively sell prescription opioids.

        479.    Taken together, the interaction and length of the relationships between and among

 the Marketing and Distributor Defendants reflects a deep level of interaction and cooperation

 between two groups in a tightly knit industry. The Marketing and Distributor Defendants were

 not two separate groups operating in isolation or two groups forced to work together in a closed




 177
    Webinar Leveraging EDI: Order-to-Cash Transactions CD Box Set, Healthcare Distribution
 Alliance, (Apr. 27,2011), https://www.healthcaredistribution.org/resources/webinar-leveraging-
 edi.


                                                148
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 156 of 289 PageID 156



 system. Defendants operated together as a united entity, working together on multiple fronts, to

 engage in the unlawful sale of prescription opioids.

        480.    The HDA and the PCF are but two examples of the overlapping relationships and

 concerted joint efforts to accomplish common goals and demonstrates that the leaders of each of

 the Defendants were in communication and cooperation.

        481.    Publications and guidelines issued by the HDA nevertheless confirm that the

 Defendants utilized their membership in the HDA to form agreements. Specifically, in the fall of

 2008, the HDA published the Industry Compliance Guidelines: Reporting Suspicious Orders and

 Preventing Diversion of Controlled Substances (the “Industry Compliance Guidelines”) regarding

 diversion. As the HDA explained in an amicus brief, the Industry Compliance Guidelines were

 the result of “[a] committee of HDMA members contribut[ing] to the development of this

 publication” beginning in late 2007.

        482.    This statement by the HDA and the Industry Compliance Guidelines support the

 allegation that Defendants utilized the HDA to form agreements about their approach to their

 duties under the CSA. As John M. Gray, President/CEO of the HDA stated to the Energy and

 Commerce Subcommittee on Health in April 2014, is “difficult to find the right balance between

 proactive anti-diversion efforts while not inadvertently limiting access to appropriately prescribed

 and dispensed medications.” Here, it is apparent that all of the Defendants found the same balance

 – an overwhelming pattern and practice of failing to identify, report or halt suspicious orders, and

 failure to prevent diversion.

        483.    The Defendants’ scheme had a decision-making structure driven by the Marketing

 Defendants and corroborated by the Distributor Defendants. The Marketing Defendants worked

 together to control the state and federal government’s response to the manufacture and distribution




                                                 149
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 157 of 289 PageID 157



 of prescription opioids by increasing production quotas through a systematic refusal to maintain

 effective controls against diversion, to identify suspicious orders, to report suspicious orders to the

 DEA, or to take steps to halt the suspicious orders.

        484.    The Defendants worked together to control the flow of information and influence

 state and federal governments to pass legislation that supported the use of opioids and limited the

 authority of law enforcement to rein in illicit or inappropriate prescribing and distribution. The

 Marketing and Distributor Defendants did this through their participation in the PCF and HDA.

        485.    The Defendants also worked together to ensure that the Aggregate Production

 Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained artificially high

 and ensured that suspicious orders were not reported to the DEA in order to ensure that the DEA

 had no basis for refusing to increase or decrease production quotas due to diversion.

        486.    The Defendants also had reciprocal obligations under the CSA to report suspicious

 orders of other parties if they became aware of them.           Defendants were thus collectively

 responsible for each other’s compliance with their reporting obligations.

        487.    Defendants thus knew that their own conduct could be reported by other distributors

 or manufacturers and that their failure to report suspicious orders they filled could be brought to

 the DEA’s attention. As a result, Defendants had an incentive to communicate with each other

 about the reporting of suspicious orders to ensure consistency in their dealings with DEA.

        488.    The desired consistency was achieved. As described below, none of the Defendants

 reported suspicious orders and the flow of opioids continued unimpeded.

                4.      Defendants Kept Careful Track of Prescribing Data and Knew About
                        Suspicious Orders and Prescribers

        489.    The data that reveals and/or confirms the identity of each wrongful opioid

 distributor is hidden from public view in the DEA’s confidential ARCOS database. The data



                                                  150
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 158 of 289 PageID 158



 necessary to identify with specificity the transactions that were suspicious is in possession of the

 Distributor and Marketing Defendants but has not been disclosed to the public.

        490.    Publicly available information confirms that Distributor and Marketing Defendants

 funneled far more opioids into communities across the United States than could have been

 expected to serve legitimate medical use and ignored other red flags of suspicious orders. This

 information, along with the information known only to Distributor and Marketing Defendants,

 would have alerted them to potentially suspicious orders of opioids.

        491.    This information includes the following facts:

                a.      distributors and manufacturers have access to detailed transaction-level data
                        on the sale and distribution of opioids, which can be broken down by zip
                        code, prescriber, and pharmacy and includes the volume of opioids, dose,
                        and the distribution of other controlled and non-controlled substances;

                b.      manufacturers make use of that data to target their marketing and, for that
                        purpose, regularly monitor the activity of doctors and pharmacies;

                c.      manufacturers and distributors regularly visit pharmacies and doctors to
                        promote and provide their products and services, which allows them to
                        observe red flags of diversion;

                d.      Distributor Defendants together account for approximately 90% of all
                        revenues from prescription drug distribution in the United States, and each
                        plays such a large part in the distribution of opioids that its own volume
                        provides a ready vehicle for measuring the overall flow of opioids into a
                        pharmacy or geographic area; and

                e.      Marketing Defendants purchased chargeback data (in return for discounts
                        to Distributor Defendants) that allowed them to monitor the combined flow
                        of opioids into a pharmacy or geographic area.

        492.    The conclusion that Defendants were on notice of the problems of abuse and

 diversion follows inescapably from the fact that they flooded communities with opioids in

 quantities that they knew or should have known exceeded any legitimate market for opioids-even

 the wider market for chronic pain.




                                                 151
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 159 of 289 PageID 159



        493.    At all relevant times, the Defendants were in possession of national, regional, state,

 and local prescriber- and patient-level data that allowed them to track prescribing patterns over

 time. They obtained this information from data companies, including but not limited to: IMS

 Health, QuintilesIMS, IQVIA, Pharmaceutical Data Services, Source Healthcare Analytics, NDS

 Health Information Services, Verispan, Quintiles, SDI Health, ArcLight, Scriptline, Wolters

 Kluwer, and/or PRA Health Science, and all of their predecessors or successors in interest (the

 “Data Vendors”).

        494.    The Distributor Defendants developed “know your customer” questionnaires and

 files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

 intended to help the Defendants identify suspicious orders or customers who were likely to divert

 prescription opioids.178 The “know your customer” questionnaires informed the Defendants of the

 number of pills that the pharmacies sold, how many non-controlled substances were sold compared

 to controlled substances, whether the pharmacy buys from other distributors, the types of medical

 providers in the area, including pain clinics, general practitioners, hospice facilities, cancer

 treatment facilities, among others, and these questionnaires put the recipients on notice of

 suspicious orders.

        495.    Defendants purchased nationwide, regional, state, and local prescriber- and patient-

 level data from the Data Vendors that allowed them to track prescribing trends, identify suspicious

 orders, identify patients who were doctor shopping, identify pill mills, etc. The Data Vendors’



 178
    Suggested Questions a Distributor Should Ask Prior to Shipping Controlled Substances, Drug
 Enforcement Admin. Diversion Control Div.,
 https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf; Richard
 Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA,
 Purdue Pharma and McGuireWoods LLC (Oct. 2010), https://www.mcguirewoods.com/news-
 resources/publications/lifesciences/product_diversion_beyond_pdma.pdf.


                                                 152
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 160 of 289 PageID 160



 information purchased by the Defendants allowed them to view, analyze, compute, and track their

 competitors’ sales, and to compare and analyze market share information.179

        496.      IMS Health, for example, provided Defendants with reports detailing prescriber

 behavior and the number of prescriptions written between competing products.180

        497.      Similarly, Wolters Kluwer, an entity that eventually owned data mining companies

 that were created by McKesson (Source) and Cardinal Health (ArcLight), provided the Defendants

 with charts analyzing the weekly prescribing patterns of multiple physicians, organized by

 territory, regarding competing drugs, and analyzed the market share of those drugs.181

        498.      This information allowed the Defendants to track and identify instances of

 overprescribing. In fact, one of the Data Vendors’ experts testified that the Data Vendors’

 information could be used to track, identify, report and halt suspicious orders of controlled

 substances.182

        499.      Defendants were, therefore, collectively aware of the suspicious orders that flowed

 daily from their manufacturing and distribution facilities.




 179
    A Verispan representative testified that the Supply Chain Defendants use the prescribing
 information to “drive market share.” Sorrell v. IMS Health Inc., No. 10-779, 2011 WL 661712,
 *9-10 (Feb. 22, 2011).
 180
    Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How We Turned a Mountain
 of Data into a Few Information-Rich Molehills, (accessed on February 15, 2018),
 http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.198.349&rep=rep1&type=pdf. ,
 Figure 2 at p.3.
 181
    Joint Appendix in Sorrell v. IMS Health Inc., No. 10-779, 2011 WL 705207, *467-471 (Feb.
 22, 2011).
 182
    In Sorrell, expert Eugene “Mick” Kolassa testified, on behalf of the Data Vendor, that “a firm
 that sells narcotic analgesics was able to use prescriber-identifiable information to identify
 physicians that seemed to be prescribing an inordinately high number of prescriptions for their
 product.” Id; see also Joint Appendix in Sorrell v. IMS Health, No. 10-779, 2011 WL 687134, at
 *204 (Feb. 22, 2011).


                                                  153
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 161 of 289 PageID 161



             500.   Defendants refused to identify, investigate and report suspicious orders to the DEA

 when they became aware of the same despite their actual knowledge of drug diversion rings. As

 described in detail below, Defendants refused to identify suspicious orders and diverted drugs

 despite the DEA issuing final decisions against the Distributor Defendants in 178 registrant actions

 between 2008 and 2012183 and 117 recommended decisions in registrant actions from The Office

 of Administrative Law Judges. These numbers include seventy-six (76) actions involving orders

 to show cause and forty-one (41) actions involving immediate suspension orders, all for failure to

 report suspicious orders.184

             501.   Sales representatives were also aware that the prescription opioids they were

 promoting were being diverted, often with lethal consequences. As a sales representative wrote on

 a public forum:

                    Actions have consequences – so some patient gets Rx’d the 80mg
                    OxyContin when they probably could have done okay on the 20mg
                    (but their doctor got “sold” on the 80mg) and their teen
                    son/daughter/child’s teen friend finds the pill bottle and takes out a
                    few 80’s... next they’re at a pill party with other teens and some kid
                    picks out a green pill from the bowl... they go to sleep and don’t
                    wake up (because they don’t understand respiratory depression)
                    Stupid decision for a teen to make...yes... but do they really deserve
                    to die?

             502.   Moreover, Defendants’ sales incentives rewarded sales representatives who

 happened to have pill mills within their territories, enticing those representatives to look the other

 way even when their in-person visits to such clinics should have raised numerous red flags. In one

 example, a pain clinic in South Carolina was diverting massive quantities of OxyContin. People



 183
    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The
 Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
 https://oig.justice.gov/reports/2014/e1403.pdf.
 184
       Id.


                                                     154
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 162 of 289 PageID 162



 traveled to the clinic from towns as far as 100 miles away to get prescriptions, the DEA’s diversion

 unit raided the clinic, and prosecutors eventually filed criminal charges against the doctors. But

 Purdue’s sales representative for that territory, Eric Wilson, continued to promote OxyContin sales

 at the clinic. He reportedly told another local physician that this clinic accounted for 40% of the

 OxyContin sales in his territory. At that time, Wilson was Purdue’s top-ranked sales

 representative.185 In response to news stories about this clinic, Purdue issued a statement, declaring

 that “if a doctor is intent on prescribing our medication inappropriately, such activity would

 continue regardless of whether we contacted the doctor or not.”186

             503.   In another example, a Purdue sales manager informed her supervisors in 2009 about

 a suspected pill mill in Los Angeles, reporting over email that when she visited the clinic with her

 sales representative, “it was packed with a line out the door, with people who looked like gang

 members,” and that she felt “very certain that this an organized drug ring[.]”187 She wrote, “This

 is clearly diversion. Shouldn’t the DEA be contacted about this?” But her supervisor at Purdue

 responded that while they were “considering all angles,” it was “really up to [the wholesaler] to

 make the report.”188 This pill mill was the source of 1.1 million pills trafficked to Everett,

 Washington, a city of around 100,000 people. Purdue waited until after the clinic was shut down

 in 2010 to inform the authorities.




 185
       Meier, supra note 18, at 298-300.
 186
       Id.
 187
    Harriet Ryan et al., More Than 1 million OxyContin Pills Ended Up in the Hands of
 Criminals and Addicts. What the Drugmaker Knew, LOS ANGELES TIMES (July 10, 2016),
 http://www.latimes.com/projects/la-me-oxycontin-part2/
 188
       Id.


                                                   155
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 163 of 289 PageID 163



           504.   Defendants’ obligation to report suspicious prescribing ran head on into their

 marketing strategy. Defendants did identify doctors who were their most prolific prescribers, not

 to report them, but to market to them. It would make little sense to focus on marketing to doctors

 who may be engaged in improper prescribing only to report them to law enforcement, nor to report

 those doctors who drove Defendants’ sales.

           505.   Defendants purchased data from IMS Health (now IQVIA) or other proprietary

 sources to identify doctors to target for marketing and to monitor their own and competitors’ sales.

 Marketing visits were focused on increasing, sustaining, or converting the prescriptions of the

 biggest prescribers, particularly through aggressive, high frequency detailing visits.

           506.   This focus on marketing to the highest prescribers had two impacts. First, it

 demonstrates that manufacturers were keenly aware of the doctors who were writing large

 quantities of opioids. But instead of investigating or reporting those doctors, Defendants were

 singularly focused on maintaining, capturing, or increasing their sales.

           507.   Whenever examples of opioid diversion and abuse have drawn media attention,

 Purdue and other Marketing Defendants have consistently blamed “bad actors.” For example, in

 2001, during a Congressional hearing, Purdue’s attorney Howard Udell answered pointed

 questions about how it was that Purdue could utilize IMS Health data to assess their marketing

 efforts but not notice a particularly egregious pill mill in Pennsylvania run by a doctor named

 Richard Paolino. Udell asserted that Purdue was “fooled” by the doctor: “The picture that is painted

 in the newspaper [of Dr. Paolino] is of a horrible, bad actor, someone who preyed upon this

 community, who caused untold suffering. And he fooled us all. He fooled law enforcement. He

 fooled the DEA. He fooled local law enforcement. He fooled us.”189


 189
       Meier, supra note 18, at 179.


                                                 156
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 164 of 289 PageID 164



         508.    But given the closeness with which Defendants monitored prescribing patterns

 through IMS Health data, it is highly improbable that they were “fooled.” In fact, a local

 pharmacist had noticed the volume of prescriptions coming from Paolino’s clinic and alerted

 authorities. Purdue had the prescribing data from the clinic and alerted no one. Indeed, a Purdue

 executive referred to Purdue’s tracking system and database as a “gold mine” and acknowledged

 that Purdue could identify highly suspicious volumes of prescriptions.

         509.    As discussed below, Endo knew that Opana ER was being widely abused. Yet, the

 New York Attorney General revealed, based on information obtained in an investigation into Endo,

 that Endo sales representatives were not aware that they had a duty to report suspicious activity

 and were not trained on the company’s policies or duties to report suspicious activity, and Endo

 paid bonuses to sales representatives for detailing prescribers who were subsequently arrested for

 illegal prescribing.

         510.    Sales representatives making in-person visits to such clinics were likewise not

 fooled. But as pill mills were lucrative for the manufacturers and individual sales representatives

 alike, Marketing Defendants and their employees turned a collective blind eye, allowing certain

 clinics to dispense staggering quantities of potent opioids and feigning surprise when the most

 egregious examples eventually made the nightly news.

                 5.     Defendants Failed to Report Suspicious Orders or Otherwise Act to
                        Prevent Diversion

         511.    As discussed above, Defendants failed to report suspicious orders, prevent

 diversion, or otherwise control the supply of opioids following into communities across America.

 Despite the notice described above, and in disregard of their duties, Defendants continued to pump

 massive quantities of opioids despite their obligations to control the supply, prevent diversion,

 report and take steps to halt suspicious orders.



                                                    157
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 165 of 289 PageID 165



         512.    Governmental agencies and regulators have confirmed (and in some cases

 Defendants have admitted) that Defendants did not meet their obligations and have uncovered

 especially blatant wrongdoing.

         513.    For example, on January 5, 2017, McKesson entered into an Administrative

 Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for,

 inter alia, failure to identify and report suspicious orders at its facilities in Aurora, CO; Aurora, IL;

 Delran, NJ; LaCrosse, WI; Lakeland FL; Landover, MD; La Vista, NE; Livonia, MI; Methuen,

 MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West Sacramento, CA. McKesson

 admitted that, at various times during the period from January 1, 2009 through the effective date

 of the Agreement (January 17, 2017) it “did not identify or report to [the] DEA certain orders

 placed by certain pharmacies which should have been detected by McKesson as suspicious based

 on the guidance contained in the DEA Letters.”

         514.    McKesson further admitted that, during this time period, it “failed to maintain

 effective controls against diversion of particular controlled substances into other than legitimate

 medical, scientific and industrial channels by sales to certain of its customers in violation of the

 CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300 et seq., at the McKesson

 Distribution Centers” including the McKesson Distribution Center located in Washington Court

 House, Ohio. Due to these violations, McKesson agreed to a partial suspension of its authority to

 distribute controlled substances from certain of its facilities some of which (including the one in

 Washington Courthouse, Ohio), investigators found “were supplying pharmacies that sold to

 criminal drug rings.”

         515.    Similarly, in 2017, the Department of Justice fined Mallinckrodt $35 million for

 failure to report suspicious orders of controlled substances, including opioids, and for violating




                                                   158
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 166 of 289 PageID 166



 recordkeeping requirements. The government alleged that “Mallinckrodt failed to design and

 implement an effective system to detect and report ‘suspicious orders’ for controlled substances –

 orders that are unusual in their frequency, size, or other patterns . . . [and] Mallinckrodt supplied

 distributors, and the distributors then supplied various U.S. pharmacies and pain clinics, an

 increasingly excessive quantity of oxycodone pills without notifying DEA of these suspicious

 orders.”

         516.    On December 23, 2016, Cardinal Health agreed to pay the United States $44 million

 to resolve allegations that it violated the Controlled Substances Act in Maryland, Florida and New

 York by failing to report suspicious orders of controlled substances, including oxycodone, to the

 DEA. In the settlement agreement, Cardinal Health admitted, accepted, and acknowledged that it

 had violated the CSA between January 1, 2009 and May 14, 2012 by failing to:

                 a.     “timely identify suspicious orders of controlled substances and inform the
                        DEA of those orders, as required by 21 C.F.R. §1301.74(b)”;

                 b.     “maintain effective controls against diversion of particular controlled
                        substances into other than legitimate medical, scientific, and industrial
                        channels, as required by 21 C.F.R. §1301.74, including the failure to make
                        records and reports required by the CSA or DEA’s regulations for which a
                        penalty may be imposed under 21 U.S.C. §842(a)(5)”; and

                 c.     “execute, fill, cancel, correct, file with the DEA, and otherwise handle DEA
                        ‘Form 222’ order forms and their electronic equivalent for Schedule II
                        controlled substances, as required by 21 U.S.C. §828 and 21 C.F.R. Part
                        1305.”

         517.    In 2012, the State of West Virginia sued AmerisourceBergen and Cardinal Health,

 as well as several smaller wholesalers, for numerous causes of action, including violations of the

 CSA, consumer credit and protection, and antitrust laws and the creation of a public nuisance.

 Unsealed court records from that case demonstrate that AmerisourceBergen, along with McKesson

 and Cardinal Health, together shipped 423 million pain pills to West Virginia between 2007 and

 2012.      AmerisourceBergen itself shipped 80.3 million hydrocodone pills and 38.4 million


                                                 159
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 167 of 289 PageID 167



 oxycodone pills during that time period. These quantities alone are sufficient to show that the

 Defendants failed to control the supply chain or to report and take steps to halt suspicious orders.

 In 2016, AmerisourceBergen agreed to settle the West Virginia lawsuit for $16 million to the state;

 Cardinal Health settled for $20 million.

           518.   Thus, it is the various governmental agencies who have alleged or found—and the

 Defendants themselves who have admitted—that the Defendants, acting in disregard of their

 duties, pumped massive quantities of opioids into communities around the country despite their

 obligations to control the supply, prevent diversions, and report and take steps to halt suspicious

 orders.

                  6.     Defendants Delayed a Response to the Opioid Crisis by Pretending to
                         Cooperate with Law Enforcement

           519.   When a manufacturer or distributor does not report or stop suspicious orders,

 prescriptions for controlled substances may be written and dispensed to individuals who abuse

 them or who sell them to others to abuse. This, in turn, fuels and expands the illegal market and

 results in opioid-related overdoses. Without reporting by those involved in the supply chain, law

 enforcement may be delayed in taking action – or may not know to take action at all.

           520.   After being caught for failing to comply with particular obligations at particular

 facilities, Distributor Defendants made broad promises to change their ways and insisted that they

 sought to be good corporate citizens. As part of McKesson’s 2008 Settlement with the DEA,

 McKesson claimed to have “taken steps to prevent such conduct from occurring in the future,”

 including specific measures delineated in a “Compliance Addendum” to the Settlement. Yet, in

 2017, McKesson paid $150 million to resolve an investigation by the U.S. DOJ for again failing

 to report suspicious orders of certain drugs, including opioids. Even though McKesson had been

 sanctioned in 2008 for failure to comply with its legal obligations regarding controlling diversion



                                                 160
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 168 of 289 PageID 168



 and reporting suspicious orders, and even though McKesson had specifically agreed in 2008 that

 it would no longer violate those obligations, McKesson continued to violate the laws in contrast

 to its written agreement not to do so.

         521.   More generally, the Distributor Defendants publicly portrayed themselves as

 committed to working with law enforcement, opioid manufacturers, and others to prevent

 diversion of these dangerous drugs. For example, Defendant Cardinal claims that: “We challenge

 ourselves to best utilize our assets, expertise and influence to make our communities stronger and

 our world more sustainable, while governing our activities as a good corporate citizen in

 compliance with all regulatory requirements and with a belief that doing ‘the right thing’ serves

 everyone.” Defendant Cardinal likewise claims to “lead [its] industry in anti-diversion strategies

 to help prevent opioids from being diverted for misuse or abuse.” Along the same lines, it claims

 to “maintain a sophisticated, state-of-the-art program to identify, block and report to regulators

 those orders of prescription controlled medications that do not meet [its] strict criteria.” Defendant

 Cardinal also promotes funding it provides for “Generation Rx,” which funds grants related to

 prescription drug misuse. A Cardinal executive recently claimed that Cardinal uses “advanced

 analytics” to monitor its supply chain; Cardinal assured the public it was being “as effective and

 efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

 activity.”

         522.   Along the same lines, Defendant McKesson publicly claims that its “customized

 analytics solutions track pharmaceutical product storage, handling and dispensing in real time at

 every step of the supply chain process,” creating the impression that McKesson uses this tracking

 to help prevent diversion. Defendant McKesson has also publicly stated that it has a “best-in-class




                                                  161
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 169 of 289 PageID 169



 controlled substance monitoring program to help identify suspicious orders,” and claimed it is

 “deeply passionate about curbing the opioid epidemic in our country.”

        523.    Defendant AmerisourceBergen, too, has taken the public position that it is

 “work[ing] diligently to combat diversion and [is] working closely with regulatory agencies and

 other partners in pharmaceutical and healthcare delivery to help find solutions that will support

 appropriate access while limiting misuse of controlled substances.” A company spokeswoman also

 provided assurance that: “At AmerisourceBergen, we are committed to the safe and efficient

 delivery of controlled substances to meet the medical needs of patients.”

        524.    Moreover, in furtherance of their effort to affirmatively conceal their conduct and

 avoid detection, the Defendants, through their trade associations, HDMA and NACDS, filed an

 amicus brief in Masters Pharmaceuticals, which made the following statements:190

                a.      “HDMA and NACDS members not only have statutory and regulatory
                        responsibilities to guard against diversion of controlled prescription drugs,
                        but undertake such efforts as responsible members of society.”

                b.      “Distributors take seriously their duty to report suspicious orders, utilizing
                        both computer algorithms and human review to detect suspicious orders
                        based on the generalized information that is available to them in the
                        ordering process.”

        525.    Through the above statements made on their behalf by their trade associations, and

 other similar statements assuring their continued compliance with their legal obligations, the

 Defendants not only acknowledged that they understood their obligations under the law, but they

 further affirmed that their conduct was in compliance with those obligations.

        526.    Defendant Mallinckrodt similarly claims to be “committed . . . to fighting opioid

 misuse and abuse,” and further asserts that: “In key areas, our initiatives go beyond what is required


 190
    Brief for HDMA and NACDS, Masters Pharms., Inc. v. U.S. Drug Enf’t Admin., Case No 15-
 1335, 2016 WL 1321983, (D.C. Cir. April 4, 2016) at *3-4, *25.


                                                  162
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 170 of 289 PageID 170



 by law. We address diversion and abuse through a multidimensional approach that includes

 educational efforts, monitoring for suspicious orders of controlled substances, . . . .”

        527.    Other Marketing Defendants also misrepresented their compliance with their legal

 duties and their cooperation with law enforcement. Purdue serves as a hallmark example of such

 wrongful conduct.     Purdue deceptively and unfairly failed to report to authorities illicit or

 suspicious prescribing of its opioids, even as it has publicly and repeatedly touted its “constructive

 role in the fight against opioid abuse,” including its commitment to ADF opioids and its “strong

 record of coordination with law enforcement.”191

        528.    At the heart of Purdue’s public outreach is the claim that it works hand-in-glove

 with law enforcement and government agencies to combat opioid abuse and diversion. Purdue has

 consistently trumpeted this partnership since at least 2008, and the message of close cooperation

 is in virtually all of Purdue’s recent pronouncements in response to the opioid abuse.

        529.    Touting the benefits of ADF opioids, Purdue’s website asserts: “[W]e are acutely

 aware of the public health risks these powerful medications create . . . . That’s why we work with

 health experts, law enforcement, and government agencies on efforts to reduce the risks of opioid

 abuse and misuse . . . .”192 Purdue’s statement on “Opioids Corporate Responsibility” likewise

 states that “[f]or many years, Purdue has committed substantial resources to combat opioid abuse




 191
    Purdue, Setting The Record Straight On OxyContin’s FDA-Approved Label, May 5, 2016,
 http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-
 oxycontins-fda-approved-label/; Setting The Record Straight On Our Anti-Diversion Programs,
 Purdue Pharma (July 11, 2016), http://www.purduepharma.com/news-media/get-the-
 facts/setting-the-record-straight-on-our-anti-diversion-programs/.
 192
    Opioids With Abuse-Deterrent Properties, Purdue Pharma,
 http://www.purduepharma.com/healthcare-professionals/responsible-use-of-opioids/opioids-
 with-abuse-deterrent-properties/.


                                                  163
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 171 of 289 PageID 171



 by partnering with . . . communities, law enforcement, and government.”193 And, responding to

 criticism of Purdue’s failure to report suspicious prescribing to government regulatory and

 enforcement authorities, the website similarly proclaims that Purdue “ha[s] a long record of close

 coordination with the DEA and other law enforcement stakeholders to detect and reduce drug

 diversion.”194

        530.      These public pronouncements create the misimpression that Purdue is proactively

 working with law enforcement and government authorities nationwide to root out drug diversion,

 including the illicit prescribing that can lead to diversion. It aims to distance Purdue from its past

 conduct in deceptively marketing opioids and make its current marketing seem more trustworthy

 and truthful.

        531.      Public statements by the Defendants and their associates created the false and

 misleading impression to regulators, prescribers, and the public that the Defendants rigorously

 carried out their legal duties, including their duty to report suspicious orders and exercise due

 diligence to prevent diversion of these dangerous drugs, and further created the false impression

 that these Defendants also worked voluntarily to prevent diversion as a matter of corporate

 responsibility to the communities their business practices would necessarily impact.

                  7.     The National Retail Pharmacies Were on Notice of and Contributed to
                         Illegal Diversion of Prescription Opioids

        532.      National retail pharmacy chains earned enormous profits by flooding the country

 with prescription opioids. They were keenly aware of the oversupply of prescription opioids


 193
   Opioids & Corporate Responsibility, Purdue Pharma http://www.purduepharma.com/news-
 media/opioids-corporate-responsibility/.
 194
    Setting The Record Straight On Our Anti-Diversion Programs, Purdue Pharma (July 11,
 2016), http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-
 our-anti-diversion-programs/. Contrary to its public statements, Purdue seems to have worked
 behind the scenes to push back against law enforcement.


                                                  164
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 172 of 289 PageID 172



 through the extensive data and information they developed and maintained as both distributors and

 dispensaries. Yet, instead of taking any meaningful action to stem the flow of opioids into

 communities, they continued to participate in the oversupply and profit from it.

        533.    Each of the National Retail Pharmacies does substantial business throughout the

 United States. This business includes the distribution and dispensing of prescription opioids.

        534.    The National Retail Pharmacies failed to take meaningful action to stop diversion,

 despite their knowledge of it, and contributed substantially to the diversion problem.

        535.    The National Retail Pharmacies developed and maintained extensive data on

 opioids they distributed and dispensed. Through this data, National Retail Pharmacies had direct

 knowledge of patterns and instances of improper distribution, prescribing, and use of prescription

 opioids in communities throughout the country, and in Florida in particular. They used the data to

 evaluate their own sales activities and workforce. On information and belief, the National Retail

 Pharmacies also provided Defendants with data regarding, inter alia, individual doctors in

 exchange for rebates or other forms of consideration. The National Retail Pharmacies’ data is a

 valuable resource that they could have used to help stop diversion but failed to do so.

                               The National Retail Pharmacies Have a Duty to Prevent
                               Diversion

        536.    Each participant in the supply chain of opioid distribution, including the National

 Retail Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal

 market by, among other things, monitoring, and reporting suspicious activity.

        537.    The National Retail Pharmacies, like manufacturers and other distributors, are

 registrants under the CSA. 21 C.F.R. § 1301.11. Under the CSA, pharmacy registrants are

 required to “provide effective controls and procedures to guard against theft and diversion of

 controlled substances.” See 21 C.F.R. § 1301.71(a). In addition, 21 C.F.R. § 1306.04(a) states,



                                                165
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 173 of 289 PageID 173



 “[t]he responsibility for the proper prescribing and dispensing of controlled substances is upon the

 prescribing practitioner, but a corresponding responsibility rests with the pharmacist who fills the

 prescription.” Because pharmacies themselves are registrants under the CSA, the duty to prevent

 diversion lies with the pharmacy entity, not the individual pharmacist alone.

           538.   The DEA, among others, has provided extensive guidance to pharmacies

 concerning their duties to the public. The guidance advises pharmacies how to identify suspicious

 orders and other evidence of diversion.

           539.   Suspicious pharmacy orders include orders of unusually large size, orders that are

 disproportionately large in comparison to the population of a community served by the pharmacy,

 orders that deviate from a normal pattern and/or orders of unusual frequency and duration, among

 others.

           540.   Additional types of suspicious orders include: (1) prescriptions written by a doctor

 who writes significantly more prescriptions (or in larger quantities or higher doses) for controlled

 substances compared to other practitioners in the area; (2) prescriptions which should last for a

 month in legitimate use, but are being refilled on a shorter basis; (3) prescriptions for antagonistic

 drugs, such as depressants and stimulants, at the same time; (4) prescriptions that look “too good”

 or where the prescriber’s handwriting is too legible; (5) prescriptions with quantities or doses that

 differ from usual medical usage; (6) prescriptions that do not comply with standard abbreviations

 and/or contain no abbreviations; (7) photocopied prescriptions; or (8) prescriptions containing

 different handwriting. Most of the time, these attributes are not difficult to detect and should be

 easily recognizable by pharmacies.

           541.   Suspicious pharmacy orders are red flags for, if not direct evidence, of diversion.




                                                  166
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 174 of 289 PageID 174



        542.    Other signs of diversion can be observed through data gathered, consolidated, and

 analyzed by the National Retail Pharmacies themselves. That data allows them to observe patterns

 or instances of dispensing that are potentially suspicious, of oversupply in particular stores or

 geographic areas, or of prescribers or facilities that seem to engage in improper prescribing.

        543.    According to industry standards, if a pharmacy finds evidence of prescription

 diversion, the local Board of Pharmacy and DEA must be contacted.

        544.    Despite their legal obligations as registrants under the CSA, the National Retail

 Pharmacies allowed widespread diversion to occur—and they did so knowingly.

        545.    Performance metrics and prescription quotas adopted by the National Retail

 Pharmacies for their retail stores contributed to their failure. Under CVS’s Metrics System, for

 example, pharmacists are directed to meet high goals that make it difficult, if not impossible, to

 comply with applicable laws and regulations. There is no measurement for pharmacy accuracy or

 customer safety. Moreover, the bonuses for pharmacists are calculated, in part, on how many

 prescriptions that pharmacist fills within a year. The result is both deeply troubling and entirely

 predictable: opioids flowed out of National Retail Pharmacies and into communities throughout

 the country. The policies remained in place even as the epidemic raged.

        546.    Upon information and belief, this problem was compounded by the Pharmacies’

 failure to adequately train their pharmacists and pharmacy technicians on how to properly and

 adequately handle prescriptions for opioid painkillers, including what constitutes a proper inquiry

 into whether a prescription is legitimate, whether a prescription is likely for a condition for which

 the FDA has approved treatments with opioids, and what measures and/or actions to take when a

 prescription is identified as phony, false, forged, or otherwise illegal, or when suspicious




                                                 167
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 175 of 289 PageID 175



 circumstances are present, including when prescriptions are procured and pills supplied for the

 purpose of illegal diversion and drug trafficking.

        547.    Upon information and belief, the National Retail Pharmacies also failed to

 adequately use data available to them to identify doctors who were writing suspicious numbers of

 prescriptions and/or prescriptions of suspicious amounts of opioids, or to adequately use data

 available to them to do statistical analysis to prevent the filling of prescriptions that were illegally

 diverted or otherwise contributed to the opioid crisis.

        548.    Upon information and belief, the National Retail Pharmacies failed to analyze: (a)

 the number of opioid prescriptions filled by individual pharmacies relative to the population of the

 pharmacy’s community; (b) the increase in opioid sales relative to past years; (c) the number of

 opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales

 relative to the increase in annual sales of other drugs.

        549.    Upon information and belief, the National Retail Pharmacies also failed to conduct

 adequate internal or external audits of their opioid sales to identify patterns regarding prescriptions

 that should not have been filled and to create policies accordingly, or if they conducted such audits,

 they failed to take any meaningful action as a result.

        550.    Upon information and belief, the National Retail Pharmacies also failed to

 effectively respond to concerns raised by their own employees regarding inadequate policies and

 procedures regarding the filling of opioid prescriptions.

        551.    The National Retail Pharmacies were, or should have been, fully aware that the

 quantity of opioids being distributed and dispensed by them was untenable, and in many areas

 patently absurd; yet, they did not take meaningful action to investigate or to ensure that they were

 complying with their duties and obligations under the law with regard to controlled substances.




                                                   168
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 176 of 289 PageID 176



                                Multiple Enforcement Actions against the National Retail
                                Pharmacies Confirms their Compliance Failures.

        552.    The National Retail Pharmacies have long been on notice of their failure to abide

 by state and federal law and regulations governing the distribution and dispensing of prescription

 opioids. Indeed, several of the National Retail Pharmacies have been repeatedly penalized for their

 illegal prescription opioid practices. Upon information and belief, based upon the widespread

 nature of these violations, these enforcement actions are the product of, and confirm, national

 policies and practices of the National Retail Pharmacies.

                   i.   CVS

        553.    CVS is one of the largest companies in the world, with annual revenue of more than

 $150 billion. According to news reports, it manages medications for nearly 90 million customers

 at 9,700 retail locations. CVS could be a force for good in connection with the opioid crisis, but

 like other Defendants, CVS sought profits over people.

        554.    CVS is a repeat offender and recidivist: the company has paid fines totaling over

 $40 million as the result of a series of investigations by the DEA and the United States Department

 of Justice (“DOJ”). It nonetheless treated these fines as the cost of doing business and has allowed

 its pharmacies to continue dispensing opioids in quantities significantly higher than any plausible

 medical need would require, and to continue violating its recordkeeping and dispensing obligations

 under the CSA.

        555.    As recently as July 2017, CVS entered into a $5 million settlement with the U.S.

 Attorney’s Office for the Eastern District of California regarding allegations that its pharmacies

 failed to keep and maintain accurate records of Schedule II, III, IV, and V controlled substances.195



 195
    Press Release, U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle
 Alleged Violations of the Controlled Substance Act, U.S. Dep’t of Just. (July 11, 2017),


                                                 169
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 177 of 289 PageID 177



        556.    This fine was preceded by numerous others throughout the country.

        557.    In February 2016, CVS paid $8 million to settle allegations made by the DEA and

 the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties under

 the CSA and filling prescriptions with no legitimate medical purpose.196

        558.    In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores in

 Connecticut failed to maintain proper records in accordance with the CSA.197

        559.    In September 2016, CVS entered into a $795,000 settlement with the Massachusetts

 Attorney General wherein CVS agreed to require pharmacy staff to access the state’s prescription

 monitoring program website and review a patient’s prescription history before dispensing certain

 opioid drugs.198

        560.    In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

 50 of its stores violated the CSA by filling forged prescriptions for controlled substances—mostly

 addictive painkillers—more than 500 times between 2011 and 2014.199




 https://www.justice.gov/usao-edca/pr/cvs-pharmacy-inc-pays-5m-settle-alleged-violations-
 controlled-substance-act.
 196
     Press Release, U.S. Attorney’s Office Dist. of Md., United States Reaches $8 Million
 Settlement Agreement with CVS for Unlawful Distribution of Controlled Substances, U.S. Dep’t
 of Just. (Feb. 12, 2016), https://www.justice.gov/usao-md/pr/united-states-reaches-8-million-
 settlement-agreement-cvs-unlawful-distribution-controlled.
 197
     Press Release, U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy Pays $600,000 to Settle
 Controlled Substances Act Allegations, U.S. Dep’t of Just. (Oct. 20, 2016),
 https://www.justice.gov/usao-ct/pr/cvs-pharmacy-pays-600000-settle-controlled-substances-act-
 allegations.
 198
    Dialynn Dwyer, CVS Will Pay 4795,000, Strengthen Policies Around Dispensing Opioids in
 Agreement With State, Boston.com (Sept. 1, 2016), https://www.boston.com/news/local-
 news/2016/09/01/cvs-will-pay-795000-strengthen-policies-around-dispensing-opioids-in-
 agreement-with-state.
 199
    Press Release, U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5 Million to Resolve
 Allegations that Pharmacists Filled Fake Prescriptions, U.S. Dep’t of Just. (June 30, 2016),


                                                170
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 178 of 289 PageID 178



        561.    In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s

 Office for the District of Rhode Island to resolve allegations that several of its Rhode Island stores

 violated the CSA by filling invalid prescriptions and maintaining deficient records. The United

 States alleged that CVS retail pharmacies in Rhode Island filled a number of forged prescriptions

 with invalid DEA numbers, and filled multiple prescriptions written by psychiatric nurse

 practitioners for hydrocodone, despite the fact that these practitioners were not legally permitted

 to prescribe that drug.    Additionally, the government alleged that CVS had recordkeeping

 deficiencies.200

        562.    In May 2015, CVS agreed to pay a $22 million penalty following a DEA

 investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

 prescription opioids, “based on prescriptions that had not been issued for legitimate medical

 purposes by a health care provider acting in the usual course of professional practice. CVS also

 acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

 that were issued based on legitimate medical need.”201




 https://www.justice.gov/usao-ma/pr/cvs-pay-35-million-resolve-allegations-pharmacists-filled-
 fake-prescriptions.
 200
    Press Release, U.S. Attorney’s Office Dist. of R.I., Drug Diversion Claims Against CVS
 Health Corp. Resolved With $450,000 Civil Settlement, U.S. Dep’t of Just. (Aug. 10, 2015),
 https://www.justice.gov/usao-ri/pr/drug-diversion-claims-against-cvs-health-corp-resolved-
 450000-civil-settlement.
 201
    Press Release, U.S. Attorney’s Office M. Dist. of Fla., United States Reaches $22 Million
 Settlement Agreement With CVS For Unlawful Distribution of Controlled Substances, U.S.
 Dep’t of Just. (May 13, 2015), https://www.justice.gov/usao-mdfl/pr/united-states-reaches-22-
 million-settlement-agreement-cvs-unlawful-distribution.


                                                  171
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 179 of 289 PageID 179



        563.    In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

 allegations it filled prescriptions written by a doctor whose controlled-substance registration had

 expired.202

        564.    In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

 improperly selling prescription narcotics in at least five locations in the Oklahoma City

 metropolitan area.203

        565.    Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

 intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA

 registration numbers.204

                 ii.     Walgreens

        566.    Walgreens is the second-largest pharmacy store chain in the United States behind

 CVS, with annual revenue of more than $118 billion. According to its website, Walgreens operates

 more than 8,100 retail locations and filled 990 million prescriptions on a 30-day adjusted basis in

 fiscal 2017.

        567.    Walgreens also has been penalized for serious and flagrant violations of the CSA.

 Indeed, Walgreens agreed to the largest settlement in DEA history—$80 million—to resolve

 allegations that it committed an unprecedented number of recordkeeping and dispensing violations



 202
    Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-News (Sept. 5,
 2014), http://www.expressnews.com/business/local/article/H-E-BCVS-fined-over-prescriptions-
 5736554.php.
 203
   Andrew Knittle, Oklahoma Pharmacy Board Stays Busy, Hands Out Massive Fines at Times,
 NewsOK (May 3, 2015), http://newsok.com/article/5415840.
 204
    Press Release, U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11 Million To Settle
 Civil Penalty Claims Involving Violations of Controlled Substances Act, U.S. Dep’t of Just.
 (Apr. 3, 2013), https://www.justice.gov/usao-wdok/pr/cvs-pay-11-million-settle-civil-penalty-
 claims-involving-violations-controlled.


                                                172
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 180 of 289 PageID 180



 of the CSA, including negligently allowing controlled substances such as oxycodone and other

 prescription opioids to be diverted for abuse and illegal black-market sales.205

             568.   The settlement resolved investigations into and allegations of CSA violations in

 Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

 into illicit channels.

             569.   Walgreens’ Florida operations at issue in this settlement highlight its egregious

 conduct regarding diversion of prescription opioids. Walgreens’ Florida pharmacies each allegedly

 ordered more than one million dosage units of oxycodone in 2011—more than ten times the

 average amount.206

             570.   They increased their orders over time, in some cases as much as 600% in the space

 of just two years, including, for example, supplying a town of 3,000 with 285,800 orders of

 oxycodone in a one-month period. Yet Walgreens corporate officers turned a blind eye to these

 abuses. In fact, corporate attorneys at Walgreens suggested, in reviewing the legitimacy of

 prescriptions coming from pain clinics, that “if these are legitimate indicators of inappropriate

 prescriptions perhaps we should consider not documenting our own potential noncompliance,”

 underscoring Walgreens’ attitude that profit outweighed compliance with the CSA or the health of

 communities.207




 205
     Press Release, U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees To Pay A Record
 Settlement Of $80 Million For Civil Penalties Under The Controlled Substances Act, U.S. Dep’t
 of Just. (June 11, 2013), https://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-record-
 settlement-80-million-civil-penalties-under-controlled.
 206
   Order to Show Cause and Immediate Suspension of Registration, In the Matter of Walgreens
 Co. (Drug Enf’t Admin. Sept. 13, 2012).
 207
       Id.


                                                   173
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 181 of 289 PageID 181



             571.   Defendant Walgreens’ settlement with the DEA stemmed from the DEA’s

 investigation into Walgreens’ distribution center in Jupiter, Florida, which was responsible for

 significant opioid diversion in Florida. According to the Order to Show Cause, Defendant

 Walgreens’ corporate headquarters pushed to increase the number of oxycodone sales to

 Walgreens’ Florida pharmacies, and provided bonuses for pharmacy employees based on number

 of prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010,

 Defendant Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

 dispensed in June of that year, and found that the highest-ranking store in oxycodone sales sold

 almost 18 oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter

 Center.208

             572.   Walgreens has also settled with a number of state attorneys general, including West

 Virginia ($575,000) and Massachusetts ($200,000).209

             573.   The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

 2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the opioid

 use of some Medicaid patients who were considered high-risk.

             574.   In January 2017, an investigation by the Massachusetts Attorney General found that

 some Walgreens pharmacies failed to monitor patients’ drug use patterns and didn’t use sound

 professional judgment when dispensing opioids and other controlled substances—despite the

 context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

 follow certain procedures for dispensing opioids.210


 208
       Id.
 209
    Walgreens to Pay $200,000 Settlement for Lapses with Opioids, APhA (Jan. 25, 2017),
 https://www.pharmacist.com/article/walgreens-pay-200000-settlement-lapses-opioids.
 210
       Id.


                                                    174
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 182 of 289 PageID 182



                     iii.   Rite Aid

             575.   With approximately 4,600 stores in 31 states and the District of Columbia, Rite Aid

 is the largest drugstore chain on the East Coast and the third-largest in the United States, with

 annual revenue of more than $21 billion.

             576.   In 2009, as a result of a multi-jurisdictional investigation by the DOJ, Rite Aid and

 nine of its subsidiaries in eight states were fined $5 million in civil penalties for its violations of

 the CSA.211

             577.   The investigation revealed that from 2004 onwards, Rite Aid pharmacies across the

 country had a pattern of non-compliance with the requirements of the CSA and federal regulations

 that lead to the diversion of prescription opioids in and around the communities of the Rite Aid

 pharmacies investigated. Rite Aid also failed to notify the DEA of losses of controlled substances

 in violation of 21 USC 842(a)(5) and 21 C.F.R 1301.76(b).212

             578.   Numerous state and federal drug diversion prosecutions have occurred in which

 prescription opioid pills were procured from National Retail Pharmacies. The allegations in this

 Complaint do not attempt to identify all these prosecutions, and the information above is merely

 by way of example.

             579.   The litany of state and federal actions against the National Retail Pharmacies

 demonstrate that they routinely, and as a matter of standard operation procedure, violated their

 legal obligations under the CSA and other laws and regulations that govern the distribution and

 dispensing of prescription opioids.


 211
    Press Release, Dep’t of Just., Rite Aid Corporation and Subsidiaries Agree to Pay $5 Million
 in Civil Penalties to Resolve Violations in Eight States of the Controlled Substances Act, U.S.
 Dep’t of Just. (Jan. 12, 2009), https://www.justice.gov/opa/pr/rite-aid-corporation-and-
 subsidiaries-agree-pay-5-million-civil-penalties-resolve-violations.
 212
       Id.


                                                    175
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 183 of 289 PageID 183



        580.    Throughout the country and in Florida in particular, the National Retail Pharmacies

 were or should have been aware of numerous red flags of potential suspicious activity and

 diversion.

        581.    On information and belief, from the catbird seat of their retail pharmacy operations,

 the National Retail Pharmacies knew or reasonably should have known about the disproportionate

 flow of opioids into Florida and the operation of “pill mills” that generated opioid prescriptions

 that, by their quantity or nature, were red flags for if not direct evidence of illicit supply and

 diversion. Additional information was provided by news reports, and state and federal regulatory

 actions, including prosecutions of pill mills in the area.

        582.    On information and belief, the National Retail Pharmacies knew or reasonably

 should have known about the devastating consequences of the oversupply and diversion of

 prescription opioids, including spiking opioid overdose rates in Plaintiff’s Community.

        583.    On information and belief, because of (among other sources of information)

 regulatory and other actions taken against the National Retail Pharmacies directly, actions taken

 against others pertaining to prescription opioids obtained from their retail stores, complaints and

 information from employees and other agents, and the massive volume of opioid prescription drug

 sale data that they developed and monitored, the National Retail Pharmacies were well aware that

 their distribution and dispensing activities fell far short of legal requirements.

        584.    The National Retail Pharmacies’ actions and omission in failing to effectively

 prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

 significantly to the opioid crisis by enabling, and failing to prevent, the diversion of opioids.




                                                  176
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 184 of 289 PageID 184



        F.       The Opioids the Defendants Sold Migrated into Other Jurisdictions

        585.     As the demand for prescription opioids grew, fueled by their potency and purity,

 interstate commerce flourished: opioids moved from areas of high supply to areas of high demand,

 traveling across state lines in a variety of ways.

        586.     First, prescriptions written in one state would, under some circumstances, be filled

 in a different state. But even more significantly, individuals transported opioids from one

 jurisdiction specifically to sell them in another.

        587.     When authorities in states such as Ohio and Kentucky cracked down on opioid

 suppliers, out-of-state suppliers filled the gaps. Florida in particular assumed a prominent role, as

 its lack of regulatory oversight created a fertile ground for pill mills. Residents of Ohio and other

 states would simply drive to Florida, stock up on pills from a pill mill, and transport them back to

 home to sell.     The practice became so common that authorities dubbed these individuals

 “prescription tourists.”

        588.     The facts surrounding numerous criminal prosecutions illustrate the common

 practice.   For example, one man from Warren county, Ohio, sentenced to four years for

 transporting prescription opioids from Florida to Ohio, explained that he could get a prescription

 for 180 pills from a quick appointment in West Palm Beach, and that back home, people were

 willing to pay as much as $100 a pill—ten times the pharmacy price.213 In Columbus, Ohio, a

 DEA investigation led to the 2011 prosecution of sixteen individuals involved in the “oxycodone




 213
    Andrew Welsh-Huggins, ‘Prescription Tourists’ Thwart States’ Crackdown on Illegal Sale of
 Painkillers, NBC News (July 8, 2012), http://www.nbcnews.com/id/48111639/ns/us_news-
 crime_and_courts/t/prescription-tourists-thwart-states-crackdown-illegal-sale-painkillers/#.
 WtdyKE2Wy71.


                                                  177
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 185 of 289 PageID 185



 pipeline between Ohio and Florida.”214 When officers searched the Ohio home of the alleged

 leader of the group, they found thousands of prescriptions pills, including oxycodone and

 hydrocodone, and $80,000 in cash. In 2015, another Columbus man was sentenced for the same

 conduct—paying couriers to travel to Florida and bring back thousands of prescription opioids,

 and, in the words of U.S. District Judge Michael Watson, contributing to a “pipeline of death.”215

        589.    Outside of Atlanta, Georgia, four individuals pled guilty in 2015 to operating a pill

 mill; the U.S. attorney’s office found that most of the pain clinic’s customers came from other

 states, including North Carolina, Kentucky, Tennessee, Ohio, South Carolina, and Florida.216

 Another investigation in Atlanta led to the 2017 conviction of two pharmacists who dispensed

 opioids to customers of a pill mill across from the pharmacy; many of those customers were from

 other states, including Ohio and Alabama.217

        590.    In yet another case, defendants who operated a pill mill in south Florida within

 Broward County were tried in eastern Kentucky based on evidence that large numbers of

 customers transported oxycodone back to the area for both use and distribution by local drug

 trafficking organizations. As explained by the Sixth Circuit in its decision upholding the venue



 214
    16 Charged in Pill Mill Pipeline, Columbus Dispatch (June 7, 2011),
 http://www.dispatch.com/content/stories/loal/2011/06/07/16-charged-in-pill-mill-pipeline.html.
 215
    Leader of Ohio Pill Mill Trafficking Scheme Sentenced, Star Beacon (July 16, 2015),
 http://www.starbeacon.com/news/leader-of-ohio-pill-mill-trafficking-scheme-
 sentenced/article_5fb058f5-deb8-5963-b936-d71c279ef17c.html.
 216
    Press Release, U.S. Dep’t of Just., U.S. Atty’s Off., Northern District of Ga., Four Defendants
 Plead Guilty to Operating a “Pill Mill” in Lilburn, Georgia (May 14, 2015),
 https://www.justice.gov/usao-ndga/pr/four-Defendants-plead-gulity-operating-pill-mill-lilburn-
 georgia.
 217
    Press Release, U.S Dep’t of Just., U.S. Atty’s Off., Northern District of Ga, Two Pharmacists
 Convicted for Illegally Dispensing to Patients of a Pill Mill (Mar. 29, 2017),
 https://gdna.georgia.gov/press-releases/2017-03-30/two-pharmacists-convicted-illegally-
 dispensing-patients-pill-mill.


                                                178
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 186 of 289 PageID 186



 decision, “[d]uring its existence, the clinic generated over $10 million in profits. To earn this sum

 required more business than the local market alone could provide. Indeed, only about half of the

 [Pain Center of Broward’s] customers came from Florida. Instead, the clinic grew prosperous on

 a flow of out-of-state traffic, with prospective patients traveling to the clinic from locations far

 outside Ft. Lauderdale, including from Ohio, Georgia, and Massachusetts.”218 The court further

 noted that the pill mill “gained massive financial benefits by taking advantage of the demand for

 oxycodone by Kentucky residents.”219

           591.      The route from Florida and Georgia to Kentucky, Ohio, and West Virginia was so

 well traveled that it became known as the Blue Highway, a reference to the color of the 30mg

 Roxicodone pills manufactured by Mallinckrodt.220 Eventually, as police began to stop vehicles

 with certain out-of-state tags cruising north on I-75, the prescription tourists adapted. They rented

 cars just over the Georgia state line to avoid the telltale out-of-state tag.221 If they were visiting

 multiple pill mills on one trip, they would stop at FedEx between clinics to mail the pills home and

 avoid the risk of being caught with multiple prescriptions if pulled over.222       I-75 was such a

 popular route for moving pills to Florida that it was nicknamed the “Oxy Express.”223




 218
       United States v. Elliott, 876 F.3d 855, 858 (6th Cir. 2017).
 219
       Id. at 861.
 220
       John Temple, American Pain 171 (2016).
 221
       Id. at 172
 222
       Id. at 171
 223
    Id.; see also Welsh-Huggins, supra note 250. Note that Interstate 75 was also called as the
 Oxy Express; for example, the Peabody Award-winning documentary named The OxyContin
 Express focuses on the transport of prescription opioids along I-75.
 https://www.youtube.com/watch?v=wGZEvXNqzkM


                                                   179
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 187 of 289 PageID 187



             592.   While the I-75 corridor was well utilized, prescription tourists also came from other

 states. The director of the Georgia drugs and narcotics agency observed that visitors to Georgia

 pill mills come from as far away as Arizona and Nebraska.224

             593.   Similar pipelines developed in other regions of the country. For example, the I-95

 corridor was another transport route for prescription pills. As the director of the Maine Drug

 Enforcement Agency explained, the oxycodone in Maine was coming up extensively from Florida,

 Georgia and California.225 And, according to the FBI, Michigan plays an important role in the

 opioid epidemic in other states; opioids prescribed in Michigan are often trafficked down to West

 Virginia, Ohio, and Kentucky.226

             594.   Along the West Coast, over a million pills were transported from the Lake Medical

 pain clinic in Los Angeles and cooperating pharmacies to the City of Everett, Washington.227

 Couriers drove up I-5 through California and Oregon, or flew from Los Angeles to Seattle.228 The

 Everett-based dealer who received the pills from southern California wore a diamond necklace in




 224
    The OxyContin Express. YouTube (Feb. 26, 2014).
 http://www.youtube.com/watch?v=wGZEvXNqzkM
 225
    Nok-Noi Ricker, Slaying of Florida Firefighter in Maine Puts Focus on Interstate 95 Drug
 Running, Bangor Daily News (March 9, 2012),
 http://bangordailynews.com/2012/03/09/news/state/slaying-of-florida-firefighter-in-maine-puts-
 focus-on-interstate-95-drug-running.
   Julia Smillie, Michigan’s Opioid Epidemic Tackled From All Directions By Detroit FBI,
 226

 Workit Health (October 6, 2017), https://www.workithealth.com/blog/fbi-michigan-opioid-crisis
 227
    Harriet Ryan et al., How Black-Market Oxycontin Spurred a Town’s Descent Into Crime,
 Addiction and Heartbreak, Los Angeles Times (July 10, 2016),
 http://www.latimes.com/projects/la-me-oxycontin-everett/.
 228
       Id.


                                                    180
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 188 of 289 PageID 188



 the shape of the West Coast states with a trail of green gemstones—the color of 80-milligram

 OxyContin—connecting Los Angeles and Washington state.229




             595.   Abundant evidence, thus, establishes that prescription opioids migrated between

 cities, counties, and states, including into Ohio from West Virginia, Kentucky, Illinois, Georgia,

 and Florida. As a result, prescription data from any particular jurisdiction does not capture the full

 scope of the misuse, oversupply and diversion problem in that specific area. As the criminal

 prosecutions referenced above show, if prescription opioid pills were hard to get in one area, they

 migrated from another. The manufacturers and distributors were fully aware of this phenomenon

 and profited from it.

             G.     Florida Specific Facts

             596.   The Marketing Defendants all marketed their products and disseminated their

 misrepresentations in the state of Florida. The Distributors Defendants all distributed opioids and

 failed to meet their regulatory obligations in Florida.

                    1.     Defendants Breached Their Duties in Florida




 229
       Id.


                                                  181
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 189 of 289 PageID 189



        597.    In addition to the duties imposed by federal law, under Florida law, distributors

 have a duty to detect, investigate, refuse to fill, and report suspicious orders of opioids. To that

 end, the Florida Board of Pharmacy requires that drug wholesalers must establish and maintain

 inventories and records of all transactions regarding the receipt and distribution or other disposition

 of dangerous drugs, and that, as a minimum requirement of wholesale distribution in this State, a

 distributor “shall report all transactions involving controlled substances.” Florida Statutes §

 499.0121(14); accord 21 U.S.C. § 823 (mandating that registration be consistent with the public

 interest, which, in turn, requires “maintenance of effective controls against diversion . . . into other

 than lawful medical, scientific, or industrial channels” and “compliance with applicable State and

 local law”); 21 C.F.R. § 1301.74 (imposing duty to monitor, detect, investigate, refuse to fill, and

 report suspicious orders under federal law).

        598.    Florida law further requires that suspicious orders be reported to the Florida

 Department of Business and Professional Regulation – Drugs, Devices, and Cosmetics Program.

 Florida Statutes § 499.0121(15)(b).

        599.    Defendants were required by Florida law to operate in compliance with federal

 laws, including the federal Controlled Substances Act (“CSA”), 21 U.S.C. § 801 et seq. and its

 implementing regulations. See Florida Statutes § 499.0121(10)

        600.    A number of Florida counties had an opioid prescription rate exceeding their

 population, and at times well in excess of their population, for extended periods of time.

        601.    Given this, and the additional red flags described below, Marketing and Distributor

 Defendants should have been on notice that the diversion of opioids was likely occurring in Florida

 communities, should have investigated, ceased filling orders for opioids, and reported potential

 diversion to law enforcement.




                                                   182
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 190 of 289 PageID 190



         602.   This same publicly available data suggests distribution of opioids in Florida

 communities exceeded reasonable medical use and that opioids were likely diverted in these areas.

 For example, the Distributor Defendants are estimated to have sold 87.6 prescriptions per 100

 residents in the State of Florida in 2010, and continued selling exceedingly high volumes of opioids

 in Florida in the following years. These figures support the inference that there was a greater

 distribution of opioids than could be justified by legitimate medical need.230 The volume of opioids

 distributed in Florida communities, including, but not limited to those described above, is so high

 as to raise a red flag that not all of the prescriptions being ordered could be for legitimate medical

 uses.

         603.   Further, prescribers in Florida have been convicted of crimes involving drug

 diversion. Upon information and belief, these prescribers, and the pharmacies at which their

 patients filled prescriptions for opioids, yielded orders of unusual size, frequency, or deviation, or

 raised other warning signs that should have alerted Marketing and Distributor Defendants not only

 to an overall oversupply in Plaintiff’s Community, but specific instances of diversion.

         604.   In addition, the increase in fatal overdoses from prescription opioids has been

 widely publicized for years. Florida, in particular, has faced a spike in fatal drug overdoses, the

 majority of which are attributable to prescription opioids of the illicit opioids that patients often

 began abusing after becoming addicted to prescription opioids. The CDC estimates that for every

 opioid-related death, there are 733 non-medical users. Marketing and Distributor Defendants thus

 had every reason to believe that illegal diversion was occurring in Plaintiff’s Community.




 230
     See Center for Disease Control and Prevention, U.S. Opioid Prescribing Rate Maps, available
 at: https://www.cdc.gov/drugoverdose/maps/.


                                                  183
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 191 of 289 PageID 191



        605.       Not only have individual prescribers or pharmacies faced charges related to

 diversion, pill mills that, upon information and belief, the Defendants also failed to report or cease

 supplying have been discovered and shut down.

        606.       Based upon all of these red flags, it can be fairly inferred that Defendants had

 information about suspicious orders that they did not report, and also failed to exercise due

 diligence before filling orders from which drugs were diverted into illicit uses in communities

 across Florida.

        607.       Each of the Defendants disregarded their reporting and due diligence obligations

 under federal and Florida law. Instead, they consistently failed to report or suspend illicit orders,

 deepening the crisis of opioid abuse, addiction, and death in Florida.

                   2.     The Devastating Effects of the Opioid Crisis in Florida

        608.       The Marketing Defendants’ misrepresentations prompted Florida health care

 providers to prescribe, patients to take, and payors to cover opioids for the treatment of chronic

 pain. Through their marketing, the Marketing Defendants overcame barriers to widespread

 prescribing of opioids for chronic pain with deceptive messages about the risks and benefits of

 long-term opioid use. Defendants compounded these harms by supplying opioids beyond even

 what this expanded market could bear, funneling so many opioids into Florida communities that

 they could only have been delivering opioids for diversion and illicit use. The massive number of

 opioids that flooded into Florida as a result of Defendants’ wrongful conduct has devastated

 communities across the State.

        609.       Marketing Defendants’ deceptive marketing substantially contributed to an

 explosion in the use of opioids across the country. Approximately 20% of the population between

 the ages of 30 and 44, and nearly 30% of the population over 45, have used opioids. Opioids are




                                                  184
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 192 of 289 PageID 192



 the most common treatment for chronic pain, and 20% of office visits now include the prescription

 of an opioid.

        610.     The sharp increase in opioid use resulting from Defendants’ conduct has led

 directly to a dramatic increase in opioid abuse, addiction, overdose, and death throughout the

 United States, including in Florida. Representing the NIH’s National Institute of Drug Abuse in

 hearings before the Senate Caucus on International Narcotics Control in May 2014, Dr. Nora

 Volkow explained that “aggressive marketing by pharmaceutical companies” is “likely to have

 contributed to the severity of the current prescription drug abuse problem.”

        611.     In August 2016, then U.S. Surgeon General Vivek Murthy published an open letter

 to physicians nationwide, enlisting their help in combating this “urgent health crisis” and linking

 that crisis to deceptive marketing. He wrote that the push to aggressively treat pain, and the

 “devastating” results that followed, had “coincided with heavy marketing to doctors . . . . [m]any

 of [whom] were even taught—incorrectly—that opioids are not addictive when prescribed for

 legitimate pain.”

        612.     Scientific evidence demonstrates a close link between opioid prescriptions and

 opioid abuse. For example, a 2007 study found “a very strong correlation between therapeutic

 exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.”

        613.     There is a parallel relationship between the availability of prescription opioid

 analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

 associated adverse outcomes.      The opioid epidemic is “directly related to the increasingly

 widespread misuse of powerful opioid pain medications.”231


 231
    Robert M. Califf, M.D., Janet Woodcock, M.D., and Stephen Ostroff, M.D., A Proactive
 Response to Prescription Opioid Abuse, The New Eng. J. Med., April 14, 2016,
 http://www.nejm.org/doi/full/10.1056/NEJMsr1601307


                                                185
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 193 of 289 PageID 193



        614.    In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

 quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

 opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons, the

 CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

 reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

        615.    By continuing to fill and failing to report suspicious orders of opioids, Defendants

 have enabled an oversupply of opioids, which allows non-patients to become exposed to opioids,

 and facilitates access to opioids for both patients who could no longer access or afford prescription

 opioids and individuals struggling with addiction and relapse. Defendants had financial incentives

 to distribute higher volumes and not to report suspicious orders or guard against diversion.

 Wholesale drug distributors acquire pharmaceuticals, including opioids, from manufacturers at an

 established wholesale acquisition cost. Discounts and rebates from this cost may be offered by

 manufacturers based on market share and volume. As a result, higher volumes may decrease the

 cost per pill to distributors. Decreased cost per pill in turn, allows wholesale distributors to offer

 more competitive prices, or alternatively, pocket the difference as additional profit. Either way,

 the increased sales volumes result in increased profits.

        616.    It has been estimated that 60% of the opioids that are abused come, directly or

 indirectly, through physicians’ prescriptions. In 2011, 71% of people who abused prescription

 opioids got them through friends or relatives, not from drug dealers or the internet.

        617.    People who are addicted to prescription opioid painkillers are 40 times more likely

 to be addicted to heroin. The CDC identified addiction to prescription pain medication as the

 strongest risk factor for heroin addiction.      Roughly 80% of heroin users previously used

 prescription opioids.




                                                  186
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 194 of 289 PageID 194



        618.    A recent, even more deadly problem stemming from the prescription opioid

 epidemic involves fentanyl—a powerful opioid prescribed for cancer pain or in hospital settings

 that has made its way into Florida communities.

        619.    Carfentanil, a powerful derivative of fentanyl, has increasingly been found in heroin

 and fentanyl sold illicitly. Carfentanil is so strong that it is typically used in veterinary medicine

 to sedate large wild animals such as elephants and has been researched as a chemical weapon. A

 dose the size of a grain of salt can rapidly lead to deadly overdose in humans.

        620.    The rapid rise in overdose deaths in Florida and the United States as a whole is

 unprecedented.

        621.    Statistics from various sources tell a consistent and tragic story. More than 4,000

 babies were born with Neonatal Abstinence Syndrome in the State of Florida during 2016.232

 Neonatal Abstinence Syndrome has increased fifteen fold since 1999 in the State of Florida.233

        622.    Seventy-eight percent of children in Florida’s child care system are there because

 of a parent’s substance use disorder.234 And in the first six months of 2017, over sixty percent of

 all children removed from their homes and placed into the custody of Child and Family Services

 in Florida was largely due to substance use disorder.235 Cases where children are removed from




 232
     The News Service of Florida, Opioid Crisis Taking Its Toll on Florida Children, WUSF
 Public Media, (Nov. 9, 2017), http://wusfnews.wusf.usf.edu/post/opioid-crisis-taking-its-toll-
 florida-children.
 233
     Florida Opioid Summary, N.I.H. Nat’l Inst. of Drug Abuse (revised Feb. 2018),
 https://www.drugabuse.gov/drugs-abuse/opioids/opioid-summaries-by-state/florida-opioid-
 summary.
 234
     Jim Hall, Patterns and Trends of the Opioid Epidemic in Broward County, Mayor’s Opioid
 Summit (Aug. 24, 2017), http://www.drugfreebroward.org/wp-content/uploads/2016/05/The-
 Opioid-Epidemic-in-Broward-County.pdf (hereinafter, “Mayor’s Opioid Summit”).
 235
     The News Service of Florida, Opioid Crisis Taking Its Toll on Florida Children, WUSF
 Public Media, (Nov. 9, 2017), http://wusfnews.wusf.usf.edu/post/opioid-crisis-taking-its-toll-
 florida-children.


                                                  187
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 195 of 289 PageID 195



 homes because of substance abuse increase the costs borne by the local governments by

 necessitating longer out-of-home care as well as requiring additional investigation and

 oversight.236

        623.     Governor Rick Scott officially declared the opioid epidemic a public health

 emergency in Florida on May 4, 2017, stating, “[t]he individuals struggling with drug use are sons,

 daughters, mothers, fathers, sisters, brothers and friends and each tragic case leaves loved ones

 searching for answers and praying for help . . . . Families across our nation are fighting the opioid

 epidemic, and Florida is going to do everything possible to help our communities.”237

        624.     According to the Florida Medical Examiners Commission, synthetic opioids like

 fentanyl and carfentanil killed more than 850 people in the first half of 2016— more than any other

 drug.238




 236
     Dara Kam, Opioid Crisis Taking Toll on Florida Children, Panama City News Herald (Nov.
 9, 2017), http://www.newsherald.com/news/20171109/opioid-crisis-taking-toll-on-florida-
 children.
 237
     Michael Auslen, Gov. Scott Declares Public Health Emergency Over Opioid Crisis, Miami
 Herald (May 3, 2017), http://www.miamiherald.com/news/health-care/article148355444.html.
 238
     Peter Haden, Florida Governor Scott Signs Tough Fentanyl Law In West Palm Beach, WLRN
 (July 11, 2017), http://wlrn.org/post/florida-governor-scott-signs-tough-fentanyl-law-west-palm-
 beach.


                                                 188
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 196 of 289 PageID 196




        625.    The burden of providing care and emergency services for large numbers of out of

 state visitors, in addition to the County’s own residents, further strains the County’s budget. The

 expanding opioid epidemic increases the number of those affected and consumes extra resources.

        626.    Necessitated by the severity of the opioid crisis, Clay County has been forced to

 provide additional services above and beyond what it normally provides to deal with the impacts

 directly affecting the community.

        627.    Clay County has rapidly suffered significant financial consequences as a result of

 opioid over-prescription and addiction. Some of the County’s additional and unanticipated costs

 include, but are not limited to, increased healthcare expenditures, law enforcement and judicial

 expenditures, increased jail and public works expenditures, increased substance abuse treatment

 and diversion plan expenditures, increased emergency and medical care services and autopsies,



                                                189
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 197 of 289 PageID 197



 increased health insurance costs, the costs of processing and paying for fraudulent prescriptions

 and lost economic opportunity. The opioid crisis caused by the Defendants have forced the County

 to make large, unplanned for expenditures in order to protect the health and welfare of the

 community it serves.

        H.      The Defendants Conspired To Engage In The Wrongful Conduct
                Complained Of Herein and Intended To Benefit Both Independently and
                Jointly From Their Conspiracy

                1.        Conspiracy Among Marketing Defendants

        628.    The Marketing Defendants agreed among themselves to set up, develop, and fund

 an unbranded promotion and marketing network to promote the use of opioids for the management

 of pain in order to mislead physicians, patients, health care providers, and health care payors

 through misrepresentations and omissions regarding the appropriate uses, risks, and safety of

 opioids, to increase sales, revenue, and profit from their opioid products.

        629.    This interconnected and interrelated network relied on the Marketing Defendants’

 collective use of unbranded marketing materials, such as KOLs, scientific literature, CMEs, patient

 education materials, and Front Groups developed and funded collectively by the Marketing

 Defendants intended to mislead consumers and medical providers of the appropriate uses, risks,

 and safety of opioids.

        630.    The Marketing Defendants’ collective marketing scheme to increase opioid

 prescriptions, sales, revenues and profits centered around the development, the dissemination, and

 reinforcement of nine false propositions: (1) that addiction is rare among patients taking opioids

 for pain; (2) that addiction risk can be effectively managed; (3) that symptoms of addiction

 exhibited by opioid patients are actually symptoms of an invented condition dubbed “pseudo

 addiction”; (4) that withdrawal is easily managed; (5) that increased dosing presents no significant

 risks; (6) that long-term use of opioids improves function; (7) that the risks of alternative forms of


                                                  190
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 198 of 289 PageID 198



 pain treatment are greater than the adverse effects of opioids; (8) that use of time-released dosing

 prevents addiction; and (9) that abuse-deterrent formulations provide a solution to opioid abuse.

        631.    The Marketing Defendants knew that none of these propositions is true and that

 there was no evidence to support them.

        632.    Each Marketing Defendant worked individually and collectively to develop and

 actively promulgate these nine false propositions in order to mislead physicians, patients, health

 care providers, and healthcare payors regarding the appropriate uses, risks, and safety of opioids.

        633.    What is particularly remarkable about the Marketing Defendants’ effort is the

 seamless method in which the Marketing Defendants joined forces to achieve their collective goal:

 to persuade consumers and medical providers of the safety of opioids, and to hide their actual risks

 and dangers. In doing so, the Marketing Defendants effectively built a new – and extremely

 lucrative – opioid marketplace for their select group of industry players.

        634.    The Marketing Defendants’ unbranded promotion and marketing network was a

 wildly successful marketing tool that achieved marketing goals that would have been impossible

 to have been met by a single or even a handful of the network’s distinct corporate members.

        635.    For example, the network members pooled their vast marketing funds and dedicated

 them to expansive and normally cost-prohibitive marketing ventures, such as the creation of Front

 Groups. These collaborative networking tactics allowed each Marketing Defendant to diversify

 its marketing efforts, all the while sharing any risk and exposure, financial and/or legal, with other

 Marketing Defendants.

        636.    The most unnerving tactic utilized by the Marketing Defendants’ network, was their

 unabashed mimicry of the scientific method of citing “references” in their materials. In the

 scientific community, cited materials and references are rigorously vetted by objective unbiased




                                                  191
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 199 of 289 PageID 199



 and disinterested experts in the field, scientific method, and an unfounded theory or proposition

 would, or should, never gain traction.

        637.    Marketing Defendants put their own twist on the scientific method: they worked

 together to manufacture wide support for their unfounded theories and propositions involving

 opioids. Due to their sheer numbers and resources, the Marketing Defendants were able to create

 a false consensus through their materials and references.

        638.    An illustrative example of the Marketing Defendants’ utilization of this tactic is the

 wide promulgation of the Porter & Jick Letter, which declared the incidence of addiction “rare”

 for patients treated with opioids. The authors had analyzed a database of hospitalized patients who

 were given opioids in a controlled setting to ease suffering from acute pain. These patients were

 not given long-term opioid prescriptions or provided opioids to administer to themselves at home,

 nor was it known how frequently or infrequently and in what doses the patients were given their

 narcotics. Rather, it appears the patients were treated with opioids for short periods of time under

 in-hospital doctor supervision.

        639.    Nonetheless, Marketing Defendants widely and repeatedly cited this letter as proof

 of the low addiction risk in connection with taking opioids in connection with taking opioids

 despite its obvious shortcomings. Marketing Defendants’ egregious misrepresentations based on

 this letter included claims that less than one percent of opioid users became addicted.

        640.    Marketing Defendants’ collective misuse of the Porter & Jick Letter helped the

 opioid manufacturers convince patients and healthcare providers that opioids were not a concern.

 The enormous impact of Marketing Defendants’ misleading amplification of this letter was well

 documented in another letter published in the NEJM on June, 1, 2017, describing the way the one-




                                                 192
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 200 of 289 PageID 200



 paragraph 1980 letter had been irresponsibly cited and in some cases “grossly misrepresented.” In

 particularly, the authors of this letter explained:

                 [W]e found that a five-sentence letter published in the Journal in
                 1980 was heavily and uncritically cited as evidence that addiction
                 was rare with long-term opioid therapy. We believe that this citation
                 pattern contributed to the North American opioid crises by helping
                 to shape a narrative that allayed prescribers’ concerns about the risk
                 of addiction associated with long-term opioid therapy…

         641.    By knowingly misrepresenting the appropriate uses, risks, and safety of opioids,

 the Marketing Defendants committed overt acts in furtherance of their conspiracy.

                 2.      Conspiracy Among All Defendants

         642.    In addition, and on an even broader level, all Defendants took advantage of the

 industry structure, including end-running its internal checks and balances, to their collective

 advantage. Defendants agreed among themselves to increasing the supply of opioids and

 fraudulently increasing the quotas that governed the manufacture and supply of prescription

 opioids. Defendants did so to increase sales, revenue, and profit from their opioid products.

         643.    The interaction and length of the relationships between and among the Defendants

 reflects a deep level of interaction and cooperation between Defendants in a tightly knit industry.

 The Marketing and Distributor Defendants were not two separate groups operating in isolation or

 two groups forced to work together in a closed system. The Defendants operated together as a

 united entity, working together on multiple fronts, to engage in the unlawful sale of prescription

 opioids.

         644.    Defendants collaborated to expand the opioid market in an interconnected and

 interrelated network in the following ways, as set forth more fully below, including, for example,

 membership in the Healthcare Distribution Alliance (“HDA”).




                                                   193
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 201 of 289 PageID 201



        645.    Defendants utilized their membership in the HDA and other forms of collaboration

 to form agreements about their approach to their duties under the CSA to report suspicious orders.

 The Defendants overwhelmingly agreed on the same approach – to fail to identify, report or halt

 suspicious opioid orders, and fail to prevent diversion. Defendants’ agreement to restrict reporting

 provided an added layer of insulation from DEA scrutiny for the entire industry as Defendants

 were thus collectively responsible for each other’s compliance with their reporting obligations.

 Defendants were aware, both individually and collectively aware of the suspicious orders that

 flowed directly from Defendants’ facilities.

        646.    Defendants knew that their own conduct could be reported by other Defendants and

 that their failure to report suspicious orders they filled could be brought to the DEA’s attention.

 As a result, Defendants had an incentive to communicate with each other about the reporting or

 suspicious orders to ensure consistency in their dealings with DEA.

        647.    The Defendants also worked together to ensure that the opioid quotas allowed by

 the DEA remained artificially high and ensured that suspicious orders were not reported to the

 DEA in order to ensure that the DEA had not basis for refusing to increase or decrease production

 quotas due to diversion.

        648.    The desired consistency, and collective end goal was achieved. Defendants

 achieved blockbuster profits through higher opioid sales by orchestrating the unimpeded flow of

 opioids.

        I. Statutes Of Limitations Are Tolled and Defendants Are Estopped From Asserting
                Statutes Of Limitations As Defenses

                1.      Continuing Conduct.

        649.    Plaintiff contends it continues to suffer harm from the unlawful actions by the

 Defendants.



                                                 194
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 202 of 289 PageID 202



        650.    The continued tortious and unlawful conduct by the Defendants causes a repeated

 or continuous injury. The damages have not occurred all at once but have continued to occur and

 have increased as time progresses. The tort is not completed nor have all the damages been

 incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

 not ceased. The public nuisance remains unabated. The conduct causing the damages remains

 unabated.

                2.      Equitable Estoppel and Fraudulent Concealment

        651.    Defendants are equitably estopped from relying upon a statute of limitations

 defense because they undertook active efforts to deceive Plaintiff and to purposefully conceal their

 unlawful conduct and fraudulently assure the public, including the State, the Plaintiff, and

 Plaintiff’s Community, that they were undertaking efforts to comply with their obligations under

 the state and federal controlled substances laws, all with the goal of protecting their registered

 manufacturer or distributor status in the State and to continue generating profits. Notwithstanding

 the allegations set forth above, the Defendants affirmatively assured the public, including the State,

 the Plaintiff, and Plaintiff’s Community, that they are working to curb the opioid epidemic.

        652.    The Defendants were deliberate in taking steps to conceal their conspiratorial

 behavior and active role in the deceptive marketing and the oversupply of opioids through

 overprescribing and suspicious sales, all of which fueled the opioid epidemic.

        653.    As set forth herein, the Marketing Defendants deliberately worked through Front

 Groups purporting to be patient advocacy and professional organizations, through public relations

 companies hired to work with the Front Groups and through paid KOLs to secretly control

 messaging, influence prescribing practices and drive sales. The Marketing Defendants concealed

 their role in shaping, editing, and approving the content of prescribing guidelines, informational

 brochures, KOL presentations and other false and misleading materials addressing pain


                                                  195
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 203 of 289 PageID 203



 management and opioids that were widely disseminated to regulators, prescribers and the public

 at large. They concealed the addictive nature and dangers associated with opioid use and denied

 blame for the epidemic attributing it instead solely to abuse and inappropriate prescribing. They

 manipulated scientific literature and promotional materials to make it appear that misleading

 statements about the risks, safety and superiority of opioids were actually accurate, truthful, and

 supported by substantial scientific evidence. Through their public statements, omissions,

 marketing, and advertising, the Marketing Defendants’ deceptions deprived Plaintiff of actual or

 implied knowledge of facts sufficient to put Plaintiff on notice of potential claims.

        654.    Defendants also concealed from Plaintiff the existence of Plaintiff’s claims by

 hiding their lack of cooperation with law enforcement and affirmatively seeking to convince the

 public that their legal duties to report suspicious sales had been satisfied through public assurances

 that they were working to curb the opioid epidemic. They publicly portrayed themselves as

 committed to working diligently with law enforcement and others to prevent diversion of these

 dangerous drugs and curb the opioid epidemic, and they made broad promises to change their ways

 insisting they were good corporate citizens. These repeated misrepresentations misled regulators,

 prescribers and the public, including Plaintiff, and deprived Plaintiff of actual or implied

 knowledge of facts sufficient to put Plaintiff on notice of potential claims.

        655.    Plaintiff did not discover the nature, scope and magnitude of Defendants’

 misconduct, and its full impact on jurisdiction, and could not have acquired such knowledge earlier

 through the exercise of reasonable diligence.

        656.    The Marketing Defendants’ campaign to misrepresent and conceal the truth about

 the opioid drugs that they were aggressively pushing in the State and in Plaintiff’s Community

 deceived the medical community, consumers, the State, and Plaintiff’s Community.




                                                  196
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 204 of 289 PageID 204



        657.    Further, Defendants have also concealed and prevented discovery of information,

 including data from the ARCOS database, that will confirm their identities and the extent of their

 wrongful and illegal activities. On April 11, 2018, the Northern District of Ohio Ordered the

 transactional ARCOS data be produced, over Defendants’ strenuous objections. In so doing, the

 Court reviewed its previous decisions on this data and held that, because the transaction data had

 not yet been produced, the Plaintiff could not identify the potential defendants in this litigation,

 and further held that such information was “critical”:

                This means Plaintiffs still do not know: (a) which manufacturers (b)
                sold what types of pills (c) to which distributors; nor do they know
                (d) which distributors (e) sold what types of pills (f) to which
                retailers (g) in what locations. In any given case, therefore, the
                Plaintiff still cannot know for sure who are the correct defendants,
                or the scope of their potential liability. For example, the ARCOS
                spreadsheets produced by DEA show the top five distributors of
                oxycodone in Ohio in 2014 were Cardinal Health,
                AmerisourceBergen, McKesson, Walmart, and Miami-Luken; but
                there is no way to know whether (or how much) any of these five
                entities distributed oxycodone into Seneca County, Ohio (or any
                other particular venue). . . . [The] DEA and [the] defendants . . .
                [have] conceded the data was relevant and necessary to
                litigation . . . . Discovery of precisely which manufacturers sent
                which drugs to which distributors, and which distributors sent which
                drugs to which pharmacies and doctors, is critical not only to all of
                plaintiffs’ claims, but also to the Court’s understanding of the width
                and depth of this litigation.

 Order of April 11, 2018 [Doc. 233] at pp. 6-7 (footnotes omitted).

        658.    Defendants intended that their actions and omissions would be relied upon,

 including by Plaintiff and Plaintiff’s Community. Plaintiff and Plaintiff’s Community did not

 know and did not have the means to know the truth, due to Defendants’ actions and omissions.

        659.    The Plaintiff and Plaintiff’s Community reasonably relied on Defendants’

 affirmative statements regarding their purported compliance with their obligations under the law

 and consent orders.



                                                 197
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 205 of 289 PageID 205



        J.        Facts Pertaining to Punitive Damages

        660.      As set forth above, Defendants acted deliberately to increase sales of, and profits

 from, opioid drugs. The Marketing Defendants knew there was no support for their claims that

 addiction was rare, that addiction risk could be effectively managed, that signs of addiction were

 merely “pseudo addiction,” that withdrawal is easily managed, that higher doses pose no

 significant additional risks, that long-term use of opioids improves function, or that time-release

 or abuse-deterrent formulations would prevent addiction or abuse. Nonetheless, they knowingly

 promoted these falsehoods in order to increase the market for their addictive drugs.

        661.      All of the Defendants, moreover, knew that large and suspicious quantities of

 opioids were being poured into communities throughout the United States, yet, despite this

 knowledge, took no steps to report suspicious orders, control the supply of opioids, or otherwise

 prevent diversion. Indeed as described above, Defendants acted in concert together to maintain

 high levels of quotas for their products and to ensure that suspicious orders would not be reported

 to regulators.

        662.      Defendants’ conduct was so willful and deliberate that it continued in the face of

 numerous enforcement actions, fines, and other warnings from state and local governments and

 regulatory agencies. Defendants paid their fines, made promises to do better, and continued on

 with their marketing and supply schemes. This ongoing course of conduct knowingly, deliberately

 and repeatedly threatened and accomplished harm and risk of harm to public health and safety,

 and large scale economic loss to communities and government liabilities across the country.

        663.      Defendants’ actions demonstrated both malice and also aggravated and egregious

        664.      fraud. Defendants engaged in the conduct alleged herein with a conscious disregard

 for the rights and safety of other persons, even though that conduct had a great probability of




                                                  198
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 206 of 289 PageID 206



 causing substantial harm. The Marketing Defendants’ fraudulent wrongdoing was done with a

 particularly gross and conscious disregard.

                1.      The Marketing Defendants Persisted in Their Fraudulent Scheme
                        Despite Repeated Admonitions, Warnings, and Even Prosecutions

        665.    So determined were the Marketing Defendants to sell more opioids that they simply

 ignored multiple admonitions, warnings, and prosecutions. These governmental and regulatory

 actions included:

                                FDA Warnings to Janssen Failed to Deter Janssen’s
                                Misleading Promotion of Duragesic

        666.    On February 15, 2000, the FDA sent Janssen a letter concerning the dissemination

 of “homemade” promotional pieces that promoted the Janssen drug Duragesic in violation of the

 Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

 explained that the “homemade” promotional pieces were “false or misleading because they contain

 misrepresentations of safety information, broaden Duragesic’s indication, contain unsubstantiated

 claims, and lack fair balance.” The March 30, 2000 letter detailed numerous ways in which

 Janssen’s marketing was misleading.

        667.    The letter did not stop Janssen. On September 2, 2004, the U.S. Department of

 Health and Human Services (“HHS”) sent Janssen a warning letter concerning Duragesic due to

 “false or misleading claims about the abuse potential and other risks of the drug, and . . .

 unsubstantiated effectiveness claims for Duragesic,” including, specifically, “suggesting that

 Duragesic has a lower potential for abuse compared to other opioid products.” The September 2,

 2004 letter detailed a series of unsubstantiated, false or misleading claims.

        668.    One year later, Janssen was still at it. On July 15, 2005, the FDA issued a public

 health advisory warning doctors of deaths resulting from the use of Duragesic and its generic

 competitor, manufactured by Mylan N.V. The advisory noted that the FDA had been “‘examining


                                                 199
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 207 of 289 PageID 207



 the circumstances of product use to determine if the reported adverse events may be related to

 inappropriate use of the patch’” and noted the possibility “that patients and physicians might be

 unaware of the risks” of using the fentanyl transdermal patch, which is a potent opioid analgesic

 approved only for chronic pain in opioid-tolerant patients that could not be treated by other drugs.

                               Governmental Action, Including Large Monetary Fines, Failed
                               to Stop Cephalon from Falsely Marketing Actiq for Off-Label
                               Uses

        669.    On September 29, 2008, Cephalon finalized and entered into a corporate integrity

 agreement with the Office of the Inspector General of HHS and agreed to pay $425 million in civil

 and criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and

 Provigil). According to a DOJ press release, Cephalon had trained sales representatives to

 disregard restrictions of the FDA-approved label, employed sales representatives and healthcare

 professionals to speak to physicians about off-label uses of the three drugs and funded CME to

 promote off-label uses.

        670.    Notwithstanding letters, an FDA safety alert, DOJ and state investigations, and the

 massive settlement, Cephalon has continued its deceptive marketing strategy.

                               FDA Warnings Did Not Prevent Cephalon from Continuing
                               False and Off-Label Marketing of Fentora

        671.    On September 27, 2007, the FDA issued a public health advisory to address

 numerous reports that patients who did not have cancer or were not opioid tolerant had been

 prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

 “Fentora should not be used to treat any type of short-term pain.” Indeed, FDA specifically denied

 Cephalon’s application, in 2008, to broaden the indication of Fentora to include treatment of non-

 cancer breakthrough pain and use in patients who were not already opioid-tolerant.




                                                 200
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 208 of 289 PageID 208



        672.    Flagrantly disregarding the FDA’s refusal to broaden the indication for Fentora,

 Cephalon nonetheless marketed Fentora beyond its approved indications. On March 26, 2009,

 the FDA warned Cephalon against its misleading advertising of Fentora (“Warning Letter”). The

 Warning Letter described a Fentora Internet advertisement as misleading because it purported to

 broaden “the indication for Fentora by implying that any patient with cancer who requires

 treatment for breakthrough pain is a candidate for Fentora . . . when this is not the case.” It further

 criticized Cephalon’s other direct Fentora advertisements because they did not disclose the risks

 associated with the drug.

        673.    Despite this warning, Cephalon continued to use the same sales tactics to push

 Fentora as it did with Actiq. For example, on January 13, 2012, Cephalon published an insert in

 Pharmacy Times titled “An Integrated Risk Evaluation and Mitigation Strategy (REMS) for

 FENTORA (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).” Despite

 the repeated warnings of the dangers associated with the use of the drugs beyond their limited

 indication, as detailed above, the first sentence of the insert states: “It is well recognized that the

 judicious use of opioids can facilitate effective and safe management of chronic pain.”

                                A Guilty Plea and a Large Fine Did Not Deter Purdue from
                                Continuing Its Fraudulent Marketing of OxyContin

        674.    In May 2007, Purdue and three of its executives pled guilty to federal charges of

 misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

 about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea,

 Purdue admitted that its promotion of OxyContin was misleading and inaccurate, misrepresented

 the risk of addiction and was unsupported by science. Additionally, Michael Friedman the

 company’s president, pled guilty to a misbranding charge and agreed to pay $19 million in fines;

 Howard R. Udell, Purdue’s top lawyer, also pled guilty and agreed to pay $8 million in fines; and



                                                  201
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 209 of 289 PageID 209



 Paul D. Goldenheim, its former medical director, pled guilty as well and agreed to pay $7.5 million

 in fines.

         675.   Nevertheless, even after the settlement, Purdue continued to pay doctors on

 speakers’ bureaus to promote the liberal prescribing of OxyContin for chronic pain and fund

 seemingly neutral organizations to disseminate the message that opioids were non-addictive as

 well as other misrepresentations. At least until early 2018, Purdue continued to deceptively market

 the benefits of opioids for chronic pain while diminishing the associated dangers of addiction.

 After Purdue made its guilty plea in 2007, it assembled an army of lobbyists to fight any legislative

 actions that might encroach on its business. Between 2006 and 2015, Purdue and other opioid

 producers, along with their associated nonprofits, spent nearly $900 million dollars on lobbying

 and political contributions – eight times what the gun lobby spent during that period.

                2.      Repeated Admonishments and Fines Did Not Stop Defendants from
                        Ignoring Their Obligations to Control the Supply Chain and Prevent
                        Diversion

         676.   Defendants were repeatedly admonished and even fined by regulatory authorities,

 but continued to disregard their obligations to control the supply chain of dangerous opioids and

 to institute controls to prevent diversion.

         677.   In a 60 Minutes interview last fall, former DEA agent Joe Rannazzisi described

 Defendants’ industry as “out of control,” stating that “[w]hat they wanna do, is do what they wanna

 do, and not worry about what the law is. And if they don’t follow the law in drug supply, people

 die. That’s just it. People die.” He further explained that:

                JOE RANNAZZISI: The three largest distributors are Cardinal
                Health, McKesson, and AmerisourceBergen. They control probably
                85 or 90 percent of the drugs going downstream.

                [INTERVIEWER]: You know the implication of what you’re
                saying, that these big companies knew that they were pumping drugs
                into American communities that were killing people.


                                                 202
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 210 of 289 PageID 210



                JOE RANNAZZISI: That’s not an implication, that’s a fact. That’s
                exactly what they did.

        678.    Another DEA veteran similarly stated that these companies failed to make even a

 “good faith effort” to “do the right thing.” He further explained that “I can tell you with 100

 percent accuracy that we were in there on multiple occasions trying to get them to change their

 behavior. And they just flat out ignored us.”

        679.    Government actions against the Defendants with respect to their obligations to

 control the supply chain and prevent diversion include:

                a.     On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                       Suspension Order against the AmerisourceBergen Orlando, Florida
                       distribution center (“Orlando Facility”) alleging failure to maintain
                       effective controls against diversion of controlled substances. On June 22,
                       2007, AmerisourceBergen entered into a settlement that resulted in the
                       suspension of its DEA registration;

                b.     On November 28, 2007, the DEA issued an Order to Show Cause and
                       Immediate Suspension Order against the Cardinal Health Auburn,
                       Washington Distribution Center (“Auburn Facility”) for failure to maintain
                       effective controls against diversion of hydrocodone;

                c.     On December 5, 2007, the DEA issued an Order to Show Cause and
                       Immediate Suspension Order against the Cardinal Health Lakeland, Florida
                       Distribution Center (“Lakeland Facility”) for failure to maintain effective
                       controls against diversion of hydrocodone;

                d.     On December 7, 2007, the DEA issued an Order to Show Cause and
                       Immediate Suspension Order against the Cardinal Health Swedesboro, New
                       Jersey Distribution Center (“Swedesboro Facility”) for failure to maintain
                       effective controls against diversion of hydrocodone;

                e.     On January 30, 2008, the DEA issued an Order to Show Cause against the
                       Cardinal Health Stafford, Texas Distribution Center (“Stafford Facility”)
                       for failure to maintain effective controls against diversion of hydrocodone;

                f.     On September 30, 2008, Cardinal Health entered into a Settlement and
                       Release Agreement and Administrative Memorandum of Agreement with
                       the DEA related to its Auburn, Lakeland, Swedesboro and Stafford
                       Facilities. The document also referenced allegations by the DEA that
                       Cardinal failed to maintain effective controls against the diversion of
                       controlled substances at its distribution facilities located in McDonough,


                                                 203
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 211 of 289 PageID 211



                         Georgia (“McDonough Facility”), Valencia, California (“Valencia
                         Facility”) and Denver, Colorado (“Denver Facility”);

                 g.      On February 2, 2012, the DEA issued an Order to Show Cause and
                         Immediate Suspension Order against the Cardinal Health’s Lakeland
                         Facility for failure to maintain effective controls against diversion of
                         oxycodone; and

                 h.      On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to
                         the DEA to resolve the civil penalty portion of the administrative action
                         taken against its Lakeland Facility.

         680.    McKesson’s deliberate disregard of its obligations was especially flagrant. On May

 2, 2008, McKesson Corporation entered into an Administrative Memorandum of Agreement

 (“2008 McKesson MOA”) with the DEA which provided that McKesson would “maintain a

 compliance program designed to detect and prevent the diversion of controlled substances, inform

 DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the procedures

 established by its Controlled Substance Monitoring Program.”

         681.    Despite its 2008 agreement with DEA, McKesson continued to fail to report

 suspicious orders between 2008 and 2012 and did not fully implement or follow the monitoring

 program it agreed to. It failed to conduct adequate due diligence of its customers, failed to keep

 complete and accurate records in the CSMP files maintained for many of its customers and

 bypassed suspicious order reporting procedures set forth in the CSMP. It failed to take these

 actions despite its awareness of the great probability that its failure to do so would cause substantial

 harm.

         682.    On January 5, 2017, McKesson Corporation entered into an Administrative

 Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for

 violation of the 2008 MOA as well as failure to identify and report suspicious orders at its facilities

 in Aurora, CO; Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland, FL; Landover, MD; La Vista,

 NE; Livonia, MI; Methuen, MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West


                                                   204
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 212 of 289 PageID 212



 Sacramento, CA. McKesson’s 2017 agreement with DEA documents that McKesson continued

 to breach its admitted duties by “fail[ing] to properly monitor its sales of controlled substances

 and/or report suspicious orders to DEA, in accordance with McKesson’s obligations.”

        683.    As The Washington Post and 60 Minutes recently reported, DEA staff

 recommended a much larger penalty than the $150 million ultimately agreed to for McKesson’s

 continued and renewed breach of its duties, as much as a billion dollars, and delicensing of certain

 facilities. A DEA memo outlining the investigative findings in connection with the administrative

 case against 12 McKesson distribution centers included in the 2017 Settlement stated that

 McKesson “[s]upplied controlled substances in support of criminal diversion activities”;

 “[i]gnored blatant diversion”; had a “[p]attern of raising thresholds arbitrarily”; “[f]ailed to review

 orders or suspicious activity”; and “[i]gnored [the company’s] own procedures designed to prevent

 diversion.”

        684.    On December 17, 2017, CBS aired an episode of 60 Minutes featuring Assistant

 Special Agent Schiller, who described McKesson as a company that killed people for its own

 financial gain and blatantly ignored the CSA requirement to report suspicious orders:

                DAVID SCHILLER: If they would stayed in compliance with their
                authority and held those that they’re supplying the pills to, the
                epidemic would be nowhere near where it is right now. Nowhere
                near.

                                                 ***

                They had hundreds of thousands of suspicious orders they should
                have reported, and they didn’t report any. There’s not a day that
                goes by in the pharmaceutical world, in the McKesson world, in the
                distribution world, where there’s not something suspicious. It
                happens every day.

                [INTERVIEWER:] And they had none.




                                                  205
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 213 of 289 PageID 213



                DAVID SCHILLER: They weren’t reporting any. I mean, you have
                to understand that, nothing was suspicious?239

        685.    Following the 2017 settlement, McKesson shareholders made a books and records

 request of the company. According to a separate action pending on their behalf, the Company’s

 records show that the Company’s Audit Committee failed to monitor McKesson’s information

 reporting system to assess the state of the Company’s compliance with the CSA and McKesson’s

 2008 Settlements. More particularly, the shareholder action alleges that the records show that in

 October 2008, the Audit Committee had an initial discussion of the 2008 Settlements and results

 of internal auditing, which revealed glaring omissions; specifically:

                a.      some customers had “not yet been assigned thresholds in the system to flag
                        large shipments of controlled substances for review”;

                b.      “[d]ocumentation evidencing new customer due diligence was incomplete”;

                c.      “documentation supporting the company’s decision to change thresholds for
                        existing customers was also incomplete”; and

                d.      Internal Audit “identified opportunities to enhance the Standard Operating
                        Procedures.”

        686.    Yet, instead of correcting these deficiencies, after that time, for a period of more

 than four years, the Audit Committee failed to address the CSMP or perform any more audits of

 McKesson’s compliance with the CSA or the 2008 Settlements, the shareholder action’s

 description of McKesson’s internal documents reveals. During that period of time, McKesson’s

 Audit Committee failed to inquire whether the Company was in compliance with obligations set

 forth in those agreements and with the controlled substances regulations more generally. It was




 239
    Bill Whitaker, Whistleblowers: DEA Attorneys Went Easy on McKesson, the Country’s
 Largest Drug Distributor, CBS News (Dec. 17, 2017),
 https://www.cbsnews.com/news/whistleblowers-deaattorneys-went-easy-on-mckesson-the-
 countrys-largest-drug-distributor/.


                                                206
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 214 of 289 PageID 214



 only in January 2013 that the Audit Committee received an Internal Audit report touching on these

 issues.

           687.   In short, McKesson, was “neither rehabilitated nor deterred by the 2008

 [agreement],” as a DEA official working on the case noted. Quite the opposite, “their bad acts

 continued and escalated to a level of egregiousness not seen before.” According to statements of

 “DEA investigators, agents and supervisors who worked on the McKesson case” reported in The

 Washington Post, “the company paid little or no attention to the unusually large and frequent orders

 placed by pharmacies, some of them knowingly supplying the drug rings.” “Instead, the DEA

 officials said, the company raised its own self-imposed limits, known as thresholds, on orders from

 pharmacies and continued to ship increasing amounts of drugs in the face of numerous red flags.”

           688.   Since at least 2002, Purdue has maintained a database of health care providers

 suspected of inappropriately prescribing OxyContin or other opioids. Physicians could be added

 to this database based on observed indicators of illicit prescribing such as excessive numbers of

 patients, cash transactions, patient overdoses, and unusual prescribing of the highest-strength pills

 (80 mg OxyContin pills or “80s,” as they were known on the street, were a prime target for

 diversion). Purdue claims that health care providers added to the database no longer were detailed,

 and that sales representatives received no compensation tied to these providers’ prescriptions.

           689.   Yet, Purdue failed to cut off these providers’ opioid supply at the pharmacy level—

 meaning Purdue continued to generate sales revenue from their prescriptions—and failed to report

 these providers to state medical boards or law enforcement. Purdue’s former senior compliance

 officer acknowledged in an interview with the Los Angeles Times that in five years of investigating

 suspicious pharmacies, the company never stopped the supply of its opioids to a pharmacy, even

 where Purdue employees personally witnessed the diversion of its drugs.




                                                  207
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 215 of 289 PageID 215



            690.   The same was true of prescribers. For example, as discussed above, despite

 Purdue’s knowledge of illicit prescribing from one Los Angeles clinic which its district manager

 called an “organized drug ring” in 2009, Purdue did not report its suspicions until long after law

 enforcement shut it down and not until the ring prescribed more than 1.1 million OxyContin

 tablets.

            691.   Indeed, the New York Attorney General found that Purdue placed 103 New York

 health care providers on its “No-Call” List between January 1, 2008 and March 7, 2015, and that

 Purdue’s sales representatives had detailed approximately two-thirds of these providers, some

 quite extensively, making more than a total of 1,800 sales calls to their offices over a six-year

 period.

            692.   The New York Attorney General similarly found that Endo knew, as early as 2011,

 that Opana ER was being abused in New York, but certain sales representatives who detailed New

 York health care providers testified that they did not know about any policy or duty to report

 problematic conduct. The New York Attorney General further determined that Endo detailed

 health care providers who were subsequently arrested or convicted for illegal prescribing of

 opioids a total of 326 times, and these prescribers collectively wrote 1,370 prescriptions for Opana

 ER (although the subsequent criminal charges at issue did not involve Opana ER).

            693.   As all of the governmental actions against the Marketing Defendants and against

 all the Defendants shows, Defendants knew that their actions were unlawful, and yet deliberately

 refused to change their practices because compliance with their legal obligations would have

 decreased their sales and their profits.




                                                 208
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 216 of 289 PageID 216



       II.      FACTS PERTAINING TO CLAIMS UNDER RACKETEER-
                INFLUENCED AND CORRUPT ORGANIZATIONS (“RICO”) ACT

         A.     The Opioid Marketing Enterprise

                1.      The Common Purpose and Scheme of the Opioid Marketing Enterprise

         694.   Knowing that their products were highly addictive, ineffective and unsafe for the

 treatment of long-term chronic pain, non-acute and non-cancer pain, the RICO Marketing

 Defendants240 formed an association-in-fact enterprise and engaged in a scheme to unlawfully

 increase their profits and sales, and grow their share of the prescription painkiller market, through

 repeated and systematic misrepresentations about the safety and efficacy of opioids for treating

 long-term chronic pain.

         695.   In order to unlawfully increase the demand for opioids, the RICO Marketing

 Defendants formed an association-in-fact enterprise (the “Opioid Marketing Enterprise”) with the

 “Front Groups” and KOLs described above. Through their personal relationships, the members of

 the Opioid Marketing Enterprise had the opportunity to form and take actions in furtherance of the

 Opioid Marketing Enterprise’s common purpose. The RICO Marketing Defendants’ substantial

 financial contribution to the Opioid Marketing Enterprise, and the advancement of opioids-friendly

 messaging, fueled the U.S. opioids epidemic.241

         696.   The RICO Marketing Defendants, through the Opioid Marketing Enterprise,

 concealed the true risks and dangers of opioids from the medical community and the public,

 including Plaintiff, and made misleading statements and misrepresentations about opioids that


 240
    The RICO Marketing Defendants referred to in this section are those named in the First Claim
 for Relief under 28 U.S.C. § 1964(c), including Purdue, Cephalon, Janssen, and Endo.
 241
    See Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and
 Third Party Advocacy Groups, U.S. Senate Homeland Security & Governmental Affairs
 Committee, Ranking Members’ Office, February 12, 2018
 https://www.hsdl.org/?abstract&did=808171 (“Fueling an Epidemic”), at 1.


                                                 209
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 217 of 289 PageID 217



 downplayed the risk of addiction and exaggerated the benefits of opioid use. The misleading

 statements included: (1) that addiction is rare among patients taking opioids for pain; (2) that

 addiction risk can be effectively managed; (3) that symptoms of addiction exhibited by opioid

 patients are actually symptoms of an invented condition the RICO Marketing Defendants named

 “pseudoaddiction”; (4) that withdrawal is easily managed; (5) that increased dosing presents no

 significant risks; (6) that long-term use of opioids improves function; (7) that the risks of

 alternative forms of pain treatment are greater than the adverse effects of opioids; (8) that use of

 time-released dosing prevents addiction; and (9) that abuse-deterrent formulations provide a

 solution to opioid abuse.

        697.    The scheme devised, implemented and conducted by the RICO Marketing

 Defendants was a common course of conduct designed to ensure that the RICO Marketing

 Defendants unlawfully increased their sales and profits through concealment and

 misrepresentations about the addictive nature and effective use of the RICO Marketing

 Defendants’ drugs. The RICO Marketing Defendants, the Front Groups, and the KOLs acted

 together for a common purpose and perpetuated the Opioid Marketing Enterprise’s scheme,

 including through the unbranded promotion and marketing network as described above.

        698.    There was regular communication between the RICO Marketing Defendants, Front

 Groups and KOLs, in which information was shared, misrepresentations are coordinated, and

 payments were exchanged. Typically, the coordination, communication and payment occurred,

 and continues to occur, through the repeated and continuing use of the wires and mail in which the

 RICO Marketing Defendants, Front Groups, and KOLs share information regarding overcoming

 objections and resistance to the use of opioids for chronic pain. The RICO Marketing Defendants,

 Front Groups and KOLs functioned as a continuing unit for the purpose of implementing the




                                                 210
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 218 of 289 PageID 218



 Opioid Marketing Enterprise’s scheme and common purpose, and each agreed and took actions to

 hide the scheme and continue its existence.

        699.   At all relevant times, the Front Groups were aware of the RICO Marketing

 Defendants’ conduct, were knowing and willing participants in and beneficiaries of that conduct.

 Each Front Group also knew, but did not disclose, that the other Front Groups were engaged in the

 same scheme, to the detriment of consumers, prescribers, and the Plaintiff. But for the Opioid

 Marketing Enterprise’s unlawful fraud, the Front Groups would have had incentive to disclose the

 deceit by the RICO Marketing Defendants and the Opioid Marketing Enterprise to their members

 and constituents. By failing to disclose this information, Front Groups perpetuated the Opioid

 Marketing Enterprise’s scheme and common purpose, and reaped substantial benefits

        700.   At all relevant times, the KOLs were aware of the RICO Marketing Defendants’

 conduct, were knowing and willing participants in that conduct, and reaped benefits from that

 conduct. The RICO Marketing Defendants selected KOLs solely because they favored the

 aggressive treatment of chronic pain with opioids. The RICO Marketing Defendants’ support

 helped the KOLs become respected industry experts. And, as they rose to prominence, the KOLs

 falsely touted the benefits of using opioids to treat chronic pain, repaying the RICO Marketing

 Defendants by advancing their marketing goals. The KOLs also knew, but did not disclose, that

 the other KOLs and Front Groups were engaged in the same scheme, to the detriment of

 consumers, prescribers, and the Plaintiff. But for the Opioid Marketing Enterprise’s unlawful

 conduct, the KOLs would have had incentive to disclose the deceit by the RICO Marketing

 Defendants and the Opioid Marketing Enterprise, and to protect their patients and the patients of

 other physicians. By failing to disclose this information, KOLs furthered the Opioid Marketing

 Enterprise’s scheme and common purpose, and reaped substantial benefits.




                                               211
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 219 of 289 PageID 219



        701.    As public scrutiny and media coverage focused on how opioids ravaged

 communities in Florida and throughout the United States, the Front Groups and KOLS did not

 challenge the RICO Marketing Defendants’ misrepresentations, seek to correct their previous

 misrepresentations, terminate their role in the Opioid Marketing Enterprise, nor disclose publicly

 that the risks of using opioids for chronic pain outweighed their benefits and were not supported

 by medically acceptable evidence.

        702.    The RICO Marketing Defendants, Front Groups and KOLs engaged in certain

 discrete categories of activities in furtherance of the common purpose of the Opioid Marketing

 Enterprise. As described herein, the Opioid Marketing Enterprise’s conduct in furtherance of the

 common purpose of the Opioid Marketing Enterprise involved: (1) misrepresentations regarding

 the risk of addiction and safe use of prescription opioids for long-term chronic pain (described in

 detail above); (2) lobbying to defeat measures to restrict over-prescription; (3) efforts to criticize

 or undermine CDC guidelines; and (4) efforts to limit prescriber accountability.

        703.    In addition to disseminating misrepresentations about the risks and benefits of

 opioids, the Opioid Marketing Enterprise also furthered its common purpose by criticizing or

 undermining CDC guidelines.         Members of the Opioid Marketing Enterprise criticized or

 undermined the CDC Guidelines which represented “an important step — and perhaps the first

 major step from the federal government — toward limiting opioid prescriptions for chronic pain.”

        704.    Several Front Groups, including the U.S. Pain Foundation and the AAPM,

 criticized the draft guidelines in 2015, arguing that the “CDC slides presented on Wednesday were

 not transparent relative to process and failed to disclose the names, affiliation, and conflicts of

 interest of the individuals who participated in the construction of these guidelines.”




                                                  212
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 220 of 289 PageID 220



         705.    The AAPM criticized the prescribing guidelines in 2016, through its immediate past

 president, stating “that the CDC guideline makes disproportionately strong recommendations

 based upon a narrowly selected portion of the available clinical evidence.”

         706.    The RICO Marketing Defendants alone could not have accomplished the purpose

 of the Opioid Marketing Enterprise without the assistance of the Front Groups and KOLs, who

 were perceived as “neutral” and more “scientific” than the RICO Marketing Defendants

 themselves. Without the work of the Front Groups and KOLs in spreading misrepresentations

 about opioids, the Opioid Marketing Enterprise could not have achieved its common purpose.

         707.    The impact of the Opioid Marketing Enterprise’s scheme is still in place – i.e., the

 opioids continue to be prescribed and used for chronic pain throughout Florida, and the epidemic

 continues to injure Plaintiff.

         708.    As a result, it is clear that the RICO Marketing Defendants, the Front Groups, and

 the KOLs were each willing participants in the Opioid Marketing Enterprise, had a common

 purpose and interest in the object of the scheme, and functioned within a structure designed to

 effectuate the Enterprise’s purpose.

                 2.      The Conduct of the Opioid Marketing Enterprise violated Civil RICO

         709.    From approximately the late 1990s to the present, each of the Marketing Defendants

 exerted control over the Opioid Marketing Enterprise and participated in the operation or

 management of the affairs of the Opioid Marketing Enterprise, directly or indirectly, in the

 following ways:

                 a.      Creating and providing a body of deceptive, misleading and unsupported
                         medical and popular literature about opioids that (i) understated the risks
                         and overstated the benefits of long-term use; (ii) appeared to be the result
                         of independent, objective research; and (iii) was thus more likely to be
                         relied upon by physicians, patients, and payors;




                                                 213
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 221 of 289 PageID 221



             b.    Creating and providing a body of deceptive, misleading and unsupported
                   electronic and print advertisements about opioids that (i) understated the
                   risks and overstated the benefits of long-term use; (ii) appeared to be the
                   result of independent, objective research; and (iii) was thus more likely to
                   be relied upon by physicians, patients, and payors;

             c.    Creating and providing a body of deceptive, misleading and unsupported
                   sales and promotional training materials about opioids that (i) understated
                   the risks and overstated the benefits of long-term use; (ii) appeared to be the
                   result of independent, objective research; and (iii) was thus more likely to
                   be relied upon by physicians, patients, and payors;

             d.    Creating and providing a body of deceptive, misleading and unsupported
                   CMEs and speaker presentations about opioids that (i) understated the risks
                   and overstated the benefits of long-term use; (ii) appeared to be the result
                   of independent, objective research; and (iii) was thus more likely to be relied
                   upon by physicians, patients, and payors;

             e.    Selecting, cultivating, promoting and paying KOLs based solely on their
                   willingness to communicate and distribute the RICO Marketing
                   Defendants’ messages about the use of opioids for chronic pain;

             f.    Providing substantial opportunities for KOLs to participate in research
                   studies on topics the RICO Marketing Defendants suggested or chose, with
                   the predictable effect of ensuring that many favorable studies appeared in
                   the academic literature;

             g.    Paying KOLs to serve as consultants or on the RICO Marketing
                   Defendants’ advisory boards, on the advisory boards and in leadership
                   positions on Front Groups, and to give talks or present CMEs, typically over
                   meals or at conferences;

             h.    Selecting, cultivating, promoting, creating and paying Front Groups based
                   solely on their willingness to communicate and distribute the RICO
                   Marketing Defendants’ messages about the use of opioids for chronic pain;

             i.    Providing substantial opportunities for Front Groups to participate in and/or
                   publish research studies on topics the RICO Marketing Defendants
                   suggested or chose (and paid for), with the predictable effect of ensuring
                   that many favorable studies appeared in the academic literature;

             j.    Paying significant amounts of money to the leaders and individuals
                   associated with Front Groups;

             k.    Donating to Front Groups to support talks or CMEs, that were typically
                   presented over meals or at conferences;




                                            214
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 222 of 289 PageID 222



                l.     Disseminating many of their false, misleading, imbalanced, and
                       unsupported statements through unbranded materials that appeared to be
                       independent publications from Front Groups;

                m.     Sponsoring CME programs put on by Front Groups that focused exclusively
                       on the use of opioids for chronic pain;

                n.     Developing and disseminating pro-opioid treatment guidelines with the help
                       of the KOLs as authors and promoters, and the help of the Front Groups as
                       publishers, and supporters;

                o.     Encouraging Front Groups to disseminate their pro-opioid messages to
                       groups targeted by the RICO Marketing Defendants, such as veterans and
                       the elderly, and then funding that distribution;

                p.     Concealing their relationship to and control of Front Groups and KOLs
                       from the Plaintiff and the public at large; and

                q.     Intending that Front Groups and KOLs would distribute through the U.S.
                       mail and interstate wire facilities, promotional and other materials that
                       claimed opioids could be safely used for chronic pain.

        710.    The Opioid Marketing Enterprise had a hierarchical decision-making structure that

 was headed by the RICO Marketing Defendants and corroborated by the KOLs and Front Groups.

 The RICO Marketing Defendants controlled representations made about their opioids and their

 drugs, doled out funds to PBMs and payments to KOLs, and ensured that representations made by

 KOLs, Front Groups, and the RICO Marketing Defendants’ sales detailers were consistent with

 the Marketing Defendants’ messaging throughout the United States and Florida. The Front Groups

 and KOLS in the Opioid Marketing Enterprise were dependent on the Marketing Defendants for

 their financial structure and for career development and promotion opportunities.

        711.    The Front Groups also conducted and participated in the conduct of the Opioid

 Marketing Enterprise, directly or indirectly, in the following ways:

                a.     The Front Groups promised to, and did, make representations regarding
                       opioids and the RICO Marketing Defendants’ drugs that were consistent
                       with the RICO Marketing Defendants’ messages;




                                                215
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 223 of 289 PageID 223



                   b.     The Front Groups distributed, through the U.S. Mail and interstate wire
                          facilities, promotional and other materials which claimed that opioids could
                          be safely used for chronic pain without addiction, and misrepresented the
                          benefits of using opioids for chronic pain outweighed the risks;

                   c.     The Front Groups echoed and amplified messages favorable to increased
                          opioid use—and ultimately, the financial interests of the RICO Marketing
                          Defendants;

                   d.     The Front Groups issued guidelines and policies minimizing the risk of
                          opioid addiction and promoting opioids for chronic pain;

                   e.     The Front Groups strongly criticized the 2016 guidelines from the Center
                          for Disease Control and Prevention (CDC) that recommended limits on
                          opioid prescriptions for chronic pain; and

                   f.     The Front Groups concealed their connections to the KOLs and the RICO
                          Marketing Defendants.

            712.   The RICO Marketing Defendants’ Front Groups, “with their large numbers and

 credibility with policymakers and the public—have ‘extensive influence in specific disease

 areas.’” The larger Front Groups “likely have a substantial effect on policies relevant to their

 industry sponsors.”242 “By aligning medical culture with industry goals in this way, many of the

 groups described in this report may have played a significant role in creating the necessary

 conditions for the U.S. opioid epidemic.”243

            713.   The KOLs also participated in the conduct of the affairs of the Opioid Marketing

 Enterprise, directly or indirectly, in the following ways:

                   a.     The KOLs promised to, and did, make representations regarding opioids
                          and the RICO Marketing Defendants’ drugs that were consistent with the
                          Marketing Defendants’ messages themselves;

                   b.     The KOLs distributed, through the U.S. Mail and interstate wire facilities,
                          promotional and other materials which claimed that opioids could be safely




 242
       Id. at 1.
 243
       Id. 2.


                                                  216
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 224 of 289 PageID 224



                         used for chronic pain without addiction, and misrepresented the benefits of
                         using opioids for chronic pain outweighed the risks;

                c.       The KOLs echoed and amplified messages favorable to increased opioid
                         use—and ultimately, the financial interests of the RICO Marketing
                         Defendants;

                d.       The KOLs issued guidelines and policies minimizing the risk of opioid
                         addiction and promoting opioids for chronic pain;

                e.       The KOLs strongly criticized the 2016 guidelines from the Center for
                         Disease Control and Prevention (CDC) that recommended limits on opioid
                         prescriptions for chronic pain; and

                f.       The KOLs concealed their connections to the Front Groups and the RICO
                         Marketing Defendants, and their sponsorship by the RICO Marketing
                         Defendants.

        714.    The scheme devised and implemented by the RICO Marketing Defendants and

 members of the Opioid Marketing Enterprise, amounted to a common course of conduct intended

 to increase the RICO Marketing Defendants’ sales from prescription opioids by encouraging the

 prescribing and use of opioids for long-term chronic pain. The scheme was a continuing course

 of conduct, and many aspects of it continue through to the present.

                3.       The RICO Marketing Defendants Controlled and Paid Front Groups
                         and KOLs to Promote and Maximize Opioid Use

        715.    As discussed in detail above, the RICO Marketing Defendants funded and

 controlled the various Front Groups, including APF, AAPM/APS, FSMB, Alliance for Patient

 Access, USPF, and AGS. The Front Groups, which appeared to be independent, but were not,

 transmitted the RICO Marketing Defendants’ misrepresentations. The RICO Marketing

 Defendants and the Front Groups thus worked together to promote the goals of the Opioid

 Marketing Enterprise.




                                                 217
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 225 of 289 PageID 225



        716.    The RICO Marketing Defendants worked together with each other through the

 Front Groups that they jointly funded and through which they collaborated on the joint promotional

 materials described above.

        717.    Similarly, as discussed in detail above, the RICO Marketing Defendants paid

 KOLs, including Drs. Portenoy, Fine, Fishman, and Webster, to spread their misrepresentations

 and promote their products. The RICO Marketing Defendants and the KOLs thus worked together

 to promote the goals of the Opioid Marketing Enterprise.

                4.      Pattern of Racketeering Activity

        718.    The RICO Marketing Defendants’ scheme described herein was perpetrated, in

 part, through multiple acts of mail fraud and wire fraud, constituting a pattern of racketeering

 activity as described herein.

        719.    The pattern of racketeering activity used by the RICO Marketing Defendants and

 the Opioid Marketing Enterprise likely involved thousands of separate instances of the use of the

 U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid Marketing Enterprise,

 including essentially uniform misrepresentations, concealments and material omissions regarding

 the beneficial uses and non-addictive qualities for the long-term treatment of chronic, non-acute

 and non-cancer pain, with the goal of profiting from increased sales of the RICO Marketing

 Defendants’ drugs induced by consumers, prescribers, regulators and Plaintiff’s reliance on the

 RICO Marketing Defendants’ misrepresentations.

        720.    Each of these fraudulent mailings and interstate wire transmissions constitutes

 racketeering activity and collectively, these violations constitute a pattern of racketeering activity,

 through which the RICO Marketing Defendants, the Front Groups and the KOLs defrauded and

 intended to defraud Florida consumers, the State, and other intended victims.




                                                  218
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 226 of 289 PageID 226



        721.    The RICO Marketing Defendants devised and knowingly carried out an illegal

 scheme and artifice to defraud by means of materially false or fraudulent pretenses,

 representations, promises, or omissions of material facts regarding the safe, non-addictive and

 effective use of opioids for long-term chronic, non-acute and non-cancer pain. The RICO

 Marketing Defendants and members of the Opioid Marketing Enterprise knew that these

 representations violated the FDA approved use these drugs and were not supported by actual

 evidence. The RICO Marketing Defendants intended that that their common purpose and scheme

 to defraud would, and did, use the U.S. Mail and interstate wire facilities, intentionally and

 knowingly with the specific intent to advance, and for the purpose of executing, their illegal

 scheme.

        722.    By intentionally concealing the material risks and affirmatively misrepresenting the

 benefits of using opioids for chronic pain, to, prescribers, regulators and the public, including

 Plaintiff, the RICO Marketing Defendants, the Front Groups and the KOLs engaged in a fraudulent

 and unlawful course of conduct constituting a pattern of racketeering activity.

        723.    The RICO Marketing Defendants’ use of the U.S. Mail and interstate wire facilities

 to perpetrate the opioids marketing scheme involved thousands of communications, publications,

 representations, statements, electronic transmissions, payments, including, inter alia:

                a.      Marketing materials about opioids, and their risks and benefits, which the
                        RICO Marketing Defendants sent to health care providers, transmitted
                        through the internet and television, published, and transmitted to Front
                        Groups and KOLs located across the country and the State;

                b.      Written representations and telephone calls between the RICO Marketing
                        Defendants and Front Groups regarding the misrepresentations, marketing
                        statements and claims about opioids, including the non-addictive, safe use
                        of chronic long-term pain generally;

                c.      Written representations and telephone calls between the RICO Marketing
                        Defendants and KOLs regarding the misrepresentations, marketing



                                                219
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 227 of 289 PageID 227



                        statements and claims about opioids, including the non-addictive, safe use
                        of chronic long-term pain generally

                d.      E-mails, telephone and written communications between the RICO
                        Marketing Defendants and the Front Groups agreeing to or implementing
                        the opioids marketing scheme;

                e.      E-mails, telephone and written communications between the RICO
                        Marketing Defendants and the KOLs agreeing to or implementing the
                        opioids marketing scheme;

                f.      Communications between the RICO Marketing Defendants, Front Groups
                        and the media regarding publication, drafting of treatment guidelines, and
                        the dissemination of the same as part of the Opioid Marketing Enterprise;

                g.      Communications between the RICO Marketing Defendants, KOLs and the
                        media regarding publication, drafting of treatment guidelines, and the
                        dissemination of the same as part of the Opioid Marketing Enterprise;

                h.      Written and oral communications directed to State agencies, federal and
                        state courts, and private insurers throughout the State that fraudulently
                        misrepresented the risks and benefits of using opioids for chronic pain; and

                i.      Receipts of increased profits sent through the U.S. Mail and interstate wire
                        facilities — the wrongful proceeds of the scheme.

        724.    In addition to the above-referenced predicate acts, it was intended by and

 foreseeable to the RICO Marketing Defendants that the Front Groups and the KOLs would

 distribute publications through the U.S. Mail and by interstate wire facilities, and, in those

 publications, claim that the benefits of using opioids for chronic pain outweighed the risks of doing

 so.

        725.    To achieve the common goal and purpose of the Opioid Marketing Enterprise, the

 RICO Marketing Defendants and members of the Opioid Marketing Enterprise hid from the

 consumers, prescribers, regulators and the Plaintiff: (a) the fraudulent nature of the RICO

 Marketing Defendants’ marketing scheme; (b) the fraudulent nature of statements made by the

 RICO Marketing Defendants and by their KOLs, Front Groups and other third parties regarding




                                                 220
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 228 of 289 PageID 228



 the safety and efficacy of prescription opioids; and (c) the true nature of the relationship between

 the members of the Opioid Marketing Enterprise.

        726.    The RICO Marketing Defendants, and each member of the Opioid Marketing

 Enterprise agreed, with knowledge and intent, to the overall objective of the RICO Marketing

 Defendants’ fraudulent scheme and participated in the common course of conduct to commit acts

 of fraud and indecency in marketing prescription opioids.

        727.    Indeed, for the RICO Marketing Defendants’ fraudulent scheme to work, each of

 them had to agree to implement similar tactics regarding fraudulent marketing of prescription

 opioids. This conclusion is supported by the fact that the RICO Marketing Defendants each

 financed, supported, and worked through the same KOLs and Front Groups, and often collaborated

 on and mutually supported the same publications, CMEs, presentations, and prescription

 guidelines

        728.    The RICO Marketing Defendants’ predicate acts all had the purpose of creating the

 opioid epidemic that substantially injured Plaintiff’s business and property, while simultaneously

 generating billion-dollar revenue and profits for the RICO Marketing Defendants. The predicate

 acts were committed or caused to be committed by the RICO Marketing Defendants through their

 participation in the Opioid Marketing Enterprise and in furtherance of its fraudulent scheme.

        B.      The Opioid Supply Chain Enterprise

        729.    Faced with the reality that they will now be held accountable for the consequences

 of the opioid epidemic they created, members of the industry resort to “a categorical denial of any

 criminal behavior or intent.”244 Defendants’ actions went far beyond what could be considered


 244
    McKesson Responds to Recent 60 Minutes Story About January 2017 Settlement With the
 Federal Government, McKessson, http://www.mckesson.com/about-mckesson/fighting-opioid-
 abuse/60-minutes-response (last visited, Apr. 21, 2018).


                                                 221
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 229 of 289 PageID 229



 ordinary business conduct. For more than a decade, certain Defendants, the “RICO Supply Chain

 Defendants” (the RICO Marketing Defendants and McKesson, Cardinal, and AmerisourceBergen)

 worked together in an illicit enterprise, engaging in conduct that was not only illegal, but in certain

 respects anti-competitive, with the common purpose and achievement of vastly increasing their

 respective profits and revenues by exponentially expanding a market that the law intended to

 restrict.

           730.   Knowing that dangerous drugs have a limited place in our society, and that their

 dissemination and use must be vigilantly monitored and policed to prevent the harm that drug

 abuse and addiction causes to individuals, society and governments, Congress enacted the

 Controlled Substances Act (“CSA”). Specifically, through the CSA, which created a closed

 system of distribution for controlled substances, Congress established an enterprise for good. The

 CSA imposes a reporting duty that cuts across company lines. Regulations adopted under the CSA

 require that companies who are entrusted with permission to operate with within this system cannot

 simply operate as competitive in an “anything goes” profit-maximizing market. Instead, the statute

 tasks them to watch over each other with a careful eye for suspicious activity. Driven by greed,

 Defendants betrayed that trust and subverted the constraints of the CSA’s closed system to conduct

 their own enterprise for evil.

           731.   As “registrants” under the CSA, the RICO Supply Chain Defendants are duty bound

 to identify and report “orders of unusual size, orders deviating substantially from a normal pattern,

 and orders of unusual frequency.”245 Critically, these Defendants’ responsibilities do not end with

 the products they manufacture or distribute — there is no such limitation in the law because their

 duties cut across company lines. Thus, when these Defendants obtain information about the sales


 245
       21 C.F.R. 1301.74(b).


                                                  222
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 230 of 289 PageID 230



 and distribution of other companies’ opioid products, as they did through data mining companies

 like IMS Health, they were legally obligated to report that activity to the DEA.

         732.    If morality and the law did not suffice, competition dictates that the RICO Supply

 Chain Defendants would turn in their rivals when they had reason to suspect suspicious activity.

 Indeed, if a manufacturer or distributor could gain market share by reporting a competitor’s illegal

 behavior (causing it to lose a license to operate, or otherwise inhibit its activity), ordinary business

 conduct dictates that it would do so. Under the CSA this whistleblower or watchdog function is

 not only a protected choice, but a statutory mandate. Unfortunately, however, that is not what

 happened. Instead, knowing that investigations into potential diversion would only lead to

 shrinking markets. The RICO Supply Chain Defendants elected to operate in a conspiracy of

 silence, in violation of both the CSA and RICO.

         733.    The RICO Supply Chain Defendants’ scheme required the participation of all. If

 any one member broke rank, its compliance activities would highlight deficiencies of the others,

 and the artificially high quotas they maintained through their scheme would crumble. But, if all

 the members of the enterprise conducted themselves in the same manner, it would be difficult for

 the DEA to go after any one of them. Accordingly, through the connections they made as a result

 of their participation in the Healthcare Distribution Alliance (“HDA”), the RICO Supply Chain

 Defendants chose to flout the closed system designed to protect the citizens. Publicly, in 2008,

 they announced their formulation of “Industry Compliance Guidelines: Reporting Suspicious

 Orders and Prevention Diversion of Controlled Substances.” But, privately, the RICO Supply

 Chain Defendants refused to act and through their lobbying efforts, they collectively sought to

 undermine the impact of the CSA. Indeed, despite the issuance of these Industry Compliance

 Guidelines, which recognize these Defendants’ duties under the law, as illustrated by the




                                                   223
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 231 of 289 PageID 231



 subsequent industry-wide enforcement actions and consent orders issued after that time, none of

 them complied. John Gray, President and CEO of the HDA said to Congress in 2014, it is “difficult

 to find the right balance between proactive anti-diversion efforts while not inadvertently limiting

 access to appropriately prescribed and dispensed medications.” Yet, the RICO Supply Chain

 Defendants apparently all found the same profit-maximizing balance -- intentionally remaining

 silent to ensure the largest possible financial return.

         734.    As described above, at all relevant times, the RICO Supply Chain Defendants

 operated as an association-in-fact enterprise formed for the purpose of unlawfully increasing sales,

 revenues and profits by fraudulently increasing the quotas set by the DEA that would allow them

 to collectively benefit from a greater pool of prescription opioids to manufacture and distribute.

 In support of this common purpose and fraudulent scheme, the RICO Supply Chain Defendants

 jointly agreed to disregard their statutory duties to identify, investigate, halt and report suspicious

 orders of opioids and diversion of their drugs into the illicit market so that those orders would not

 result in a decrease, or prevent an increase in, the necessary quotas.

         735.    At all relevant times, as described above, the RICO Supply Chain Defendants

 exerted control over, conducted and/or participated in the Opioid Supply Chain Enterprise by

 fraudulently claiming that they were complying with their duties under the CSA to identify,

 investigate and report suspicious orders of opioids in order to prevent diversion of those highly

 addictive substances into the illicit market, and to halt such unlawful sales, so as to increase

 production quotas and generate unlawful profits, as follows:

         736.    The RICO Supply Chain Defendants disseminated false and misleading statements

 to state and federal regulators claiming that:

                 a.      the quotas for prescription opioids should be increased;




                                                   224
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 232 of 289 PageID 232



                b.     they were complying with their obligations to maintain effective controls
                       against diversion of their prescription opioids;

                c.     they were complying with their obligations to design and operate a system
                       to disclose to the registrant suspicious orders of their prescription opioids;

                d.     they were complying with their obligation to notify the DEA of any
                       suspicious orders or diversion of their prescription opioids; and

                e.     they did not have the capability to identify suspicious orders of controlled
                       substances.

        737.    The Defendants applied political and other pressure on the DOJ and DEA to halt

 prosecutions for failure to report suspicious orders of prescription opioids and lobbied Congress

 to strip the DEA of its ability to immediately suspend registrations pending investigation by

 passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”246

        738.    The CSA and the Code of Federal Regulations, require the RICO Supply Chain

 Defendants to make reports to the DEA of any suspicious orders identified through the design and

 operation of their system to disclose suspicious orders. The failure to make reports as required by

 the CSA and Code of Federal Regulations amounts to a criminal violation of the statute.

        739.    The RICO Supply Chain Defendants knowingly and intentionally furnished false

 or fraudulent information in their reports to the DEA about suspicious orders, and/or omitted



 246
    See HDMA is Now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June
 13, 2016, updated July 6, 2016), http://pharmaceuticalcommerce.com/business-and-
 finance/hdma-now-healthcare-distribution-alliance/; Lenny Bernstein & Scott Higham,
 Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out of Control,
 Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
 enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-
 8d13-d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator
 Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6,
 2017, https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-
 enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
 Eyre, DEA Agent: “We Had No Leadership” in WV Amid Flood of Pain Pills, Charleston
 Gazette-Mail (Feb. 18, 2017), http://www.wvgazettemail.com/news/20170218/dea-agent-we-
 had-no-leadership-in-wv-amid-flood-of-pain-pills-.


                                                225
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 233 of 289 PageID 233



 material information from reports, records and other document required to be filed with the DEA

 including the Marketing Defendants’ applications for production quotas. Specifically, the RICO

 Supply Chain Defendants were aware of suspicious orders of prescription opioids and the diversion

 of their prescription opioids into the illicit market and failed to report this information to the DEA

 in their mandatory reports and their applications for production quotas.

        740.    The RICO Supply Chain Defendants used, directed the use of, and/or caused to be

 used, thousands of interstate mail and wire communications in service of their scheme through

 virtually uniform misrepresentations, concealments and material omissions regarding their

 compliance with their mandatory reporting requirements and the actions necessary to carry out

 their unlawful goal of selling prescription opioids without reporting suspicious orders or the

 diversion of opioids into the illicit market.

        741.    In devising and executing the illegal scheme, the RICO Supply Chain Defendants

 devised and knowingly carried out a material scheme and/or artifice to defraud by means of

 materially false or fraudulent pretenses, representations, promises, or omissions of material facts.

        742.    For the purpose of executing the illegal scheme, the RICO Supply Chain

 Defendants committed racketeering acts, which number in the thousands, intentionally and

 knowingly with the specific intent to advance the illegal scheme. These racketeering acts, which

 included repeated acts of mail fraud and wire fraud, constituted a pattern of racketeering.

        743.    The RICO Supply Chain Defendants’ use of the mail and wires includes, but is not

 limited to, the transmission, delivery, or shipment of the following by the Marketing Defendants,

 the Distributor Defendants, or third parties that were foreseeably caused to be sent as a result of

 the RICO Supply Chain Defendants’ illegal scheme, including but not limited to:

                a.      The prescription opioids themselves;




                                                  226
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 234 of 289 PageID 234



                b.      Documents and communications that supported and/or facilitated the RICO
                        Supply Chain Defendants’ request for higher aggregate production quotas,
                        individual production quotas, and procurement quotas;

                c.      Documents and communications that facilitated the manufacture, purchase
                        and sale of prescription opioids;

                d.      RICO Supply Chain Defendants’ DEA registrations;

                e.      Documents and communications that supported and/or facilitated RICO
                        Supply Chain Defendants’ DEA registrations;

                f.      RICO Supply Chain Defendants’ records and reports that were required to
                        be submitted to the DEA pursuant to 21 U.S.C. § 827;

                g.      Documents and communications related to the RICO Supply Chain
                        Defendants’ mandatory DEA reports pursuant to 21 U.S.C. § 823 and 21
                        C.F.R. § 1301.74;

                h.      Documents intended to facilitate the manufacture and distribution of the
                        RICO Supply Chain Defendants’ prescription opioids, including bills of
                        lading, invoices, shipping records, reports and correspondence;

                i.      Documents for processing and receiving payment for prescription opioids;

                j.      Payments from the Distributors to the Marketing Defendants;

                k.      Rebates and chargebacks from the Marketing Defendants to the Distributors
                        Defendants;

                l.      Payments to the RICO Supply Chain Defendants’ lobbyists through the
                        PCF;

                m.      Payments to the RICO Supply Chain Defendants’ trade organizations, like
                        the HDA, for memberships and/or sponsorships;

                n.      Deposits of proceeds from the RICO Supply Chain Defendants’
                        manufacture and distribution of prescription opioids; and

                o.      Other documents and things, including electronic communications.

        744.    The RICO Supply Chain Defendants (and/or their agents), for the purpose of

 executing the illegal scheme, sent and/or received (or caused to be sent and/or received) by mail

 or by private or interstate carrier, shipments of prescription opioids and related documents by mail

 or by private carrier affecting interstate commerce, including the following:


                                                 227
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 235 of 289 PageID 235



                                                                               Drugs
    Defendant
                         Company Names                                                                CSA
   Group Name                                          Drug Name           Chemical Name
                                                                                                    Schedule
                                                                         Oxycodone
                                                     OxyContin           hydrochloride            Schedule II
                                                                         extended release
                                                                         Morphine      sulfate    Schedule II
                                                     MS Contin
                                                                         extended release
                  (1) Purdue Pharma, LP,                                 Hydromorphone            Schedule II
                                                     Dilaudid
                  (2) Purdue Pharma, Inc.,                               hydrochloride
     Purdue
                  (3) The Purdue Frederick                               Hydromorphone            Schedule II
                                                     Dilaudid-HP
                  Company                                                hydrochloride
                                                     Butrans             Buprenorphine            Schedule II

                                                     Hysinga ER          Hydrocodone bitrate      Schedule II
                                                                         Oxycodone                Schedule II
                                                     Targiniq ER
                                                                         hydrochloride
                                                     Actiq               Fentanyl citrate         Schedule II
                  (1) Cephalon, Inc.,
                  (2)     Teva      Pharmaceutical
     Cephalon     Industries, Ltd.,                  Fentora             Fentanyl citrate         Schedule II
                  (3) Teva Pharmaceuticals USA,
                  Inc.                               Generic             Oxycodone                Schedule II
                                                     oxycontin           hydrochloride
                                                                         Oxymorphone
                                                     Opana ER            hydrochloride            Schedule II
                                                                         extended release
                                                                         Oxymorphone              Schedule II
                                                     Opana
                                                                         hydrochloride
                                                                         Oxymorphone
                  (1) Endo Health Solutions, Inc.,   Percodan            hydrochloride and        Schedule II
                  (2) Endo Pharmaceuticals Inc.,                         aspirin
      Endo        (3) Qualitest Pharmaceuticals,                         Oxymorphone
                  Inc. (wholly-owned subsidiary      Percocet            hydrochloride and        Schedule II
                  of Endo)                                               acetaminophen
                                                     Generic oxycodone                            Schedule II

                                                     Generic oxymorphone                          Schedule II

                                                     Generic hydromorphone                        Schedule II

                                                     Generic hydrocodone                          Schedule II

                  (1) Mallinckrodt PLC,                                  Hydromorphone            Schedule II
                                                     Exalgo
                  (2) Mallinckrodt LLC (wholly-                          hydrochloride
   Mallinckrodt
                  owned        subsidiary    of                          Oxycodone
                  Mallinckrodt PLC)                  Roxicodone                                   Schedule II
                                                                         hydrochloride
                  (1) Allergan Plc,                                                               Schedule II
                  (2) Actavis LLC,                   Kadian              Morphine Sulfate
     Actavis      (3) Actavis Pharma, Inc.,
                  (4) Actavis Plc,                   Norco (Generic      Hydrocodone        and   Schedule II
                  (5) Actavis, Inc.,                 of Kadian)          acetaminophen




                                                     228
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 236 of 289 PageID 236



                                                                          Drugs
    Defendant
                          Company Names                                                       CSA
   Group Name                                        Drug Name         Chemical Name
                                                                                            Schedule
                    (6) Watson Pharmaceuticals,    Generic
                    Inc.,                                            Fentanyl             Schedule II
                                                   Duragesic
                    Watson Pharma, Inc.
                                                                     Oxymorphone          Schedule II
                                                   Generic Opana
                                                                     hydrochloride
         745.    Each of the RICO Supply Chain Defendants identified manufactured, shipped, paid

 for and received payment for the drugs identified above, throughout the United States.

         746.    The RICO Supply Chain Defendants used the internet and other electronic facilities

 to carry out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO

 Supply Chain Defendants made misrepresentations about their compliance with Federal and State

 laws requiring them to identify, investigate and report suspicious orders of prescription opioids

 and/or diversion of the same into the illicit market.

         747.    At the same time, the RICO Supply Chain Defendants misrepresented the superior

 safety features of their order monitoring programs, ability to detect suspicious orders, commitment

 to preventing diversion of prescription opioids, and their compliance with all state and federal

 regulations regarding the identification and reporting of suspicious orders of prescription opioids.

         748.    The RICO Supply Chain Defendants utilized the internet and other electronic

 resources to exchange communications, to exchange information regarding prescription opioid

 sales, and to transmit payments and rebates/chargebacks.

         749.    The RICO Supply Chain Defendants also communicated by U.S. Mail, by interstate

 facsimile, and by interstate electronic mail with each other and with various other affiliates,

 regional offices, regulators, distributors, and other third-party entities in furtherance of the scheme.

         750.    The mail and wire transmissions described herein were made in furtherance of the

 RICO Supply Chain Defendants’ scheme and common course of conduct to deceive regulators,

 the public and the Plaintiff that these Defendants were complying with their state and federal


                                                   229
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 237 of 289 PageID 237



 obligations to identify and report suspicious orders of prescription opioids all while Defendants

 were knowingly allowing millions of doses of prescription opioids to divert into the illicit drug

 market. The RICO Supply Chain Defendants’ scheme and common course of conduct was to

 increase or maintain high production quotas for their prescription opioids from which they could

 profit.

           751.   Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

 facilities have been deliberately hidden by Defendants and cannot be alleged without access to

 Defendants’ books and records. However, Plaintiff has described the types of, and in some

 instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They include

 thousands of communications to perpetuate and maintain the scheme, including the things and

 documents described in the preceding paragraphs.

           752.   The RICO Supply Chain Defendants did not undertake the practices described

 herein in isolation, but as part of a common scheme.            Various other persons, firms, and

 corporations, including third-party entities and individuals not named as defendants in this

 Complaint, may have contributed to and/or participated in the scheme with these Defendants in

 these offenses and have performed acts in furtherance of the scheme to increase revenues, increase

 market share, and /or minimize the losses for the RICO Supply Chain Defendants.

           753.   The predicate acts constituted a variety of unlawful activities, each conducted with

 the common purpose of obtaining significant monies and revenues from the sale of their highly

 addictive and dangerous drugs. The predicate acts also had the same or similar results, participants,

 victims, and methods of commission. The predicate acts were related and not isolated events.

           754.   The predicate acts all had the purpose of creating the opioid epidemic that

 substantially injured Plaintiff’s business and property, while simultaneously generating billion-




                                                  230
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 238 of 289 PageID 238



 dollar revenue and profits for the RICO Supply Chain Defendants. The predicate acts were

 committed or caused to be committed by the Defendants through their participation in the Opioid

 Supply Chain Enterprise and in furtherance of its fraudulent scheme.

        755.    As described above, the RICO Supply Chain Defendants were repeatedly warned,

 fined, and found to be in violation of applicable law and regulations, and yet they persisted. The

 sheer volume of enforcement actions against the RICO Supply Chain Defendants supports this

 conclusion that the RICO Supply Chain Defendants operated through a pattern and practice of

 willfully and intentionally omitting information from their mandatory reports to the DEA as

 required by 21 C.F.R. § 1301.74.247

        756.    Each instance of racketeering activity alleged herein was related, had similar

 purposes, involved the same or similar participants and methods of commission, and had similar

 results affecting similar victims, Plaintiff’s Community and the Plaintiff. The RICO Supply Chain

 Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

 profits from unlawful sales of opioids, without regard to the effect such behavior would have on

 this jurisdiction, its citizens or the Plaintiff. The RICO Supply Chain Defendants were aware that

 Plaintiff and the citizens of this jurisdiction rely on these Defendants to maintain a closed system

 of manufacturing and distribution to protect against the non-medical diversion and use of their

 dangerously addictive opioid drugs.

        757.    By intentionally refusing to report and halt suspicious orders of their prescription

 opioids, the RICO Supply Chain Defendants engaged in a fraudulent scheme and unlawful course

 of conduct constituting a pattern of racketeering activity.


 247
    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The
 Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
 https://oig.justice.gov/reports/2014/e1403.pdf.


                                                 231
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 239 of 289 PageID 239



                                     CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF

         Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing Enterprise
    (Against Defendants Purdue, Cephalon, Janssen, Endo, and Mallinckrodt (the “RICO
                                Marketing Defendants”))

        758.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

 set forth in paragraphs 1 through 757 of this Complaint as if fully set forth herein, and further

 alleges as follows:

        759.    The RICO Marketing Defendants – through the use of “Front Groups” that

 appeared to be independent of the RICO Marketing Defendants; through the dissemination of

 publications that supported the RICO Marketing Defendants’ scheme; through continuing medical

 education (“CME”) programs controlled and/or funded by the RICO Marketing Defendants; by

 the hiring and deployment of so-called “key opinion leaders,” (“KOLs”) who were paid by the

 RICO Marketing Defendants to promote their message; and through the “detailing” activities of

 the RICO Marketing Defendants’ sales forces – conducted an association-in-fact enterprise, and/or

 participated in the conduct of an enterprise through a pattern of illegal activities (the predicate

 racketeering acts of mail and wire fraud) to carry-out the common purpose of the Opioid

 Marketing Enterprise, i.e., to unlawfully increase profits and revenues from the continued

 prescription and use of opioids for long-term chronic pain. Through the racketeering activities of

 the Opioid Marketing Enterprise sought to further the common purpose of the enterprise through

 a fraudulent scheme to change prescriber habits and public perception about the safety and efficacy

 of opioid use by convincing them that each of the nine false propositions alleged earlier were true.

 In so doing, each of the RICO Marketing Defendants knowingly conducted and participated in the

 conduct of the Opioid Marketing Activities by engaging in mail and wire fraud in violation of 18

 U.S.C. §§ 1962(c) and (d).


                                                 232
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 240 of 289 PageID 240



         760.   The Opioid Marketing Enterprise alleged above, is an association-in-fact enterprise

 that consists of the RICO Marketing Defendants (Purdue Cephalon, Janssen, Endo, and

 Mallinckrodt); the Front Groups (APF, AAPM, APS, FSMB, USPF, and AGS); and the KOLs

 (Dr. Portenoy, Dr. Webster, Dr. Fine, and Dr. Fishman).

         761.   Each of the RICO Marketing Defendants and the other members of the Opioid

 Marketing Enterprise conducted and participated in the conduct of the Opioid Marketing

 Enterprise by playing a distinct role in furthering the enterprise’s common purpose of increasing

 profits and sales through the knowing and intentional dissemination of false and misleading

 information about the safety and efficacy of long-term opioid use, and the risks and symptoms of

 addiction, in order increase the market for prescription opioids by changing prescriber habits and

 public perceptions and increase the market for opioids.

         762.   Specifically, the RICO Marketing Defendants each worked together to coordinate

 the enterprise’s goals and conceal their role, and the enterprise’s existence, from the public by,

 among other things, (i) funding, editing and distributing publications that supported and advanced

 their false messages; (ii) funding KOLs to further promote their false messages; (iii) funding,

 editing and distributing CME programs to advance their false messages; and (iv) tasking their own

 employees to direct deceptive marketing materials and pitches directly at physicians and, in

 particular, at physicians lacking the expertise of pain care specialists (a practice known as sales

 detailing).

         763.   Each of the Front Groups helped disguise the role of RICO Marketing Defendants

 by purporting to be unbiased, independent patient-advocacy and professional organizations in

 order to disseminate patient education materials, a body of biased and unsupported scientific




                                                233
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 241 of 289 PageID 241



 “literature,” and “treatment guidelines” that promoted the RICO Marketing Defendants false

 messages.

        764.    Each of the KOLs were physicians chosen and paid by each of the RICO Marketing

 Defendants to influence their peers’ medical practice by promoting the Marketing Defendant’s

 false message through, among other things, writing favorable journal articles and delivering

 supportive CMEs as if they were independent medical professionals, thereby further obscuring the

 RICO Marketing Defendants’ role in the enterprise and the enterprise’s existence.

        765.    Further, each of the RICO Marketing Defendants, KOLs and Front Groups that

 made-up the Opioid Marketing Enterprise had systematic links to and personal relationships with

 each other through joint participation in lobbying groups, trade industry organizations, contractual

 relationships and continuing coordination of activities.      The systematic links and personal

 relationships that were formed and developed allowed members of the Opioid Marketing

 Enterprise the opportunity to form the common purpose and agree to conduct and participate in

 the conduct of the Opioid Marketing Enterprise. Specifically, each of the RICO Marketing

 Defendants coordinated their efforts through the same KOLs and Front Groups, based on their

 agreement and understanding that the Front Groups and KOLs were industry friendly and would

 work together with the RICO Marketing Defendants to advance the common purpose of the Opioid

 Marketing Enterprise; each of the individuals and entities who formed the Opioid Marketing

 Enterprise acted to enable the common purpose and fraudulent scheme of the Opioid Marketing

 Enterprise.

        766.    At all relevant times, the Opioid Marketing Enterprise: (a) had an existence separate

 and distinct from each RICO Marketing Defendant and its members; (b) was separate and distinct

 from the pattern of racketeering in which the RICO Marketing Defendants engaged; (c) was an




                                                 234
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 242 of 289 PageID 242



 ongoing and continuing organization consisting of individuals, persons, and legal entities,

 including each of the RICO Marketing Defendants; (d) was characterized by interpersonal

 relationships between and among each member of the Opioid Marketing Enterprise, including

 between the RICO Marketing Defendants and each of the Front Groups and KOLs; (e) had

 sufficient longevity for the enterprise to pursue its purpose and functioned as a continuing unit.

        767.    The persons and entities engaged in the Opioid Marketing Enterprise are

 systematically linked through contractual relationships, financial ties, personal relationships, and

 continuing coordination of activities, as spearheaded by the RICO Marketing Defendants.

        768.    The RICO Marketing Defendants conducted and participated in the conduct of the

 Opioid Marketing Enterprise through a pattern of racketeering activity that employed the use of

 mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud), to

 increase profits and revenue by changing prescriber habits and public perceptions in order to

 increase the prescription and use of prescription opioids, and expand the market for opioids.

        769.    The RICO Marketing Defendants each committed, conspired to commit, and/or

 aided and abetted in the commission of at least two predicate acts of racketeering activity (i.e.

 violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of

 racketeering activity that the RICO Marketing Defendants committed, or aided and abetted in the

 commission of, were related to each other, posed a threat of continued racketeering activity, and

 therefore constitute a “pattern of racketeering activity.” The racketeering activity was made

 possible by the RICO Marketing Defendants’ regular use of the facilities, services, distribution

 channels, and employees of the Opioid Marketing Enterprise, the U.S. Mail and interstate wire

 facilities. The RICO Marketing Defendants participated in the scheme to defraud by using mail,

 telephones and the Internet to transmit mailings and wires in interstate or foreign commerce.




                                                 235
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 243 of 289 PageID 243



        770.    The RICO Marketing Defendants’ predicate acts of racketeering (18 U.S.C.

 § 1961(1)) include, but are not limited to:

                a.      Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1341 by
                        sending or receiving, or by causing to be sent and/or received, materials via
                        U.S. mail or commercial interstate carriers for the purpose of executing the
                        unlawful scheme to design, manufacture, market, and sell the prescription
                        opioids by means of false pretenses, misrepresentations, promises, and
                        omissions.

                b.      Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1343 by
                        transmitting and/or receiving, or by causing to be transmitted and/or
                        received, materials by wire for the purpose of executing the unlawful
                        scheme to design, manufacture, market, and sell the prescription opioids by
                        means of false pretenses, misrepresentations, promises, and omissions.

        771.    Indeed, as summarized herein, the RICO Marketing Defendants used the mail and

 wires to send or receive thousands of communications, publications, representations, statements,

 electronic transmissions and payments to carry-out the Opioid Marketing Enterprise’s fraudulent

 scheme.

        772.    Because the RICO Marketing Defendants disguised their participation in the

 enterprise, and worked to keep even the enterprise’s existence secret so as to give the false

 appearance that their false messages reflected the views of independent third parties, many of the

 precise dates of the Opioid Marketing Enterprise’s uses of the U.S. Mail and interstate wire

 facilities (and corresponding predicate acts of mail and wire fraud) have been hidden and cannot

 be alleged without access to the books and records maintained by the RICO Marketing Defendants,

 Front Groups, and KOLs. Indeed, an essential part of the successful operation of the Opioid

 Marketing Enterprise alleged herein depended upon secrecy. However, Plaintiff has described the

 occasions on which the RICO Marketing Defendants, Front Groups, and KOLs disseminated

 misrepresentations and false statements to Florida consumers, prescribers, regulators and Plaintiff,

 and how those acts were in furtherance of the scheme.



                                                 236
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 244 of 289 PageID 244



        773.    Each instance of racketeering activity alleged herein was related, had similar

 purposes, involved the same or similar participants and methods of commission, and had similar

 results affecting similar victims, including Florida consumers, prescribers, regulators and Plaintiff.

 The RICO Marketing Defendants, Front Groups and KOLs calculated and intentionally crafted the

 scheme and common purpose of the Opioid Marketing Enterprise to ensure their own profits

 remained high. In designing and implementing the scheme, the RICO Marketing Defendants

 understood and intended that those in the distribution chain rely on the integrity of the

 pharmaceutical companies and ostensibly neutral third parties to provide objective and scientific

 evidence regarding the RICO Marketing Defendants’ products.

        774.    The RICO Marketing Defendants’ pattern of racketeering activity alleged herein

 and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise, the

 RICO Marketing Defendants are distinct from the Opioid Marketing Enterprise.

        775.    The pattern of racketeering activity alleged herein is continuing as of the date of

 this complaint, and, upon information and belief, will continue into the future unless enjoined by

 this Court.

        776.    The racketeering activities conducted by the RICO Marketing Defendants, Front

 Groups and KOLs amounted to a common course of conduct, with a similar pattern and purpose,

 intended to deceive Florida consumers, prescribers, regulators and the Plaintiff. Each separate use

 of the U.S. Mail and/or interstate wire facilities employed by Defendants was related, had similar

 intended purposes, involved similar participants and methods of execution, and had the same

 results affecting the same victims, including Florida consumers, prescribers, regulators and the

 Plaintiff. The RICO Marketing Defendants have engaged in the pattern of racketeering activity

 for the purpose of conducting the ongoing business affairs of the Opioid Marketing Enterprise.




                                                  237
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 245 of 289 PageID 245



             777.   Each of the RICO Marketing Defendants aided and abetted others in the violations

 of the above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and

 1343 offenses.

             778.   As described herein, the RICO Marketing Defendants engaged in a pattern of

 related and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

 activities, each conducted with the common purpose of obtaining significant money and revenue

 from the marketing and sale of their highly addictive and dangerous drugs. The predicate acts also

 had the same or similar results, participants, victims, and methods of commission. The predicate

 acts were related and not isolated events.

             779.   The pattern of racketeering activity alleged herein is continuing as of the date of

 this Complaint and, upon information and belief, will continue into the future unless enjoined by

 this Court. The last racketeering incident occurred within five years of the commission of a prior

 incident of racketeering.

             780.   The RICO Marketing Defendants’ violations of law and their pattern of

 racketeering activity directly and proximately caused Plaintiff injury in its business and property.

 The RICO Marketing Defendants’ pattern of racketeering activity logically, substantially and

 foreseeably caused an opioid epidemic.           Plaintiff’s injuries, as described below, were not

 unexpected, unforeseen or independent.248 Rather, as Plaintiff alleges, the RICO Marketing

 Defendants knew that the opioids were unsuited to treatment of long-term chronic, non-acute, and

 non-cancer pain, or for any other use not approved by the FDA, and knew that opioids were highly

 addictive and subject to abuse.249 Nevertheless, the RICO Marketing Defendants engaged in a



 248
       Travelers Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026 (2017).
 249
       Id.


                                                    238
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 246 of 289 PageID 246



 scheme of deception that utilized the mail and wires in order to carry-out the Opioid Marketing

 Enterprises’ fraudulent scheme, thereby increasing sales of their opioid products.

             781.   It was foreseeable and expected that the RICO Marketing Defendants creating and

 then participating in the Opioid Marketing Enterprise through a pattern of racketeering activities

 to carry-out their fraudulent scheme would lead to a nationwide opioid epidemic, including

 increased opioid addiction and overdose.250

             782.   Specifically, the RICO Marketing Defendants’ creation of, and then participation

 in, the Opioid Marketing Enterprise through a pattern of racketeering activities to carry-out their

 fraudulent scheme has injured Plaintiff in the form of substantial losses of money and property

 that logically, directly and foreseeably arise from the opioid-addiction epidemic. Plaintiff’s

 injuries, as alleged throughout this complaint, and expressly incorporated herein by reference,

 include:

                    a.     Losses caused by the decrease in funding available for Plaintiff’s public
                           services for which funding was lost because it was diverted to other public
                           services designed to address the opioid epidemic;

                    b.     Costs for providing healthcare and medical care, additional therapeutic, and
                           prescription drug purchases, and other treatments for patients suffering from
                           opioid-related addiction or disease, including overdoses and deaths;

                    c.     Costs of training emergency and/or first responders in the proper treatment
                           of drug overdoses;

                    d.     Costs associated with providing police officers, firefighters, and emergency
                           and/or first responders with naloxone – an opioid antagonist used to block
                           the deadly effects of opioids in the context of overdose;

                    e.     Costs associated with emergency responses by police officers, firefighters,
                           and emergency and/or first responders to opioid overdoses;




 250
       Id.


                                                    239
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 247 of 289 PageID 247



                f.     Costs for providing mental-health services, treatment, counseling,
                       rehabilitation services, and social services to victims of the opioid epidemic
                       and their families;

                g.     Costs for providing treatment of infants born with opioid-related medical
                       conditions, or born dependent on opioids due to drug use by mother during
                       pregnancy;

                h.     Costs associated with law enforcement and public safety relating to the
                       opioid epidemic, including but not limited to attempts to stop the flow of
                       opioids into local communities, to arrest and prosecute street-level dealers,
                       to prevent the current opioid epidemic from spreading and worsening, and
                       to deal with the increased levels of crimes that have directly resulted from
                       the increased homeless and drug-addicted population;

                i.     Costs associated with increased burden on Plaintiff’s judicial system,
                       including increased security, increased staff, and the increased cost of
                       adjudicating criminal matters due to the increase in crime directly resulting
                       from opioid addiction;

                j.     Costs associated with extensive clean-up of public parks, spaces and
                       facilities of needles and other debris and detritus of opioid addiction.

                k.     Loss of tax revenue due to the decreased efficiency and size of the working
                       population in Plaintiff’s Community;

                l.     Losses caused by diminished property values in neighborhoods where the
                       opioid epidemic has taken root; and

                m.     Losses caused by diminished property values in the form of decreased
                       business investment and tax revenue.

        783.    Plaintiff’s injuries were directly and thus proximately caused by these Defendants’

 racketeering activities because they were the logical, substantial and foreseeable cause of

 Plaintiff’s injuries. But for the opioid-addiction epidemic the RICO Marketing Defendants created

 through their Opioid Marketing Enterprise, Plaintiff would not have lost money or property.

        784.    Plaintiff is the most directly harmed entity and there is no other Plaintiff better

 suited to seek a remedy for the economic harms at issue here.

        785.    Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

 actual damages; treble damages; equitable and/or injunctive relief in the form of court-supervised



                                                 240
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 248 of 289 PageID 248



 corrective communication, actions and programs; forfeiture as deemed proper by the Court;

 attorney’s fees; all costs and expenses of suit; and pre- and post-judgment interest, including, inter

 alia:

                a.      Actual damages and treble damages, including pre-suit and post-judgment
                        interest;

                b.      An order enjoining any further violations of RICO;

                c.      An order enjoining any further violations of any statutes alleged to have
                        been violated in this Complaint;

                d.      An order enjoining the commission of any tortious conduct, as alleged in
                        this Complaint;

                e.      An order enjoining any future marketing or misrepresentations regarding
                        the health benefits or risks of prescription opioids use, except as specifically
                        approved by the FDA;

                f.      An order enjoining any future marketing of opioids through non-branded
                        marketing including through the Front Groups, KOLs, websites, or in any
                        other manner alleged in this Complaint that deviates from the manner or
                        method in which such marketing has been approved by the FDA;

                g.      An order enjoining any future marketing to vulnerable populations,
                        including but not limited to, persons over the age of fifty-five, anyone under
                        the age of twenty-one, and veterans;

                h.      An order compelling the Defendants to make corrective advertising
                        statements that shall be made in the form, manner and duration as
                        determined by the Court, but not less than print advertisements in national
                        and regional newspapers and medical journals, televised broadcast on major
                        television networks, and displayed on their websites, concerning: (1) the
                        risk of addiction among patients taking opioids for pain; (2) the ability to
                        manage the risk of addiction; (3) pseudoaddiction is really addiction, not a
                        sign of undertreated addiction; (4) withdrawal from opioids is not easily
                        managed; (5) increasing opioid dosing presents significant risks, including
                        addiction and overdose; (6) long term use of opioids has no demonstrated
                        improvement of unction; (8) use of time-released opioids does not prevent
                        addiction; (9) abuse-deterrent formulations do not prevent opioid abuse; and
                        (10) that manufacturers and distributors have duties under the CSA to
                        monitor, identify, investigate, report and halt suspicious orders and
                        diversion but failed to do so;




                                                  241
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 249 of 289 PageID 249



             i.    An order enjoining any future lobbying or legislative efforts regarding the
                   manufacturer, marketing, distribution, diversion, prescription, or use of
                   opioids;

             j.    An order requiring all Defendants to publicly disclose all documents,
                   communications, records, data, information, research or studies concerning
                   the health risks or benefits of opioid use;

             k.    An order prohibiting all Defendants from entering into any new payment or
                   sponsorship agreement with, or related to, any: Front Group, trade
                   association, doctor, speaker, CME, or any other person, entity, or
                   association, regarding the manufacturer, marketing, distribution, diversion,
                   prescription, or use of opioids;

             l.    An order establishing a National Foundation for education, research,
                   publication, scholarship, and dissemination of information regarding the
                   health risks of opioid use and abuse to be financed by the Defendants in an
                   amount to be determined by the Court;

             m.    An order enjoining any diversion of opioids or any failure to monitor,
                   identify, investigate, report and halt suspicious orders or diversion of
                   opioids;

             n.    An order requiring all Defendants to publicly disclose all documents,
                   communications, records, information, or data, regarding any prescriber,
                   facility, pharmacy, clinic, hospital, manufacturer, distributor, person, entity
                   or association regarding suspicious orders for or the diversion of opioids;

             o.    An order divesting each Defendant of any interest in, and the proceeds of
                   any interest in, the Marketing and Supply Chain Enterprises, including any
                   interest in property associated with the Marketing and Supply Chain
                   Enterprises;

             p.    Dissolution and/or reorganization of any trade industry organization, Front
                   Group, or any other entity or association associated with the Marketing and
                   Supply Chain Enterprises identified in this Complaint, as the Court sees fit;

             q.    Dissolution and/or reorganization of any Defendant named in this
                   Complaint as the Court sees fit;

             r.    Suspension and/or revocation of the license, registration, permit, or prior
                   approval granted to any Defendant, entity, association or enterprise named
                   in the Complaint regarding the manufacture or distribution of opioids;

             s.    Forfeiture as deemed appropriate by the Court; and

             t.    Attorney’s fees and all costs and expenses of suit.



                                            242
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 250 of 289 PageID 250



                                 SECOND CLAIM FOR RELIEF

      Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Supply Chain Enterprise
          (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
   McKesson, Cardinal, and AmerisourceBergen (the “RICO Supply Chain Defendants”)

        786.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

 set forth in paragraphs 1 through 757 of this Complaint as if fully set forth herein, and further

 alleges as follows:

        787.    At all relevant times, the RICO Supply Chain Defendants were and are “persons”

 under 18 U.S.C. § 1961(3) because they are entities capable of holding, and do hold, “a legal or

 beneficial interest in property.”

        788.    The RICO Supply Chain Defendants together formed an association-in-fact

 enterprise, the Opioid Supply Chain Enterprise, for the purpose of increasing the quota for and

 profiting from the increased volume of opioid sales in the United States. The Opioid Supply Chain

 Enterprise is an association-in-fact enterprise within the meaning of § 1961. The Opioid Supply

 Chain Enterprise consists of the RICO Supply Chain Defendants.

        789.    The RICO Supply Chain Defendants were of members the Healthcare Distribution

 Alliance (the “HDA”).251 Each of the RICO Supply Chain Defendants is a member, participant,

 and/or sponsor of the HDA, and has been since at least 2006, and utilized the HDA to form the

 interpersonal relationships of the Opioid Supply Chain Enterprise and to assist them in engaging

 in the pattern of racketeering activity that gives rise to the Count.

        790.    At all relevant times, the Opioid Supply Chain Enterprise: (a) had an existence

 separate and distinct from each of the RICO Supply Chain Defendants; (b) was separate and



 251
    History, Health Distribution Alliance, (last accessed on September 15, 2017),
 https://www.healthcaredistribution.org/about/hda-history.


                                                  243
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 251 of 289 PageID 251



 distinct from the pattern of racketeering in which the RICO Supply Chain Defendants engaged;

 (c) was an ongoing and continuing organization consisting of legal entities, including each of the

 RICO Supply Chain Defendants; (d) was characterized by interpersonal relationships among the

 RICO Supply Chain Defendants; (e) had sufficient longevity for the enterprise to pursue its

 purpose; and (f) functioned as a continuing unit. Each member of the Opioid Supply Chain

 Enterprise participated in the conduct of the enterprise, including patterns of racketeering activity,

 and shared in the astounding growth of profits supplied by fraudulently inflating opioid quotas and

 resulting sales.

         791.       The RICO Supply Chain Defendants carried out, or attempted to carry out, a

 scheme to defraud federal and state regulators, and the American public by knowingly conducting

 or participating in the conduct of the Opioid Supply Chain Enterprise through a pattern of

 racketeering activity within the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and

 wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

         792.       The RICO Supply Chain Defendants committed, conspired to commit, and/or aided

 and abetted in the commission of at least two predicate acts of racketeering activity (i.e. violations

 of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity

 that the RICO Supply Chain Defendants committed, or aided and abetted in the commission of,

 were related to each other, posed a threat of continued racketeering activity, and therefore

 constitute a “pattern of racketeering activity.” The racketeering activity was made possible by the

 RICO Supply Chain Defendants’ regular use of the facilities, services, distribution channels, and

 employees of the Opioid Supply Chain Enterprise.            The RICO Supply Chain Defendants

 participated in the scheme to defraud by using mail, telephone and the Internet to transmit mailings

 and wires in interstate or foreign commerce.




                                                  244
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 252 of 289 PageID 252



        793.    The RICO Supply Chain Defendants also conducted and participated in the conduct

 of the affairs of the Opioid Supply Chain Enterprise through a pattern of racketeering activity by

 the felonious manufacture, importation, receiving, concealment, buying, selling, or otherwise

 dealing in a controlled substance or listed chemical (as defined in section 102 of the Controlled

 Substance Act), punishable under any law of the United States.

        794.    The RICO Supply Chain Defendants committed crimes that are punishable as

 felonies under the laws of the United States. Specifically, 21 U.S.C. § 843(a)(4) makes it unlawful

 for any person to knowingly or intentionally furnish false or fraudulent information in, or omit any

 material information from, any application, report, record or other document required to be made,

 kept or filed under this subchapter. A violation of § 843(a)(4) is punishable by up to four years in

 jail, making it a felony. 21 U.S.C. § 843(d)(1).

        795.    Each of the RICO Supply Chain Defendants is a registrant as defined in the CSA.

 Their status as registrants under the CSA requires that they maintain effective controls against

 diversion of controlled substances in schedule I or II, design and operate a system to disclose to

 the registrant suspicious orders of controlled substances and inform the DEA of suspicious orders

 when discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

        796.    The RICO Supply Chain Defendants’ predicate acts of racketeering (18 U.S.C.

 § 1961(1)) include, but are not limited to:

                a.      Mail Fraud: The RICO Supply Chain Defendants violated 18 U.S.C. § 1341
                        by sending or receiving, or by causing to be sent and/or received, materials
                        via U.S. mail or commercial interstate carriers for the purpose of executing
                        the unlawful scheme to design, manufacture, market, and sell the
                        prescription opioids by means of false pretenses, misrepresentations,
                        promises, and omissions.

                b.      Wire Fraud: The RICO Supply Chain Defendants violated 18 U.S.C. § 1343
                        by transmitting and/or receiving, or by causing to be transmitted and/or
                        received, materials by wire for the purpose of executing the unlawful



                                                 245
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 253 of 289 PageID 253



                          scheme to design, manufacture, market, and sell the prescription opioids by
                          means of false pretenses, misrepresentations, promises, and omissions.

                   c.     Controlled Substance Violations: The RICO Supply Chain Defendants
                          violated 21 U.S.C. § 843 by knowingly or intentionally furnishing false or
                          fraudulent information in, and/or omitting material information from,
                          documents filed with the DEA.

         797.      The RICO Supply Chain Defendants conducted their pattern of racketeering

 activity in this jurisdiction and throughout the United States through this enterprise.

         798.      The RICO Supply Chain Defendants aided and abetted others in the violations of

 the above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

 offenses.

         799.      The RICO Supply Chain Defendants hid from the general public and suppressed

 and/or ignored warnings from third parties, whistleblowers and governmental entities about the

 reality of the suspicious orders that the RICO Supply Chain Defendants were filling on a daily

 basis – leading to the diversion of hundreds of millions of doses of prescriptions opioids into the

 illicit market.

         800.      The RICO Supply Chain Defendants, with knowledge and intent, agreed to the

 overall objective of their fraudulent scheme and participated in the common course of conduct to

 commit acts of fraud and indecency in manufacturing and distributing prescription opioids.

         801.      Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants had

 to agree to implement similar tactics regarding manufacturing and distribution of prescription

 opioids and refusing to report suspicious orders.

         802.      As described herein, the RICO Supply Chain Defendants engaged in a pattern of

 related and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

 activities, each conducted with the common purpose of obtaining significant monies and revenues

 from the sale of their highly addictive and dangerous drugs. The predicate acts also had the same


                                                  246
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 254 of 289 PageID 254



 or similar results, participants, victims, and methods of commission. The predicate acts were

 related and not isolated events.

        803.    The predicate acts all had the purpose of creating the opioid epidemic that

 substantially injured Plaintiff’s business and property, while simultaneously generating billion-

 dollar revenue and profits for the RICO Supply Chain Defendants. The predicate acts were

 committed or caused to be committed by the RICO Supply Chain Defendants through their

 participation in the Opioid Supply Chain Enterprise and in furtherance of its fraudulent scheme.

        804.    The pattern of racketeering activity alleged herein and the Opioid Supply Chain

 Enterprise are separate and distinct from each other.        Likewise, the RICO Supply Chain

 Defendants are distinct from the enterprise.

        805.    The pattern of racketeering activity alleged herein is continuing as of the date of

 this Complaint and, upon information and belief, will continue into the future unless enjoined by

 this Court.

        806.    Many of the precise dates of the RICO Supply Chain Defendants’ criminal actions

 at issue here have been hidden by Defendants and cannot be alleged without access to Defendants’

 books and records. Indeed, an essential part of the successful operation of the Opioid Supply

 Chain Enterprise alleged herein depended upon secrecy.

        807.    By intentionally refusing to report and halt suspicious orders of their prescription

 opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

 a pattern of racketeering activity.

        808.    It was foreseeable to the RICO Supply Chain Defendants that Plaintiff would be

 harmed when they refused to report and halt suspicious orders, because their violation of the duties

 imposed by the CSA and Code of Federal Regulations allowed the widespread diversion of




                                                 247
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 255 of 289 PageID 255



 prescription opioids out of appropriate medical channels and into the illicit drug market – causing

 the opioid epidemic that the CSA intended to prevent.

           809.   The last racketeering incident occurred within five years of the commission of a

 prior incident of racketeering.

           810.   The RICO Supply Chain Defendants’ violations of law and their pattern of

 racketeering activity directly and proximately caused Plaintiff injury in its business and property.

 The RICO Supply Chain Defendants’ pattern of racketeering activity, including their refusal to

 identify, report and halt suspicious orders of controlled substances, logically, substantially and

 foreseeably cause an opioid epidemic.          Plaintiff was injured by the RICO Supply Chain

 Defendants’ pattern of racketeering activity and the opioid epidemic that they created.

           811.   The RICO Supply Chain Defendants knew that the opioids they manufactured and

 supplied were unsuited to treatment of long-term, chronic, non-acute, and non-cancer pain, or for

 any other use not approved by the FDA, and knew that opioids were highly addictive and subject

 to abuse. 252 Nevertheless, the RICO Supply Chain Defendants engaged in a scheme of deception,

 that utilized the mail and wires as part of their fraud, in order to increase sales of their opioid

 products by refusing to identify, report suspicious orders of prescription opioids that they knew

 were highly addictive, subject to abuse, and were actually being diverted into the illegal market.253

           812.   The RICO Supply Chain Defendants’ predicate acts and pattern of racketeering

 activity were a cause of the opioid epidemic which has injured Plaintiff in the form of substantial




 252
       Travelers Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026 (2017).
 253
   City of Everett v. Purdue Pharma L.P., Case No. 17-cv-00209, 2017 WL 4236062, *2 (W.D.
 Wash. Sept. 25, 2017).


                                                  248
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 256 of 289 PageID 256



 losses of money and property that logically, directly and foreseeably arise from the opioid-

 addiction epidemic.

        813.    Specifically, Plaintiff’s injuries, as alleged throughout this complaint, and expressly

 incorporated herein by reference, include:

                a.     Losses caused by the decrease in funding available for Plaintiff’s public
                       services for which funding was lost because it was diverted to other public
                       services designed to address the opioid epidemic;

                b.     Costs for providing healthcare and medical care, additional therapeutic, and
                       prescription drug purchases, and other treatments for patients suffering from
                       opioid-related addiction or disease, including overdoses and deaths;

                c.     Costs of training emergency and/or first responders in the proper treatment
                       of drug overdoses;

                d.     Costs associated with providing police officers, firefighters, and emergency
                       and/or first responders with naloxone – an opioid antagonist used to block
                       the deadly effects of opioids in the context of overdose;

                e.     Costs associated with emergency responses by police officers, firefighters,
                       and emergency and/or first responders to opioid overdoses;

                f.     Costs for providing mental-health services, treatment, counseling,
                       rehabilitation services, and social services to victims of the opioid epidemic
                       and their families;

                g.     Costs for providing treatment of infants born with opioid-related medical
                       conditions, or born dependent on opioids due to drug use by mother during
                       pregnancy;

                h.     Costs associated with law enforcement and public safety relating to the
                       opioid epidemic, including but not limited to attempts to stop the flow of
                       opioids into local communities, to arrest and prosecute street-level dealers,
                       to prevent the current opioid epidemic from spreading and worsening, and
                       to deal with the increased levels of crimes that have directly resulted from
                       the increased homeless and drug-addicted population;

                i.     Costs associated with increased burden on Plaintiff’s judicial system,
                       including increased security, increased staff, and the increased cost of
                       adjudicating criminal matters due to the increase in crime directly resulting
                       from opioid addiction;

                j.     Loss of tax revenue due to the decreased efficiency and size of the working
                       population in Plaintiff’s Community;


                                                 249
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 257 of 289 PageID 257



                k.      Losses caused by diminished property values in neighborhoods where the
                        opioid epidemic has taken root; and

                l.      Losses caused by diminished property values in the form of decreased
                        business investment and tax revenue.

        814.    Plaintiff’s injuries were proximately caused by Defendants’ racketeering activities

 because they were the logical, substantial and foreseeable cause of Plaintiff’s injuries. But for the

 opioid-addiction epidemic created by Defendants’ conduct, Plaintiff would not have lost money

 or property.

        815.    Plaintiff’s injuries were directly caused by the RICO Supply Chain Defendants’

 pattern of racketeering activities.

        816.    Plaintiff is the most directly harmed and there is no other Plaintiff better suited to

 seek a remedy for the economic harms at issue here.

        817.    Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

 actual damages; treble damages; equitable and/or injunctive relief in the form of court-supervised

 corrective communication, actions and programs; forfeiture as deemed proper by the Court;

 attorney’s fees; all costs and expenses of suit; and pre- and post-judgment interest, and all of the

 relief sought into the First Claim for Relief, as the Court deems just and applicable.

                                   THIRD CLAIM FOR RELIEF

             Violation Of The Florida Civil Remedies for Criminal Practices Act
                              Florida Statutes § 772.101, et seq.
          (Against Defendants Purdue, Cephalon, Janssen, Endo, and Mallinckrodt)
                            (the “Opioid Marketing Enterprise”)

        818.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

 set forth in paragraphs 1 through 757 of this Complaint as if fully set forth herein, and further

 alleges as follows:




                                                 250
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 258 of 289 PageID 258



        819.    Plaintiff brings this Claim against Defendants Purdue, Cephalon, Janssen, Endo,

 and Mallinckrodt (referred to collectively for this Claim as the “the RICO Marketing Defendants”).

        820.    Fla. Stat. § 772.103(3) makes it unlawful for any person “[e]mployed or associated

 with, any enterprise to conduct or participate, directly or indirectly, in such enterprise through a

 pattern of criminal activity[.]” Included in the list of prohibited criminal activities are violations

 of Chapter 817 of the Florida Statutes and wire and mail fraud as designated in 18 U.S.C. §

 1961(1)(B). Fla. Stat. § 772.102(1)(a), (b).

        821.    Further, Fla. Stat. § 772.103(4) makes it unlawful for any person “[t]o conspire or

 endeavor to violate” the provisions Fla. Stat. § 772.103(3).

        A.      The Opioid Marketing Enterprise and Pattern of Corrupt Activity.

        822.    For efficiency and to avoid repetition, for purposes of this claim, Plaintiff

 incorporates by reference the paragraphs of Plaintiff’s First Claim for Relief concerning the Opioid

 Marketing Enterprise.

        823.    As alleged above, each of the RICO Marketing Defendants were members of an

 association-in-fact enterprise, the Opioid Marketing Enterprise, within the meaning of Fla. Stat. §

 772.102(3).

        824.    As alleged above, each of the RICO Marketing Defendants conducted and

 participated in the conduct of the affairs of the Opioid Marketing Enterprise through a “pattern of

 criminal activity” in Florida, as defined in Fla. Stat. § 772.102(4).

        825.    As previously alleged, the RICO Marketing Defendants engaged in a pattern of

 corrupt activity by committing mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343).

 The Marketing Defendants operated an “enterprise” within the meaning of Fla. Stat. § 772.102(3),

 because they are a group of individuals associated in fact, even though they are not a collective

 legal entity. The Opioid Marketing Enterprise: (a) had an existence separate and distinct from each


                                                  251
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 259 of 289 PageID 259



 of its component entities; (b) was separate and distinct from the pattern of criminal activity in

 which the RICO Marketing Defendants engaged; and (c) was an ongoing organization consisting

 of legal entities consisting of “advocacy groups and professional societies” (“Front Groups”) and

 paid “physicians affiliated with these groups” (known as “key opinion leaders,” or “KOLs”) in

 order to unlawfully increase the demand for opioids. Through their personal relationships, the

 RICO Marketing Defendants and members of the Opioid Marketing Enterprise had the opportunity

 to form and take actions in furtherance of the Opioid Marketing Enterprise’s common purpose.

 The RICO Marketing Defendants’ substantial financial contribution to the Opioid Marketing

 Enterprise, and the advancement of opioids- friendly messaging, fueled the U.S. opioids

 epidemic.254

           826.   The RICO Marketing Defendants, through the Opioid Marketing Enterprise, made

 misleading statements and misrepresentations about opioids that downplayed the risk of addiction

 and exaggerated the benefits of opioid use, including: (1) that addiction is rare among patients

 taking opioids for pain; (2) that addiction risk can be effectively managed; (3) that symptoms of

 addiction exhibited by opioid patients are actually symptoms of an invented condition the RICO

 Marketing Defendants named “pseudoaddiction”; (4) that withdrawal is easily managed; (5) that

 increased dosing presents no significant risks; (6) that long-term use of opioids improves function;

 (7) that the risks of alternative forms of pain treatment are greater than the adverse effects of

 opioids; (8) that use of time-released dosing prevents addiction; and (9) that abuse-deterrent

 formulations provide a solution to opioid abuse.

           827.   The RICO Marketing Defendants have not undertaken the practices described

 herein in isolation, but as part of a common scheme and conspiracy. In violation of Fla. Stat. §


 254
       Fueling an Epidemic, supra note 125, at 1, https://www.hsdl.org/?abstract&did=808171.


                                                 252
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 260 of 289 PageID 260



 772.103(4), the RICO Marketing Defendants conspired to violate Fla. Stat. § 772.103(3), as

 described herein.

        828.    The RICO Marketing Defendants conspired to incentivize and encourage various

 other persons, firms and corporations, including third-party entities and individuals not named as

 Defendants in this Complaint, to carry out offenses and other acts in furtherance of the conspiracy.

 The RICO Marketing Defendants conspired to increase or maintain revenues, increase market

 share, and/or minimize losses for the Marketing Defendants and their other collaborators

 throughout the illegal scheme and common course of conduct. In order to achieve this goal, the

 RICO Marketing Defendants engaged in the aforementioned predicate acts on numerous

 occasions.

        829.    The RICO Marketing Defendants, with knowledge and intent, agreed to the overall

 objectives of the conspiracy and participated in the common course of conduct to commit acts of

 fraud and indecency in deceptively marketing and/or selling opioids through the use of mail and

 wire fraud.

        830.    Indeed, for the conspiracy to succeed, each of the RICO Marketing Defendants had

 to agree to deceptively market and/or sell the opioids. The unanimity of the RICO Marketing

 Defendants’ marketing tactics gave their misleading statements credence among prescribers and

 consumers.

        831.    The RICO Marketing Defendants knew and intended that government regulators,

 prescribers and consumers would rely on the collective material misrepresentations and omissions

 made by them and the other Opioid Marketing Enterprise members about opioids. The RICO

 Marketing Defendants knew and intended that consumers would incur costs as a result.




                                                 253
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 261 of 289 PageID 261



          832.   The RICO Marketing Defendants knew that by partnering with the pain foundations

 and individual physicians who carried a more neutral public image, they would be able to attribute

 more scientific credibility to their products, thereby increasing their sales and profits.

          833.   The foregoing illustrates the RICO Marketing Defendants’ liability under Fla. Stat.

 § 772.103(4) because they made an agreement, formally or informally, to engage in their pattern

 of criminal activity and agreed to the overall objective of the conspiracy—to maximize opioid

 sales.

          B.     Impact of the Opioid Marketing Enterprise

          834.   As described herein, the RICO Marketing Defendants engaged in a pattern of

 related and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

 activities, each conducted with the common purpose of obtaining significant monies and revenues

 from consumers and forcing the costs of their conduct onto the County, in reliance on their

 misrepresentations and omissions. The predicate acts also had the same or similar results,

 participants, victims, and methods of commission. The predicate acts were related and not isolated

 events. The predicate acts all had the purpose of generating significant revenue and profits for the

 RICO Marketing Defendants at the expense of the County and its residents. The predicate acts

 were committed or caused to be committed by the RICO Marketing Defendants through their

 participation in the Enterprise and in furtherance of their fraudulent scheme, and were interrelated

 in that they involved consumers’ funds, and the County was left footing the bill.

          835.   As fully alleged herein, Plaintiff’s residents relied upon representations and

 omissions that were made or caused by Defendants, as evidenced by the fact that they purchased

 opioids which never should have been introduced into the U.S. stream of commerce, whose use

 has now caused a nationwide epidemic of addiction and overdose, and which they would not have

 purchased, or purchased at the same rate, had they known the true risks.


                                                  254
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 262 of 289 PageID 262



        836.    Plaintiff’s injuries, and those of its residents, were proximately caused by the RICO

 Marketing Defendants’ criminal activity. But for RICO Marketing Defendants’ misstatements and

 omissions and RICO Marketing Defendants’ scheme employed by the Opioid Marketing

 Enterprise, consumers would not have paid for opioid prescriptions for chronic pain and the

 County would not be paying for the emergency and treatment services caused by their subsequent

 addiction. Though the RICO Marketing Defendants’ misstatements were largely directed toward

 opioid prescribers, Plaintiff was directly injured by the RICO Marketing Defendants’ conduct

 because they directly caused the over-prescription of opioids, and thus the over-purchase and over-

 consumption of opioids, and all resultant costs and consequences thereof.

        837.    The impact of the Opioid Marketing Enterprise has been particularly devastating in

 Clay County. Deaths due to opioids, including heroin, fentanyl, and prescription opioids, have

 skyrocketed.

        C.      Injury Caused and Relief Sought

        838.    The RICO Marketing Defendants’ violations of law and their pattern of

 racketeering activity directly or indirectly caused Plaintiff’s injury.       The RICO Marketing

 Defendants’ pattern of racketeering activity logically, substantially and foreseeably caused an

 opioid epidemic. Plaintiff’s injuries, as described below, were not unexpected, unforeseen or

 independent. Rather, as Plaintiff alleges, the RICO Marketing Defendants knew that the opioids

 were unsuited to treatment of long-term chronic, non-acute, and non-cancer pain, or for any other

 use not approved by the FDA and knew that opioids were highly addictive and subject to abuse.

 Nevertheless, the RICO Marketing Defendants engaged in a scheme of deception, that utilized the

 mail and wires as part of their fraud, in order to increase sales of their opioid products.

        839.    It was foreseeable and expected that a massive marketing campaign utilized by the

 RICO Marketing Defendants that misrepresented the non-addictive and effective use of


                                                  255
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 263 of 289 PageID 263



 prescription opioids for purposes for which they are not suited and not approved by the FDA would

 lead to a nationwide opioid epidemic. It was also foreseeable and expected that the RICO

 Marketing Defendants’ marketing campaign would lead to increased opioid addiction and

 overdose. Plaintiff’s injury was logically, foreseeable, and substantially caused by the opioid

 epidemic that the RICO Marketing Defendants created.

        840.    Specifically, the RICO Marketing Defendants’ predicate acts and pattern of

 racketeering activity caused the opioid epidemic which has injured Plaintiff in the form of

 substantial losses of money and property that logically, directly and foreseeably arise from the

 opioid-addiction epidemic. Plaintiff’s injuries, as alleged throughout this complaint, and expressly

 incorporated herein by reference, include:

                a.      Losses caused by the decrease in funding available for Plaintiff’s public
                        services for which funding was lost because it was diverted to other public
                        services designed to address the opioid epidemic;

                b.      Costs for providing healthcare and medical care, additional therapeutic, and
                        prescription drug purchases, and other treatments for patients suffering from
                        opioid-related addiction or disease, including overdoses and deaths;

                c.      Costs of training emergency and/or first responders in the proper treatment
                        of drug overdoses;

                d.      Costs associated with providing police officers, firefighters, and emergency
                        and/or first responders with naloxone – an opioid antagonist used to block
                        the deadly effects of opioids in the context of overdose;

                e.      Costs associated with emergency responses by police officers, firefighters,
                        and emergency and/or first responders to opioid overdoses;

                f.      Costs for providing mental-health services, treatment, counseling,
                        rehabilitation services, and social services to victims of the opioid epidemic
                        and their families;

                g.      Costs for providing treatment of infants born with opioid-related medical
                        conditions, or born dependent on opioids due to drug use by mother during
                        pregnancy;




                                                 256
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 264 of 289 PageID 264



                h.      Costs associated with law enforcement and public safety relating to the
                        opioid epidemic, including but not limited to attempts to stop the flow of
                        opioids into local communities, to arrest and prosecute street-level dealers,
                        to prevent the current opioid epidemic from spreading and worsening, and
                        to deal with the increased levels of crimes that have directly resulted from
                        the increased homeless and drug-addicted population;

                i.      Costs associated with increased burden on Plaintiff’s judicial system,
                        including increased security, increased staff, and the increased cost of
                        adjudicating criminal matters due to the increase in crime directly resulting
                        from opioid addiction;

                j.      Loss of tax revenue due to the decreased efficiency and size of the working
                        population in Plaintiff’s Community;

                k.      Losses caused by diminished property values in neighborhoods where the
                        opioid epidemic has taken root; and

                l.      Losses caused by diminished property values in the form of decreased
                        business investment and tax revenue.

        841.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

 actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

 attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

        842.    The RICO Marketing Defendants’ violations of Fla. Stat. 772.103(3) and (4) have

 directly and proximately caused injuries and damages to the County and its residents, and Plaintiff

 is entitled to bring this action for three times its actual damages, as well as injunctive/equitable

 relief, costs, and reasonable attorneys’ fees pursuant to Fla. Stat. § 772.104.




                                                  257
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 265 of 289 PageID 265



                                 FOURTH CLAIM FOR RELIEF

                Violation of The Civil Remedies for Criminal Practices Act
                             Florida Statutes § 772.101, et seq.
          (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
     McKesson, Cardinal, and AmerisourceBergen – “RICO Supply Chain Defendants”)
                         (The “Opioid Supply Chain Enterprise”)

        843.    Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

 set forth in paragraphs 1 through 757 of this Complaint as if fully set forth herein, and further

 alleges as follows:

        844.    Plaintiff brings this Claim against Defendants Purdue, Cephalon, Endo,

 Mallinckrodt, Actavis (the “RICO Marketing Defendants”), and Defendants McKesson, Cardinal,

 and AmerisourceBergen (the “Distributor Defendants”) (together with the RICO Marketing

 Defendants, the “RICO Supply Chain Defendants”).

        A.      The Opioid Supply Chain Enterprise and Pattern of Corrupt Activity

        845.    For efficiency and to avoid repetition, for purposes of this claim, Plaintiff

 incorporates by reference the paragraphs of Plaintiff’s Second Claim for Relief concerning the

 Opioid Supply Chain Enterprise.

        846.    As previously alleged, each of the RICO Supply Chain Defendants were members

 of an association-in-fact enterprise, the Opioid Supply Chain Enterprise, within the meaning of

 Fla. Stat. § 772.102(3).

        847.    As previously alleged, each of the RICO Supply Chain Defendants participated in

 the conduct of the affairs of the Opioid Supply Chain Enterprise through a “pattern of criminal

 activity” in Florida, as defined in Fla. Stat. § 772.102(4).

        848.    As previously alleged, the RICO Supply Chain Defendants engaged in a pattern of

 corrupt activities defined as “racketeering activities” in 18 U.S.C. § 1961(1)(B) and (D), including




                                                  258
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 266 of 289 PageID 266



 mail fraud (18 U.S.C. § 1341), wire fraud (18 U.S.C. § 1343), and dealing in a controlled substance

 which crime is punishable under any law of the United States.

        849.    The Defendants have not undertaken the practices described herein in isolation, but

 as part of a common scheme and conspiracy. In violation of Fla. Stat. § 772.103(4), the Defendants

 conspired to violate of Fla. Stat. § 772.103(3), as described herein.

        850.    For over a decade, the RICO Supply Chain Defendants aggressively sought to

 bolster their revenue, increase profit, and grow their share of the prescription painkiller market by

 unlawfully and surreptitiously increasing the volume of opioids they sold. However, the RICO

 Supply Chain Defendants are not permitted to engage in a limitless expansion of their sales through

 the unlawful sales of regulated painkillers. As “registrants” under the Controlled Substances Act,

 21 U.S.C. § 821, et seq. (the “CSA”), the RICO Supply Chain Defendants operated and continue

 to operate within a “closed-system.” The CSA restricts the Supply Chain Defendants’ ability to

 manufacture or distribute Schedule II substances like opioids by: (1) requiring them to make sales

 within a limited quota set by the DEA for the overall production of Schedule II substances like

 opioids; (2) register to manufacture or distribute opioids; (3) maintain effective controls against

 diversion of the controlled substances that they manufacturer or distribute; and (4) design and

 operate a system to identify suspicious orders of controlled substances, halt such unlawful sales,

 and report them to the DEA.

        851.    As alleged above, Congress created a closed-system when it enacted the CSA,

 including the establishment of quota system, with the specific intent to protect public safety by

 reducing or eliminating the diversion of Schedule II drugs, like opioids, from legitimate channels




                                                 259
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 267 of 289 PageID 267



 of trade to illicit markets “by controlling the basic ingredients needed for the manufacture of

 [controlled substances.]”255

           852.   Each of the RICO Supply Chain Defendants knows and has known for decades that

 if they do not report, investigate or halt suspicious orders suspicious orders, the likelihood of the

 DEA learning of these illicit transactions and diversions in a timely manner, or at all, is greatly

 reduced and, therefore, is likely to contribute to the increase and maintenance of artificially high

 quotas.

           853.   Each of the Marketing and Distributor Defendants also knows, and has known for

 decades, that the quotas for their opioid products will decrease or increase as the number of licit

 prescriptions decrease or increase.

           854.   Therefore, finding it impossible to legally achieve their ever-increasing sales

 ambitions, members of the Opioid Supply Chain Enterprise engaged in the common purpose of

 fraudulently increasing the quotas that governed the manufacture and distribution of their

 prescription opioids. The RICO Supply Chain Defendants formed and pursued their common

 purpose through the many personal interactions that they had, confidentially, in organizations like

 the Pain Care Forum and the Healthcare Distribution Alliance.

           855.   The RICO Supply Chain Defendants’ common purpose and fraudulent scheme to

 unlawfully increase the DEA quotas violated the Corrupt Practices Act in three ways. First, the

 RICO Supply Chain Defendants violated the Corrupt Practices Act because they engaged in the

 felonious manufacture, buying selling, or otherwise dealing in controlled substances that are

 punishable by law in the United States. Specifically, the RICO Supply Chain Defendants engaged


 255
    1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the
 Caucus on International Narcotics Control, United States Senate, May 5, 2015,
 https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).


                                                 260
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 268 of 289 PageID 268



 in the manufacture, buying, selling, or otherwise dealing in controlled substances in violation of

 21 U.S.C. § 843 because they furnished false or fraudulent material information in, and omitted

 material information from, applications, reports, records, and other document they were required

 to make, keep, or file under required to be made, kept, or filed under this subchapter or

 subchapter II of 21 U.S.C. 801, et seq.

        856.    Second, the RICO Supply Chain Defendants violated the Corrupt Practices Act by

 engaging in mail and wire fraud. The RICO Supply Chain Defendants’ common purpose and

 fraudulent scheme was intended to, and did, utilize interstate mail and wire facilities for the

 commission of their fraud in violation 18 U.S.C. §§ 1341 (mail fraud) and 1343 (wire fraud).

        857.    Third, the RICO Supply Chain Defendants violated the Corrupt Practices Act by

 engaging in telecommunications fraud. The RICO Supply Chain Defendants’ common purpose

 and fraudulent scheme was intended to, and did disseminate or transmit writings, data, signs,

 signals, pictures, sounds or images by means of wire, radio, satellite, telecommunication,

 telecommunications devices or services in furtherance of the scheme to defraud.

        858.    The RICO Supply Chain Defendants’ fraudulent scheme arises at the intersection

 between the quotas governing the RICO Supply Chain Defendants’ prescription opioids and the

 RICO Supply Chain Defendants’ duty to identify, report, and halt suspicious orders of controlled

 substances.   The RICO Supply Chain Defendants’ formed an enterprise with the intent to

 fraudulently increase the quotas for prescription opioids by refusing to identify, report and halt

 suspicious orders, thereby omitting both the fact and the RICO Supply Chain Defendants’

 knowledge of widespread diversion of prescription opioids into illegitimate channels.

        859.    The RICO Supply Chain Defendants engaged in systematic and fraudulent acts as

 part of the Opioid Supply Chain Enterprise, that furnished false or fraudulent material information




                                                261
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 269 of 289 PageID 269



 in, and omitted material information from their applications, reports, records and other documents

 that the RICO Supply Chain Defendants were required to make, keep and/or file. Furthermore,

 the RICO Supply Chain Defendants engaged in systematic and fraudulent acts as part of the Opioid

 Distribution Enterprise that were intended to and actually did utilize the mail and wire facilities of

 the United States and Florida, including refusing to maintain effective controls against diversion

 of their drugs, to design and operate a system to identify suspicious orders of their drugs, to halt

 unlawful sales of suspicious orders, and to notify the DEA of suspicious orders.256

           860.   Through the RICO Supply Chain Defendants’ scheme, members of the Opioid

 Supply Chain Enterprise repeatedly requested increases of the quotas governing the manufacture,

 sale and distribution of prescription opioids, misrepresented that they were complying with their

 duties under the CSA, furnished false or fraudulent material information in, and omitted material

 information from their applications, reports, records and other documents, engaged in unlawful

 sales of opioids that resulted in diversion of controlled substances through suspicious orders, and

 refused to identify or report suspicious orders of controlled substances sales to the DEA.257

 Defendants’ refusal to report suspicious orders resulted in artificial and illegal increases in the

 annual production quotas for opioids allowed by the DEA. The end result of the RICO Supply

 Chain Defendants’ fraudulent scheme and common purpose was continually increasing quotas that

 generated obscene profits and, in turn, fueled an opioid epidemic.

           861.   In particular, each of the RICO Supply Chain Defendants were associated with, and

 conducted or participated in, the affairs of the Opioid Supply Chain Enterprise, whose common




 256
       21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
 257
       21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.


                                                  262
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 270 of 289 PageID 270



 purpose was fraudulently increase the quotas governing the manufacture and sale of prescription

 opioids.

         862.    The success of the RICO Supply Chain Defendants’ scheme allowed them to

 unlawfully increase and/or maintain high production quotas and, as a direct result, allowed them

 to make billions from the unlawful sale and diversion of opioids.

         B.      Impact of The Opioid Supply Chain Enterprise

         863.    The factual allegations and tragic statistics of injury and damage set forth in

 Sections I.G-I.H apply equally here.

         C.      Injury Caused and Relief Sought

         864.    The RICO Supply Chain Defendants’ violations of law and their pattern of

 racketeering activity directly and indirectly caused Plaintiff’s injury. Their pattern of corrupt

 activity logically, substantially and foreseeably caused an opioid epidemic. Plaintiff’s injuries, as

 described below, were not unexpected, unforeseen or independent. Rather, as Plaintiff alleges,

 Defendants knew that the opioids were going to fuel an ever increasing illicit prescription market,

 as well as increasing addiction and death as a result of licit prescriptions of opioids to treat chronic,

 long-term pain.

         865.    It was foreseeable and expected that flooding the illegal market for opioids would

 lead to a nationwide opioid epidemic. It was also foreseeable and expected that it would lead to

 increased opioid addiction and overdose.         Plaintiff’s injury was logically, foreseeable, and

 substantially caused by the opioid epidemic that the RICO Supply Chain Defendants created.

         866.    Specifically, the RICO Supply Chain Defendants’ pattern of corrupt activity caused

 the opioid epidemic which has injured Plaintiff in the form of substantial losses of money and

 property that logically, directly and foreseeably arise from the opioid-addiction epidemic.




                                                   263
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 271 of 289 PageID 271



 Plaintiff’s injuries, as alleged throughout this complaint, and expressly incorporated herein by

 reference, include:

                a.     Losses caused by the decrease in funding available for Plaintiff’s public
                       services for which funding was lost because it was diverted to other public
                       services designed to address the opioid epidemic;

                b.     Costs for providing healthcare and medical care, additional therapeutic, and
                       prescription drug purchases, and other treatments for patients suffering from
                       opioid-related addiction or disease, including overdoses and deaths;

                c.     Costs of training emergency and/or first responders in the proper treatment
                       of drug overdoses;

                d.     Costs associated with providing police officers, firefighters, and emergency
                       and/or first responders with naloxone – an opioid antagonist used to block
                       the deadly effects of opioids in the context of overdose;

                e.     Costs associated with emergency responses by police officers, firefighters,
                       and emergency and/or first responders to opioid overdoses;

                f.     Costs for providing mental-health services, treatment, counseling,
                       rehabilitation services, and social services to victims of the opioid epidemic
                       and their families;

                g.     Costs for providing treatment of infants born with opioid-related medical
                       conditions, or born dependent on opioids due to drug use by mother during
                       pregnancy;

                h.     Costs associated with law enforcement and public safety relating to the
                       opioid epidemic, including but not limited to attempts to stop the flow of
                       opioids into local communities, to arrest and prosecute street-level dealers,
                       to prevent the current opioid epidemic from spreading and worsening, and
                       to deal with the increased levels of crimes that have directly resulted from
                       the increased homeless and drug-addicted population;

                i.     Costs associated with increased burden on Plaintiff’s judicial system,
                       including increased security, increased staff, and the increased cost of
                       adjudicating criminal matters due to the increase in crime directly resulting
                       from opioid addiction;

                j.     Loss of tax revenue due to the decreased efficiency and size of the working
                       population in Plaintiff’s community;

                k.     Losses caused by diminished property values in neighborhoods where the
                       opioid epidemic has taken root; and



                                                264
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 272 of 289 PageID 272



                 l.      Losses caused by diminished property values in the form of decreased
                         business investment and tax revenue.

         867.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

 actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

 attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

         868.    The RICO Supply Chain Defendants’ violations of Fla. Stat. 772.103(3) and (4)

 have directly and proximately caused injuries and damages to the County and its residents, and

 Plaintiff is entitled to bring this action for three times its actual damages, as well as

 injunctive/equitable relief, costs, and reasonable attorneys’ fees pursuant to Fla. Stat. § 772.104.

                                   FIFTH CLAIM FOR RELIEF

    Violation of Florida Deceptive and Unfair Trade Practices Act Against All Defendants

         869.    Plaintiff incorporates by reference paragraphs 1 through 757 of this Complaint as

 if fully set forth herein, and further alleges as follows:

         870.    The Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. § 501.201, et seq.

 (“FDUTPA”) prohibits “unconscionable acts or practices, and unfair or deceptive acts or practices

 in the conduct of any trade or commerce.” Fla. Stat. § 501.204(1).

         871.    Clay County is a “consumer” and an “[i]nterested party or person within the

 meaning of Fla. Stat. § 501.203(6) and a “person” as envisioned in Fla. Stat. § 501.211.

         872.    All Defendants engaged in “[t]rade or commerce” within the meaning of Fla. Stat.

 § 501.203(8), during the relevant time periods, as detailed further herein.

         873.    During the relevant periods and as detailed further herein, the Marketing

 Defendants have each engaged in unconscionable, unfair and/or deceptive acts or practices in

 commerce in violation of the FDUTPA by actively promoting and marketing the use of opioids

 for indications not federally approved, and circulating false and misleading information



                                                   265
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 273 of 289 PageID 273



 concerning opioids’ safety and efficacy. The Marketing Defendants’ large-scale acts of deception

 were successful, as these acts and practices were likely to mislead customers acting reasonably

 under the circumstances both to grossly underestimate the risks associated with the Marketing

 Defendants’ opioid products as well as overestimate the products’ efficacy.

        874.    The Marketing Defendants have also each engaged in unconscionable, unfair

 and/or deceptive acts or practices in commerce in violation of the FDUTPA by downplaying or

 omitting the risk of addiction arising from the use of their prescription opioids and omitting the

 lack of clinical evidence to substantiate their claims of efficacy and safety.

        875.    Each of the Distributor Defendants has engaged in unconscionable and unfair acts

 or practices by omitting the material fact of its failure to design and operate a system to disclose

 suspicious orders of controlled substances, as well as by failing to actually disclose such suspicious

 orders, as required of “registrants” by the federal CSA, 21 C.F.R. § 1301.74(b), which is

 incorporated into Florida law by the Florida Drug and Cosmetic Act (Fla. Stat. § 499 et seq.),

 including Fla. Stat. § 499.0121. The CSA defines “registrant” as any person who is registered

 pursuant to 21 U.S.C. § 823. 21 C.F.R. § 1300.02(b). Section 823(a)-(b) requires manufacturers

 and distributors of Schedule II controlled substances to register.

        876.    All Defendants’ unconscionable, unfair or deceptive acts or practices in violation

 of the FDUTPA offend Florida’s public policy, are immoral, unethical, oppressive and

 unscrupulous, as well as malicious, wanton and manifesting of ill will, and they caused substantial

 injury to Clay County. Clay County risks irreparable injury as a result of all Defendants’ acts,

 misrepresentations and omissions in violation of the FDUTPA, and these violations present a

 continuing risk to Clay County, as well as to the general public. There is increased risk of future




                                                  266
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 274 of 289 PageID 274



 harm due to the widespread addiction caused by Defendants’ acts and practices and widespread

 manipulation of the medical profession.

         877.    All Defendants’ acts and practices in violation of the FDUTPA offend Florida

 public policy, are immoral, unethical, oppressive or unscrupulous, as well as malicious, wanton

 and manifesting ill will; caused and continue to cause substantial injury to Clay County and its

 inhabitants; and put Clay County at increased risk of future harm.

         878.    As a direct and proximate result of all Defendants’ violations of the FDUTPA, Clay

 County has suffered and continues to suffer losses constituting injury-in-fact. Clay County is

 entitled, and does hereby seek, to recover its actual damages under Fla. Stat. § 501.211(2) and its

 attorneys’ fees and costs under Fla. Stat. § 501.2105(1).

         879.    Clay County has been seriously aggrieved by all Defendants’ violations of the

 FDUTPA and is therefore entitled to, and does hereby, seek an order under Fla. Stat. § 501.211(1)

 declaring all Defendants’ acts and practices and unlawful under and in violation of the FDUTPA

 and enjoining all Defendants’ unfair, unconscionable, and/or deceptive acts or practices, and

 awarding attorneys’ fees, costs and any other just and proper relief available under the FDUTPA.

                                   SIXTH CLAIM FOR RELIEF

                              Public Nuisance Against All Defendants

         880.    Plaintiff incorporates by reference paragraphs 1 through 757 of this Complaint as

 if fully set forth herein, and further alleges as follows:

         881.    Florida courts have long recognized that anything which interferes with public

 health and promotes the spread of disease, bodily injury, and/or death, may be considered a public

 nuisance, and that a use or interference with real property is not required. A public nuisance is one

 which interferes with public health and welfare and creates an imminent risk of public harm.




                                                   267
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 275 of 289 PageID 275



        882.    All Defendants, individually and acting through their employees and agents, have

 violated a right common to the general public of Clay County, including by subverting the public

 order, decency, and morals, and causing inconvenience and damage to the public generally.

        883.    Each of the Marketing Defendants subverted the public order, decency, and morals

 of, and caused inconvenience and damage to, Clay County and its residents by, among other things,

 promoting and marketing the use of opioids for indications not federally approved, circulating false

 and misleading information concerning their safety and efficacy and/or downplaying or omitting

 the risk of addiction arising from their use in violation of the FDUTPA. In so doing, the Marketing

 Defendants acted unreasonably and with actual malice.

        884.    Each of the Distributor Defendants subverted the public order, decency, and morals

 of, and caused inconvenience and damage to Clay County by failing to design and operate a system

 that would disclose the existence of suspicious orders of controlled substances, by filling those

 suspicious orders and by failing to report suspicious orders of opioids as required by the federal

 CSA, 21 C.F.R. § 1301.74(b), which is incorporated into Florida law by Florida Drug and

 Cosmetic Act (Fla. Stat. § 499 et seq.), including Fla. Stat. § 499.0121. In so doing, all of the

 Distributor Defendants acted unreasonably and with actual malice.

        885.    As detailed herein, all of the Defendants’ conduct has interfered, and continues to

 interfere, with rights common to the general public of Clay County and has caused Clay County

 to sustain damages special and particular, of a kind not sustained by the general public, including,

 but not limited to, increased healthcare expenditures, law enforcement and judicial expenditures,

 increased prison and public works expenditures, increased substance abuse treatment and diversion

 plan expenditures, increased emergency and medical care services and autopsies, costs associated

 with extensive clean-up of public parks, spaces, and facilities of needles and other debris and




                                                 268
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 276 of 289 PageID 276



 detritus of opioid addiction, the costs of processing and paying for fraudulent prescriptions and

 lost economic opportunity.

         886.    Clay County, acting on its own behalf and on behalf of its inhabitants, seeks

 monetary and injunctive relief to halt the threat of future harm.

                                SEVENTH CLAIM FOR RELIEF
                            Negligence (Against Marketing Defendants)

         887.    Plaintiff incorporates by reference paragraphs 1 through 757 of this Complaint as

 if fully set forth herein, and further alleges as follows:

         888.    Negligence per se is established where the defendant violates a statutory duty and

 where the statute is intended to protect against the result of the violation, the plaintiff is within the

 class intended to be protected by the statute, and the statutory violation is a proximate cause of the

 plaintiff’s injury.

         889.    Negligence is established where the defendant owes the plaintiff a duty of care,

 breaches that duty and the plaintiff sustained an injury or loss proximately caused by the

 defendant’s breach.

         890.    Each of the Marketing Defendants owed Clay County, acting on its own behalf and

 on behalf of its residents, statutory and common-law duties, including the duty to comply with the

 FDUTPA’s prohibition of “[u]nfair methods of competition, or unconscionable acts or practices,

 and unfair or deceptive acts or practices in the conduct of any trade or commerce,” the duty to

 promote and market opioids truthfully and pursuant to their federally approved indications, and

 the duty to disclose the true risk of addiction associated with the use of opioids.

         891.    Each of the Marketing Defendants breached those duties by, among other things,

 promoting and marketing the use of opioids for indications not federally approved, circulating




                                                   269
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 277 of 289 PageID 277



 false and misleading information concerning their safety and efficacy, and downplaying or

 omitting the risk of addiction arising from their use.

         892.    In so doing, the Marketing Defendants acted with actual malice.

         893.    Clay County, acting on its own behalf and on behalf of its inhabitants, has suffered,

 and continues to suffer, both injuries and pecuniary losses directly and proximately caused by the

 Marketing Defendants’ breaches. Among other things, Clay County has experienced an

 unprecedented opioid addiction and overdose epidemic costing millions in health insurance,

 treatment services, autopsies, emergency room visits, medical care, treatment for related illnesses

 and accidents, payments for fraudulent or medically unnecessary prescriptions and lost

 productivity to Clay County’s workforce.

         894.    The Marketing Defendants’ breaches of the statutory and common-law duties they

 each owed to plaintiff and its citizens are the proximate cause of this crisis and its resultant harm

 to Clay County and its residents.

                                  EIGHTH CLAIM FOR RELIEF

                                             Negligence
                                       (Against All Defendants)

         895.    Plaintiff incorporates by reference paragraphs 1 through 757 of this Complaint as

 if fully set forth herein, and further alleges as follows:

         896.    Negligence per se is established where the defendant violates a statutory duty and

 where the statute is intended to protect against the result of the violation, the plaintiff is within the

 class intended to be protected by the statute, and the statutory violation is a proximate cause of the

 plaintiff’s injury. Negligence is established where the defendant owes the plaintiff a duty of care,

 breaches that duty and the plaintiff sustained an injury or loss proximately caused by the

 defendant’s breach.



                                                   270
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 278 of 289 PageID 278



        897.    All Defendants owed Clay County, acting on its own behalf and on behalf of its

 residents, the statutory duty to report suspicious sales, the duty not to fill suspicious orders, the

 duty to abide by any government agreements entered into regarding the same, and the duty to

 comply with the federal CSA, 21 C.F.R. § 1301.74(b), as incorporated by the Florida Drug and

 Cosmetic Act (Fla. Stat. § 499 et seq.) including, inter alia, Fla. Stat. § 499.0121, which requires

 the design and operation of a system to detect and disclose suspicious orders of controlled

 substances.

        898.    All Defendants owed Clay County, acting on its own behalf and on behalf of its

 residents, a duty of care based on Defendants’ affirmative acts, described above, that created an

 unreasonable risk of harm by creating a foreseeable opportunity for wrongful or criminal conduct

 by third parties. All Defendants realized or should realize that supplying excessive amounts of

 dangerous, addictive opioids involves an unreasonable risk of harm to another through the conduct

 of the other or a third person which is intended to cause harm, even though such conduct is

 wrongful or criminal:

                a.       All Defendants entrusted prescription opioids capable of doing serious harm
                         if misused, to individuals and entities Defendants knew or had strong reason
                         to believe were likely to misuse it to inflict intentional harm.

                b.       All Defendants had possession or control of prescription opioids that
                         afforded a peculiar temptation or opportunity for intentional interference
                         likely to cause harm.

                c.       All Defendants knew about the likelihood that and other actors, would
                         intentionally divert and/or misuse the prescription opioids, creating a high
                         degree of risk of intentional misconduct.

                d.       All Defendants had actual or constructive knowledge of each other
                         Defendant’s behavior.

        899.    All Defendants further owed Clay County a duty of care by virtue of their special

 relationship as manufacturers, distributors, or dispensers, respectively, of pharmaceutical opioids



                                                 271
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 279 of 289 PageID 279



 purchased by Clay County, and their superior and exclusive knowledge of the dangerous and

 addictive properties.

        900.       Each Defendant’s conduct foreseeably created a broader zone of risk that poses a

 general threat of harm to others.

        901.       Each Defendant’s conduct foreseeably and substantially caused the actual injuries

 to Clay County.

        902.       The public policy of Florida supports allocating this duty and risk of loss to all

 Defendants, who are better situated to bear the loss, as opposed to distributing the loss among the

 general public.

        903.       All Defendants breached these duties by failing to design and operate a system that

 would disclose the existence of suspicious orders of controlled substances or by failing to report

 such suspicious orders to the appropriate regulators as required by state and federal law.

        904.       Clay County, acting on its own behalf and on behalf of its inhabitants, has suffered,

 and continues to suffer, both injuries and pecuniary losses directly and proximately caused by all

 Defendants’ breaches. Among other things, Clay County has experienced an unprecedented opioid

 addiction and overdose epidemic costing millions in health insurance, treatment services,

 autopsies, emergency room visits, medical care, treatment for related illnesses and accidents,

 payments for fraudulent or medically unnecessary prescriptions and lost productivity to Clay

 County’s workforce.

        905.       All Defendants’ breaches of the statutory and common-law duties they each owed

 to plaintiff and its citizens foreseeably and substantially caused the actual injuries alleged herein:

 they are the proximate cause of this crisis and its resultant harm to Clay County and its residents.




                                                   272
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 280 of 289 PageID 280



                                   NINTH CLAIM FOR RELIEF

                             Gross Negligence Against All Defendants

         906.    Plaintiff incorporates by reference paragraphs 1 through 757 of this Complaint as

 if fully set forth herein, and further alleges as follows:

         907.    All Defendants were negligent as described in the preceding cause of action.

         908.    The oversupply of opioids and plague of addiction led to a widespread epidemic of

 overdoses, illness, and death that claimed thousands of lives and cost many millions of dollars of

 public spending—circumstances that constituted an imminent or clear and present danger

 amounting to more than normal and usual peril.

         909.    All Defendants knew or should have known about the imminent danger posed by

 continuing to manufacture and/or supply millions of doses of opioids to Clay County.

         910.    Notwithstanding Defendants’ awareness of the devastating and dangerous

 consequences of continuing to manufacture and/or supply pharmaceutical opioids to Clay County,

 Defendants continued to manufacture and/or supply these pharmaceutical products to Clay

 County, demonstrating their conscious disregard of the consequences of these actions. All

 Defendants’ conduct was so reckless and wanting in care that it constituted a conscious disregard

 and/or indifference to the life, safety, and rights of all those exposed to their conduct in Clay

 County.

         911.    This conscious disregard directly and proximately caused Clay County, acting on

 its own behalf and on behalf of its inhabitants, to suffer injuries and pecuniary losses. Among other

 things, Clay County has experienced an unprecedented opioid addiction and overdose epidemic

 costing millions in health insurance, treatment services, autopsies, emergency room visits, medical

 care, treatment for related illnesses and accidents, payments for fraudulent or medically

 unnecessary prescriptions and lost productivity to Clay County’s workforce.


                                                   273
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 281 of 289 PageID 281



                                   TENTH CLAIM FOR RELIEF

                            Unjust Enrichment Against All Defendants

         912.    Plaintiff incorporates by reference paragraphs 1 through 757 of this Complaint as

 if fully set forth herein, and further alleges as follows:

         913.    Unjust enrichment is established where the plaintiff alleges: (a) a benefit conferred

 upon the defendant by the plaintiff; (b) an appreciation or knowledge by the defendant of the

 benefit; and (c) the acceptance or retention by the defendant of the benefit under such

 circumstances as to make it inequitable for the defendant to retain the benefit without the payment

 of its value.

         914.    Clay County, acting on its own behalf and on behalf of its inhabitants, conferred on

 each Marketing Defendant a benefit, including, inter alia, payments for opioids manufactured by

 the Marketing Defendants for sale in Clay County, which benefit was known to and accepted by

 each Marketing Defendant, which inured to the profits of each Marketing Defendant and for which

 retention of such benefit is inequitable based on the Marketing Defendants’ false and misleading

 marketing and omissions of and failure to state material facts in connection with marketing opioids,

 as set forth herein. The Marketing Defendants have thus been unjustly enriched by sales due to

 their deceptive marketing, contributing to Clay County’s current opioid epidemic.

         915.    Clay County, acting on its own behalf and on behalf of its inhabitants, conferred on

 each Distributor Defendant a benefit, including, inter alia, payments for opioids distributed or

 filled by each Distributor Defendant for sale in Clay County, which benefit was known to and

 accepted by each Distributor Defendant, which inured to the profits of each Supply Chain and for

 which retention of such benefit is inequitable based on the Distributor Defendants’ failure to

 operate a system to report suspicious orders as required by law and failure to exercise the required

 care in filling suspicious orders. The Distributor Defendants have thus been unjustly enriched by


                                                   274
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 282 of 289 PageID 282



 neglecting their duty to distribute drugs only for proper medical purposes, contributing to Clay

 County’s current opioid epidemic.

         916.    Clay County’s unprecedented opioid addiction and overdose epidemic has resulted

 in substantial costs in health insurance, treatment services, autopsies, emergency visits, medical

 care, treatment for related illnesses and accidents, payments for fraudulent prescriptions, law

 enforcement and lost productivity to Clay County’s workforce.

         917.    The unjust enrichment of all Defendants is directly related to the damage, loss, and

 detriment to Clay County caused by Defendants’ false marketing and failure to report suspicious

 sales. It would be inequitable under these circumstances for any of the Defendants to retain this

 benefit without compensating Clay County for its value. Clay County seeks recovery of the

 amounts the all Defendants were enriched as a result of their inequitable conduct.

                                ELEVENTH CLAIM FOR RELIEF

                                    Fraud Against All Defendants

         918.    Plaintiff incorporates by reference paragraphs 1 through 757 of this Complaint as

 if fully set forth herein, and further alleges as follows:

         919.    At all relevant times, all Defendants, intentionally, willfully, and/or recklessly, with

 the intent to deceive, fraudulently concealed or omitted material information not otherwise known

 or available, knowing that the material was false or misleading, or failed to disclose a material fact

 concerning the health effects or addictive nature of their respective prescription opioid drugs or

 both.

         920.    Distributor Defendants failed to disclose the prevalence of diversion of controlled

 substances, including opioids within Clay County.

         921.    At all relevant times, all Defendants misrepresented and/or concealed material facts

 concerning the addictive and dangerous nature of their prescription opioid drugs, to and/or from


                                                   275
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 283 of 289 PageID 283



 reasonable consumers, doctors and prescribers, insurers, pharmacies, and others with the

 knowledge of the falsity of their misrepresentations and/or concealments.

        922.    At all relevant times, upon information and belief, the misrepresentations and

 concealments concerning prescription opioid drugs that were manufactured, distributed, promoted

 and/or sold by all Defendants include, but are not limited to, the following:

                a.      All Defendants intentionally misrepresented the truth about how opioids
                        lead to addiction;

                b.      All Defendants knowingly misrepresented that opioids improve function;

                c.      All Defendants misrepresented that addiction risk can be managed;

                d.      All Defendants misled doctors, patients, and payors through the use of
                        misleading terms like “pseudoaddiction;”

                e.      All Defendants falsely claimed that withdrawal can be simply managed;

                f.      All Defendants misrepresented that increased doses pose no significant
                        additional risks;

                g.      All Defendants falsely omitted or minimized the adverse effects of opioids
                        and overstated the risks of alternative forms of pain treatment. Defendants
                        used artifice to conceal material facts regarding the safety and efficacy of
                        their products in a way that affirmatively suppressed the truth. Their failure
                        to be truthful was tantamount to supplying false information and/or failing
                        to disclose these material facts in order to induce a false belief that their
                        products were safe and effective for chronic and/or long term treatment.

        923.    At all relevant times, Defendants actively, knowingly, and intentionally concealed

 and misrepresented these material facts with the intent to deceive the public, and with the intent

 that physicians would prescribe, pharmacies would dispense, and reasonable consumers would

 purchase and use their prescription opioid drugs.

        924.    At all relevant times, physicians would not have prescribed, pharmacies would not

 have dispensed, and the consuming public would not otherwise have purchased or used these




                                                 276
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 284 of 289 PageID 284



 addictive and dangerous opioid drugs for long-term chronic pain management had they been

 informed of the risks associated with the use of these drugs.

          925.   At all relevant times, Plaintiff’s employees, County taxpayers, County residents,

 visitors to Clay County, and/or the public at large relied upon Defendants’ misrepresentations

 concerning the safety and efficacy of these prescription opioid drugs, and such reliance was

 reasonably justified.

          926.   As a direct and foreseeable consequence of Defendants’ wrongful conduct, Plaintiff

 has incurred and continues to incur costs for opioid prescriptions in excess of those they would

 have otherwise incurred, payments for their employees’ treatment for opioid addiction, and

 payments for emergency hospital visits for their employees.

          927.   Marketing Defendants’ misrepresentations regarding the safety and efficacy of

 long-term opioid use proximately caused injury to Plaintiff.

          928.   Each Defendant knew or should have known these and other material facts should

 be disclosed.

          929.   Each Defendant knew its concealment of or failure to disclose these material facts

 would induce Clay County to act, specifically to purchase prescription opioids.

          930.   Each Defendant had a duty to disclose the material facts, as alleged more fully

 above.

          931.   It was unreasonable for Defendants to rely on doctors and other learned

 intermediaries to fully and adequately transmit warnings to end users about the dangerous and

 deadly nature of the pharmaceutical opioids because: Defendants knew that the necessary warnings

 would render the pharmaceutical opioids less valuable and provide an incentive to the intermediary

 to withhold the necessary information from the consumer; the Manufacturer Defendants did not




                                                277
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 285 of 289 PageID 285



 adequately convey the danger to doctors and other intermediaries or take steps to ensure that these

 intermediaries would adequately warn the end user; and pharmaceutical opioids are extraordinarily

 dangerous.

        932.    Clay County, acting on its own behalf and on behalf of its inhabitants, relied to its

 detriment on the misinformation and has suffered, and continues to suffer, both injuries and

 pecuniary losses as a result of this reliance. Among other things, Clay County has experienced an

 unprecedented opioid addiction and overdose epidemic costing millions in health insurance,

 treatment services, autopsies, emergency room visits, medical care, treatment for related illnesses

 and accidents, payments for fraudulent or medically unnecessary prescriptions and lost

 productivity to Clay County’s workforce.

        933.    Clay County’s detrimental reliance can be inferred from the widespread, pervasive,

 misleading, and effective opioid marketing campaign orchestrated and carried out by Defendants.

        934.    At all relevant times, the Defendants actively, knowingly, and intentionally agreed

 and conspired to conceal and misrepresent these material facts to the consuming public with the

 intent to deceive the public, and with the intent that consumers would purchase and use their

 prescription opioid drugs.

        935.    At all relevant times, the consuming public would not otherwise have purchased or

 used these addictive and dangerous opioid drugs for long-term chronic pain management they had

 been informed of the risks associated with the use of these drugs.

        936.    At all relevant times, Plaintiff’s employees, County taxpayers, County residents,

 visitors to Clay County, and/or the public at large relied upon Defendants’ misrepresentations

 and/or silence or concealments concerning the safety and efficacy of these prescription opioid

 drugs, and such reliance was reasonably justified.




                                                278
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 286 of 289 PageID 286



           937.   As a direct and foreseeable consequence of Defendants’ conspiracy to commit

 wrongful conduct, Plaintiff has incurred and continues to incur costs for opioid prescriptions in

 excess of those Plaintiff would have otherwise incurred, payments for Plaintiff’s employees’

 treatment for opioid addiction, and payments for emergency hospital visits for Plaintiff’s

 employees.

           938.   All Marketing Defendants’ conspiracy regarding misrepresentations about the

 safety and efficacy of long-term opioid use proximately caused injury to Plaintiff.

                                 TWELFTH CLAIM FOR RELIEF

                                          Civil Conspiracy
                                       (Against All Defendants)

           939.   Plaintiff incorporates by reference paragraphs 1 through 757 of this Complaint as

 if fully set forth herein, and further alleges as follows:

           940.   All Defendants conspired together as more fully alleged in the above causes of

 action.

           941.   In pursuance of the conspiracy, all Defendants committed the following overt acts:

                  a.     All Defendants engaged in a civil conspiracy to commit fraud and
                         misrepresentation in conjunction with their unlawful distribution and
                         diversion of opioids into and around Clay County.

                  b.     Through an express or implied agreement among them, all Defendants were
                         involved in a concerted action to perpetrate a fraud on Plaintiff by the
                         unlawful distribution and diversion of opioids into and around Clay County.

                  c.     All Defendants acted in furtherance of their agreement which was a
                         concerted action between and among Defendants.

                  d.     Specifically, Marketing Defendants led a nationwide conspiracy to bribe
                         medical practitioners to unnecessarily prescribe opioids.

                  e.     All Defendants acted with malice, purposefully, unlawfully, and without
                         reasonable excuse.




                                                   279
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 287 of 289 PageID 287



                f.     All Defendants’ conspiracy to bribe practitioners generated substantial
                       profits for Defendants, their companies, and for co-conspirators.

                g.     The purpose of the concerted action was to accomplish a criminal or
                       unlawful goal or to accomplish a lawful purpose by the use of criminal or
                       unlawful means.

                h.     All Defendants unlawfully failed to act to prevent the fraud and failed to
                       monitor, report, and prevent suspicious orders of opioids.

                i.     All Defendants acted with a common understanding and design to commit
                       unlawful acts as alleged, acted purposefully, without reasonable or lawful
                       excuse, to create injuries alleged herein.

                j.     All Defendants knew of, or acquiesced in, this wrongful and fraudulent
                       conduct.

        942.    All Defendants’ conspiracy and actions and omissions in furtherance thereof caused

 foreseeable losses.

        943.    All Defendants’ conspiracy and acts are also alleged in greater detail, including but

 without limitation, in Plaintiff’s RICO allegations, contained above, and are incorporated herein.

        944.    Clay County was damaged as a result of Defendants’ conspiracy to commit fraud.

        945.    All Defendants benefited by this wrongful and fraudulent conduct

        946.    All Defendants committed tortious acts in concert with each other and any co-

 conspirator.

        947.    As a direct and proximate result of all Defendants’ conspiracy and illegal, wrongful

 or tortious conduct, Clay County has been damaged. Clay County, acting on its own behalf and on

 behalf of its inhabitants, suffered injuries and pecuniary losses as a result of the acts performed

 pursuant to the conspiracy. Among other things, Clay County has experienced an unprecedented

 opioid addiction and overdose epidemic costing millions in health insurance, treatment services,

 autopsies, emergency room visits, medical care, treatment for related illnesses and accidents,




                                                280
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 288 of 289 PageID 288



 payments for fraudulent or medically unnecessary prescriptions and lost productivity to Clay

 County’s workforce.

                                     PRAYER FOR RELIEF

        948.    Plaintiff respectfully requests that this Court enter an order of judgment granting

 all relief requested in this Complaint, and/or allowed at law or in equity, including:

                a.      abatement of nuisance;

                b.      actual damages;

                c.      treble or multiple damages and civil penalties as allowed by statute;

                d.      punitive damages;

                e.      exemplary damages;

                f.      disgorgement of unjust enrichment;

                g.      equitable and injunctive relief in the form of Court-enforced corrective
                        action, programs, and communications;

                h.      forfeiture disgorgement, restitution and/or divestiture of proceeds and
                        assets;

                i.      attorneys’ fees;

                j.      costs and expenses of suit;

                k.      pre- and post-judgment interest; and

                l.      such other and further relief as this Court deems appropriate.



 Dated June 13, 2019                   Respectfully submitted by Counsel for Plaintiff:



  By: /s/ John Romano_______________              By: /s/ Michael Kahn, P.A.___________
  ROMANO LAW GROUP                                MICHAEL KAHN, P.A.
  John F. Romano                                  Fla. Bar No. 241921
  Fla. Bar No. 175700                             482 N. Harbor City Blvd.
  Eric Romano                                     Melbourne, FL 32935
  Fla. Bar No.: 120091                            Telephone: (321) 242-2564
  801 Spencer Drive                               michael@michaelkahnpa.com


                                                 281
Case 3:19-cv-00712-MMH-JBT Document 1 Filed 06/13/19 Page 289 of 289 PageID 289



  West Palm Beach, FL 33409                roma@michaelkhanpa.com
  Tel: (561) 533-6700                      assistant@michaelkahnpa.com
  Fax: (561) 533-1285
  john@romanolawgroup.com
  eric@romanolawgroup.com



  By: /s/ Douglas Beam, P.A.____________
  DOUGLAS R. BEAM, P.A.,
  Fla. Bar No 515604
  25 W. New Haven Ave.
  Melbourne, FL 32901
  Tel.: (321) 723-6591
  doug@dougbeam.com




                                           282
